Case 3:17-cv-02366-BAS-KSC         Document 263     Filed 05/24/19     PageID.5662       Page 1
                                          of 300

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                               UNITED STATES DISTRICT COURT
   16                        SOUTHERN DISTRICT OF CALIFORNIA
   17
        Al Otro Lado, Inc., et al.,                      Case No.: 17-cv-02366-BAS-KSC
   18                                                    Hon. Karen S. Crawford
   19
                           Plaintiffs,
                                                         [DISCOVERY MATTER]
   20            v.
                                                         JOINT MOTION FOR
   21   Kevin K. McAleenan,1 et al.,                     DETERMINATION OF
                                                         DISCOVERY DISPUTE
   22                      Defendants.
   23                                                    NO ORAL ARGUMENT UNLESS
                                                         REQUESTED BY THE COURT
   24
                                                         [Declaration of Ori Lev Filed
   25                                                    Concurrently]
   26

   27
        1
   28    Acting Secretary McAleenan is automatically substituted for former Secretary
        Nielsen pursuant to Fed. R. Civ. P. 25(d).
                                                                 JOINT MOTION REGARDING PLAINTIFFS’
                                                                                 MOTION TO COMPEL
Case 3:17-cv-02366-BAS-KSC   Document 263    Filed 05/24/19   PageID.5663   Page 2
                                    of 300

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                                                       JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC          Document 263    Filed 05/24/19   PageID.5664   Page 3
                                           of 300

    1   I.      Plaintiffs’ Argument
    2           In February, Plaintiffs delivered two sets of requests for production to the
    3   Government in advance of the parties’ Fed. R. Civ. P. 26(f) conference. Since then,
    4   the Government has repeatedly sought to delay the deadline for its responses and
    5   objections to these requests, going so far as to file a procedurally defective and
    6   unsupported ex parte motion for a protective order, which the Government withdrew
    7   hours after filing it. See Dkt. Nos. 247-50. The Government also has signaled that
    8   it is not prepared to engage in customary electronic discovery—refusing to even
    9   produce responsive emails and attachments as “families” as the law and practice
   10   require. See Dkt. No. 251 at 2-8.
   11           The Government’s responses and objections to Plaintiffs’ First and Second
   12   Sets of Request for Production continue this trend. As explained in more detail
   13   below:
   14        • Rather than providing specific and meaningful responses to Plaintiffs’
   15           requests, the Government relies on a series of improper boilerplate objections.
   16           See infra at 2-6.
   17        • Although Plaintiffs have pled a class that includes all land ports of entry on
   18           the U.S.-Mexico border, the Government has refused to provide Plaintiffs’
   19           with class-wide discovery. See infra at 6-13.
   20        • The Government refuses to provide Plaintiffs with documents that directly
   21           relate to the Fed. R. Civ. P. 23(a) factors. See infra at 13-14.
   22        • The Government will not provide Plaintiffs with documents directly relevant
   23           to the “irreparable harm” prong of the permanent injunction standard such as
   24           documents showing the impact of the Government’s turnback policy. See
   25           infra at 14-15.
   26        • The Government has stated that it will not produce any documents regarding
   27           the intent of government officials because, in the Government’s view, this is
   28           solely an Administrative Procedures Act (“APA”) case. That is not true.
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Case 3:17-cv-02366-BAS-KSC         Document 263       Filed 05/24/19     PageID.5665       Page 4
                                          of 300

    1          Plaintiffs have plausibly pled claims for violations of the Immigration and
    2          Nationality Act (“INA”), the Fifth Amendment right to due process, and the
    3          Alien Tort Statue. Discovery should be at least as broad as Plaintiffs’ causes
    4          of action. See infra at 15-19.
    5       • Relatedly, the Government has refused to produce several categories of
    6          documents will show whether the Government’s asserted reasons for its
    7          turnback policy are a pretext, including (a) communications with anti-
    8          immigration lobbying groups (see infra at 19-20), (b) reactions to reports from
    9          non-governmental organizations (“NGOs”) documenting the turnback policy
   10          (see infra at 20-22), (c) communications with the White House regarding the
   11          implementation of the turnback policy (see infra at 22-23), and (d) derogatory
   12          comments made about noncitizens seeking asylum at the U.S.-Mexico border
   13          (see infra at 23-25).2
   14       As shown below, Plaintiffs’ requests are relevant, proportional to the needs of the
   15   case, and not unduly burdensome. The Government should be compelled to produce
   16   documents in response to Plaintiffs’ First and Second Set of Requests for Production.
   17          A.     The Government’s Boilerplate Objections Should Be Struck
   18          The Government improperly asserts multiple boilerplate objections to
   19   Plaintiffs’ First and Second Sets of Requests for Production. For instance, the
   20   Government incorporates by reference 15 general objections into requests 26
   21   through 109. See Appx. A at Gen. Objs. 1-15. Likewise, the Government asserts
   22   12 “Objections Which Apply to All Requests for Production” in response to requests
   23   1 through 25. See Appx. B at Gen. Objs. 1-12.
   24

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        2
          The Government served its responses and objections to Plaintiffs’ First and Second Set of
   26   Requests for Production on April 9, 2019. The parties met and conferred via telephone conference
        on April 30, 2019 and then exchanged correspondence in a further effort to narrow the disputes
   27   presented in this motion. In compliance with Chambers Rule V(A) this motion was filed on or
        within 45 days of the Government serving its responses and objections to Plaintiffs’ document
   28   requests.
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Case 3:17-cv-02366-BAS-KSC       Document 263      Filed 05/24/19    PageID.5666      Page 5
                                        of 300

    1         This is improper. A party responding to requests for production must “state
    2   with specificity the grounds for objecting to the request.”            Fed. R. Civ. P.
    3   34(b)(2)(B). Courts have repeatedly held that boilerplate objections are improper
    4   and cannot be used as a basis for withholding documents. See, e.g., Makaeff v.
    5   Trump Univ., LLC, 2013 WL 990918, at *6 (S.D. Cal. 2013) (where “the responding
    6   party provides a boilerplate or generalized objection [to discovery] the ‘objections
    7   are inadequate and tantamount to not making any objection at all.’” (quoting Walker
    8   v. Lakewood Condo. Owners Ass’n, 186 F.R.D. 584, 587 (C.D. Cal. 1999)); O’Shea
    9   v. Am. Solar Solution, Inc., 2016 WL 701215, at *2 (S.D. Cal. 2016) (overruling
   10   boilerplate objections); Anderson v. Hansen, 2012 WL 4049979, at *8 (E.D. Cal.
   11   2012) (“boilerplate objections do not suffice” and must be clarified, explained, and
   12   supported).
   13         This Court dealt with precisely this issue in Springer v. General Atomics
   14   Aeronautical Systems, 2018 WL 409745 (S.D. Cal. 2018). In Springer the defendant
   15   served responses to requests for production, interrogatory answers, and responses to
   16   requests for admission that were all subject to several general objections. Id. at *1-
   17   2. This Court held that stating that all responses to requests for production are
   18   “subject to” or incorporate a set of non-specific, boilerplate objections is insufficient.
   19   Id.at *2 The Court observed that “[t]his type of response to a discovery request is
   20   confusing and misleading and ‘leaves the requesting party guessing and wondering’
   21   as to whether the responding party actually provided a complete and accurate
   22   response.” Id..     The Court struck the defendant’s “non-specific, boilerplate
   23   objections . . . for failure to comply with the specificity requirements in the Federal
   24   Rules” and ordered the defendant to “[s]erve amended/supplemental responses to . .
   25   . written discovery . . . that fully comply with the Federal Rules and exclude ‘subject
   26   to’ and other non-specific, boilerplate objections that are unexplained and
   27   unsupported.” Id. at *5. The Court also warned that, if the defendant “continue[d]
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                                                              JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC      Document 263     Filed 05/24/19   PageID.5667     Page 6
                                       of 300

    1   to include general, boilerplate, unsupported and/or non-specific objections in it
    2   supplemental responses, the Court will overrule the objections and consider
    3   imposing monetary sanctions.” Id. at *2.
    4         The same is true here. In response to Plaintiffs’ First and Second Sets of
    5   Requests for Production, the Government asserts 11 general objections (which the
    6   Government characterizes as “Objections Which Apply to All Requests for
    7   Production”), 10 objections to definitions, and 4 objections to instructions. See
    8   Appx. A at Gen. Objs. 1-11, Objs. of Defs. at 1-10, & Objs. to Instructions 1-4;
    9   Appx. B at Gen. Objs. 1-11, Objs. of Defs. at 1-10, & Objs. to Instructions 1-4.
   10   These objections, which are not tethered to a single specific request for production,
   11   run approximately 15 pages. See generally Appx. A at Gen. Objs. 1-11, Objs. of
   12   Defs. at 1-10, & Objs. to Instructions 1-4; Appx. B at Gen. Objs. 1-11, Objs. of Defs.
   13   at 1-10, & Objs. to Instructions 1-4. Nearly all of the Government’s responses to
   14   Plaintiffs’ Second Set of Requests for Production begin with the phases “[s]ubject
   15   to, and without waiving, their objections Defendants’ respond as follows,” “[i]n light
   16   of Defendants’ objections,” or “[i]n accordance with Defendants’ objections.” See
   17   Appx. A at Resps. to RFPs. 1-23, 25; Appx. B at Resps. to RFPs. 26-34, 38-47, 53,
   18   55-57, 68, 70-72, 75-77, 79-80, 83-84, 86, 88-89, 91-92, 94-96, 107.           These
   19   statements that the Government will respond to requests for production “subject to”
   20   or “in accordance with” its general objections, objections to definitions, and
   21   objections to instructions provide Plaintiffs with no guidance as to what categories
   22   of information the Government intends to withhold from its document production.
   23   This violates the rule that the responding party must “state with specificity the
   24   grounds for objecting to the request” and “state whether any responsive materials
   25   are being withheld on the basis of that objection.” Fed. R. Civ. P. 34(b)-(c). This
   26   problem “run[s] deeper than . . . form or phrasing.” Liguria Foods, Inc. v. Griffith
   27   Labs., Inc., 320 F.R.D. 168, 185 (N.D. Iowa 2017). The Government’s repeated use
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Case 3:17-cv-02366-BAS-KSC        Document 263     Filed 05/24/19   PageID.5668      Page 7
                                         of 300

    1   of boilerplate objections “obstructs the discovery process, violates numerous rules
    2   of civil procedure, and imposes costs . . . that frustrate the timely and just resolution
    3   of cases.” Id.
    4         In response to the Government’s service of these boilerplate objections
    5   Plaintiffs’ “informally request[ed] that opposing counsel withdraw them . . . citing
    6   the significant body of cases that condemn the ‘boilerplate’ discovery practice.”
    7   Liguria Foods, 320 F.R.D. at 190. Although the Government served amended
    8   responded to Plaintiffs’ First and Second Set of Requests for Production, it has
    9   refused to withdraw these boilerplate objections. See Lev. Decl. ¶ 4. Under these
   10   circumstances, the Government’s boilerplate objections should be struck. See
   11   Liguria Foods, 320 F.R.D. at 190-91 (“If opposing counsel fail to withdraw their
   12   ‘boilerplate’ objections, the lawyers should go to the court and seek relief in the form
   13   of significant sanctions—because the offending lawyers have been warned, given
   14   safe harbor to reform and conform their ‘boilerplate’ discovery practices to the law,
   15   and failed to do so.”).
   16         Below, the Government insists that they have not asserted boilerplate
   17   objections because some of its responses occasionally reference the Government’s
   18   general objections. This is not the case. The Government cannot escape the plain
   19   language of its objections to Plaintiffs’ requests for production. The Government’s
   20   general objections state clearly that they “apply to all request for production.” See
   21   Appx. A at Gen. Objs. 1-11; Appx. B at Gen. Objs. 1-11. The Government then
   22   attempts to incorporate these general objections into nearly all of its responses by
   23   stating that it will produce documents “subject to” or “in accordance with” those
   24   general objections. See Appx. A at Resps. to RFPs. 1-23, 25; Appx. B at Resps. to
   25   RFPs. 26-34, 38-47, 53, 55-57, 68, 70-72, 75-77, 79-80, 83-84, 86, 88-89, 91-92,
   26   94-96, 107. The Government cannot rewrite this language merely by pointing to
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Case 3:17-cv-02366-BAS-KSC       Document 263    Filed 05/24/19   PageID.5669     Page 8
                                        of 300

    1   limited instances where it references its boilerplate objections. Consequently, the
    2   Government’s boilerplate objections and they should be struck.
    3         B.     The Government Should Be Compelled to Produce Class-Wide
    4                Discovery
    5         The Government’s attempt to withhold class-wide discovery is improper. In
    6   its responses to Plaintiffs’ First and Second Sets of Requests for Production, the
    7   Government limits its responses to 4 of the approximately 45 ports of entry on the
    8   U.S.-Mexico border. See Appx. A at Gen. Obj. 6, Obj. to Def. 2, Objs. to RFPs 1-
    9   11, 13-14, 16, 18-23, 25; Appx. B at Gen. Objs. 5-6, Obj. to Defs. 2-3, Objs. to RFPs
   10   42, 44, 46-47, 53-54, 72, 75-77, 82-84, 91-92, 94-95, 107. The Government attempts
   11   to limit its responses to documents related to the four ports of entry where the named
   12   plaintiffs attempted to cross the U.S.-Mexico border—San Ysidro, Otay Mesa,
   13   Hidalgo, and Laredo. However, Plaintiffs Second Amended Complaint is not
   14   limited to these four ports of entry. Plaintiffs plead a class that encompasses all of
   15   the ports of entry that are capable of processing noncitizens seeking asylum in the
   16   United States. See Dkt. 189 at ¶ 236. This class includes “[a]ll noncitizens who
   17   seek or will seek to access the U.S. asylum process by presenting themselves at a
   18   POE along the U.S.-Mexico border and are denied access to the U.S. asylum process
   19   by or at the instruction of CBP officials.” Id. Despite having raised various
   20   pleading-stage arguments, the Government has not moved to strike these class
   21   allegations or suggested that they are not plausible. See generally Dkt. 192-1. As a
   22   result, Plaintiffs should be permitted to take discovery that is as broad as the class
   23   pled in its Second Amended Complaint.
   24         Class-wide Discovery Is Relevant.        There is no doubt that class-wide
   25   discovery is relevant to this class action. The Federal Rules of Civil Procedure
   26   authorize parties to obtain discovery of “any nonprivileged matter that is relevant to
   27   any party’s claim or defense.” Fed. R. Civ. P. 26(b)(1). “Information within the
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                                                            JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC      Document 263      Filed 05/24/19    PageID.5670     Page 9
                                       of 300

    1   scope of discovery need not be admissible in evidence to be discoverable.” Id. “The
    2   party resisting discovery generally bears the burden to show that the discovery
    3   requested is irrelevant to the issues in the case or is not proportional to the needs of
    4   the case. If the resisting party meets its burden, then the burden shifts to the moving
    5   party to show the information is relevant and necessary.” Kellgren v. Petco Ani.
    6   Supplies, Inc., 2016 WL 4097521, at *2 (S.D. Cal. 2016); see also Henderson v.
    7   Holiday CVS, L.L.C., 269 F.R.D. 682, 686 (S.D. Fla. 2010) (“The party resisting
    8   discovery has a heavy burden of showing why the requested discovery should not
    9   be permitted.”).
   10         Evidence is relevant if it has “any tendency to make the existence of any fact
   11   that is of consequence to the determination of the action more probable than it would
   12   be without the evidence.” Old Chief v. United States, 519 U.S. 172, 178 (1997).
   13   Therefore, “[t]he question of relevancy should be construed liberally and with
   14   common sense and discovery should be allowed unless the information sought has
   15   no conceivable bearing on the case.” Solo v. City of Concord, 162 F.R.D. 603, 610
   16   (N.D. Cal. 1995) (citation omitted); see also Ghorbain v. Guardian Life Ins. Co. of
   17   Am., 2016 U.S. Dist. LEXIS 116132, at *3 (W.D. Wash. 2016) (“The court should
   18   and ordinarily does interpret ‘relevant’ very broadly to mean matter that is relevant
   19   to anything that is or may become an issue in the litigation.”) (citation omitted).
   20         In this case, class-wide discovery is necessary to determine several factors
   21   relevant to class certification. For example, whehter the class representatives’
   22   treatment at the San Ysidro, Otay Mesa, Hidalgo, and Laredo ports of entry is typical
   23   of the Government’s treatment of other noncitizens seeking asylum at other ports of
   24   entry. By taking the position that Plaintiffs are not entitled to discovery as broad as
   25   their class definition, the Government is attempting to deny Plaintiffs the very
   26   discovery that would support a motion for class certification. For instance, in its
   27   interrogatory answers the Government asserts that “[e]ach port of entry along the
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                                                             JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5671     Page
                                     10 of 300

   1   southern border has a unique operating environment and unique resource
   2   constraints.” Ex. 1 at Interrog. Resp. 1. The Government also claims that directors
   3   of field operations at various ports of entry “have discretion to implement procedures
   4   to manage the flow of travelers at the land border.” Id. Plaintiffs are entitled to
   5   class-wide discovery to test these self-serving assertions regarding typicality and
   6   commonality.
   7         In response, the Government argues that class actions are the exception, not
   8   the rule and that Plaintiffs’ claims are “limited to policies issued and actions taken
   9   by the headquarters portions of [U.S. Customs and Border Protection’s] Office of
  10   Field Operations and the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of entry,
  11   and any Requests that go beyond the scope of the specific claims and allegations at
  12   issue are legally improper and thus irrelevant.” See Appx. A at Gen. Obj. 6. But
  13   this argument is based on a deliberate misreading of Plaintiffs’ Second Amended
  14   Complaint. As noted above, Plaintiffs seek injunctive relief for a class of all
  15   noncitizens that were denied the ability to seek asylum at a port of entry on the U.S.-
  16   Mexico border due to the Government’s turnback policy. See Dkt. 189 at ¶ 236.
  17   The Government cannot simply ignore these allegations. Accordingly, Plaintiffs
  18   requests for class-wide discovery—i.e., discovery from all ports of entry on the U.S.-
  19   Mexico border—are relevant and should be produced.
  20         Producing Class-Wide Discovery Would Not Be Unduly Burdensome. The
  21   Government claims that producing documents from more than four ports of entry on
  22   the U.S.-Mexico border would be unduly burdensome. Appx. A at Gen. Obj. 6. The
  23   Government reasons that discovery from four ports of entry⸺San Ysidro, Otay
  24   Mesa, Hidalgo, and Laredo⸺plus discovery from CBP’s Office of Field Operations
  25   should suffice to show whether the Government’s turnback policy exists. Id.
  26   Therefore, the Government claims that “[a]ny discovery from other ports of entry
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                                                            JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5672     Page
                                     11 of 300

   1   along the U.S.-Mexico border would be either irrelevant or duplicative and unduly
   2   burdensome.” Id. This is wrong.
   3          “The party claiming undue burden ‘must allege specific facts which indicate
   4   the nature and extent of the burden, usually by affidavit or other reliable evidence.’”
   5   Acosta v. Wellfleet Commc’ns, LLC, 2018 WL 664779, at *8 (D. Nev. 2018)
   6   (quoting Jackson v. Montgomery Ward & Co., Inc., 173 F.R.D. 524, 528-29 (D. Nev.
   7   1997)). “Conclusory or speculative statements of harm, inconvenience, or expense
   8   are plainly insufficient.” Nationstar Mortg., LLC v. Flamingo Trails No. 7
   9   Landscape Maint. Ass’n, 2016 WL 4071988, at *4 (D. Nev. 2016). “The fact that
  10   production of documents would be burdensome and expensive and would hamper a
  11   party’s business operation is not a reason for refusing to order production of relevant
  12   documents. . . . The standard is whether the burden and expense is ‘undue’ and
  13   whether the hardship is unreasonable in light of the benefits to be secured from the
  14   discovery.” Acosta, 2018 WL 664779, at *8.
  15         Here, the Government never asserts any specific facts substantiating its undue
  16   burden argument. Nor can it. The parties’ ESI Protocol imposes reasonable
  17   limitations on discovery. It requires the parties to exchange information regarding
  18   proposed custodians and non-custodial sources of documents. Then, the parties
  19   negotiate amongst themselves regarding custodians, non-custodial sources, and
  20   search terms. These negotiations are ongoing. The Government has not run a single
  21   set of search terms across any of its custodians or non-custodial sources. The
  22   Government cannot say whether class-wide discovery will lead to a burdensome
  23   document review and production. Nor can the Government cite any specific facts
  24   showing that class-wide discovery, as a rule, would be unduly burdensome or
  25   duplicative. Therefore, the Government’s undue burden objections are speculative
  26   and premature.
  27         Class-Wide Discovery Is Proportional in a Class Action. The Government
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                                                            JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5673     Page
                                     12 of 300

   1   argues that producing class-wide discovery is “not proportional to the needs of the
   2   case.” Appx. A at Gen. Obj. 6. This is incorrect. Parties are entitled to discovery
   3   that is relevant, non-privileged, and “proportional to the needs of the case,
   4   considering the importance of the issues at stake in the action, the amount in
   5   controversy, the parties’ relative access to relevant information, the parties’
   6   resources, the importance of the discovery in resolving the issues, and whether the
   7   burden or expense of the proposed discovery outweighs its likely benefit.” Fed. R.
   8   Civ. P. 26(b).
   9         The matters at stake in this litigation are highly important. The INA “deals
  10   with one of the oldest and most important themes in our Nation’s history:
  11   [w]elcoming homeless refugees to our shores,” and it “gives statutory meaning to
  12   our national commitment to human rights and humanitarian concerns.” 125 Cong.
  13   Rec. 23231-32 (1979). For noncitizens seeking to access the U.S. asylum process,
  14   “asylum confers additional important benefits . . ., such as the ability to proceed
  15   through the process with immediate family members . . . and a path to citizenship.”
  16   E. Bay Sanctuary Covenant v. Trump, 349 F. Supp. 3d 838, 864-65 (N.D. Cal. 2018).
  17   Plaintiffs allege that the Government has adopted an illegal turnback policy that
  18   undermines the important statutory right to access the U.S. asylum process.
  19         The parties’ relative access to information also favors class-wide discovery.
  20   In order to certify a class, Plaintiffs must show, amongst other things, that “there are
  21   questions of law or fact common to the class” and “the claims or defenses of the
  22   representative parties are typical of the claims or defenses of the class.” Fed. R. Civ.
  23   P. 23(a)(2)-(3). In order to determine whether the elements of commonality and
  24   typicality are satisfied, Plaintiffs need class-wide discovery to determine whether
  25   the treatment of the representative plaintiffs at the San Ysidro, Otay Mesa, Laredo,
  26   and Hidalgo ports of entry are typical of the claims or defenses of absent class
  27   members who sought to access the asylum process at other ports of entry along the
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                                                            JOINT MOTION REGARDING PLAINTIFFS’
                                                                            MOTION TO COMPEL
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5674     Page
                                     13 of 300

   1   U.S.-Mexico border.     Moreover, Plaintiffs need to access class-wide evidence
   2   concerning whether and how the turnback policy was implemented to determine
   3   whether there are questions of law and fact common to the class. Information
   4   regarding whether and how the turnback policy was implemented is uniquely within
   5   the control of the Government; Plaintiffs do not currently have access to internal
   6   Government communications and documents concerning the implementation of the
   7   turnback policy at ports of entry along the U.S.-Mexico border.
   8          The parties’ resources also favor class-wide discovery. The United States
   9   government certainly has more resources than a nonprofit, several refugees, and their
  10   pro bono counsel.
  11          Lastly, there is no evidence that the burden or expense of class-wide discovery
  12   outweighs its likely benefit. As noted above, the parties are still negotiating
  13   regarding custodians, non-custodial sources, and search terms. It is premature for
  14   the Government to weigh the benefits of class-wide discovery against its supposed
  15   burden and expense.
  16          The Government Cannot Condition Producing Class-Wide Discovery on
  17   Class Certification. The Government objects to providing class-wide discovery
  18   because no class has been certified. See Appx. A at Gen. Obj. 6. This is flawed for
  19   two reasons.
  20          First, the Government’s position is essentially that discovery should be
  21   bifurcated—the Government will only provide discovery about four ports of entry
  22   now, and it may provide further discovery about other ports of entry after class
  23   certification.   But the Court has already ruled that discovery should not be
  24   “bifurcated or limited” and that the parties should “prioritize discovery necessary for
  25   a motion for class certification.” Dkt. 196 at 2. By refusing to provide discovery
  26   relevant to the class, as opposed to merely the named class representatives, the
  27   Government deprives Plaintiffs of the ability to prove class certification is proper.
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                                                            JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5675      Page
                                      14 of 300

   1         Second, the Government’s position that class-wide discovery can only be
   2   provided after class certification ignores the fact that “there is no clear-cut division
   3   between discovery that relates to class certification and discovery that relates to the
   4   merits.” Munoz v. PHH Corp., 2016 WL 10077139, at *4 (E.D. Cal. 2016); see also
   5   Ahmed v. HSBC Bank USA, N.A., 2018 WL 501413, at *3 (C.D. Cal. 2018) (“[T]he
   6   distinction between class certification and merits discovery is murky at best and
   7   impossible to determine at worst.”). Allowing the Government to draw arbitrary
   8   lines between class and merits discovery only invites error: “Simply stated, if district
   9   courts as neutral arbiters of the law find the distinction between merits and class
  10   issues to be murky at best, and impossible to discern at worst, the Court cannot
  11   imagine how parties with an incentive to hold back damaging evidence, can properly
  12   draw the line between these categories of evidence.” Lakeland Reg’l Med. Ctr., Inc.
  13   v. Astellas US, LLC, 2011 WL 486123, at *2 (M.D. Fla. 2011).
  14         In this case, discovery concerning both class certification and merits issues
  15   will naturally overlap to some extent. For instance, discovery into merits issues also
  16   will address questions common to the class such as (1) the formulation of the
  17   turnback policy, (2) when and how the turnback policy was implemented at each
  18   port of entry along the U.S.-Mexico border, (3) whether the Government has a legal
  19   justification for that turnback policy, and (4) whether the Government’s conduct at
  20   ports of entry along the U.S.-Mexico border supports or undermines that asserted
  21   legal justification. Therefore, Plaintiffs will need some discovery that touches on
  22   merits issues in order to prepare for class certification. As is relevant to this motion,
  23   Plaintiffs need to know the names and titles of the individuals with responsibilities
  24   for making port-of-entry-level decisions regarding the implementation and timing of
  25   the turnback policy. Accordingly, the Government should produce class-wide
  26   discovery in response to Plaintiffs’ requests for production.
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                                                             JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5676      Page
                                      15 of 300

   1         Since class-wide discovery is necessary to address commonality, typicality,
   2   and other factors necessary for class certification and the merits discovery and class
   3   discovery are naturally entwined, the Government should be compelled to produce
   4   class-wide discovery.
   5         C.     The Government Should Be Compelled to Produce Documents
   6                Concerning the Rule 23(a) Factors
   7         In addition to failing to provide Plaintiffs with class-wide discovery, the
   8   Government will not even produce documents regarding the Rule 23 factors for class
   9   certification. In order to certify a class, Plaintiffs must show, amongst other things,
  10   that “there are questions of law or fact common to the class” and “the claims or
  11   defenses of the representative parties are typical of the claims or defenses of the
  12   class.” Fed. R. Civ. P. 23(a)(2)-(3). To address these elements are satisfied, Plaintiffs
  13   requested documents directly related to these factors. See Appx. B at Resps. to RFPs
  14   96-100. In response, the Government asserts that it has no documents responsive to
  15   these requests. See id.
  16         However, just days later the Government served interrogatory answers
  17   undermining its objections. In its interrogatory answers, the Government asserts that
  18   each port of entry faces different and “unique” challenges with respect to resource
  19   constraints and noncitizens seeking to access the U.S. asylum process. See Ex. 1 at
  20   Interrog. Resp. 1. The Government’s interrogatory answer directly touches on the
  21   commonality and typicality tests for class certification. The Government would not
  22   have signed and verified these interrogatories if it did not believe that there was a
  23   factual basis for those statements. The Government should produce the documents
  24   that form the factual basis for those statements and any other documents relevant to
  25   the class certification factors. See, e.g., Kimble v. Specialized Loan Servicing, LLC,
  26   2018 WL 1693197, at *3-4 (S.D. Cal. 2018) (granting Plaintiffs’ motion to compel
  27   documents necessary to show the elements of Rule 23); A.A. v. County of Riverside,
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                                                             JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19        PageID.5677      Page
                                       16 of 300

   1   2016 WL 10576640, at *5-7 (C.D. Cal. 2016) (ordering production of documents
   2   relevant to determining commonality or, after reasonable inquiry, requiring
   3   defendant to provide a supplement response certifying that no responsive documents
   4   exist).
   5             D.    The Government Should Produce Documents Regarding the
   6                   Impact of the Turnback Policy
   7             A plaintiff seeking a permanent injunction must show, amongst other things
   8   “that it has suffered an irreparable injury.” Cottonwood Envt’l Law Ctr. v. U.S.
   9   Forest Serv., 789 F.3d 1075, 1088 (9th Cir. 2015). To show that they have suffered
  10   irreparable injury, Plaintiffs have requested documents with information on
  11   individuals whom CBP has refused to inspect or process at ports of entry, including
  12   documents addressing any harm to individuals’ health or wellbeing as a consequence
  13   of the efforts to limit the number of asylum applicants as well as statistics on the
  14   number of noncitizens CBP has refused to inspect or process. See Appx. B at RFPs.
  15   73 & 78.
  16             In response to these requests, the Government asserts argues the documents
  17   are not relevant and asserts its view that it does not refuse to inspect or process
  18   individuals at the ports of entry. See Appx. B at Resps. to RFPs. 73 & 78. None of
  19   these objections have any merit. First, the negative consequences of the turnback
  20   policy are plainly relevant to Plaintiffs’ claim that they have suffered irreparable
  21   harm. Second, the Government’s claim that it does not refuse to inspect or process
  22   individuals is not a valid objection. Because the question of whether the Government
  23   refuses to process individuals goes to the merits of Plaintiffs’ claims, the
  24   Government cannot limit the production of relevant documents merely because it
  25   contests Plaintiffs’ claims. See Doherty v. Comenity Capital Bank, 2017 WL
  26   1885677, at *5 (S.D. Cal. 2017) (refusing to adopt defendant’s construction of a
  27   definition at issue in the case for the purposes of discovery as it “is a merits issue.”).
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                                                             JOINT MOTION REGARDING PLAINTIFFS’
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                                                   14
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5678     Page
                                     17 of 300

   1   Accordingly, the Government should be compelled to produce documents
   2   responsive the Requests 73 and 78.
   3         E.     The Government’s APA Objections Are Meritless
   4         The Government generally objections to Plaintiffs’ requests as “facially
   5   improper in this [APA] case.” See Appx. A Gen. Obj. 1; Appx. B Gen. Obj. 1. In
   6   the Government’s view, “Plaintiffs’ claims should be decided on the administrative
   7   record without discovery.” Appx. A Gen. Obj. 1; Appx. B Gen. Obj. 1. The
   8   Government argues that it asserts this objection for purposes of preserving it pending
   9   a ruling on its motion to dismiss, but goes on to describe how this objection “serves
  10   as a limiting principle on the parameters of Defendants’ search for documents.”
  11   Appx. A Gen. Obj. 1; Appx. B Gen. Obj. 1. The Government cannot pretend this is
  12   simply a preservation objection while maintaining it will not search for these types
  13   of documents.
  14         Plaintiffs have not solely pleaded APA claims. Plaintiffs also assert causes
  15   of action for declaratory and injunctive relief for violations of the Immigration and
  16   Nationality Act (“INA”), violations of Plaintiffs’ federal due process rights under
  17   the Fifth Amendment, and declaratory and injunctive relief under the Alien Tort
  18   Statute for violation of the non-refoulement doctrine. See Second Am. Compl. ¶¶
  19   244-55, 283-93, 294-303. Yet in its responses to Plaintiffs’ First and Second Sets of
  20   Requests for Production, the Government pretends that these causes of action either
  21   do not exist or have been dismissed already. This is not a proper objection. Rule
  22   26(b)(1) does not give a party “the unilateral ability to dictate the scope of discovery
  23   based on their own view of the parties’ respective theories of the case.” Sentis Grp.,
  24   Inc. v. Shell Oil Co., 763 F.3d 919, 925 (8th Cir. 2014); see also McDonald v. Hardy,
  25   821 F.3d 882, 890 (7th Cir. 2016) (“Litigants, however, cannot ignore legitimate
  26   discovery requests based on a unilateral belief that flouting the rules of procedure
  27   will not harm their opponents”). That is precisely what the Government is trying to
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                                                            JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5679     Page
                                     18 of 300

   1   do here—impose its own narrow construction of the claims, as well as selectively
   2   predict their survival on Defendants’ motion to dismiss. “[A] party cannot refuse to
   3   produce a requested document or information because it is relevant to a claim or
   4   defense on which the producing party believes it will prevail.” Heller v. City of
   5   Dallas, 303 F.R.D. 466, 489 (N.D. Tex. 2014). Here, the Government’s subjective
   6   construction of the claims at issue, which ignores several of Plaintiffs’ causes of
   7   action, and its belief that it will ultimately prevail on some of Plaintiffs’ claims,
   8   should have no bearing on the scope of discovery.
   9         Even if this case were limited to APA claims, Plaintiffs are entitled to
  10   discovery beyond the administrative record.         Courts have repeatedly allowed
  11   plaintiffs to take discovery beyond the “administrative record” when the plaintiff
  12   asserts both an APA claim and a constitutional claim, such as Plaintiffs’ Fifth
  13   Amendment claim here. See, e.g., Porter v. Califano, 592 F.2d 770, 780-81 (5th Cir.
  14   1979); Bolton v. Pritzker, 2016 WL 4555467, at *4 (W.D. Wash. 2016); Grill v.
  15   Quinn, 2012 WL 174873, at *2 (E.D. Cal. 2012); Jordan v. Wiley, 2009 WL 980313,
  16   at *2 (D. Colo. 2009). Courts do so because a constitutional claim “is reviewed
  17   independent of the APA” and accordingly, the court is entitled to look beyond the
  18   administrative record. See, e.g., Porter, 592 at 780-81.
  19         The Government’s objections also ignore the substance of Plaintiffs’ APA
  20   claims. Where, as is the case here, a plaintiff brings an APA action to compel agency
  21   action that has been unlawfully withheld or unreasonably delayed, see 5 U.S.C. §
  22   706(1), “review is not limited to the record as it existed at any single point in time,
  23   because there is no final agency action to demarcate the limits of the record.” Friends
  24   of the Clearwater v. Dombeck, 222 F.3d 552, 560 (9th Cir. 2000) (emphasis added).
  25   Thus, “in APA failure to act cases review is not limited to the administrative record.”
  26   Yurok Tribe v. U.S. Bureau of Reclamation, 231 F. Supp. 3d 450, 469 (N.D. Cal.
  27   2017).
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5680     Page
                                     19 of 300

   1         The Government’s Intent Is Relevant. The Government argues that because
   2   intent is not an element of Plaintiffs’ APA claims, the motivation of agency decision-
   3   makers is immaterial as a matter of law and not properly discoverable. Appx. B at
   4   Gen. Obj. 2. (citing Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S.
   5   252, 268 n.18 (1977)). As a result, the Government states that it “will not search for,
   6   produce, or log any documents in response to Plaintiffs’ requests” that concern
   7   Defendants’ intent or motivations, and that this objection “serves as a limiting
   8   principle on the parameters of Defendants’ search for responsive documents.” Id.
   9         This argument fails for three reasons. First, this is not solely an APA case.
  10   See supra at 15-16. Second, the Government’s reliance on Arlington Heights and
  11   similar cases is misplaced. The Government here seems to be generally and
  12   preemptively asserting a blanket privilege objection in the guise of a relevance
  13   objection. In Arlington Heights, a non-profit real estate developer and several
  14   individuals claimed that a municipal zoning law and denial by town officials of a
  15   rezoning request to permit construction of a low-cost housing project were racially
  16   discriminatory in violation of the Fourteenth Amendment, the federal Fair Housing
  17   Act, and several other federal laws. 429 U.S. at 254. Contrary to the Government’s
  18   position, when discussing the type of evidence needed by plaintiffs to prove
  19   discrimination, the Court stated that legislative and administrative history might be
  20   highly relevant, as would be the sequence of events leading up to the challenged
  21   decision, minutes of meetings and official reports, and substantive departures from
  22   established procedures. Id. at 266-68. In discussing this evidence, the Court also
  23   recognized that in “some extraordinary instances the [town officials] might be called
  24   to the stand to testify concerning the purpose of the official [zoning] action.” Id. at
  25   268. In this case, the documents that Plaintiffs seek are precisely the evidence that
  26   Arlington Heights suggests is permissible and not extraordinary.
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Case 3:17-cv-02366-BAS-KSC          Document 263 Filed 05/24/19             PageID.5681       Page
                                         20 of 300

   1          To the extent that Plaintiffs’ Requests For Production may be interpreted as
   2   seeking legislative or executive motivation, courts are “not inclined to hold that a
   3   judicially crafted evidentiary privilege based on federal common law can, with
   4   unflinching and absolute effect, trump[s] the need for direct evidence that is highly
   5   relevant to the adjudication of public rights guaranteed by federal statutory law and
   6   the Constitution.” Bethune-Hill v. Va. State Bd. of Elections, 114 F. Supp. 3d 323,
   7   337 (E.D. Va. 2015).3
   8          Third, the Government’s argument that intent is not relevant to this case
   9   misses the mark. In its interrogatory responses, the Government attempts to justify
  10   its turnback policy as a rational reaction to increasing number of noncitizens seeking
  11   asylum and the limited resources at ports of entry to process those noncitizens. See
  12   Ex. 1 at Interrog. Resp. 1. The Government appears to be arguing that⸺despite its
  13   duty to comply with the INA, the Fifth Amendment, and the international legal
  14   principal of non-refoulement⸺the hardships that the Government would face in
  15   complying with an injunction prohibit this Court from entering a permanent
  16   injunction. See Cottonwood Envt’l Law Ctr., 789 F.3d at 1088. Plaintiffs seek to
  17   test whether the Government’s likely asserted hardship is a pretext—i.e., whether
  18   the Government’s claims of limited capacity and limited resources are actually a
  19   cover for a Government-created “crisis” that was caused by officials seeking to limit
  20   or end the practice of noncitizens seeking asylum at the U.S.-Mexico border.
  21          Accordingly, the Court should strike the Government’s general objections
  22   based on the APA. See Appx. A Gen. Obj. 1; Appx. B Gen. Obj. 1.
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         For that reason, In re Subpoena Duces Tecum Served on the Office of the Comptroller of the
  25   Currency, 156 F.3d 1279, 1279 (D.C. Cir. 1998) is equally inapplicable. There, the Court clarified
       an earlier ruling regarding the availability of the deliberative process privilege in an APA case in
  26   which the cause of action was directed at the agency’s subjective motivation. Here, the
       Government has not yet asserted privilege over any particular material, but is making broad and
  27   premature privilege objections (over material for which it has said it will not search) in the guise
       of relevance objections. This is improper under Rule 26 and, as discussed above, simply incorrect
  28   since the information Plaintiffs seek is relevant.
                                                                   JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5682      Page
                                      21 of 300

   1         F.     The    Government        Should     Produce     Communications        With
   2                Lobbying Groups Regarding the Turnback Policy
   3         Several of the Government’s refusals to produce documents flow from the
   4   same misunderstanding of the relevance of intent and pretext. The Government
   5   refuses to produce communications between the Government’s document custodians
   6   and “any labor union representing CBP or DHS employees,” or the Federation for
   7   American Immigration Reform “relat[ing] to limiting, capping, or metering the
   8   number of [individuals] that are allowed to present themselves at a port of entry on
   9   the U.S.-Mexico border to seek asylum.” See Appx. B at RFPs. 58-63. But these
  10   external communications regarding the turnback policy may reveal that the
  11   Government’s asserted hardships are really just a pretext for a desire to undermine
  12   the protections that the INA affords to noncitizens seeking asylum at a port of entry.
  13         The Government’s objections to Requests 58-63 have no merit. First, the
  14   Government argues that this information is not relevant because it does not “bear on
  15   the issues in this case,” which it views as limited to Plaintiffs’ APA claim. See Appx.
  16   B at Resps. to RFPs 58-63. As discussed above, this is a self-servingly narrow view
  17   of the claims and defenses at issue in the case. Supra at 15-16. Rule 26(b)(1) does
  18   not give a party “the unilateral ability to dictate the scope of discovery based on their
  19   own view of the parties’ respective theories of the case.” Sentis Grp., Inc., 763 F.3d
  20   at 925.
  21         Next, the Government argues that these Requests are not proportional to the
  22   needs of the case and are overbroad and unduly burdensome because “a complete
  23   response would require Defendants to collect and search the documents of each of
  24   the named Defendants [and their] agents, representatives, employees, attorneys and
  25   investigators,” which the Government contends amounts to roughly 329,000
  26   employees. See Appx. B at Resps. to RFPs 58-63. The Government further cites
  27   case law from this Court for the proposition that a discovery request that obligates a
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                                                             JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC     Document 263 Filed 05/24/19       PageID.5683    Page
                                    22 of 300

   1   party to “canvas every employee who might have had a conversation” with a target
   2   would be “onerous and over burdensome.” Alfaro v. City of San Diego, No. 17-cv-
   3   46, 2018 WL 4562240, at *3 n.3 (S.D. Cal. 2018). But that argument ignores the
   4   reality of the parties’ discussions thus far. Plaintiffs do not expect, and have not
   5   requested that, the Government to “canvas” every one of the 329,000 employees
   6   over which the named Defendants have authority. The parties have extensively
   7   negotiated an ESI Order that governs the search for, collection, and production of
   8   documents.    Consistent with that Order, the parties are currently negotiating
   9   reasonable limitations on custodians, non-custodial sources, and search terms.
  10         Accordingly, the Government should produce communications with lobbying
  11   groups regarding the turnback policy.
  12         G.     The Government’s Reactions to This Lawsuit and NGO Reports
  13                Should Be Produced
  14         The Government has also refused to produce non-privileged documents or
  15   communications containing (1) reactions by relevant officials to the filing of this
  16   lawsuit (Appx. B at RFP No. 35) and (2) reactions by relevant officials of news
  17   articles and NGO reports related to the metering policies alleged in the Complaint
  18   (id. at RFP 37). The Government contends that the requested documents “are not
  19   relevant to any party’s claims or defenses because they do not bear on” what the
  20   Government describes as “the issues in this case.” Appx. B at RFP Resps. 35 & 37.
  21         This objection is wrong in two ways. First, the RFPs are targeted at documents
  22   that bear directly on these key issues in the case identified by the Government. RFP
  23   No. 35 seeks Defendants’ internal reactions to Plaintiffs’ filing of this lawsuit,
  24   including—critically—whether the allegations about the turnback policy are true
  25   and accurate. The requested documents under RFP No. 35 will also encompass
  26   communications between Government officials expressing relief that the Complaint
  27   omitted certain key facts, deliberations about whether the Government should issue
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5684     Page
                                     23 of 300

   1   a public response to the litigation, or internal concerns that the Government’s
   2   unannounced turnback policy has been publicly exposed. There is little doubt that
   3   the Government’s candid and contemporaneous reactions to this lawsuit will be
   4   highly relevant to confirming whether the claims in the suit are meritorious.
   5         The documents sought under RFP No. 37 are similarly relevant and should be
   6   produced. RFP No. 37 requests documents and communications containing the
   7   Government’s “reactions to, comments on, or criticism of any news media accounts
   8   or reports of non-governmental organizations related to any formal or informal
   9   policy, practice, or effort to meter or limit the number of noncitizens who can apply
  10   for asylum at a port of entry on the U.S.-Mexico border.” This public criticism of
  11   the Government includes reporting on the number of asylum seekers that have been
  12   turned away by CBP (see Dkt. 189 ¶ 49 n.39), dangerous conditions facing asylum
  13   seekers in Mexico (see Dkt. 189 ¶ 46 n.28), and the Government’s acknowledgment
  14   that it is turning away asylum applicants (see Dkt. 189 ¶ 68). The Government’s
  15   internal reactions to this public criticism will, amongst other things, show whether
  16   the Government believes these criticisms to be meritorious and may reveal whether
  17   the Government’s asserted capacity defense is a pretext for undermining the U.S.
  18   asylum process.
  19         Second, the Government’s description of the relevant issues in the case is
  20   artificially narrow and ignores entirely the issue of why the Government
  21   implemented the turnback policy. The Government argues in its general objections
  22   that any information “relating to any DHS or CBP employee’s subjective intentions
  23   or motivations . . . is facially improper” because “the actual subjective motivation of
  24   agency decisionmakers is immaterial as a matter of law” in an APA review. Appx.
  25   B at Resps. to RFPs 35 & 37 (quoting In re Subpoena Duces Tecum Served on the
  26   Office of the Comptroller of the Currency, 156 F.3d 1279, 1279 (D.C. Cir. 1998).
  27   But the Government omitted the second half of the quotation from In re Subpoena:
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5685     Page
                                     24 of 300

   1   “[T]he actual subjective motivation of agency decisionmakers is immaterial as a
   2   matter of law—unless there is a showing of bad faith or improper behavior.” 156
   3   F.3d at 1279 (emphasis added). There is no dispute that Plaintiffs have alleged bad
   4   faith and improper behavior by the Government. See Dkt. 189 ¶2 (“CBP has engaged
   5   in an unlawful, widespread pattern and practice of denying asylum seekers access to
   6   the asylum process . . . through a variety of illegal tactics . . . include[ing] lying;
   7   using threats, intimidation and coercion; employing verbal abuse and applying
   8   physical force.”). Accordingly, these Requests are also relevant to uncovering
   9   internal communications and discussions about why the turnback policy was
  10   implemented and whether the Government’s proffered reasons for the policy are
  11   pretextual. See supra at 16-18.
  12         Finally, these requests are narrow in scope and present a minimal burden to
  13   the Government. By its nature, RFP 35 is limited in time to immediately after the
  14   lawsuit was filed and narrowly focused on non-privileged communications
  15   discussing or analyzing the lawsuit and the allegations in the Complaint. Similarly,
  16   RFP 37 is focused on responses to and communications related to articles concerning
  17   the turnback policy. There is nothing in the Government’s objections to substantiate
  18   its argument that these requests pose an undue burden.
  19         H.     Statements by the White House and The Government’s Reactions
  20                to Them Should Be Produced
  21         The Government has refused to produce documents (1) relating to statements
  22   released by the White House regarding noncitizens or (2) containing the reactions of
  23   relevant officials to these statements because it believes that those documents are
  24   not relevant. See Appx. A at RFP. 24; Appx. B at RFP 36.
  25         Not so. The Government’s description of the relevant issues in the case fails
  26   to account for the issue of the Government’s reasons for implementing the turnback
  27   policy considering that Plaintiffs’ have alleged bad faith and improper behavior. See
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Case 3:17-cv-02366-BAS-KSC          Document 263 Filed 05/24/19            PageID.5686        Page
                                         25 of 300

   1   supra at 16-18. The President and White House officials have made numerous
   2   statements about noncitizens and the asylum process that speak to the reasons for
   3   the turnback policy.4 The reactions of officials to these statements are also relevant
   4   as these documents would encompass, for example, internal discussions about
   5   whether these statements accurately reflect the motivations for the policy or whether
   6   the officials decided to take action in response to these statements. Such documents
   7   are highly relevant to determining whether the Government’s asserted reasons for
   8   the turnback policy are pretextual or not.
   9          I.      Derogatory Comments Regarding Asylum Seekers Should be
  10                  Produced
  11          The Government has refused to search for and produce any derogatory
  12   comments or data regarding asylum seekers. See Appx. B at Resps. to RFPs 64-65,
  13   67, 69. The Government argues that derogatory comments regarding asylum seekers
  14   are not relevant to the claims or defenses at issue in the case. Id. at Resps. to RFPs
  15   64-65, 69. The Government’s argument that the use of derogatory language is not
  16   relevant is rooted in its position that this is solely an APA case and that subjective
  17   motivation of lawmakers, or intent, is “immaterial as a matter of law.” See, e.g.,
  18   Appx. B at Resps. to RFP 69. The problem with this argument, as discussed, is that
  19   this is not solely an APA case; even if this were an APA case, discovery is not as
  20   circumscribed as the Government contends; and intent is highly relevant to the
  21   claims and defenses at issue. See supra at 16-18.
  22          If the Government’s document custodians were exchanging derogatory
  23   comments about asylum seekers in concert with rolling out asylum policies, or in
  24   concert with training CBP officials on execution of asylum policies, that is highly
  25

  26   4
        See, e.g., Donald Trump (@realDonaldTrump), Twitter (Oct. 8, 2017) (“When people come into
       our Country illegally, we must IMMEDIATELY escort them back out without going through years
  27   of legal maneuvering.”); Donald Trump (@realDonaldTrump), Twitter (July 5, 2018) (“When
       people, with or without children, enter our Country, they must be told to leave without our Country
  28   being forced to endure a long and costly trial. Tell the people, ‘OUT,’ and the must leave.”).
                                                                   JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19         PageID.5687      Page
                                      26 of 300

   1   relevant to whether “CBP officials engaged in unlawful tactics” in implementing the
   2   turnback policy “with the knowledge, consent, direction, and/or acquiescence of
   3   Defendants” in violation of the INA (Dkt. 189 ¶¶ 248-49) and whether CBP officials,
   4   under Defendants’ direction or control or with their knowledge, “engaged in an
   5   unlawful widespread pattern or practice of denying and unreasonably delaying
   6   asylum seekers’ access to the asylum process” in violation of the APA (id. ¶ 258).
   7         Next, striking a familiar refrain, the Government argues that these Requests
   8   are not proportional to the needs of the case and are overbroad and unduly
   9   burdensome because the Government believes that Plaintiffs are seeking records
  10   from all 329,000 DHS employees. See Appx. B at Resps. to RFPs 58-63. This is
  11   untrue. See supra at 19-20.
  12         The Government has further refused to search for and produce documents
  13   sufficient to show the crime rates amongst various groups of noncitizens who are
  14   seeking asylum in the United States, paroled into the United States after seeking
  15   asylum, or who are granted asylum after presenting themselves at ports of entry
  16   along the U.S.-Mexico border. See Appx. B at Resps. to RFP 67. The Government’s
  17   sole objection to RFP 67 is that this information is not relevant because it does not
  18   “bear on the issues in this case: whether the named Plaintiffs were . . . arriving aliens
  19   applying for admission to the United States; whether Defendants have implemented
  20   a formal policy or taken final agency action” to restrict access to the asylum process;
  21   or “whether such a policy or final agency action, if it exists, and in the form it exists,
  22   is unlawful.” See Appx. B at Resps. to RFP 67. That is simply not true. Once again,
  23   the Government uses its self-serving and overly narrow definition of the claims and
  24   defenses in this case. As discussed at length, this is improper. See supra at 15-18.
  25   The type of information Plaintiffs request through RFP 67 is highly relevant to the
  26   claims and defenses at issue in the case. This type of data may bear on Defendants’
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                                                             JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5688     Page
                                     27 of 300

   1   intent and motivations in crafting any turnback or metering policies, see supra at 16-
   2   18, as well as the logistics and enforcement of such policies.
   3         Therefore, these comments regarding noncitizens seeking asylum at ports of
   4   entry on the U.S.-Mexico border are relevant and should be produced.
   5                                           ***
   6         The Government’s objections to Plaintiffs’ request for production are based
   7   on several fundamental misunderstandings. Since the Government misunderstands
   8   the specificity requirement in Fed. R. Civ. P. 34, its boilerplate objections should be
   9   struck. Because the Government misunderstands the scope of Plaintiffs’ claims, its
  10   refusal to provide class-wide discovery and attempt to limit this case to a single APA
  11   claim should be rejected. Because intent is relevant to whether the Government’s
  12   asserted defenses are a pretext, the Government’s objections to producing
  13   documents concerning intent should be overruled. Plaintiffs’ motion to compel
  14   should be granted in full.
  15   II.   Defendants’ Argument
  16         In their First and Second Sets of Requests for Production (RFPs), Plaintiffs
  17   propounded 109 Requests on Defendants. Defendants responded with detailed
  18   objections and responses, including specific objections of general applicability,
  19   regarding the proper scope of discovery in this matter that are incorporated into each
  20   of their responses. Despite the fact that this case challenges agency action and thus
  21   discovery beyond an administrative record is, if available at all, extremely
  22   circumscribed, Defendants are participating in discovery in good faith and engaging
  23   in negotiations regarding search terms and custodians, while reserving the right to
  24   limit such discovery in the future after a ruling on Defendants’ pending motion to
  25   dismiss. Accordingly, the Court should deny Plaintiffs’ requests to strike their
  26   objections and to compel documents beyond what Defendants have generously
  27   agreed to provide.
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5689     Page
                                     28 of 300

   1         As set forth in more detail below, Plaintiffs’ Requests extend far beyond what
   2   limited discovery might be proper in this matter. Plaintiffs allege broadly that
   3   Defendant government agencies have adopted a policy of restricting access to ports
   4   of entry along the U.S.-Mexico border for those who seek to enter the United States
   5   to seek asylum [or similar protections], and that this policy is unlawful. Yet the
   6   named Plaintiffs’ specific allegations relate only to claimed “policies, practices, or
   7   efforts” at the San Ysidro, Otay Mesa, Hidalgo, and Laredo ports of entry.
   8   Defendants have thus agreed to provide discovery from the headquarters of the
   9   Office of Field Operations (OFO) of U.S. Customs and Border Protection (CBP) and
  10   from those four ports of entry that would tend to show whether there is such a policy
  11   and its contours. For example, Defendants have agreed to provide documents or
  12   communications about policies, practices, and procedures that may relate to or refute
  13   Plaintiffs’ allegations. See, e.g., App. A at 15–20, 26 (containing Defendants’
  14   responses to RFPs Nos. 1 and 2); App. B at 34–52 (containing Defendants’ responses
  15   to RFPs No. 40–44); Defs’ Ex. 1, Defendants’ Second Amended and Supplemented
  16   Responses to Plaintiffs’ First Set of Requests for Production, at 30–34 (containing
  17   Defendants’ response to RFP No. 6). Defendants have also agreed to provide
  18   documents and communications that relate to CBP’s metering guidance at these four
  19   ports of entry—that is, the capacity of the ports of entry—as well as the numbers of
  20   individuals who may be affected by CBP’s actions at those ports. See, e.g., Defs.’
  21   Ex. 2, Defendants’ First Amended and Supplemented Objections and Responses to
  22   Plaintiffs’ Second Set of Requests for Production to All Defendants, at 60–62
  23   (containing Defendants’ responses to RFP Nos. 48–52); App. B at 114–17, 127–30
  24   (containing Defendants’ responses to RFPs No. 77 and No. 83). The Court should
  25   reject Plaintiffs’ attempts to seek discovery beyond these parameters—such as
  26   discovery into the sentiments of individual CBP employees and discovery from and
  27   about ports of entry for which there are no specific allegations and no putative class
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5690     Page
                                     29 of 300

   1   representatives—as legally improper, irrelevant, and disproportional to the needs of
   2   this case.
   3          A.    Because Defendants’ Specific Objections are Not Boilerplate,
   4                There is No Reason for Them to Be Stricken or Withdrawn.
   5          Defendants agree that there is no place for general objections in responses to
   6   Requests for Production. As a decision cited by Plaintiffs states:
   7
            An objection to a discovery request is boilerplate when it merely states
            the legal grounds for the objection without (1) specifying how the
   8        discovery request is deficient and (2) specifying how the objecting
   9
            party would be harmed if it were forced to respond to the request. For
            example, a boilerplate objection might state that a discovery request is
  10        “irrelevant” or “overly broad” without taking the next step to explain
  11        why. These objections are taglines, completely “devoid of any
            individualized factual analysis.” Often times they are used repetitively
  12        in response to multiple discovery requests.
  13   Liguria Foods, Inc. v. Griffith Labs., Inc., 320 F.R.D. 168, 170, n.1 (N.D. Iowa 2017)
  14   (quoting Matthew L. Jarvey, Boilerplate Discovery Objections: How They are Used,
  15   Why They are Wrong, and What We Can Do About Them, 61 Drake L. Rev. 913,
  16   914–16 (2013).
  17          Defendants, in their amended responses to both the First and Second Sets of
  18   RFPs, provide detailed, specific objections of general applicability, see App. A at 1–
  19   15, App. B at 1–15, and incorporate those specific objections into their responses to
  20   each and every single RFP to which they apply in accordance with Federal Rule of
  21   Civil Procedure 34(b)(2)(B). Thus, contrary to Plaintiffs’ assertion that “some of
  22   [the Government’s] responses occasionally reference the Government’s general
  23   objections[],” supra at p. 5, Defendants specifically incorporated their general
  24   objections into their specific responses. For example, Defendants state in response
  25   to RFP No. 1, after explaining in detail their objections to the RFP as a whole:
  26   “Defendants also object to RFP 1 in accordance with Objections Which Apply to All
  27

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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5691     Page
                                     30 of 300

   1   RFPs Nos. 1, 3-10 and Objections to Definitions Nos. 2, 5-6, 8, and 10; and,
   2   Objections to Instructions No[s]. 1, 2, and 4.” See App. A at 16.
   3         As Defendants explained to Plaintiffs during the parties’ meet and confer on
   4   April 30, 2019, the reason that Defendants chose this means of responding was a
   5   practical one. Declaration of Gisela A. Westwater ¶ 5 (“Westwater Decl.”). Rather
   6   than rewrite 15 pages of objections in response to each of Plaintiffs’ 109 RFPs,
   7   Defendants chose to list out specific objections of general applicability at the outset
   8   and then cite to the objections in response to specific RFPs. Id. The first amended
   9   responses to the First Set of RFPs totaled 61 pages and the initial responses to the
  10   Second Set of RFPs totaled 176 pages. Westwater Decl. ¶ 5. If Defendants had
  11   chosen to specifically repeat each objection word for word, it would simply increase
  12   the cumbersomeness of two already unwieldy documents. In response to Plaintiffs’
  13   concerns about what they viewed as “boilerplate objections,” Defendants took a
  14   significant amount of time to provide even more specific details and clarity in their
  15   overall objections and throughout their RFP responses to ensure there was no
  16   confusion as to how each objection would affect Defendants’ production or logging
  17   of documents in response to particular Requests. Westwater Decl. ¶ 6. Yet, despite
  18   this, Plaintiffs bring this issue before this Court in what is a waste of this Court’s
  19   limited judicial resources.
  20         Indeed, the language in each Overall Objection is very specific and explains
  21   precisely why the discovery sought is irrelevant or overly broad. For example, in
  22   their responses to the Second Set of RFPs, Defendants state in their Overall
  23   Objection No. 4:
  24
             Defendants object to the use of the terms and phrases “seek asylum,”
             “have a fear,” “expressing a desire to seek asylum,” “expressing a fear
  25         of returning to their countries of origin,” and “present themselves,” as
  26
             these terms and phrases are vague and ambiguous, are not defined by
             Plaintiffs, and potentially can be construed as referring to actions or
  27         statements other than those described in 8 U.S.C. §§ 1158 and 1225(b).
  28         For purposes of responding to these RFPs, Defendants understand and
                                                            JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC         Document 263 Filed 05/24/19       PageID.5692     Page
                                        31 of 300

   1             construe these terms and phrases as referring to actions consistent with
   2             8 U.S.C. §§ 1158 and 1225(b). Such construction is reflected in all of
                 Defendants’ responses and any corresponding production or privilege
   3             log; Defendants are not, however, withholding documents on the basis
   4             of this objection.

   5   App. B at 3; see App. A at 3. This objection is not only specific, but also provides

   6   an explanation of Defendants’ understanding and construction of specific terms and

   7   phrases and an explanation that Defendants are not withholding any documents on

   8   the basis of this objection. It is not apparent how much clearer Defendants can be.

   9   Similarly, Overall Objection No. 5 to the First Set of RFPs states that Defendants

  10   object to the phrase “near a port of entry” because this could encompass events that

  11   occurred between ports of entry, which are irrelevant to the claims in this case, and

  12   that Defendants will not be providing documents concerning actions or events

  13   occurring between ports of entry. See App. A at 3–4. In fact, all of the Overall

  14   Objections contain similar language explaining how each objection will affect

  15   discovery. See App. A at 1–7; App. B at 1–7.

  16             Similarly, all of the “Objections to Definitions” are thorough and explain how

  17   the parameters of discovery are affected by each. See App. A at 7–15; App. B at 7–

  18   15. For example, Defendants’ Objection to Definition 1 (in both sets of responses)

  19   states:
                 Defendants object to the definitions of the terms “YOU” and “YOUR”
  20             on the grounds that they are overbroad, vague, unduly burdensome,
  21             invade the attorney/client privilege or the attorney work-product
                 doctrine, and violate the Privacy Act, 5 U.S.C. § 552a et seq. Unless
  22             otherwise specified, Defendants interpret the definition of YOU or
  23             YOUR as referring to DHS, CBP, OFO, and individual DHS employees
                 from whom DHS has the legal right to obtain upon demand information
  24             relevant to the claims and defenses in this case. Defendants do not
  25             interpret the definition of “YOU” or “YOUR” to include DHS
                 component agencies or CBP subcomponents that are not parties to this
  26             case. Defendants’ responses to each applicable Request, and their
  27             corresponding production and privilege log, will be limited consistent
                 with this objection and the objections to the definitions of DHS and
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5693     Page
                                     32 of 300

   1         CBP. This objection also serves as a limiting principle on the
   2         parameters of Defendants’ search for responsive documents, the
             contours of which are being contemporaneously negotiated with
   3         Plaintiffs.
   4   App. A at 7–8; App. B at 7–8. Finally, Defendants’ “Objections to Instructions” also
   5   provide sufficient detail and are incorporated into responses to each RFP response
   6   as applicable. See App. A at 15; App. B at 14–15; see also App. A and B generally.
   7   Accordingly, Defendants have provided specific language regarding the information
   8   that will be produced or withheld in line with their Overall Objections, in accordance
   9   with Federal Rules of Civil Procedure 34(b)(2)(B)–(C).
  10         Accordingly, the cases cited by Plaintiffs are inapposite, because those cases
  11   involve vague, non-specific objections. For example, the court in Makaeff v. Trump
  12   Univ., LLC, found fault with objections that were “devoid of substance, include[d]
  13   repeated, identical boilerplate objections, and [were] non-responsive and evasive.”
  14   No. 10-cv-0940, 2013 WL 990918, at *7 (S.D. Cal. Mar. 12, 2013). As explained
  15   above, that is simply not the case here. Plaintiffs in Makaeff were called upon to
  16   submit “individually tailored . . . specific” responses that were “actually . . .
  17   applicable, and . . . not . . . boilerplate.” Id. That is what Defendants have already
  18   done by providing detailed overall objections and specifically incorporating all
  19   applicable objections in response to each Request.
  20         Similarly, the general, boilerplate objections in O’Shea v. Am. Solar Sol., Inc.,
  21   such as “calls for irrelevant information that is unlikely to lead to discoverable
  22   evidence,” cannot be compared to the very detailed and specific objections provided
  23   by Defendants in this case. No. 14-cv-894, 2016 WL 701215, at *2 (S.D. Cal. Feb.
  24   18, 2016). For the same reasons, there is no comparison to the objections and
  25   responses provided by Defendants here to the ones at issue in Anderson v. Hansen,
  26   No. 09-cv-1924, 2012 WL 4049979, at *3 (E.D. Cal. Sept. 13, 2012). For example,
  27   one of the interrogatory responses that the court in Anderson found as “unsupported”
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5694     Page
                                     33 of 300

   1   and “boilerplate” was the following: “Defendant objects to this request on the
   2   grounds that it is vague, compound, and not limited in time and scope. Without
   3   waiving these objections, Defendant Hansen responds as follows: Denied.” Id. at *8.
   4   Because Defendants here have “‘clarif[ied], explain[ed], and support[ed] [their]
   5   objections,’” 2012 WL 4049979, at *3, Anderson does not support Plaintiffs’
   6   requests to strike.
   7         Likewise, Defendants’ objections are not at all similar to those in Springer v.
   8   Gen. Atomics Aeronautical Sys. Inc., No. 16-cv-2331, 2018 WL 490745 (S.D. Cal.
   9   Jan. 18, 2018). While the Court in Springer took issue with language that discovery
  10   responses were given “subject to” general objections (and other similar phrasing),
  11   this seemed to be because the incorporated objections in Springer were themselves
  12   boilerplate, which resulted in “confusi[on]” and ‘le[ft] the requesting party guessing
  13   and wondering’ as to whether the responding party actually provided a complete and
  14   accurate response.” Id. at *2 (citing Gondola v. USMD PPM, LLC, 223 F. Supp. 3d
  15   575, 584 (N.D. Tex. 2016)). Similarly, the Liguria Foods, Inc. v. Griffith Labs., Inc.,
  16   320 F.R.D. 168, 187 (N.D. Iowa 2017), decision cited by Plaintiffs criticized as
  17   insufficient objections that only stated “‘that the discovery sought is vague,
  18   ambiguous, overbroad, unduly burdensome, etc. . . . without specifying how each
  19   [interrogatory or] request for production is deficient and without articulating the
  20   particular harm that would accrue if [the responding party] were required to respond
  21   to [the proponent's] discovery requests.” 320 F.R.D. 168, 187 (citing St. Paul Reins.
  22   Co., Ltd. v. Commercial Fin. Corp., 198 F.R.D. 508, 512 (N.D. Iowa 2000))
  23   (alterations in original). As explained at length above, Defendants have provided
  24   detailed, specific objections of general applicability and clearly explained how they
  25   apply in the context of Defendants’ responses to particular Requests, and also
  26   explain what documents are being produced or withheld in response to those
  27   Requests. See generally App. A, App. B. Indeed, Plaintiffs have not pointed to a
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                                                            JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5695     Page
                                     34 of 300

   1   single concrete example as to how they are “unclear” about which objections are
   2   applicable to which Request or whether or what documents are being withheld in
   3   response to particular Requests. See generally supra at I. For these reasons, the Court
   4   should not strike Defendants’ Overall Objections, Objections to Instructions, or
   5   Objections to Definitions.
   6         B.     The Strictures of the APA Limit the Scope of Discovery in this
   7                Case.
   8         Plaintiffs are fundamentally incorrect that raising a series of freestanding
   9   challenges to an agency’s actions gives them the right to propound immaterial
  10   discovery requests. See supra at pp. 15–18. As the Court expressly recognized in its
  11   ruling on Defendants’ first motion to dismiss, and as Defendants argued in their
  12   second motion to dismiss, “‘[t]he APA governs the conduct of federal administrative
  13   agencies’” and provides the “‘default judicial review standard’ for agency action.”
  14   Order Granting in Part and Denying in Part Defs.’ Motion to Dismiss the Complaint,
  15   at 45 (ECF No. 166) (quoting Aracely, R. v. Nielsen, 319 F. Supp. 3d 110, 126
  16   (D.D.C. 2018), and Ninilchik Traditional Council v. United States, 227 F.3d 1186,
  17   1194 (9th Cir. 2000)); Defs.’ Mot. to Dismiss the Second Am. Compl., at 23–25
  18   (ECF No. 192-1). “‘While a right to judicial review of agency action may be created
  19   by a separate statutory or constitutional provision, once created it becomes subject
  20   to the judicial review provisions of the APA unless specifically excluded.’” ECF No.
  21   166 at 45 (citing Webster v. Doe, 486 U.S. 592, 607 n* (1988) (Scalia, J., dissenting),
  22   and Ninilchik Traditional Council, 227 F.3d at 1194).
  23         The APA is thus “an umbrella statute governing judicial review of all federal
  24   agency action,” Webster, 486 U.S. at 607 n.*, and any constitutional or statutory
  25   challenge to agency action must be funneled through the APA’s judicial review
  26   framework. See 5 U.S.C. § 706 (“[T]he reviewing court shall decide all relevant
  27   questions of law, interpret constitutional and statutory provisions, and determine the
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Case 3:17-cv-02366-BAS-KSC          Document 263 Filed 05/24/19             PageID.5696        Page
                                         35 of 300

   1   meaning or applicability of the terms of an agency action.”). Plaintiffs cannot
   2   unilaterally alter this statutory framework simply by raising legally impermissible
   3   causes of action, no matter what they say otherwise. See Ashcroft v. Iqbal, 556 U.S.
   4   662, 678 (2009) (“[T]he tenet that a court must accept as true all of the allegations
   5   contained in a complaint is inapplicable to legal conclusions.”). Plaintiffs’ INA
   6   challenge, their Fifth Amendment challenge, and their Alien Tort Statute
   7   (“ATS”)/non-refoulement challenge5 must proceed under the APA or not at all.6
   8          The APA’s judicial review provisions, in turn, establish as a baseline principle
   9   that a reviewing court cannot review evidence that was not before the agency when
  10   it acted. Rather, the statute requires a court to “review the whole record or those parts
  11   of it cited by a party.” 5 U.S.C. § 706. It is a longstanding and “fundamental
  12   principle[] of judicial review of agency action [that the] ‘focal point for judicial
  13   review should be the administrative record already in existence, not some new record
  14   made initially in the reviewing court.’” Florida Power & Light Co. v. Lorion, 470
  15   U.S. 729, 743 (1985) (quoting Camp v. Pitts, 411 U.S. 138, 142 (1973)); Bark v.
  16   Northrop, 2 F. Supp. 3d 1147, 1150 (D. Or. 2014) (“It is well settled that judicial
  17   review of agency action under the APA is generally limited to review of the
  18   administrative record.” (citing 5 U.S.C. § 706)). Thus, the APA plainly prohibits
  19   Plaintiffs from propounding overbroad and immaterial discovery requests on the
  20   federal government Defendants that go beyond what would typically be included in
  21   an administrative record.
  22
       5
        Plaintiffs’ counsel clearly stated at the May 10, 2019 hearing that Plaintiffs’ ATS/non-
  23   refoulement claim is statutory in nature. See Defs.’ Ex. 3, Tr. of Hearing on Defs.’ Mot. to
  24   Dismiss the Second Am. Compl. 56:22–24 (May 10, 2019) (“Hearing Tr.”).
       6
         To the extent Plaintiffs contend that their “causes of action for declaratory and injunctive
  25   relief” somehow constitute a separate ground for propounding discovery, see supra at p. 15, they
       are incorrect. The APA provides for only two forms of judicial relief for individuals determined
  26
       to be aggrieved by agency action: an order “compel[ling] agency action unlawfully withheld or
  27   unreasonably delayed,” or an order “hold[ing] unlawful and set[ting] aside” agency action that
       violates the law. 5 U.S.C. § 706(1), (2). That Plaintiffs (potentially) request a form of relief not
  28   provided for in the APA does not entitle them to litigate outside the APA. Iqbal, 556 U.S. at 678.
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Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5697      Page
                                      36 of 300

   1                1.     Plaintiffs’ Overbroad and Immaterial Discovery Requests
   2                       are Not Justified by Their Procedural Due Process
   3                       Challenge.
   4         Contrary to Plaintiffs’ assertion, merely pleading a procedural due process
   5   violation does not create an entitlement to discovery of extra-record evidence. See
   6   supra at p. 16. As an initial matter, Plaintiffs do not identify which of their 109 RFPs
   7   go specifically to their constitutional claim. See supra at pp. 16–17. Even in cases
   8   where courts permit extra-record discovery on constitutional claims in an APA
   9   action, the plaintiff at least offers a threshold explanation of what documents he is
  10   seeking on the constitutional issue specifically, see Grill v. Quinn, No. 10-cv-757,
  11   2012 WL 174873, at *3 (E.D. Cal. Jan. 20, 2012) (noting that the plaintiff listed
  12   eight specific document categories that were allegedly missing from an
  13   administrative record) (cited supra at p. 16), or otherwise “articulate[s] a sound basis
  14   for his document requests,” Jordan v. Wiley, No. 07-cv-498, 2009 WL 980313, at
  15   *2 (D. Colo. Apr. 8, 2009). Plaintiffs, in contrast, simply state that “[c]ourts have
  16   repeatedly allowed plaintiffs to take discovery beyond the ‘administrative record’
  17   when the plaintiff asserts both an APA claim and a constitutional claim.” Supra at
  18   p. 16. This conclusory assertion fails at the outset to establish Plaintiffs’ entitlement
  19   to immaterial evidence.
  20         But more fundamentally, and as many courts have recognized, to adopt
  21   Plaintiffs’ theory and “‘allow fresh discovery, submission of new evidence, and legal
  22   arguments’ would ‘incentivize every unsuccessful party to agency action to
  23   allege . . . constitutional violations’ in order to ‘trade in the APA’s restrictive
  24   procedures’” for the more generous discovery rules governing regular civil
  25   litigation. Chiayu Chang v. U.S. Citizenship & Immigration Services, 254 F. Supp.
  26   3d 160, 162 (D.D.C. 2017) (quoting Jarita Mesa Livestock Grazing Ass’n v. U.S.
  27   Forest Service, 58 F. Supp. 3d 1191, 1238 (D.N.M. 2014)). The APA’s judicial
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                                                             JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5698     Page
                                     37 of 300

   1   review parameters would be rendered “meaningless if any party seeking review
   2   based on . . . [alleged] constitutional deficiencies was entitled to broad-ranging
   3   discovery.” Harvard Pilgrim Health Care of New England v. Thompson, 318 F.
   4   Supp. 2d 1, 10 (D.R.I. 2004). This is true especially in cases like this one, where, as
   5   even Plaintiffs’ counsel acknowledges, the underlying procedural due process
   6   challenges are “coterminous” with the APA challenges. Hearing Tr. 51:20–52:4;
   7   Chiayu Chang, 254 F. Supp. 3d at 162 (explaining that discovery for constitutional
   8   claims is not warranted where those claims “fundamentally overlap with [the] APA
   9   claims”).
  10         The cases Plaintiffs cite do not help their argument. See supra at p. 16. Porter
  11   v. Califano, a Fifth Circuit decision involving a First Amendment challenge and a
  12   procedural due process challenge to the adequacy of an agency’s fact-finding
  13   procedures in the government employment context, has no precedential or
  14   persuasive authority here. 592 F.2d 770, 780–81 (5th Cir. 1979) (cited supra at p.
  15   16). A First Amendment challenge is separate and distinct from a procedural due
  16   process challenge, which, in the Fifth Circuit’s view, was a significant reason why
  17   extra-record discovery was merited. Id. Here, in contrast, the APA claims and the
  18   procedural due process claims are “coterminous,” which means there is no distinct
  19   basis to allow for discovery of extra-record evidence. Hearing Tr. 51:20–52:4;
  20   Chiayu Chang, 254 F. Supp. 3d at 162. Porter is further distinguishable because the
  21   constitutional challenge there centered narrowly on the adequacy of the agency’s
  22   fact-finding procedures in the government employment context, whereas this case
  23   involves neither the adequacy of Defendants’ fact-finding procedures nor a
  24   government employment decision. See, e.g., United States v. Gonzales & Gonzales
  25   Bonds and Ins. Agency, Inc., 728 F. Supp. 2d 1077, 1087 (N.D. Cal. 2010)
  26   (explaining that Porter is centered narrowly on the “allegations of conflict of
  27   interest” in the agency’s decision to suspend the employee). Finally, Plaintiffs quote
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                                                            JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5699     Page
                                     38 of 300

   1   Porter for the proposition that “a constitutional claim ‘is reviewed independent of
   2   the APA.’” Supra at p. 16 (emphasis omitted). But that quotation does not appear
   3   anywhere in the decision. See Porter, 592 F.2d 770–86. Porter therefore has no
   4   value here.
   5         Bolton v. Pritzker is similarly irrelevant, if not more so. No. 15-cv-1607, 2016
   6   WL 4555467 (W.D. Wash. Sept. 1, 2016) (cited supra at p. 16). Bolton involved a
   7   fishing boat company’s unsuccessful claim that it did not receive adequate notice of
   8   the National Oceanic and Atmospheric Administration’s decision to revoke a fishing
   9   permit under the Magnuson-Stevens Fishery Conservation and Management Act. Id.
  10   In entering summary judgment for the government, the court did not allow or even
  11   discuss whether the plaintiff could serve discovery requests on the government. See
  12   id. at *1–8. Nothing in Bolton supports (or even addresses) Plaintiffs’ assertion that
  13   “[c]ourts have repeatedly allowed plaintiffs to take discovery beyond the
  14   ‘administrative record’ when the plaintiff asserts both an APA claim and a
  15   constitutional claim.” Supra at p. 16. Plaintiffs’ Fifth Amendment challenge does
  16   not entitle them to extra-record discovery in this case.
  17                 2.    The Scope of Permissible Extra-Record Evidence in a Section
  18                       706(1) Claim is Extremely Circumscribed.
  19         Plaintiffs are correct that the Court may consider a limited amount of extra-
  20   record evidence in evaluating a request to compel agency action “unlawfully
  21   withheld or unreasonably delayed” under 5 U.S.C. § 706(1). See supra at p. 16
  22   (citing Friends of the Clearwater v. Dombeck, 222 F.3d 552, 560 (9th Cir. 2000),
  23   and Yurok Tribe v. U.S. Bureau of Reclamation, 231 F. Supp. 3d 450, 469 (N.D. Cal.
  24   2017)). But even assuming Plaintiffs have sufficiently pleaded such a claim as a
  25   matter of law, that does not mean Plaintiffs are entitled to propound overbroad and
  26   immaterial discovery requests. As at least one district court has recognized, there are
  27   no “manifestations [in the Ninth Circuit] of a precedential preference for unlimited
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5700     Page
                                     39 of 300

   1   discovery in unreasonable delay actions.” Seattle Audobon Society v. Norton, No.
   2   05-cv-1835, 2006 WL 1518895, at *3 (W.D. Wash. May 25, 2006). Rather, as is
   3   common in section 706(1) cases, the Court should permit Defendants to provide
   4   relevant documents and declarations and to stipulate to relevant factual matters
   5   before taking the drastic step of compelling responses to overbroad and immaterial
   6   discovery requests. See, e.g., San Francisco BayKeeper v. Whitman, 297 F.3d 877,
   7   886 (9th Cir. 2002) (allowing limited supplementation by agency to explain delay);
   8   Friends of the Clearwater, 222 F.3d at 560–61 (allowing limited supplementation
   9   by agency for purpose of proving that action was moot).
  10                3.     Defendants’ Intent is Wholly Irrelevant to Plaintiffs’ Claims.
  11         Besides the extreme burden that Plaintiffs’ discovery requests purport to
  12   impose, Plaintiffs have no legal basis to discover the subjective intentions of
  13   individual agency personnel in the course of implementing their official duties. See
  14   supra at pp. 17–18. That is because in an APA case such as this one, the subjective
  15   intent of individual actors is immaterial to the issue whether the agency acted
  16   lawfully or not. The Supreme Court has long recognized that “judicial inquiries into
  17   legislative or executive motivation represent a substantial intrusion into the workings
  18   of other branches of government.” Village of Arlington Heights v. Metropolitan
  19   Hous. Dev. Corp., 429 U.S. 252, 268 n.18 (1977). In part for that reason, the Court
  20   has “made it abundantly clear” that APA review must focus solely on the
  21   “contemporaneous explanation of the agency decision” that the agency chooses to
  22   rest upon. Vermont Yankee Nuclear Power Corp. v. Natural Res. Def. Council, Inc.,
  23   435 U.S. 519, 549 (1978). “When a party challenges agency action as arbitrary and
  24   capricious the reasonableness of the agency’s action is judged in accordance with its
  25   stated reasons.” In re Subpoena Duces Tecum Served on the Office of the
  26   Comptroller of the Currency, 156 F.3d 1279, 1279 (D.C. Cir. 1998) (emphasis
  27   added) (citing Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S 402 (1971)).
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Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19         PageID.5701      Page
                                       40 of 300

   1   Unless intent is an element of a party’s claims or defenses—which, in this case, it is
   2   not—“the actual subjective motivation of agency decisionmakers is immaterial as a
   3   matter of law” and is therefore not properly discoverable. Id.; see also Florida Power
   4   & Light Co., 470 U.S. at 743 (It is a longstanding and “fundamental principle[] of
   5   judicial review of agency action [that the] ‘focal point for judicial review . . . [is] not
   6   some new record made initially in the reviewing court.’” (quoting Pitts, 411 U.S. at
   7   142)).
   8            None of Plaintiffs’ causes of action require them to prove intent to make their
   9   case. This stands in stark contrast to an equal protection claim, for example, where
  10   “discriminatory intent or purpose is required” to prove an equal protection violation.
  11   Village of Arlington Heights, 429 U.S. at 265 (emphasis added). Nor do Plaintiffs’
  12   allegations of “pretext” make Defendants’ intent relevant. The only evidence that is
  13   relevant to whether the government is pretextually limiting its processing of aliens
  14   who lack documents based on capacity constraints is whether there are, in fact, actual
  15   capacity constraints. See 5 U.S.C. § 706(1). Put another way, if the ports of entry do
  16   not have the capacity to process aliens without documents, then any “delay” in
  17   processing would not be “unreasonabl[e]” under the statute, regardless of any
  18   individual CBP employees’ opinions on the matter. Id.
  19            Plaintiffs’ arguments to the contrary are simply wrong. First, as discussed
  20   above, Plaintiffs’ claims can proceed only within the APA’s judicial review
  21   framework. The mere fact that they have also pleaded non-APA claims does not
  22   mean they are entitled to discovery beyond what would typically be within the scope
  23   of review in an APA case. Supra at II.B. And even if Plaintiffs’ claims could proceed
  24   outside the APA, there is nothing in the INA or the Due Process Clause that
  25   conditions the lawfulness of an agency’s conduct on the intent of any given agency
  26   employee.
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5702     Page
                                     41 of 300

   1         Second, Plaintiffs significantly misrepresent the extent of Defendants’
   2   reliance on the Supreme Court’s Arlington Heights decision. See supra at pp. 17–
   3   18. It is important to make clear that the government does not cite Arlington Heights
   4   for the purpose of “generally and preemptively asserting a blanket privilege in the
   5   guise of a relevance objection,” as Plaintiffs claim. Supra at p. 17. Rather, as
   6   Defendants’ objections make clear, Defendants cite to the case simply to show that
   7   the Supreme Court has long recognized that “judicial inquiries into legislative or
   8   executive motivation represent a substantial intrusion into the workings of other
   9   branches of government.” Village of Arlington Heights, 429 U.S. at 268 n. 18.
  10   Defendants’ relevance objection—and it is indeed a relevance objection—is more
  11   fundamentally rooted in the D.C. Circuit’s In re Subpoena Duces Tecum decision,
  12   in which the court clearly explained that “the actual subjective motivation of agency
  13   decisionmakers” in an APA case “is immaterial as a matter of law.” 156 F.3d at
  14   1280. Rather than grapple with the reasoning of this decision, Plaintiffs attempt to
  15   gloss over the case by claiming it pertains exclusively to privilege law. See supra at
  16   p. 18, n.3. But while the case certainly arose under a privilege dispute, the very point
  17   of the D.C. Circuit’s opinion was to clarify the difference between what is privileged
  18   versus what is immaterial in an APA case: “Agency deliberations not part of the
  19   record are deemed immaterial. That is because the actual subjective motivation of
  20   agency decisionmakers is immaterial as a matter of law.” In re Subpoena Duces
  21   Tecum, 156 F.3d at 1279–80 (citations omitted). So too here, any document request
  22   that goes directly or indirectly to the subjective intent of individual agency actors—
  23   including RFP Nos. 35–37, 44, 55–65, 67, 69–72, 102–04 (see App. B at 22–31, 48–
  24   52, 62–88, 90–107, 166–71)—is immaterial as a matter of law and is therefore not
  25   relevant to any party’s claims or defenses.
  26         C.     Plaintiffs Are Not Entitled to Discovery From or Related to All
  27                Ports of Entry on the U.S.-Mexico Border.
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5703     Page
                                     42 of 300

   1                1.    Plaintiffs Cannot Obtain “Classwide” Discovery Relating to
   2                      All Ports of Entry on the U.S.-Mexico Border Because the
   3                      Putative Class Representatives Allege Specific Facts Relating
   4                      to Only Four Ports of Entry.
   5         Plaintiffs are not entitled to discovery from all land ports of entry along the
   6   U.S.-Mexico border simply because they have offered an overbroad and
   7   unsupportable class definition. See supra at p. 6. Class actions are “‘an exception to
   8   the usual rule that litigation is conducted by and on behalf of the individual named
   9   parties only.’ In order to justify a departure from that rule, ‘a class representative
  10   must be part of the class and possess the same interest and suffer the same injury as
  11   the class members.’” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348–49 (2011)
  12   (quoting Califano v. Yamasaki, 442 U.S. 682 (1979), and East Tex. Motor Freight
  13   System, Inc. v. Rodriguez, 431 U.S. 395 (1977)). As a threshold matter, then, the
  14   putative class representatives must at least allege specific facts at the pre-
  15   certification stage that, if later proven true, demonstrate that they are “part of the
  16   class” they seek to represent and have “suffer[ed] the same injury” as all the other
  17   class members. Id. They must also allege with specificity facts that, if proven true,
  18   show that Defendants have “acted or refused to act on grounds that apply generally
  19   to the class, so that final injunctive relief or corresponding declaratory relief is
  20   appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2).
  21         Here, however, Plaintiffs essentially admit they have not met that burden. The
  22   individual Plaintiffs allege only that they were subject to Defendants’ allegedly
  23   unlawful “policies, practices, or efforts” at the San Ysidro, Otay Mesa, Hidalgo, and
  24   Laredo ports of entry, and that these “policies, practices, or efforts” are directed
  25   through the Office of Field Operations. See Second Amended Complaint (“SAC”)
  26   ¶¶ 24–35 (ECF No. 189). None of the individual Plaintiffs allege that they interacted
  27   with Defendants at the Andrade, Amistad Dam, Brownsville, Calexico, Columbus,
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5704     Page
                                     43 of 300

   1   Del Rio, Douglas, El Paso, Fabens-Tornillo, Falcon Heights, Fort Hancock, Los
   2   Ebanos, Los Indios, Lukeville, Mariposa, Maverick-Eagle Pass, Morley Gate, Naco,
   3   Nogales, Presidio, Progreso, Rio Grande City, Roma, San Luis, Santa Teresa,
   4   Sasabe, or Tecate ports of entry. Compare SAC ¶¶ 24–35 with 8 C.F.R. § 100.4(a)
   5   (listing land ports of entry). By challenging with specificity the alleged actions of
   6   only the headquarters component of OFO and the San Ysidro, Otay Mesa, Hidalgo,
   7   and Laredo ports of entry, Plaintiffs necessarily cannot be “part of the class” of, and
   8   have “suffer[ed] the same injury as,” individuals lacking appropriate travel
   9   documents who allegedly entered or attempted to enter through the other ports of
  10   entry. Wal-Mart Stores, Inc., 564 U.S. at 348–49. Nor would any relief the Court
  11   might order as to the San Ysidro, Otay Mesa, Hidalgo, and Laredo ports of entry be
  12   “appropriate respecting” those other ports of entry. Fed. R. Civ. P. 23(b)(2).
  13                2.     Producing Documents from All Ports of Entry Along the
  14                       U.S.-Mexico Border Would be Unduly Burdensome.
  15         Moreover, even if Plaintiffs were entitled to some discovery concerning
  16   whether Defendants have a “turnback” policy that applies to all ports of entry across
  17   the U.S.-Mexico border, or whether it is applied in the same way at each port of
  18   entry, Plaintiffs do not need discovery from all ports of entry to obtain such facts.
  19   Defendants have agreed to produce discovery from the headquarters of the
  20   applicable office of CBP (the Office of Field Operations), as well as from the four
  21   ports of entry that relate to the named Plaintiffs’ allegations. Any discovery from
  22   additional custodians and about other ports of entry would be cumulative and
  23   unnecessary, and thus not proportional to the needs of the case.
  24         Indeed, searching for, collecting, reviewing, redacting, and producing
  25   documents (and preparing and providing a corresponding privilege log) from all
  26   ports of entry along the U.S.-Mexico border would be extremely burdensome.
  27   Plaintiffs’ discovery requests are staggeringly broad. The RFPs request, for example,
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Case 3:17-cv-02366-BAS-KSC          Document 263 Filed 05/24/19              PageID.5705        Page
                                         44 of 300

   1   all documents and communications relating to various policies and procedures
   2   claimed to be employed by CBP, see, e.g., Defs.’ Ex. 1 at 20–24, 30–38 (RFP No. 2
   3   and Nos. 6–7), Defs.’ Ex. 2 at 36, 49, 136 (RFPs No. 41, No. 44, and No. 84); all
   4   documents and communications relating to alleged collaboration with Mexico or
   5   private security organizations regarding these procedures, see, e.g., Defs.’ Ex. 1 at
   6   24, 26 (RFP Nos. 3–4); documents and communications relating to complaints
   7   against, and discipline of, CBP Officers, see, e.g., Defs.’ Ex. 2 at 56–62 (RFP Nos.
   8   18–20); and documents and communications relating to CBP officers’ purported use
   9   of misrepresentations, threats, and the like, see, e.g., Defs.’ Ex. 2 at 40–49 (RFP Nos.
  10   42–43). Even if these Requests are limited somewhat by Defendants’ objections7
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         These and other Requests, as drafted, are patently overbroad and unduly burdensome. When
  14   read with Plaintiffs’ definitions of “you,” “DHS,” and “CBP,” a complete response would
       require Defendants, for each RFP, to collect and search the documents of each of the named
  15   Defendants; each of the named Defendants’ “agents, representatives, employees, attorneys and
       investigators”; all of U.S. Customs and Border Protection, including “its headquarters and
  16   offices, including any divisions, subdivisions, components or sections therein; CBP offices at
       ports of entry, including any divisions, subdivisions or sections therein; or any other CBP
  17   organizational structures, including but not limited to U.S. Border Patrol, U.S. Office of Field
  18   Operations or private contractors hired by CBP”; and all of the U.S. Department of Homeland
       Security, including “its headquarters and offices, including any divisions, subdivisions,
  19   components or sections therein, or any other DHS organizational structures.” See Defs.’ Ex. 2 at
       8–11 (Pls.’ Second RFPs, Definitions A–C). DHS employs more than 240,000 people, and CBP
  20   employs more than 60,000 people. See “About DHS,” U.S. Dep’t of Homeland Security (Sept.
       27, 2017), https://www.dhs.gov/about-dhs; “About CBP,” U.S. Customs and Border Protection
  21   (Last modified April 18, 2019), https://www.cbp.gov/about. Numerous courts, including this
  22   Court, have ruled that everything-under-the-sun discovery requests such as Plaintiffs’ that
       purport to require the responding party to “canvas every employee” for responsive information
  23   are “onerous and over burdensome.” E.g., Alfaro v. City of San Diego, No. 17-cv-46, 2018 WL
       4562240, at *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford, M.J.); Aldapa v. Fowler Packing
  24   Company Inc., 310 F.R.D. 583, 591 (E.D. Cal. 2015) (A request for “all documents related to
       any if the allegations in the complaint” is “clearly overly burdensome. Courts routinely disfavor
  25   overly broad discovery requests that ask opposing parties to produce everything under the sun
  26   that relates to the ongoing litigation. . . . In the context of document production requests, an even
       greater burden is placed on Defendants [compared to the burden imposed by contention
  27   interrogatories] in responding to requests to produce each and every document that relates to the
       claims brought by Plaintiffs.”).
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Case 3:17-cv-02366-BAS-KSC          Document 263 Filed 05/24/19             PageID.5706        Page
                                         45 of 300

   1   and the parties’ ESI negotiations,8 the amount of document collection and review
   2   needed if the scope of discovery were expanded to include all, or even some,
   3   additional ports of entry along the U.S.-Mexico border, would impose a significant
   4   burden on Defendants.
   5          To conduct a search for documents they have agreed to produce covering the
   6   time period beginning January 1, 2016, Defendants have already worked with
   7   Plaintiffs to identify fourteen different custodians from OFO headquarters, CBP’s
   8   Office of Professional Responsibility, the four ports of entry at issue, and their
   9   respective field offices.9 See Westwater Decl. ¶ 8. To attempt to capture responsive
  10   communications from the different ports of entry—which may use different reports
  11   and terminology—Defendants have developed a list of 176 search terms and have
  12   applied them to the emails of six of those custodians. Id. ¶ 9; see also Defs.’ Ex. 4,
  13   Defendants’ Proposed Search Terms. Application of the current proposed search
  14   terms to the emails of just those six custodians resulted in 253,565 total items for
  15   review. Defs.’ Ex. 5, Declaration of Elaine Dismuke ¶ 12 (“Dismuke Decl”).
  16   Assuming a rate of review of 25–50 documents per hour, first-line responsiveness
  17   review of these documents alone would take approximately 5,000 to 10,000 hours
  18   (plus the time it will take to review the documents from Defendants’ non-custodial
  19   sources). Moreover, adding any new custodians will increase the e-discovery
  20   collection burden in terms of money, time, and server and human resources, by
  21   forcing CBP to purchase additional space storage space from its data server or
  22   additional licenses to process data in its e-discovery platform, Clearwell, as well as
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  24     Plaintiffs’ claim that there is no burden because the “ESI Protocol imposes reasonable
       limitations on discovery,” is, however, incorrect. Supra at p. 9. The ESI Protocol does not itself
  25   limit the scope of discovery; rather, it governs the process by which the parties will negotiate the
       scope of discovery. As shown below, Defendants would bear a significant burden if Plaintiffs
  26   were permitted to obtain discovery from additional ports of entry by having to add custodians
       and, potentially, search terms, and thereby increase the volume of discovery.
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        This count does not even include the non-custodial sources that Defendants are searching
  28   and/or reviewing in order to produce documents for this matter.
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Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19      PageID.5707    Page
                                      46 of 300

   1   by diverting staff and server resources from the 100-plus other open cases that CBP’s
   2   OIT eDiscovery team is handling. Dismuke Decl. ¶¶ 2, 4–10.
   3         The burden of expanding discovery to include all southern-border land ports
   4   of entry (POEs) extends to CBP’s operations, which are already strained. CBP is
   5   currently “facing an unprecedented surge of individuals entering illegally and
   6   arriving at ports of entry without documents. CBP has encountered more than
   7   109,000 individuals in the last month alone, which is over 5,000 more individuals
   8   than were encountered the month prior. This is the highest monthly total in well over
   9   a decade and we are not even halfway through an unprecedented year.” Defs.’ Ex.
  10   6, Declaration of Randy Howe ¶ 6 (“Howe Decl”). This unprecedented surge of
  11   individuals has drastically strained the agency’s operations and resources, “as
  12   officers and agents must devote significant manpower, money, and facilities, to
  13   processing and holding. Specifically, OFO has reallocated several hundred officers
  14   to the southwest border to assist the U.S. Border Patrol. OFO at many ports of entry
  15   are thus operating with additional decreased staffing, which places an additional
  16   significant strain on resources.” Id.
  17         Requiring document production from all ports of entry would require the
  18   agency to further divert resources from their mission responsibilities to respond to
  19   Plaintiffs’ RFPs, possibly compelling OFO to pull officers from the line. Individual
  20   custodians at each port of entry “would need to search for and identify the locations
  21   of relevant files, in both hard copy and electronic form. Depending on the number
  22   of custodians at a particular POE and the number and location of such files, such a
  23   search could require an extensive search and a significant amount of time.” Id. ¶ 7.
  24   Additionally, although CBP’s eDiscovery Team will generally collect electronically
  25   stored information from custodians’ email and hard drives, “individual custodians
  26   may have to provide input into the manner in which responsive documents may be
  27   saved, locations of responsive email folders, or specific terminology likely to lead
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5708     Page
                                     47 of 300

   1   to responsive documents. Those custodians may also need to review any
   2   electronically stored information collected by the eDiscovery Team to determine
   3   whether any responsive materials were missed.” Id. Further, after documents have
   4   been collected, “individuals with knowledge of the substance of a particular
   5   document would need to review the document to determine whether it is appropriate
   6   to produce it or whether redactions must be applied. Depending on the nature of a
   7   particular document, this may involve multiple individuals or even individuals at
   8   multiple ports of entry.” Id. And, any RFPs relating to video footage would be
   9   “incredibly burdensome, as an individual officer must manually review footage for
  10   a particular incident, and then manually preserve the incident.” Id. ¶ 8. In short,
  11   “conducting discovery requires a significant amount of resources, and would likely
  12   require the POEs to pull officers from their regular duties in order to ensure that the
  13   agency appropriately responded to a particular request. OFO may already have to
  14   pull officers off the line at the four ports of entry currently at issue in this case in
  15   order to respond to discovery requests. Were each port of entry along the southwest
  16   border required to do the same, it would have a significant negative impact on OFO
  17   operations along the southwest border, which would, in turn, diminish OFO’s
  18   effectiveness at executing its national security mission. These risks are particularly
  19   acute given the current constraints on OFO’s operations.” Id. ¶ 9.
  20         Further, requiring document discovery from all ports of entry is not likely to
  21   yield significant additional information beyond what can be collected from OFO
  22   headquarters. See id. ¶ 10. “Given the fact that each POE is in regular contact with
  23   OFO headquarters, it would be largely duplicative to collect documents from every
  24   single POE along the southwest border. Email communications from the field
  25   regarding metering or queue management procedures will be collected as part of the
  26   discovery from headquarters custodians. Therefore, discovery from all of the POEs
  27   on the southwest border would not . . . be likely to uncover significant additional
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Case 3:17-cv-02366-BAS-KSC         Document 263 Filed 05/24/19            PageID.5709       Page
                                        48 of 300

   1   relevant information than what would be contained in documents collected from
   2   OFO headquarters. Thus, to require each port of entry along the southwest border to
   3   engage in discovery would impose a significant operational burden for what is likely
   4   to be largely duplicative documents.” Id.
   5           Accordingly, the Court should decline to compel Defendants to produce
   6   discovery from or relating to all land POEs along the U.S.-Mexico border. Not only
   7   is such a request improper because the putative class representatives could not
   8   represent a class representing all land POEs, but it also is unduly burdensome and
   9   not proportional to the needs of the case because it would significantly increase the
  10   burden of discovery with little to no additional benefit to resolving the claims in this
  11   case or determining whether a class should be certified in this case.10
  12           D.    Plaintiffs Must Draft Appropriate Discovery Requests Related to
  13                 the Elements of Rule 23.
  14           Plaintiffs claim that Defendants “will not even produce documents regarding
  15   the Rule 23 factors.” Supra at p. 13. This is an absurd misrepresentation of
  16   Defendants’ position.
  17           Plaintiffs propounded the following document requests seeking documents
  18   about contentions that Defendants may make in opposing class certification:
  19        • RFP No. 96: To the extent that you claim that any formal or informal policy,
  20           practice, or effort to cap, limit, or meter the number of noncitizens seeking
  21           asylum in the United States who are processed at a port of entry along the
  22           U.S.-Mexico border was not implemented across the entire U.S.-Mexico
  23           border or was not implemented at every port of entry, all documents
  24           supporting the factual basis for that claim.
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         Plaintiffs also accuse Defendants of “condition[ing] producing class-wide discovery on class
  27   certification.” Supra at p. 11 (citing Defs.’ Gen. Objection No. 6). This, again, misrepresents
       Defendants’ position. Defendants’ Overall Objection No. 6 is a proportionality and burden
  28   objection, not an argument to withhold class discovery until after a class has been certified.
                                                                  JOINT MOTION REGARDING PLAINTIFFS’
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                                                       46
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5710     Page
                                     49 of 300

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   2      • RFP No. 97: To the extent that you claim that questions of fact are not
   3         common to the class alleged in Plaintiffs’ second amended complaint, all
   4         documents that support the factual basis for your contention
   5      • RFP No. 98: To the extent that you claim that Plaintiffs’ proposed class
   6         alleged in the second amended complaint is not sufficiently numerous to be
   7         certified, all documents that support your contention.
   8      • RFP No. 99: To the extent that you claim that the named class representatives’
   9         claims are atypical of the claims of the purported class alleged in the second
  10         amended complaint, all documents that support the factual basis for your
  11         contention.
  12      • RFP No. 100: To the extent that you claim that the named class
  13         representatives are inadequate representatives of the class alleged in the
  14         second amended complaint, all documents that support the factual basis for
  15         your contention.
  16         Contrary to Plaintiffs’ assertion, Defendants did agree to produce documents
  17   in response to to RFP No. 96. See App. B at 161–62. Defendants explained that they
  18   “will not be providing documents specifically in response to th[ese other]
  19   Request[s]” because, by tying the Requests to documents that Defendants might use
  20   to oppose class certification instead of to documents that reflect the factual bases of
  21   the Rule 23 elements, the RFPs are premature and improperly impinge upon
  22   Defendants’ work product. See App. B. at 162–66. They are also unduly
  23   burdensome. See Aldapa, 310 F.R.D. at 591 (“In the context of document production
  24   requests, an even greater burden is placed on Defendants [compared to the burden
  25   imposed by contention interrogatories] in responding to requests to produce each
  26   and every document that relates to the claims brought by Plaintiffs.”). Should
  27   Plaintiffs choose to draft discovery requests relating to the factual bases of the Rule
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                                                            JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC          Document 263 Filed 05/24/19            PageID.5711        Page
                                         50 of 300

   1   23 elements, Defendants will respond accordingly.11 But “[i]t is Plaintiffs’
   2   responsibility to draft narrowly focused requests for production that do not place
   3   undue burdens on Defendants” or impinge upon Defendants’ work product or legal
   4   theories. Id.
   5          E.       Information Related to the “Health and Wellbeing” of Individuals
   6                   in Mexico is Not Relevant to the Relief Plaintiffs Might Obtain.
   7          Plaintiffs argue that they need information related to the “health and
   8   wellbeing” of individuals in Mexico to establish the “irreparable harm” element of
   9   a permanent injunction. Supra at pp. 14–15. But Plaintiffs are not entitled to the
  10   permanent injunction they seek as a matter of law.
  11          Plaintiffs seek an injunction requiring Defendants to comply with “laws and
  12   regulations . . . prohibiting Defendants . . . from continuing to implement the
  13   Turnback Policy and from engaging in unlawful practices . . . [and] to implement
  14   procedures to provide effective oversight and accountability in the inspection and
  15   processing of individuals who present themselves at POEs.” See ECF No. 189
  16   ¶ 304.e–g. As explained above, however, Plaintiffs’ claims must proceed under the
  17   APA, which does not allow for such broad and poorly defined relief. See 5 U.S.C.
  18   § 706(1), (2) (allowing a reviewing court to “compel agency action unlawfully
  19   withheld or unreasonably delayed” or to “hold unlawful and set aside” unlawful
  20   agency action); supra at II.B; ECF No. 166 at 45; Fla. Med. Ass’n, Inc. v. Dep’t of
  21   Health, Educ., & Welfare, 947 F. Supp. 2d 1325, 1354 (M.D. Fla. 2013) (“[T]he
  22   APA authorizes a court to enjoin a specific final agency decision it finds arbitrary,
  23   capricious or contrary to law, [though] the APA does not afford a vehicle for
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         Indeed, Defendants have already responded to and agreed to provide documents in response to
  26   Plaintiffs’ RFPs concerning topics that may be related to the Rule 23 factors, such as the requests
       for the named Plaintiffs’ own immigration records, see, e.g., Defs.’ Ex. 1 at 51 (RFP No. 15);
  27   requests for documents concerning Defendants’ policies and practices, see, e.g., id. at 52, 58–60.
       64–68 (see, e.g., RFPs No. 16, No. 19, No. 22), Defs.’ Ex. 2 at 35–36 (RFP No. 40); and requests
  28   for documents reflecting statistics that may relate to numerosity.
                                                                   JOINT MOTION REGARDING PLAINTIFFS’
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                                                        48
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5712    Page
                                     51 of 300

   1   enjoining possible future agency actions.”); Alabama v. Ctr. for Medicare and
   2   Medicaid Serv., 674 F.3d 1241, 1245 (11th Cir. 2012).
   3         Additionally, even assuming the health and wellbeing of the named Plaintiffs
   4   and other putative class members is properly discoverable, such information is by
   5   definition in the plaintiffs’ and putative class members’ possession. It is therefore
   6   disproportionate to the needs of the case to compel Defendants to search for and
   7   produce such information. See Fed. R. Civ. P. 26(b)(1), (b)(2)(C). Thus, because
   8   Plaintiffs are not entitled to the injunction they seek, and because the information
   9   they seek is necessarily in their own possession, the Court should not compel
  10   Defendants to search for and produce documents relating to the number or the health
  11   and wellbeing of individuals in Mexico and should decline to compel responses to
  12   RFPs No. 73 and No. 78.
  13         F.     Defendants’ Purported “Communications with Lobbying Groups”
  14                are Not Within the Scope of Discovery and Not Relevant.
  15         Defendants’ purported communications with various labor unions or the
  16   Federation for American Immigration Reform (FAIR) are not within the scope of
  17   review in this APA case. See RFP Nos. 58–63; App. B at 72–83. As discussed above,
  18   the APA establishes as a baseline principle that a reviewing court cannot review
  19   evidence that was not before the agency when it acted. Rather, the statute requires a
  20   court to “review the whole record or those parts of it cited by a party.” 5 U.S.C.
  21   § 706; Florida Power & Light Co., 470 U.S. at 743. Plaintiffs make no allegations
  22   in the Second Amended Complaint, nor do they attempt to show in their portion of
  23   this joint motion, that that there were communications between CBP or DHS and
  24   labor unions or the Federation for American Immigration Reform (FAIR) related to
  25   “limiting, capping, or metering the number of [individuals] that are allowed to
  26   present themselves at a port of entry on the U.S.-Mexico border to seek asylum,”
  27   such that they would be part of a typical administrative record. See supra at pp. 19–
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                                                          JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5713     Page
                                     52 of 300

   1   20; see generally ECF No. 189. Instead, Plaintiffs make the bald assertion that such
   2   communications “may reveal that the Government’s asserted hardships are really
   3   just a pretext.” Supra at p. 19 (emphasis added). This statement is irrelevant,
   4   conclusory, and wholly speculative. Plaintiffs have failed to show that the
   5   information they seek is properly within the scope of review in this APA case.
   6         But even if such information were reviewable, Plaintiffs make no attempt to
   7   show how such communications are relevant to either the reasonableness of the pace
   8   at which aliens without appropriate documents are permitted to cross the border or
   9   to whether Defendants’ actions are in excess of statutory authority. See supra at pp.
  10   19–20; 5 U.S.C. §§ 706(1), (2). None of the allegations in the complaint relate to
  11   labor unions or interest groups, and Plaintiffs offer no explanation why
  12   communications with the various labor unions or FAIR specifically are relevant to
  13   this case. Thus, the Court should not compel Defendants to search for such
  14   communications.
  15         G.     Defendants’ “Reactions” and Alleged “Derogatory Comments” are
  16                Not Relevant to Any Party’s Claims or Defenses, Not Within the
  17                Proper Scope of Discovery, and Not Proportional to the Needs of
  18                the Case.
  19         The “reactions” of “relevant officials” to this lawsuit, to “news articles and
  20   NGO reports related to the metering policies alleged in the Complaint,” and to
  21   “tweets or comments by the President of the United States and/or White House” are
  22   not relevant to any parties’ claims or defenses and are thus outside the scope of
  23   discovery, and requests for documents containing such reactions are not proportional
  24   to the needs of this case. See RFP Nos. 35–37; App. B at 22–31. Similarly, any
  25   alleged references by CBP employees referring to asylum applicants as “illegal,”
  26   “exploiting a legal loophole,” or using “derogatory language or ethnic slurs” are not
  27   relevant to this case and are thus not within the scope of discovery, and requests for
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                                                           JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5714     Page
                                     53 of 300

   1   documents containing such references are not proportional to the needs of the case.
   2   See RFPs No. 64–65, No. 69; App. B. at 83–87, 90–93. Request No. 67, which has
   3   to do with crime rates among a broad set of individuals, is also not relevant to the
   4   claims and defenses in this case and is also not proportional to the needs of the case.
   5   See App. B at 87–88.
   6                1.     The Information Sought Through RFP Nos. 35, 36, 37, 64, 65,
   7                       67, and 69 is Not Reviewable Under the APA.
   8         It is well established that the “reactions” Plaintiffs seek are well outside the
   9   scope of discoverable material under the APA, under which Plaintiffs’ claims must
  10   be adjudicated. See supra at II.B. As explained at length above, “[w]hen a party
  11   challenges agency action as arbitrary and capricious the reasonableness of the
  12   agency’s action is judged in accordance with its stated reasons.” In re Subpoena
  13   Duces Tecum, 156 F.3d at 1279–80 (emphasis added); supra at II.B.3. “[T]he actual
  14   subjective motivation of agency decisionmakers is immaterial as a matter of law.”
  15   Id.; Citizens to Preserve Overton Park, 401 U.S. at 420 (stating that “inquiry into
  16   the mental processes of administrative decisionmakers is usually to be avoided” and
  17   “there must be a strong showing of bad faith or improper behavior before such
  18   inquiry may be made”); see also McCray v. United States, 195 U.S. 27, 56 (1904)
  19   (“[T]he judiciary may [not] restrain the exercise of lawful power on the assumption
  20   that a wrongful purpose or motive has caused the power to be exerted.”); Portland
  21   Audubon Soc’y v. Endangered Species Comm., 984 F.2d 1534, 1549 (9th Cir. 1993)
  22   (noting that “the mental processes of individual agency members” are not properly
  23   reviewable under the APA).
  24         Plaintiffs believe they have sufficiently alleged that Defendants have acted in
  25   bad faith so as to be entitled to discovery into subjective motivation, but in reality,
  26   they have alleged only that Defendants’ actions are unlawful. This is a far cry from
  27   the heightened standard required to establish bad faith. See Outdoor Amusement Bus.
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                                                            JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5715     Page
                                     54 of 300

   1   Ass’n, Inc. v. Dep’t of Homeland Sec., No. 16-cv-1015, 2017 WL 3189446, at *20–
   2   21 (D. Md. July 27, 2017) (“Courts have imposed a high standard on plaintiffs
   3   seeking to demonstrate bad faith.” (citing Tafas v. Dudas, 530 F. Supp. 2d 786, 797
   4   (E.D. Va. 2008))); see also Newton County Wildlife Ass’n v. Rogers, 141 F.3d 803,
   5   807–08 (8th Cir. 1998) (finding “[the] threshold showing of bad faith woefully
   6   inadequate to justify going outside the administrative record” where plaintiff
   7   identified a discrepancy between the agency’s conduct and its predecisional
   8   assessments). Some courts have found that a showing of fraud or clear wrongdoing
   9   were sufficient to establish bad faith; however, Plaintiffs have not made any specific
  10   allegations here that would tend to show bad faith. See Mullins v. U.S. Dep’t of
  11   Energy, 50 F.3d 990, 993 (Fed. Cir. 1995) (stating that the “relevant judgement had
  12   to be the agency’s” and without “some showing of fraud or clear wrongdoing” bad
  13   faith was not established); United States v. Shaffer, 11 F.3d 450, 460–61 (4th Cir.
  14   1993) (finding bad faith where “government’s agent . . . filed fraudulent documents
  15   with the federal government and perjured himself repeatedly in connection with his
  16   federal employment[.]”). Plaintiffs’ perspective on the case is also not enough to
  17   establish bad faith, as simply “disagree[ing] with an agency’s ultimate decision, or
  18   with its interpretation of the factual materials before it does not constitute bad
  19   faith[]” even if a court ultimately makes a decision adverse to the agency. Outdoor
  20   Amusement, 2017 WL 3189446, at *20–21 (citing Sierra Club v. U.S. Army Corps
  21   of Engineers, 701 F.2d 1011, 1044 (2d Cir. 1983)). Thus, Plaintiffs have failed to
  22   establish bad faith on the part of Defendants necessary to render the Government
  23   decisionmakers’ intent relevant to this APA case.
  24         Plaintiffs have simply not shown why the facts they seek to obtain through
  25   these RFPs could possibly be relevant to the Court’s review of agency action.
  26   “[W]hen there is a contemporaneous explanation of the agency decision, the validity
  27   of that action must ‘stand or fall on the propriety of that finding, judged, of course,
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5716     Page
                                     55 of 300

   1   by the appropriate standard of review.’” Vermont Yankee, 435 U.S. at 549 (quoting
   2   Pitts, 411 U.S. at 143). In fact, an agency explanation, even if “curt,” is sufficient.
   3   See Pitts, 411 U.S. at 138, 143. Although Plaintiffs also try to justify their attempt
   4   to obtain extra-record evidence by proclaiming, without support, that “intent is
   5   highly relevant to the claims and defenses in this case,” supra at p. 23, Defendants’
   6   intent (or “executive motivation,” see supra at p. 18) is not an element of any of
   7   Plaintiffs’ claims. Supra at II.B.3. For these reasons, Plaintiffs’ unsupported
   8   allegation that Defendants’ capacity defense is a pretext and their vague assertion
   9   that Defendants have engaged in bad faith is simply not enough to support Plaintiffs’
  10   request for the “reaction” or “derogatory comments” discovery they seek.
  11                2.     Even if the Information Sought Were Reviewable, it is Not
  12                       Relevant and the Document Requests Are Not Proportional
  13                       to the Needs of the Case.
  14         Moreover, Plaintiffs wholly fail to establish that their Requests seeking
  15   “reactions” or purported derogatory comments of individual CBP employees are
  16   relevant to the claims at issue. Plaintiffs argue that RFP No. 35 might return
  17   “communications between Government officials expressing relief that the
  18   Complaint omitted certain key facts, deliberations about whether the Government
  19   should issue a public response to the litigation, or internal concerns that the
  20   Government’s unannounced turnback policy has been publicly exposed.” Supra at
  21   pp. 20–21. They also speculate that Defendants’ “internal reactions to . . . public
  22   criticism will, amongst other things, show whether the Government believes these
  23   criticisms to be meritorious and may reveal whether the Government’s asserted
  24   capacity defense is a pretext for undermining the U.S. asylum process.” Supra at p.
  25   21. But whether Defendants may have expressed “relief” that the complaint omits
  26   “certain key facts” or not, or whether Defendants may believe public criticism is
  27   meritorious or not have absolutely no bearing on whether Defendants have actually
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5717     Page
                                     56 of 300

   1   done what Plaintiffs allege they did. A “reaction” to something does not “have ‘any
   2   tendency’ to make any of the issues in this case ‘more or less probable than [they]
   3   would be without’ the ‘reaction,’ nor is the fact of a ‘reaction’ ‘of consequence in
   4   determining’ the issues.” See App. B at 22–23, 27, 30. Even if it did, it is plainly not
   5   proportional to the needs of the case for Defendants to search their documents for
   6   “reactions” related to the issues in this lawsuit on a fishing expedition for comments
   7   that might confirm the existence or non-existence of a policy or certain facts, when
   8   there are other, drastically less burdensome ways to obtain the information Plaintiffs
   9   seek. For example, Plaintiffs have sought, and Defendants have agreed to provide
  10   documents and communications concerning Defendants’ actual policies and
  11   practices that relate to the allegations in the Second Amended Complaint, including
  12   training materials. See, e.g., Defs.’ Ex. 1 at 19–24, 28–34 (RFP Nos. 1–2 and Nos.
  13   5–6), Defs.’ Ex. 2 at 35–36, 49–53 (RFPs No. 40 and No. 44). Defendants have also
  14   agreed to provide information regarding the capacity of the San Ysidro, Otay Mesa,
  15   Hidalgo, and Laredo ports of entry to process travelers. See, e.g., Defs.’ Ex. No. 2 at
  16   54–60, 115–19 (RFP Nos. 46–47, No. 75). Such documents and communications are
  17   more likely to provide the actual information Plaintiffs claim to seek.
  18         Requests seeking documents containing alleged comments by CBP
  19   employees referring to those applying for asylum as “illegal,” “exploiting a legal
  20   ‘loophole,’” or other purportedly “derogatory language or ethnic slurs” are irrelevant
  21   for the same reason, and also because the subjective intent of individual agency
  22   employees is immaterial as a matter of law. See RFPs No. 64, No. 65, No. 69; App.
  23   B at 84, 86, 91–92. Information about crime rates among certain aliens sought
  24   through Request No. 67, see App. B at 88, is also not relevant, despite Plaintiffs’
  25   unsubstantiated declaration that “[t]his type of data may bear on Defendants’ intent
  26   and motivations in crafting any turnback or metering policies.” Supra at p. 25
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Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19         PageID.5718      Page
                                       57 of 300

   1   (emphasis added). Even if Defendants had such data in their possession, it is not
   2   related to any allegations in the Second Amended Complaint.
   3          The issues in this case are “whether the named Plaintiffs were, at the time of
   4   their alleged injury applying for admission to the United States; whether Defendants
   5   have implemented a formal policy or taken final agency action to ‘restrict access to
   6   the asylum process at ports of entry along the U.S.-Mexico border’’ and whether
   7   such a policy or final agency action, if it exists, and in the form it exists, is unlawful.”
   8   App. B at 22. There is no need for discovery into “reactions” by Defendants because
   9   they are not relevant to whether Defendants have an alleged policy of turning away
  10   those who present themselves at ports of entry across the southwest border and seek
  11   asylum. Similarly, discovery into CBP employees’ purported offensive remarks or
  12   into crime rates of certain aliens are not relevant to whether Defendants have an
  13   actual policy of turning away those who present themselves at ports of entry across
  14   the southwest border of the United States and apply for asylum. It is also not clear
  15   how the crime rates information sought through Request No. 67 would be relevant
  16   to “logistics and enforcement of such policies,” as Plaintiffs claim. Supra at p. 25.
  17          Moreover, as noted, information about the alleged policy that Plaintiffs seek
  18   to uncover can be found through the many other Requests for Production that
  19   Plaintiffs have propounded and which Defendants have agreed to respond to (subject
  20   to the limitations on discovery being negotiated by the parties). See App. A and App.
  21   B generally; see also Fed. R. Civ. P. 26 (b)(2)(C)(i) (stating that courts must limit
  22   discovery that “is unreasonably cumulative or duplicative, or [that] can be obtained
  23   from another sources that is more convenient, less burdensome, or less expensive).
  24   Accordingly, the Court should decline to compel responses to these overbroad
  25   Requests that are nothing more than fishing expeditions. Doherty v. Comenity
  26   Capital Bank & Comenity Bank, No. 16-cv-1321, 2017 WL 1885677, at *2 (S.D.
  27   Cal. May 9, 2017) (“Under the amended Rule 26, relevancy alone is no longer
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Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5719     Page
                                      58 of 300

   1   sufficient to obtain discovery: the discovery requested must also be proportional to
   2   the needs of the case.”); United States v. Baisden, 881 F. Supp. 2d 1203, 1207 (E.D.
   3   Cal. 2012) (“District courts need not condone the use of discovery to engage in
   4   ‘fishing expeditions[s].’” (quoting Rivera v. NIBCO, 364 F.3d 1057, 1072 (9th Cir.
   5   2004)).
   6                                          *        *    *
   7         Although this is an APA case, Defendants have nonetheless agreed to produce
   8   documents in response to numerous Requests for Production. But Plaintiffs’
   9   Requests go far beyond what could by any measure be considered necessary to the
  10   adjudication of this case, let alone relevant or proportional to the needs of this case.
  11   Thus, for the reasons discussed above, the Court should deny Plaintiffs’ motion to
  12   compel in its entirety.
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Case 3:17-cv-02366-BAS-KSC   Document 263 Filed 05/24/19      PageID.5720    Page
                                  59 of 300

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  15                                             By /s/ Matthew H. Marmolejo

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Case 3:17-cv-02366-BAS-KSC   Document 263 Filed 05/24/19    PageID.5721     Page
                                  60 of 300

   1
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5722     Page
                                     61 of 300

   1        CERTIFICATE OF COMPLIANCE WITH MEET-AND-CONFER
   2                                    REQUIREMENT
   3         I certify that on April 30, 2019 the counsel for the parties meet and conferred
   4   via telephone to discuss Defendants’ responses and objections to Plaintiffs’ First and
   5   Second Sets of Requests for Production. This conference occurred via telephone
   6   because counsel were located in New York, Los Angeles, the District of Columbia,
   7   and Georgia. The parties were unable to resolve their dispute.
   8   Dated: May 24, 2019                            MAYER BROWN LLP
                                                      By /s/ Matthew H. Marmolejo
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                                                      Attorney for Plaintiffs
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                                                           JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC   Document 263 Filed 05/24/19          PageID.5723    Page
                                  62 of 300

   1                          CERTIFICATE OF SERVICE
   2        I certify that I caused a copy of the foregoing document to be served on all
   3   counsel via the Court’s CM/ECF system.
   4   Dated: May 24, 2019                           MAYER BROWN LLP
   5

   6                                                 By /s/ Matthew H. Marmolejo

   7                                                 Attorney for Plaintiffs
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                                                           JOINT MOTION REGARDING PLAINTIFFS’
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5724     Page
                                     63 of 300

   1                                        Appendix A
   2         As discussed in the parties’ accompanying Joint Motion for Determination of
   3   Discovery dispute, the following is the exact text of the disputed portions of
   4   Defendants’ Second Amended and Supplemented Responses to Plaintiffs’ First Set
   5   of Requests for Production of Documents, as amended and served on April 9, 2019.
   6                                       *      *      *
   7               Objections Which Apply To All Requests For Production
   8         1.     Defendants object to these Requests (and all discovery requests) as
   9   facially improper in this Administrative Procedure Act (“APA”) case. Defendants
  10   continue to maintain, as briefed in their pending Motion to Dismiss (ECF Nos. 192
  11   & 238) and in their portion of the 26(f) report (ECF No. 239), and supplement (ECF
  12   No. 243), that Plaintiffs’ claims should be decided on the administrative record
  13   without discovery. “[I]t is black-letter administrative law that in an APA case, a
  14   reviewing court ‘should have before it neither more nor less information than did the
  15   agency when it made its decision.’” Hill Dermaceuticals, Inc. v. Food & Drug
  16   Admin., 709 F.3d 44, 47 (D.C. Cir. 2013) (quoting Walter O. Boswell Mem’l Hosp.
  17   v. Heckler, 749 F.2d 788, 792 (D.C. Cir. 1984)); First Nat. Bank & Trust v. Dep’t of
  18   Treasury, 63 F.3d 894, 897 (9th Cir. 1995) (“Generally, judicial review of an agency
  19   decision is limited to the administrative record.” (citing Camp v. Pitts, 411 U.S. 138,
  20   142 (1973)). These Requests are proper only to the extent they seek information that
  21   is absolutely necessary “to ascertain the contours of the precise policy at issue,”
  22   Venetian Casino Resort, L.L.C. v. E.E.O.C., 530 F.3d 925, 928 (D.C. Cir. 2008), and
  23   only to the extent they request the information the agency had before it when it made
  24   its decision, Hill Dermaceuticals, Inc., 709 F.3d at 47. Thus, Defendants continue to
  25   maintain that discovery of the type Plaintiffs seek is improper, and if this case is not
  26   dismissed in its entirety, it should be decided on the relevant administrative record.
  27   Defendants assert this objection to preserve it pending a ruling on their Motion to
  28   Dismiss. At this time, this objection serves as a limiting principle on the parameters
                                                                                     APPENDIX A
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Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5725      Page
                                      64 of 300

   1   of Defendants’ search for responsive documents, the contours of which are being
   2   contemporaneously negotiated with Plaintiffs; Defendants are not withholding any
   3   responsive documents collected as a result of that search from their production or
   4   privilege log on the basis of this objection alone.
   5         2.     Moreover, any Request that seeks information relating to any DHS or
   6   CBP employee’s subjective intentions or motivations, including the named
   7   Defendants’, is facially improper. The Supreme Court has long recognized that “judicial
   8   inquiries into legislative or executive motivation represent a substantial intrusion into
   9   the workings of other branches of government.” Village of Arlington Heights v.
  10   Metropolitan Hous. Dev. Corp., 429 U.S. 252, 268 n. 18 (1977). In part for that reason,
  11   the Court has “made it abundantly clear” that APA review must focus only on the
  12   contemporaneous explanation of the agency decision” that the agency chooses to rest
  13   upon. Vermont Yankee Nuclear Power Corp. v. Natural Res. Def. Council, Inc., 435
  14   U.S. 519, 549 (1978). “When a party challenges agency action as arbitrary and
  15   capricious the reasonableness of the agency’s action is judged in accordance with its
  16   stated reasons.” In re Subpoena Duces Tecum Served on the Office of the Comptroller
  17   of the Currency, 156 F.3d 1279, 1279 (D.C. Cir. 1998) (emphasis added) (citing
  18   Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S 402 (1971)). Unless intent
  19   is an element of a party’s claims or defenses—which, in this case, it is not—“the
  20   actual subjective motivation of agency decisionmakers is immaterial as a matter of
  21   law,” id. at 1280, and therefore not properly discoverable. Accordingly, as set forth
  22   in their specific objections and responses, Defendants will not search for, produce, or
  23   log any documents in response to Plaintiffs’ requests that concern solely what
  24   Plaintiffs allege to be the named Defendants’ or DHS or CBP employees’ subjective
  25   intentions or motivations that have no apparent connection to the existence or
  26   contours of a policy or practice claimed to be at issue. This objection also serves as a
  27   limiting principle on the parameters of Defendants’ search for responsive documents,
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                                                                                      APPENDIX A
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Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5726      Page
                                      65 of 300

   1   the contours of which are being contemporaneously negotiated with Plaintiffs.
   2         3.     Defendants object to the use of the term “noncitizen,” as this term is
   3   overly broad, vague and ambiguous. Specifically, the term “noncitizen” is a term
   4   proposed by Plaintiffs and not used by Defendants, and Plaintiffs do not provide a
   5   definition of what this term means. “Noncitizen” is not specific to the United States.
   6   That is, it is not limited to those individuals who are not citizens of the United States
   7   and could encompass individuals who are not citizens of other nations. Therefore,
   8   for the purpose of responding to these Requests, Defendants understand and construe
   9   the term “noncitizen,” in the context of these discovery requests, to mean “alien,” as
  10   defined in 8 U.S.C. § 1101(a)(3), and such construction is reflected in all of
  11   Defendants’ responses and any corresponding production or privilege log.
  12         4.     Defendants object to the terms and phrases “seek asylum,” “have a
  13   fear,” “expressing a desire to seek asylum,” “expressing a fear of returning to their
  14   countries of origin,” and “present themselves,” as these terms and phrases are vague
  15   and ambiguous, are not defined by Plaintiffs, and potentially can be construed as
  16   referring to actions or statements other than those described in 8 U.S.C. §§ 1158 and
  17   1225(b). For purposes of responding to these RFPs, Defendants understand and
  18   construe these terms and phrases as referring to actions consistent with 8 U.S.C. §§
  19   1158 and 1225(b). Such construction is reflected in all of Defendants’ responses and
  20   any corresponding production or privilege log; Defendants are not, however,
  21   withholding documents on the basis of this objection.
  22         5.     Defendants object to the phrase “near a port of entry on the U.S.-
  23   Mexico border” on the basis that this phrase is overbroad and seeks discovery
  24   beyond the scope of this lawsuit. For example, this phrase could be construed as
  25   referring to actions occurring between ports of entry, which are not relevant to any
  26   party’s claims or defenses in this case. The claims in this action relate only to aliens
  27   who allegedly sought to enter the United States at one of four ports of entry (Laredo,
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5727     Page
                                     66 of 300

   1   Otay Mesa, San Ysidro, and Hidalgo) but were not immediately allowed to do so.
   2   Defendants therefore object to the extent that any Request seeks information beyond
   3   the claims raised by individual Plaintiffs in this action because such discovery would
   4   also be disproportional to the needs of the case. Relatedly, such discovery would be
   5   unduly burdensome and disproportional to the needs of the case. Therefore, for
   6   purposes of their responses, Defendants will only search for and produce relevant
   7   and non-privileged documents relating to aliens arriving at “ports of entry” and
   8   Defendants’ responses to each and every Request will be limited consistent with this
   9   objection.
  10         6.     Defendants object to each and every Request to the extent it requests or
  11   appears to request information related to all ports of entry along the U.S.-Mexico
  12   border as not proportional to the needs of the case, overly broad, and unduly
  13   burdensome. The Court’s Order directs the parties to “prioritize discovery necessary
  14   for a motion for class certification[.]” ECF No. 196 at 2. “The class action is ‘an
  15   exception to the usual rule that litigation is conducted by and on behalf of the
  16   individual named parties only.’ In order to justify a departure from that rule, ‘a class
  17   representative must be part of the class and possess the same interest and suffer the
  18   same injury as class members.’” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348-
  19   49 (2011) (quoting Califano v. Yamasaki, 442 U.S. 682, 700-01 (1979), and East
  20   Tex. Motor Freight System, Inc. v. Rodriguez, 431 U.S. 208, 216 (1974)). The
  21   putative class representatives allege that they applied for admission or attempted to
  22   apply for admission at only the San Ysidro, Otay Mesa, Hidalgo, and Laredo ports
  23   of entry. Thus, even assuming for argument’s sake that the Court certifies the
  24   broadest possible class the representative parties might be legally permitted to
  25   represent, the individual plaintiffs still cannot challenge actions taken at other ports
  26   of entry, because those plaintiffs are not part of a class of individuals who applied
  27   for admission or attempted to apply for admission at such ports and do not “possess
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Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19         PageID.5728      Page
                                      67 of 300

   1   the same interest and suffer the same injury as those individuals.” Wal-Mart Stores,
   2   Inc., 564 U.S. at 348-49. The challenges in this action are thus limited to policies
   3   issued and actions taken by the headquarters portions of the Office of Field
   4   Operations and actions that occurred at the San Ysidro, Otay Mesa, Laredo, and
   5   Hidalgo ports of entry, and any Requests that go beyond the scope of the specific
   6   claims and allegations at issue are legally improper and thus irrelevant.
   7         Further, the burden of searching for, collecting, reviewing, and producing
   8   documents related to all ports of entry along the U.S.-Mexico border would be
   9   unduly burdensome and disproportional to the needs of the case. Plaintiffs allege a
  10   border-wide practice, policy, and/or procedure; discovery from the four ports of
  11   entry where the named Plaintiffs allegedly encountered such a practice, policy,
  12   and/or procedure (or a subset thereof), in addition to discovery from select higher-
  13   level officials and centralized non-custodial sources, satisfies the needs of the case,
  14   as any evidence of such a border-wide practice, policy, and/or procedure, if it exists,
  15   would necessarily be found in such locations. Any discovery from other ports of
  16   entry along the U.S.-Mexico border would thus be either irrelevant or duplicative
  17   and unduly burdensome.
  18         In light of these issues, Defendants therefore understand and construe these
  19   Requests as seeking discovery limited to headquarters portions of the Office of Field
  20   Operations and the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of entry, and
  21   will search for and produce only relevant and non-privileged documents relating to
  22   aliens arriving or attempting to arrive at these four ports of entry, and documents from
  23   Office of Field Operations Headquarters. Defendants’ responses to each and every
  24   Request, and their corresponding production and privilege log, will be limited
  25   consistent with this general objection. This objection also serves as a limiting principle
  26   on the parameters of Defendants’ search for responsive documents, the contours of
  27   which are being contemporaneously negotiated with Plaintiffs.
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                                                                                       APPENDIX A
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5729     Page
                                     68 of 300

   1         7.     Defendants object to the RFPs to the extent that they seek: (a) attorney
   2   work product, trial preparation materials, or communications that are protected by
   3   the attorney-client privilege, (b) documents that are protected by the deliberative
   4   process privilege, the joint defense privilege, the common interest privilege, the law
   5   enforcement privilege (and/or as law enforcement sensitive), the official information
   6   privilege, the executive privilege, the investigatory files privilege, the self-critical
   7   analysis privilege, the Machin privilege; (c) documents that, if produced would
   8   violate the legitimate privacy interests and expectations of persons who are not party
   9   to this litigation; or (d) documents to which any other privilege applies.
  10         Defendants will assert privileges specific to each request in their privilege log,
  11   on the production itself, or in their response to the request and Defendants agree to
  12   meet and confer regarding privilege objections to which Plaintiffs assert objections.
  13   Documents generated after the filing of Plaintiffs’ initial Complaint in this action
  14   representing either communications with counsel or communications or documents
  15   relating to the actual conduct of litigation post-complaint—and thus clearly protected
  16   by either the attorney-client privilege or the work-product doctrine—will be treated
  17   as non-responsive and therefore will not appear on any privilege log.
  18         8.     Defendants object to producing confidential, sensitive, or personally-
  19   identifying information prior to the entry of an order protecting that information
  20   from disclosure.
  21         9.     Defendants object to each and every Request to the extent that it seeks
  22   information protected from disclosure by statutes, regulations, or directives regarding
  23   the protection of privacy, confidential information, or medical information, or under
  24   statutes and regulations prohibiting disclosure of information related to individual
  25   aliens—including, but not limited to, 8 U.S.C. §§ 1160(b)(5), (6); 1186a(c)(4);
  26   1202(f); 1254a(c)(6), 1255a(c)(4), (5); 1304(b); 1367; 22 U.S.C. § 7105(c)(1)(C); 8
  27   C.F.R. § 208.6; 210.2(e); 214.11(p); 214.14(e); 216.5(e)(3)(viii); 236.6; 244.16;
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Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19       PageID.5730     Page
                                      69 of 300

   1   245a.2(t); § 245a.3(n); § 245a.21; § 1003.46; and 1208.6—many of which would
   2   subject Defendants and their employees to civil or criminal penalties or other
   3   sanctions in the event of unauthorized disclosure. Thus, Defendants will not produce
   4   responsive information that falls within this category without an express written
   5   waiver from the alien authorizing such disclosure, or a court order, as may be
   6   permitted in certain circumstances.
   7         10.      Defendants object to the RFPs (and the definitions and instructions that
   8   accompany them) to the extent that they purport to impose obligations greater than
   9   those imposed by the Federal Rules of Civil Procedure, the Local Civil Rules of the
  10   U.S. District Court for the Southern District of California, or an order of this Court.
  11   While Defendants are not currently aware of any documents they are withholding
  12   on the basis of this objection, Defendants nonetheless assert this objection to
  13   preserve it.
  14         11.      Defendants object to the RFPs to the extent they impose obligations
  15   beyond those agreed upon in the Stipulated ESI Protocol. Defendants will search
  16   agreed upon custodian and non-custodial sources agreed to by the parties in
  17   accordance with the terms of that protocol. If the parties cannot agree on sources and
  18   search parameters, Defendants will limit their search parameters to the sources and
  19   search terms and methods identified by Defendants. Defendants also agree to meet
  20   and confer with Plaintiffs regarding the possibility of direct collection of documents
  21   without using a forensic document collection and the application of search terms if
  22   appropriate under the circumstances.
  23                            OBJECTIONS TO DEFINITIONS
  24         1.       Defendants object to the definitions of the terms “YOU” and “YOUR”
  25   on the grounds that they are overbroad, vague, unduly burdensome, invade the
  26   attorney/client privilege or the attorney work-product doctrine, and violate the
  27   Privacy Act, 5 U.S.C. § 552a et seq. Unless otherwise specified, Defendants interpret
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                                                                                     APPENDIX A
                                                   7
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5731     Page
                                     70 of 300

   1   the definition of YOU or YOUR as referring to DHS, CBP, OFO, and individual
   2   DHS employees from whom DHS has the legal right to obtain upon demand
   3   information relevant to the claims and defenses in this case. Defendants do not
   4   interpret the definition of “YOU” or “YOUR” to include DHS component agencies
   5   or CBP subcomponents that are not parties to this case. Defendants’ responses to
   6   each applicable Request, and their corresponding production and privilege log, will
   7   be limited consistent with this objection and the objections to the definitions of DHS
   8   and CBP. This objection also serves as a limiting principle on the parameters of
   9   Defendants’ search for responsive documents, the contours of which are being
  10   contemporaneously negotiated with Plaintiffs.
  11         2.     Defendants object to the definition of “CBP” as overbroad, unduly
  12   burdensome, and disproportional to the needs of the case. Plaintiffs’ definition
  13   includes “any divisions, subdivisions, components or sections” of CBP and “CBP
  14   offices at ports of entry, including any divisions, subdivisions, components or
  15   sections therein[.]” Plaintiffs’ definition also includes “any other CBP
  16   organizational structures, including but not limited to U.S. Border Patrol, U.S. Office
  17   of Field Operations or private contractors hired by CBP.” First, Plaintiffs’ definition
  18   is overly broad and disproportional to the needs of the case in that it would
  19   potentially include CBP components that are not relevant to the claims and defenses
  20   in this case, such as Air and Marine Operations and U.S. Border Patrol. Second,
  21   Plaintiffs’ definition is also overly broad and disproportional to the needs of the case
  22   because this case challenges the alleged actions of CBP’s Office of Field Operations
  23   at the headquarters level and at the San Ysidro, Otay Mesa, Hidalgo, and Laredo
  24   ports of entry. Thus, requests for documents from other subcomponents of CBP that
  25   do not relate to those challenged actions reaches beyond what may be relevant to the
  26   claims and defenses in this case. Third, asking Defendants to search and produce
  27   documents from all components of CBP would be unduly burdensome and also
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Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19      PageID.5732     Page
                                      71 of 300

   1   disproportional as CBP employs more than 60,000 people and many of these
   2   employees are not relevant to the claims or defenses in this case. See “About CBP,”
   3   U.S. Customs and Border Protection (last modified April 18, 2019),
   4   https://www.cbp.gov/about.
   5            Defendants also object to Plaintiffs’ definition of “CBP” to the extent it
   6   includes all “private contractors hired by CBP” to the extent the work of those
   7   contractors is not relevant to this case and to the extent that Defendants do not have
   8   a legal right to obtain documents from them. As applicable, Defendants will construe
   9   Plaintiffs’ requests as limited to documents over which Defendants exercise
  10   possession or custody or have a legal right to obtain, and from contractors whose
  11   work relates to the Office of Field Operations and San Ysidro, Otay Mesa, Hidalgo,
  12   and Laredo ports of entry.
  13            Defendants do not interpret the definition of “CBP” to include all
  14   subcomponents of CBP or all employees of CBP. Defendants construe “CBP” to
  15   refer to the named Defendants in their official capacities, U.S. Customs and Border
  16   Protection and, where appropriate in the context, its headquarters and its Office of
  17   Field Operations, and the San Ysidro, Otay Mesa, Hidalgo, and Laredo ports of
  18   entry.
  19            Defendants’ responses to each applicable Request, and their corresponding
  20   production and privilege log, will be limited consistent with this objection. This
  21   objection also serves as a limiting principle on the parameters of Defendants’ search
  22   for responsive documents, the contours of which are being contemporaneously
  23   negotiated with Plaintiffs.
  24            3.    Defendants object to the definition of “DHS” as overbroad, vague,
  25   unduly burdensome, and disproportional to the needs of the case. Specifically,
  26   Plaintiffs’ definition includes “headquarters and offices” and “any divisions,
  27   subdivisions, components or sections” of DHS. The definition also includes “any
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                                                                                    APPENDIX A
                                                  9
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19       PageID.5733       Page
                                       72 of 300

   1   other DHS organizational structures.” First, Plaintiffs’ definition is overly broad and
   2   disproportional to the needs of the case in that it would include DHS components
   3   that are not relevant to the claims and defenses in this case. Second, Plaintiffs’
   4   definition is also overly broad and disproportional to the needs of the case because
   5   this case challenges the alleged actions of CBP’s Office of Field Operations at the
   6   San Ysidro, Otay Mesa, Hidalgo, and Laredo ports of entry. Third, asking
   7   Defendants to search for and produce documents from all components of DHS would
   8   be unduly burdensome as DHS employs more than 240,000 people and many of
   9   these employees are not relevant to the claims or defenses in this case. See “About
  10   DHS,”      U.S.    Dep’t      of   Homeland       Security     (Sept.    27,      2017),
  11   https://www.dhs.gov/about-dhs. Accordingly, Defendants do not interpret the
  12   definition of “DHS” to include all component agencies of DHS or all employees of
  13   DHS and its component agencies. Defendants construe “DHS” to refer to DHS
  14   components, offices, and personnel at issue in this case, including, as applicable, the
  15   DHS Office of Inspector General (“OIG”).
  16         Defendants’ responses to each applicable Request, and their corresponding
  17   production and privilege log, will be limited consistent with this objection. This
  18   objection also serves as a limiting principle on the parameters of Defendants’ search
  19   for responsive documents, the contours of which are being contemporaneously
  20   negotiated with Plaintiffs.
  21         4.     Defendants object to the definition of “COMMUNICATION” on the
  22   grounds that it is vague, overly broad, and unduly burdensome because it is defined
  23   so broadly as to include oral and/or non-written communications, which are beyond
  24   the scope of Rule 34. See Fed. R. Civ. P. 34 (allowing requests to inspect or produce
  25   documents, electronically stored information, or tangible items). For the purposes of
  26   responding to these Requests, Defendants construe COMMUNICATION to refer to
  27   oral or non-written communications only to the degree that they have been
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                                                                                       APPENDIX A
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5734    Page
                                     73 of 300

   1   memorialized in tangible and reasonably accessible form, and such construction is
   2   reflected in all of Defendants’ responses and in any corresponding production or
   3   privilege log.
   4         5.     Defendants object to the definition of “DOCUMENT(S)” on the
   5   grounds that it is overly broad, unduly burdensome, and disproportional to the needs
   6   of this case because it is defined so broadly as to include oral and/or non-written
   7   communications, which are beyond the scope of Rule 34. See Fed. R. Civ. P. 34
   8   (allowing requests to inspect or produce documents, electronically stored
   9   information, or tangible items). For purposes of this response, Defendants
  10         construe DOCUMENT(S) to include only oral or non-written communications
  11   that have been memorialized in tangible form, , and such construction is reflected in
  12   all of Defendants’ responses and any corresponding production or privilege log.
  13         Defendants also object to the definition of “DOCUMENT(S)” to the extent it
  14   seeks documents “to which you otherwise have access.” In the Ninth Circuit, the
  15   standard for possession, custody, or control is the legal right to obtain documents.
  16   See 7-UP Bottling Co. v. Archer Daniels Midland Co. (In re Citric Acid Litig.), 191
  17   F.3d 1090, 1107 (9th Cir. 1999). Defendants are only under the obligation to produce
  18   relevant, non-privileged information, to the extent that it exists, if individuals,
  19   operating in their official governmental capacity, have responsive, non-privileged
  20   information that is under the possession, custody or control of the named Defendants
  21   or that the named Defendants have the legal right to obtain on demand. Id. Therefore,
  22   the definition is overly broad and an incorrect statement of the standard. For
  23   purposes of these Responses, Defendants construe DOCUMENT(S) to include those
  24   documents within their possession, custody, and control, and such construction is
  25   reflected in all of Defendants’ responses and any corresponding production or
  26   privilege log.
  27         6.     Defendants object to the definition of “ALL DOCUMENTS” on the
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                                                                                    APPENDIX A
                                                 11
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5735     Page
                                     74 of 300

   1   grounds that it is overly broad, unduly burdensome, and disproportional to the needs
   2   of this case because it is defined so broadly as to include documents in the
   3   possession, custody or control of “affiliates, partners, agents, consultants, []
   4   advisors, attorneys, investigators and representatives.” In the Ninth Circuit, the
   5   standard for possession, custody, or control is the legal right to obtain documents.
   6   See 7-UP Bottling Co. v. Archer Daniels Midland Co. (In re Citric Acid Litig.), 191
   7   F.3d 1090, 1107 (9th Cir. 1999). Defendants are only under the obligation to produce
   8   relevant, non-privileged information, to the extent that it exists, if individuals,
   9   operating in their official governmental capacity, have responsive, non-privileged
  10   information that is under the possession, custody or control of the named Defendants
  11   or that the named Defendants have the legal right to obtain on demand. Id.
  12   Defendants do not have the right to obtain documents from all “affiliates, partners,
  13   agents, consultants, [] advisors, attorneys, investigators and representatives.”
  14         Defendants also object to the definition of “ALL DOCUMENTS” on the
  15   grounds that it is overly broad and unduly burdensome because it is defined so
  16   broadly as to include documents not in Defendants’ possession, custody or control
  17   but “to which [Defendant] otherwise ha[s] access.” In the Ninth Circuit, the standard
  18   for possession, custody, or control is the legal right to obtain documents. See 7-UP
  19   Bottling Co. v. Archer Daniels Midland Co. (In re Citric Acid Litig.), 191 F.3d 1090,
  20   1107 (9th Cir. 1999). Defendants are only under the obligation to produce relevant,
  21   non-privileged information, to the extent that it exists, if individuals, operating in
  22   their official governmental capacity, have responsive, non-privileged information
  23   that is under the possession, custody or control of the named Defendants or that the
  24   named Defendants have the legal right to obtain on demand. Id. Defendants do not
  25   have the legal right to obtain all documents to which it otherwise has “access.”
  26         For purposes of these responses, Defendants will construe the requests as
  27   seeking only documents over which Defendants exercise possession or custody, or
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                                                                                    APPENDIX A
                                                  12
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19         PageID.5736     Page
                                      75 of 300

   1   have the legal right to obtain, and such construction is reflected in all of Defendants’
   2   responses and any corresponding production or privilege log.
   3         7.     Defendants      object   to   the   definition   of   “IDENTIFY”        and
   4   “IDENTIFIED” used with the respect to a document to the extent it creates an
   5   obligation that does not exist under Federal Rules of Civil Procedure 26 or 34, by
   6   requesting that Defendants reveal information that is privileged or otherwise
   7   protected from disclosure.
   8         8.     Defendants object to the definition of “RELATING TO” insofar as it
   9   purports to define “relate,” “reflect,” “respect,” “regard,” or “refer” to include “or in
  10   any manner logically, factually, indirectly or directly, or in any other way connecting
  11   to the matter addressed in the request,” as the use of any such terms are not
  12   proportional to the needs of the case, are overly broad, oppressive, and the burden
  13   of a request using any such term would outweigh its benefit. To ask Defendants to
  14   search for and produce documents with only the most tangential connection to
  15   responsive topics would be unduly burdensome because it would encompass
  16   discovery that is not relevant to the claims and defenses in this case.
  17         Defendants thus place a limiting construction on “relating to” such that they
  18   interpret the term to not seek only documents that are independently and directly
  19   responsive and relevant to the claims and defenses in this case, and such construction
  20   is reflected in all of Defendants’ responses and any corresponding production or
  21   privilege log. While it is difficult to identify in advance every type of document that
  22   Defendants may withhold on the basis of this objection, Defendants provide the
  23   following examples of the types of documents that they maintain are improperly
  24   encompassed by Plaintiffs’ overbroad definition.
  25         First, documents that “relate[s]” in some “indirect” manner to a responsive
  26   topic are not necessarily independently responsive. Accordingly, for example,
  27   Defendants reserve the right to withhold nonresponsive attachments that are members
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                                                                                      APPENDIX A
                                                   13
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5737     Page
                                     76 of 300

   1   of an email family that also contains responsive attachments. Second, documents and
   2   forms that relate to a specific, individual alien’s asylum application may “reflect” in
   3   some indirect manner agency procedures responsive to RFP 1, without actually
   4   discussing those agency procedures would not provide meaningful information about
   5   the application of those agency procedures. Defendants reserve the right to withhold
   6   such documents even after the entry of a confidentiality protective order, particularly
   7   in light of the sensitive nature of such documents.
   8         9.     Defendants object to the definition of “including” and “including but
   9   not limited to,” as the use of those terms is overly broad, vague and confusing.
  10   Defendants’ concern with this definition is that it purports to require Defendants to
  11   produce categories of documents that are not expressly listed in the Requests, and
  12   which Defendants are not aware that Plaintiffs consider responsive. While
  13   Defendants are not currently aware of any documents they are withholding on the
  14   basis of this objection, Defendants nonetheless assert this objection to preserve it.
  15         10.    Defendants object to the definitions of “and” and “or” insofar as they
  16   purport to define the terms as to be inclusive of each other “where dual construction
  17   will serve to bring within the scope of these requests any DOCUMENT which would
  18   otherwise not be brought within its scope,” as overly broad, not proportional to the
  19   needs of the case, and burdensome. Defendants additionally object to the definitions
  20   of “any” and “all” insofar as they purport to define the terms to be inclusive of each
  21   other as overly broad, vague, and confusing.
  22         First, the definitions of “and” “or” “any” and “all” may bring into the scope
  23   of discovery information that may not be relevant to the claims or defenses in this
  24   case. Further, searching for documents that have the broader reading of these varying
  25   words would be unduly burdensome.
  26         Defendants thus place a limiting construction on these terms such that they do
  27   not seek documents other than those that are independently responsive and relevant to
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                                                  14
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5738    Page
                                     77 of 300

   1   the claims and defenses in this case, and such construction is reflected in all of
   2   Defendants’ responses and any corresponding production or privilege log.
   3                         OBJECTIONS TO INSTRUCTIONS:
   4         1.     Defendants object to Instruction No. 1 relating to production or
   5   production format to the extent that it conflicts with provisions in the agreed-upon
   6   terms of the Stipulated ESI Protocol.
   7         2.     Defendants object to Instruction No. 2 to the extent that the requirements
   8   listed exceed the requirements of Federal Rule of Civil Procedure 26(b)(5)(A) and/or
   9   the agreed-upon terms of the Stipulated ESI Protocol.
  10         3.     Defendants object to Instruction Nos. 2 and 3 to the extent that they
  11   conflict in any way with the Ninth Circuit’s standard for possession, custody, or
  12   control which defines control as “the legal right to obtain upon demand.” In re Citric
  13   Acid Litig., 191 F.3d 1090, 1107 (9th Cir. 1999).
  14         4.     Defendants object to Instruction No. 3 as unduly burdensome insofar as
  15   it purports to require a document-by-document recounting, including, as completely
  16   as possible each author, preparer, and recipient of the Document; a complete
  17   description of the type, title, and subject matter of the Document; and the date on
  18   which and manner in which the Document was created, lost, discarded, destroyed, or
  19   otherwise disposed of, for every responsive Document, without regard to the date on
  20   which it was created, the date on which it was lost, discarded, destroyed, or otherwise
  21   disposed of, or whether litigation involving the substance of the Document was
  22   reasonably foreseeable at that time it was lost, discarded, destroyed or otherwise
  23   disposed of. Defendants construe such instruction as seeking such information only
  24   with regards to documents “lost, discarded, destroyed, or otherwise disposed of”
  25   only after July 12, 2017, the date that this lawsuit was filed.
  26   REQUEST FOR PRODUCTION NO. 1:
  27         All documents relating to any and all criteria or standards that CBP personnel
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Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19       PageID.5739    Page
                                       78 of 300

   1   use or have used to determine whether noncitizens arriving at or near a port of entry
   2   on the U.S.-Mexico border are seeking asylum or have a fear of returning to their
   3   countries of origin.
   4      Objections to Request for Production No. 1:
   5            Defendants object to RFP 1 in that it is overly broad, disproportionate to the
   6   needs of the case, and the burden and expense of the proposed discovery clearly
   7   outweighs the likely benefit. For example, RFP No. 1 purports to require Defendants
   8   to produce “all documents” “relating to” “any and all criteria or standards” that any
   9   unspecified “CBP personnel” uses or has used. As outlined in the objections to
  10   Plaintiffs’ definitions above, the definition of CBP is overly broad, disproportional
  11   to the needs of the case, and unduly burdensome. Defendants construe this request
  12   as requiring a search for current, relevant, and non-privileged documents that
  13   provide guidance on the processing of arriving aliens who express a fear of return ,
  14   consistent with 8 U.S.C. §§ 1158 and 1225(b). Defendants also object to this request
  15   as vague and ambiguous because it is not clear what is meant by “any and all criteria
  16   or standards.”
  17            Defendants also object to RFP 1 in accordance with Objections Which Apply
  18   to All RFPs Nos. 1, 3-10 and Objections to Definitions Nos. 2, 5-6, 8, and 10; and,
  19   Objections to Instructions No. 1, 2, and 4.
  20            Consistent with these objections, Defendants construe this request as limited
  21   to documents concerning the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of
  22   entry.
  23      Response to Request for Production No. 1:
  24            In accordance with Defendants’ objections, and in light of the discovery
  25   request being disproportional to the needs of the case considering that the burden
  26   and expense of the requested discovery outweighs its likely benefit, Defendants will
  27   limit their searches to a limited number of custodial and non-custodial sources.
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                                                                                     APPENDIX A
                                                   16
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5740     Page
                                     79 of 300

   1   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
   2   and non-custodial sources and document identification protocols, but in the event
   3   the parties cannot agree, Defendants will limit their searches to the sources identified
   4   in Defendants’ portion of the supplement to the parties’ joint 26(f) report from which
   5   Defendants will produce all non-privileged documents responsive to this request,
   6   dating from January 1, 2016, until the date of collection that can be located after a
   7   reasonable search. See ECF No. 243 at 16-19. Defendants will produce the
   8   documents on a rolling basis.
   9   REQUEST FOR PRODUCTION NO. 2:
  10         All documents relating to any and all policies, procedures, recommendations
  11   or guidelines on the processing of noncitizens arriving at or near a port of entry on
  12   the U.S.-Mexico border who express a desire to seek asylum or express a fear of
  13   returning to their countries of origin, including:
  14           (a) Scheduling appointments for such individuals to present themselves
  15                at a port of entry;
  16           (b) Use of a ticketing or metering system to process such individuals;
  17           (c) Requiring documentation before initiating processing of such
  18                individuals;
  19           (d) Use of shelters in Mexico to house such individuals so that they can
  20                be processed on later dates;
  21           (e) Directing such individuals away from one or more ports of entry;
  22           (f) Separating such individuals from any family members who have
  23                traveled with them to the port of entry;
  24           (g) Requiring or conducting pre-screening of such individuals by local,
  25                state or federal Mexican agencies or private security organizations;
  26           (h) When to apply Section 235(b)(2)(C) of the Immigration and
  27                Nationality Act (“INA”) regarding treatment of noncitizens from
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                                                                                     APPENDIX A
                                                   17
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5741       Page
                                      80 of 300

   1                 contiguous territories;
   2           (i)   When to complete Form I-275, Withdrawal of Application for
   3                 Admission/Consular Notification;
   4           (j)   When to refuse to process such individuals;
   5           (k) When to complete Form I-867, Record of Sworn Statement in
   6                 Proceedings under INA §235(b)(1), where noncitizens have
   7                 expressed a fear of returning to their countries of origin; or
   8           (l)   When to issue Form I-860, Notice and Order of Expedited Removal,
   9                 where noncitizens have expressed a desire to seek asylum or
  10                 expressed a fear of returning to their countries of origin.
  11      Objections to Request for Production No. 2:
  12         Defendants object to RFP 2 in that it is disproportionate to the needs of the
  13   case, and the burden and expense of the proposed discovery clearly outweighs the
  14   likely benefit. For example, RFP No. 2 purports to require Defendants to produce
  15   “all documents” “relating to” (two already objectionably overbroad and vague
  16   terms) “policies, procedures, recommendations or guidelines” on the “processing”
  17   (an undefined term) of “noncitizens ... who express a desire to seek asylum or
  18   express a fear ....” Such an expansive request is not only disproportionate and
  19   burdensome but also overbroad in that it seeks documents irrelevant to any claim or
  20   defense in this case.
  21         Defendants construe the terms “ticketing” or “metering system” as stated by
  22   Plaintiffs as vague and ambiguous. Defendants construe these terms as they are
  23   commonly used by Defendants in the course of business.
  24         Defendants object to the term “processing,” which Plaintiffs do not define, as
  25   vague and overly broad. Defendants object to this request on the ground that it seeks
  26   discovery of information that is beyond the scope of this lawsuit and not proportional
  27   to the needs of this case. See e.g., Fed. R. Civ. P. 26(b)(1). For example, processing
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                                                                                       APPENDIX A
                                                   18
Case 3:17-cv-02366-BAS-KSC         Document 263 Filed 05/24/19         PageID.5742      Page
                                        81 of 300

   1   may encompass actions such as a secondary inspection for agricultural or customs
   2   purposes. See U.S. DHS PRIVACY IMPACT ASSESSMENT FOR THE TECS SYSTEM: CBP
   3   PRIMARY       AND     SECONDARY       PROCESSING      at   5   (December      22,     2010),
   4   https://www.dhs.gov/sites/default/files/publications/privacy-pia-cbp-tecs-
   5   december2010_0.pdf. Activities like these that are included in the processing of an
   6   alien are outside the scope of this lawsuit. Defendants construe the term “processing”
   7   here to refer only to those actions outlined in (a)-(d), (f)-(g) and (i)-(l) above.
   8            Defendants object to paragraphs (c), (h), (i), (j), (k), and (l) to the extent that
   9   they seek information nonspecific to those who may seek protection under 8 U.S.C.
  10   § 1158 or express a fear pursuant to 8 U.S.C. § 1225(b).
  11            Defendants additionally object to paragraph (h) in its entirety as not relevant
  12   to any party’s claims or defenses and as disproportional to the needs of this case
  13   because no named Plaintiff alleges that he or she was processed for return to a
  14   contiguous country pursuant to Defendants’ statutory authority at 8 U.S.C. §
  15   1225(b)(2)(C). This category of information has no bearing on the claims at issue in
  16   this action and therefore is overbroad and seeks the discovery of information that is
  17   beyond the scope of this lawsuit, is not relevant to any party’s claim or defense, and
  18   is not proportional to the needs of this case.
  19            Defendants object to this request as a compound request which seeks
  20   information through subparts which are not fairly encompassed by the general
  21   request.
  22            Defendants also object to RFP 2 in accordance with Objections Which Apply
  23   to All RFPs Nos. 1, 3-10; Objections to Definitions Nos. 5-6, 8-10; and, Objections
  24   to Instructions No. 1, 2, and 4.
  25            Consistent with these objections, Defendants construe this request as limited
  26   to documents concerning the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of
  27   entry.
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                                                     19
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5743     Page
                                     82 of 300

   1      Response to Request for Production No. 2:
   2         In accordance with Defendants’ objections, and in light of the discovery
   3   request being disproportional to the needs of the case considering that the burden
   4   and expense of the requested discovery outweighs its likely benefit, Defendants will
   5   limit their searches to a limited number of custodial and non-custodial sources.
   6   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
   7   and non-custodial sources and document identification protocols, but in the event
   8   the parties cannot agree, Defendants will limit their searches to the sources identified
   9   in Defendants’ portion of the supplement to the parties’ joint 26(f) report from which
  10   Defendants will produce all non-privileged documents responsive to this request,
  11   dating from January 1, 2016, until the date of collection that can be located after a
  12   reasonable search. See ECF No. 243 at 16-19. Defendants will produce the
  13   documents on a rolling basis.
  14   REQUEST FOR PRODUCTION NO. 3:
  15         All documents relating to legal or other agreements, policies or procedures
  16   governing the collaboration or interaction of CBP personnel with local, state or
  17   federal Mexican government officials regarding the arrival or processing of
  18   noncitizens expressing a desire to seek asylum or expressing a fear of returning to
  19   their countries of origin at or near ports of entry on the U.S.-Mexico border.
  20      Objections to Request for Production No. 3:
  21         Defendants object to RFP 3 in that it is disproportionate to the needs of the
  22   case, and the burden and expense of the proposed discovery clearly outweighs the
  23   likely benefit. For example, RFP No. 3 purports to require Defendants to produce
  24   “all documents” “relating to” “legal or other agreements, policies or procedures”
  25   governing the collaboration or interaction of unlimited and unspecified “CBP
  26   personnel” with all levels of Mexican officials. Such an expansive request is not only
  27   disproportionate and burdensome but also overbroad in that it seeks documents
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                                                                                     APPENDIX A
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Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19      PageID.5744      Page
                                       83 of 300

   1   irrelevant to any claim or defense in this case.
   2            Defendants also object to this request on the basis that “legal or other
   3   agreements” is vague and ambiguous. Specifically, it is not clear what is meant by
   4   “legal agreements,” as Plaintiffs do not provide any statute or other reference to
   5   determine what is intended by this term. Moreover, it is unclear what the term “other
   6   agreements” is intended to encompass.
   7            Defendants further object to the terms “collaboration” and “interaction,” as
   8   they could cover even the most informal interactions. Defendants will read these
   9   terms to cover only formal, written policies, procedures, binding Agreements or non-
  10   binding arrangements within the possession, custody or control of Defendants,
  11   which specifically relate to individuals who, at a port of entry, seek protection
  12   consistent with 8 U.S.C. §§ 1158 and 1225(b).
  13            In addition, Defendants object to this request on the ground that it seeks
  14   discovery of information that is beyond the scope of this lawsuit and not proportional
  15   to the needs of this case. See e.g., Fed. R. Civ. P. 26(b)(1). “Processing” may
  16   encompass actions such as such as a secondary inspection for agricultural or customs
  17   purposes. See U.S. DHS PRIVACY IMPACT ASSESSMENT FOR THE TECS SYSTEM: CBP
  18   PRIMARY       AND    SECONDARY      PROCESSING     at   5   (December     22,     2010),
  19   https://www.dhs.gov/sites/default/files/publications/privacy-pia-cbp-tecs-
  20   december2010_0.pdf. Activities like these that may be included in the processing of
  21   an alien are outside the scope of this lawsuit.
  22            Defendants also object to RFP 3 in accordance with Objections Which Apply
  23   to All RFPs Nos. 1, 3-10; Objections to Definitions Nos. 2, 5-6, 8, and 10; and,
  24   Objections to Instructions No. 1-4.
  25            Consistent with these objections, Defendants construe this request as limited
  26   to documents concerning the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of
  27   entry.
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                                                   21
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5745     Page
                                     84 of 300

   1      Response to Request for Production No. 3:
   2         In accordance with Defendants’ objections, and in light of the discovery
   3   request being disproportional to the needs of the case considering that the burden
   4   and expense of the requested discovery outweighs its likely benefit, Defendants will
   5   limit their searches to a limited number of custodial and non-custodial sources.
   6   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
   7   and non-custodial sources and document identification protocols, but in the event
   8   the parties cannot agree, Defendants will limit their searches to the sources identified
   9   in Defendants’ portion of the supplement to the parties’ joint 26(f) report from which
  10   Defendants will produce all non-privileged documents responsive to this request,
  11   dating from January 1, 2016, until the date of collection that can be located after a
  12   reasonable search. See ECF No. 243 at 16-19. Defendants will produce the
  13   documents on a rolling basis.
  14   REQUEST FOR PRODUCTION NO. 4:
  15         All documents relating to legal or other agreements, policies or procedures
  16   governing the collaboration or interaction of CBP personnel with private security
  17   organizations regarding the arrival or processing of noncitizens expressing a desire
  18   to seek asylum or expressing a fear of returning to their countries of origin at or near
  19   ports of entry on the U.S.-Mexico border.
  20      Objections to Request for Production No. 4:
  21         Defendants object to RFP 4 in that it is disproportionate to the needs of the
  22   case, and the burden and expense of the proposed discovery clearly outweighs the
  23   likely benefit. For example, RFP No. 4 purports to require Defendants to produce “all
  24   documents” “relating to” “legal or other agreements, policies or procedures”
  25   governing the “collaboration or interaction” of unlimited and unspecified “CBP
  26   personnel” with all private security organizations. Such an expansive request is not
  27   only disproportionate and burdensome but also overbroad in that it seeks documents
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                                                                                     APPENDIX A
                                                   22
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5746     Page
                                      85 of 300

   1   irrelevant to any claim or defense in this case.
   2         Defendants further object to this request on the basis that “legal or other
   3   agreements” is vague and ambiguous. Specifically, it is not clear what is meant by
   4   “legal agreements,” as Plaintiffs do not provide any statute or other reference to
   5   determine what is intended by this term. Moreover, it is unclear what the term “other
   6   agreements” is intended to encompass.
   7         Defendants further object to the terms “collaboration” and “interaction,” as
   8   they could cover even the most informal interactions. Defendants will read these
   9   terms to cover only formal, written policies, procedures, binding agreements or non-
  10   binding arrangements within the possession, custody and control of Defendants,
  11   which specifically relate to arriving aliens who, at a port of entry, express an
  12   intention to apply for asylum, as defined at 8 U.S.C. § 1158 or express a fear of
  13   persecution in their home country as provided under § 1225(b).
  14         Defendants further object to this request on the basis that “private security
  15   organizations” is vague and ambiguous.
  16         In addition, Defendants object to this request on the ground that it seeks
  17   discovery of information that is beyond the scope of this lawsuit and not proportional
  18   to the needs of this case. See e.g., Fed. R. Civ. P. 26(b)(1). For example, “processing”
  19   may encompass actions such as a secondary inspection for agricultural or customs
  20   purposes. See U.S. DHS PRIVACY IMPACT ASSESSMENT FOR THE TECS SYSTEM: CBP
  21   PRIMARY     AND     SECONDARY      PROCESSING      at   5   (December      22,     2010),
  22   https://www.dhs.gov/sites/default/files/publications/privacy-pia-cbp-tecs-
  23   december2010_0.pdf. Activities like these that may be included in the processing of
  24   an alien are outside the scope of this lawsuit.
  25         Defendants also object to RFP 4 in accordance with Objections Which Apply
  26   to All RFPs Nos. 1, and 3-10; Objections to Definitions Nos. 2, 5-6, 8 and 10; and,
  27   Objections to Instructions No. 1-4.
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                                                                                        APPENDIX A
                                                   23
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19       PageID.5747     Page
                                       86 of 300

   1            Consistent with these objections, Defendants construe this request as limited
   2   to documents concerning the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of
   3   entry.
   4   Response to Request for Production No. 4:
   5            In accordance with Defendants’ objections, and in light of the discovery
   6   request being disproportional to the needs of the case considering that the burden
   7   and expense of the requested discovery outweighs its likely benefit, Defendants will
   8   limit their searches to a limited number of custodial and non-custodial sources.
   9   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
  10   and non-custodial sources and document identification protocols, but in the event
  11   the parties cannot agree, Defendants will limit their searches to the sources identified
  12   in Defendants’ portion of the supplement to the parties’ joint 26(f) report from which
  13   Defendants will produce all non-privileged documents responsive to this request,
  14   dating from January 1, 2016, until the date of collection that can be located after a
  15   reasonable search. See ECF No. 243 at 16-19. Defendants will produce the
  16   documents on a rolling basis.
  17   REQUEST FOR PRODUCTION NO. 5:
  18            All documents relating to training materials or other records used to instruct,
  19   guide or otherwise prepare CBP personnel to process noncitizens arriving at or near
  20   ports of entry on the U.S.-Mexico border, who express a desire to seek asylum or
  21   express a fear of returning to their countries or origin.
  22      Objections to Request for Production No. 5:
  23            Defendants object to RFP 5 in that it is disproportionate to the needs of the
  24   case, and the burden and expense of the proposed discovery clearly outweighs the
  25   likely benefit. For example, RFP No. 5 purports to require Defendants to produce
  26   “all documents” “relating to” training materials or unspecified “other records” used
  27   to “instruct, guide or otherwise prepare” unspecified CBP personnel. Such an
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                                                                                      APPENDIX A
                                                    24
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19       PageID.5748      Page
                                       87 of 300

   1   expansive request is not only disproportionate and burdensome but also overbroad
   2   in that it seeks documents irrelevant to any claim or defense in this case.
   3            In addition, Defendants object to this request on the ground that it seeks
   4   discovery of information that is beyond the scope of this lawsuit and not proportional
   5   to the needs of this case. See e.g., Fed. R. Civ. P. 26(b)(1). For example, “processing”
   6   may encompass actions such as a secondary inspection for agricultural or customs
   7   purposes. See U.S. DHS PRIVACY IMPACT ASSESSMENT FOR THE TECS SYSTEM:
   8   CBP PRIMARY         AND   SECONDARY PROCESSING at 5 (December 22, 2010),
   9   https://www.dhs.gov/sites/default/files/publications/privacy-pia-cbp-tecs-
  10   december2010_0.pdf. Activities like these that may be included in the processing of
  11   an alien are outside the scope of this lawsuit.
  12            Defendants also object to RFP 5 in accordance with Objections Which Apply
  13   to All RFPs Nos. 1, 3-10; Objections to Definitions Nos. 2, 5-6, 8, and 10; and,
  14   Objections to Instructions No. 1, 2, and 4.
  15            Consistent with these objections, Defendants construe this request as limited
  16   to documents concerning the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of
  17   entry.
  18      Response to Request for Production No. 5:
  19            In accordance with Defendants’ objections, and in light of the discovery
  20   request being disproportional to the needs of the case considering that the burden
  21   and expense of the requested discovery outweighs its likely benefit, Defendants will
  22   limit their searches to a limited number of custodial and non-custodial sources.
  23   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
  24   and non-custodial sources and document identification protocols, but in the event
  25   the parties cannot agree, Defendants will limit their searches to the sources identified
  26   in Defendants’ portion of the supplement to the parties’ joint 26(f) report from which
  27   Defendants will produce all non-privileged documents responsive to this request,
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                                                                                      APPENDIX A
                                                   25
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19       PageID.5749    Page
                                      88 of 300

   1   dating from January 1, 2016, until the date of collection that can be located after a
   2   reasonable search. See ECF No. 243 at 16-19. Defendants will produce the
   3   documents on a rolling basis.
   4   REQUEST FOR PRODUCTION NO. 6:
   5         All documents relating to communications within or among CBP, DHS or any
   6   of their agents, agencies, subagencies or offices, relating to the processing of
   7   noncitizens arriving at or near ports of entry on the U.S.- Mexico border who express
   8   a desire to seek asylum or express a fear of returning to their countries of origin,
   9   including communications relating to:
  10           (a) Scheduling appointments for such individuals to present themselves
  11                 at a port of entry;
  12           (b) Use of a ticketing or metering system to process such individuals;
  13           (c) Requiring documentation before initiating processing of such
  14                 individuals;
  15           (d) Use of shelters in Mexico to house such individuals so that they can
  16                 be processed on later dates;
  17           (e) Directing such individuals away from one or more ports of entry;
  18           (f) Separating such individuals from any family members who have
  19                 traveled with them to the port of entry;
  20           (g) Requiring or conducting pre-screening of such individuals by local,
  21                 state or federal Mexican agencies or private security organizations;
  22           (h) When to apply Section 235(b)(2)(C) of the INA regarding treatment
  23                 of noncitizens from contiguous territories;
  24           (i)   When to complete Form I-275,Withdrawl of Application for
  25                 Admission/Consular Notification;
  26           (j)   When to refuse to process such individuals;
  27           (k) When to complete Form I-867, Record of Sworn Statement in
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                                                                                   APPENDIX A
                                                    26
Case 3:17-cv-02366-BAS-KSC         Document 263 Filed 05/24/19       PageID.5750    Page
                                        89 of 300

   1                  Proceedings under INA §235(b)(1), where noncitizens have
   2                  expressed a desire to seek asylum or expressed a fear of returning to
   3                  their countries of origin; or
   4           (l)    When to issue Form I-860, Notice and Order of Expedited Removal,
   5                  where noncitizens have expressed a desire to seek asylum or
   6                  expressed a fear of returning to their countries or origin.
   7   REQUEST FOR PRODUCTION NO. 7:
   8         All documents relating to communications to or from CBP or DHS relating to
   9   the processing of noncitizens arriving at or near ports of entry on the U.S.-Mexico
  10   border who express a desire to seek asylum or express a fear of returning to their
  11   countries or origin, including communications relating to:
  12         (a)      Scheduling appointments for such individuals to present themselves at
  13   a port of entry;
  14         (b)      Use of a ticketing or metering system to process such individuals;
  15         (c)      Requiring documentation before initiating processing of such
  16   individuals;
  17         (d)      Use of shelters in Mexico to house such individuals so that they can be
  18   processed on later dates;
  19         (e)      Directing such individuals away from one or more ports of entry;
  20         (f)      Separating such individuals from any family members who have
  21   traveled with them to the port of entry;
  22         (g)      Requiring or conducting pre-screening of such individuals by local,
  23   state or federal Mexican agencies or private security organizations;
  24         (h)      When to apply Section 235(b)(2)(C) of the INA regarding treatment of
  25   noncitizens from contiguous territories;
  26         (i)      When to complete Form 1-275, Withdrawal of Application for
  27   Admission/Consular Notification;
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                                                                                     APPENDIX A
                                                      27
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19       PageID.5751    Page
                                      90 of 300

   1           (j)   When to refuse to process such individuals;
   2           (k)   When to complete Form 1-867, Record of Sworn Statement in
   3   Proceedings under INA §235(b)(1), where noncitizens have expressed a desire to
   4   seek asylum or expressed a fear of returning to their countries or origin; or
   5           (l)   When to issue a Form 1-860, Notice and Order of Expedited Removal,
   6   where noncitizens have expressed a desire to seek asylum or expressed a fear of
   7   return to their countries of origin.
   8      Objections to Request for Production No. 7:
   9           Defendants object to RFP 7 in that it is disproportionate to the needs of the
  10   case, and the burden and expense of the proposed discovery clearly outweighs the
  11   likely benefit. For example, RFP No. 7 purports to require Defendants to produce
  12   “all documents” “relating to” “communications” (three already objectionably
  13   overbroad and vague terms) between employees of very large agencies “relating to”
  14   the “processing” (an undefined term) of certain arriving aliens. Such an expansive
  15   request is not only disproportionate and burdensome but also overbroad in that it
  16   seeks documents irrelevant to any claim or defense in this case.
  17           Defendants object to the extent that “communications to or from CBP or
  18   DHS” is intended to include all communications between individual CBP officers,
  19   agents, and personnel with their counterparts in other DHS components, in relation
  20   to the transfer, parole, release, or detention of a particular alien. Such information
  21   has no bearing on the claims at issue in this action and therefore is overbroad and
  22   seeks the discovery of information that is beyond the scope of this lawsuit, is not
  23   relevant to any party’s claim or defense, and is not proportional to the needs of this
  24   case.
  25           Defendants object to this Request to the extent that 101 documents relating to
  26   communications...to...CBP or DHS...” is intended to include all communications
  27   between Mexican authorities and CBP and/or DHS on the grounds that it seeks the
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                                                                                       APPENDIX A
                                                  28
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19         PageID.5752      Page
                                      91 of 300

   1   discovery of information that is beyond the scope of this lawsuit, not relevant to any
   2   party’s claim or defense, and is not proportional to the needs of the case.
   3         Defendants construe the terms “ticketing” or “metering system” as stated by
   4   Plaintiffs as vague and ambiguous. Defendants construe these terms as they are
   5   commonly used by Defendants in the course of business.
   6         Defendants object to the term “processing,” which Plaintiffs do not define, as
   7   vague and overly broad. Plaintiffs’ definition of processing may encompass actions
   8   such as a secondary inspection for agricultural or customs purposes. See U.S. DHS
   9   PRIVACY IMPACT ASSESSMENT FOR THE TECS SYSTEM: CBP PRIMARY
  10   AND      SECONDARY           PROCESSING          at   5     (December       22,     2010),
  11   https://www.dhs.gov/sites/default/files/publications/privacy-pia-cbp-tecs-
  12   december2010 0.pdf. Activities like these that may be included in the processing of
  13   an alien are outside the scope of this lawsuit. Defendants construe the term
  14   “processing” here to refer only to those actions outlined in (a)-(d), (f)-(g) and (i)-(1)
  15   above.
  16         Defendants objects to paragraphs (c), (h), (i), (j), (k), and (1) to the extent that
  17   they seek information nonspecific to those who may seek protection under 8 U.S.C.
  18   § 1158 or express a fear pursuant to 8 U.S.C. § 1225(b).
  19         Defendants additionally object to paragraph (h) in its entirety as not relevant
  20   to any party’s claims or defenses and as disproportional to the needs of this case
  21   because no named Plaintiff alleges that he or she was processed for return to a
  22   contiguous country pursuant to Defendants’ statutory authority at 8 U.S.C. §
  23   1225(b)(2)(C). This category of information has no bearing on the claims at issue in
  24   this action and therefore is overbroad and seeks the discovery of information that is
  25   beyond the scope of this lawsuit, is not relevant to any party’s claim or defense, and
  26   is not proportional to the needs of this case.
  27         Defendants object to this request as a compound request which seeks
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                                                                                         APPENDIX A
                                                   29
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19       PageID.5753     Page
                                       92 of 300

   1   information through subparts which are not fairly encompassed by the general
   2   request.
   3            Defendants object to this request as a compound request which seeks
   4   information through subparts which are not fairly encompassed by the general
   5   request.
   6            Defendants also object to RFP 7 in accordance with Objections Which Apply
   7   to All RFPs Nos. 1, 3-10; Objections to Definitions Nos. 2-6, and 8-10; and,
   8   Objections to Instructions No. 1-4.
   9            Consistent with these objections, Defendants construe this request as limited
  10   to documents concerning the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of
  11   entry.
  12      Response to Request for Production No. 7:
  13            In accordance with Defendants’ objections, and in light of the discovery
  14   request being disproportional to the needs of the case considering that the burden
  15   and expense of the requested discovery outweighs its likely benefit, Defendants will
  16   limit their searches to a limited number of custodial and non-custodial sources.
  17   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
  18   and non-custodial sources and document identification protocols, but in the event
  19   the parties cannot agree, Defendants will limit their searches to the sources identified
  20   in Defendants’ portion of the supplement to the parties’ joint 26(f) report from which
  21   Defendants will produce all non-privileged documents responsive to this request,
  22   dating from January 1, 2016, until the date of collection that can be located after a
  23   reasonable search. See ECF No. 243 at 16-19. Defendants will produce the
  24   documents on a rolling basis.
  25   REQUEST FOR PRODUCTION NO. 8:
  26            All documents relating to any statistics, data or other numerical figures,
  27   whether estimates or actual values, representing the number of noncitizens who have
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                                                                                     APPENDIX A
                                                   30
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5754     Page
                                     93 of 300

   1   presented themselves to CBP personnel at or near a port of entry on the U.S.-Mexico
   2   border and expressed a desire to seek asylum or a fear of returning to their countries
   3   of origin.
   4      Objections to Request for Production No. 8:
   5         Defendants object to RFP 8 in that it is disproportionate to the needs of the
   6   case, and the burden and expense of the proposed discovery clearly outweighs the
   7   likely benefit. For example, RFP No. 8 purports to require Defendants to produce
   8   “all documents” “relating to” “any statistics, data or other numerical figures.” Such
   9   an expansive request is not only disproportionate and burdensome but also
  10   overbroad in that it seeks documents irrelevant to any claim or defense in this case.
  11         Defendants object to the term “other numerical figures” as vague and
  12   undefined. Defendants construe this request as seeking statistics and data, as those
  13   terms are commonly used.
  14         Defendants object to the term “actual values,” particularly as opposed to
  15   “estimates,” as vague and ambiguous. Defendants construe this request as seeking
  16   statistics and data, as those terms are commonly used.
  17         Defendants object to the term “presented themselves” as vague and
  18   ambiguous, particularly for purposes of maintaining statistics. Defendants construe
  19   this request as seeking statistics and data related to aliens who were inspected by
  20   CBP at the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of entry and sought
  21   asylum or expressed a fear of return as those terms are commonly understood under
  22   8 U.S.C. §§ 1158 and 1225(b).
  23         Defendants also object to RFP 8 in accordance with Objections Which Apply
  24   to All RFPs Nos. 1, 3-7, and 10; Objections to Definitions Nos. 2, 5-6, 8, and 10;
  25   and, Objections to Instructions No. 1, 2, and 4.
  26         Consistent with these objections, Defendants construe this request as limited
  27   to documents concerning the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of
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                                                                                    APPENDIX A
                                                 31
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19       PageID.5755     Page
                                       94 of 300

   1   entry.
   2      Response to Request for Production No. 8:
   3            In accordance with Defendants’ objections, and in light of the discovery
   4   request being disproportional to the needs of the case considering that the burden
   5   and expense of the requested discovery outweighs its likely benefit, Defendants will
   6   limit their searches to a limited number of custodial and non-custodial sources.
   7   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
   8   and non-custodial sources and document identification protocols, but in the event
   9   the parties cannot agree, Defendants will limit their searches to the sources identified
  10   in Defendants’ portion of the supplement to the parties’ joint 26(f) report from which
  11   Defendants will produce all non-privileged documents responsive to this request,
  12   dating from January 1, 2016, until the date of collection that can be located after a
  13   reasonable search. See ECF No. 243 at 16-19. Defendants will produce the
  14   documents on a rolling basis.
  15   REQUEST FOR PRODUCTION NO. 9:
  16            All documents relating to any statistics, data or other numerical figures,
  17   whether estimates or actual values, representing the number of noncitizens who have
  18   presented themselves to CBP personnel at or near a port of entry on the U.S.-Mexico
  19   border and expressed a desire to seek asylum or a fear of returning to their countries
  20   or origin, and who were then turned away at or near the port of entry by CBP
  21   personnel who refuse to process them.
  22      Objections to Request for Production No. 9:
  23            Defendants object to RFP 9 in that it is disproportionate to the needs of the
  24   case, and the burden and expense of the proposed discovery clearly outweighs the
  25   likely benefit. For example, RFP No. 9 purports to require Defendants to produce
  26   “all documents” “relating to” “any statistics, data or other numerical figures.” Such
  27   an expansive request is not only disproportionate and burdensome but also
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                                                                                     APPENDIX A
                                                   32
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19       PageID.5756     Page
                                       95 of 300

   1   overbroad in that it seeks documents irrelevant to any claim or defense in this case.
   2            Defendants object to the term “other numerical figures” as vague and
   3   undefined. Defendants construe this request as seeking statistics and data, as those
   4   terms are commonly used.
   5            Defendants object to the term “actual values,” particularly as opposed to
   6   “estimates,” as vague and ambiguous. Defendants construe this request as seeking
   7   statistics and data, as those terms are commonly used.
   8            Defendants object to the term “presented themselves” as vague and
   9   ambiguous, particularly for purposes of maintaining statistics. Defendants construe
  10   this request as seeking statistics and data related to aliens who arrived at the San
  11   Ysidro, Otay Mesa, Laredo, and Hidalgo ports of entry and sought asylum or
  12   expressed a fear of return, as those terms are commonly understood under 8 U.S.C.
  13   §§ 1158 and 1225(b), in line with the objections herein.
  14            Defendants also object to the terms “turned away” or “refused to process” as
  15   vague and ambiguous. For purposes of responding to this Request, Defendants will
  16   construe the Request to seek statistics and data, to the extent they exist, representing
  17   the number of individuals who sought to enter a port of entry but were not
  18   immediately allowed to do so, although the individual was an arriving alien at a U.S.
  19   port of entry. Defendants also object to RFP 9 in accordance with Objections Which
  20   Apply to All RFPs Nos. 1, 3-7, and 10; Objections to Definitions Nos. 2, 56, 8, and
  21   10; and, Objections to Instructions No. 1, 2, and 4.
  22            Consistent with these objections, Defendants construe this request as limited
  23   to documents concerning the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of
  24   entry.
  25      Response to Request for Production No. 9:
  26            In accordance with Defendants’ objections, and in light of the discovery
  27   request being disproportional to the needs of the case considering that the burden
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                                                                                     APPENDIX A
                                                   33
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5757     Page
                                     96 of 300

   1   and expense of the requested discovery outweighs its likely benefit, Defendants will
   2   limit their searches to a limited number of custodial and non-custodial sources.
   3   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
   4   and non-custodial sources and document identification protocols, but in the event
   5   the parties cannot agree, Defendants will limit their searches to the sources identified
   6   in Defendants’ portion of the supplement to the parties’ joint 26(f) report from which
   7   Defendants will produce all non-privileged documents responsive to this request,
   8   dating from January 1, 2016, until the date of collection that can be located after a
   9   reasonable search. See ECF No. 243 at 16-19. Defendants will produce the
  10   documents on a rolling basis.
  11   REQUEST FOR PRODUCTION NO. 10:
  12         All documents relating to any statistics, data or other numerical figures,
  13   whether estimates or actual values, representing the numbers of noncitizens who
  14   have presented themselves to CBP personnel at or near a port of entry on the U.S.-
  15   Mexico border and expressed a desire to seek asylum or a fear of returning to their
  16   countries of origin, and whose access to the asylum process was then delayed by
  17   CBP personnel or subject to requirements or conditions not set forth in the INA or
  18   other implementing regulations.
  19      Objections to Request for Production No. 10:
  20         Defendants object to RFP 10 in that it is disproportionate to the needs of the
  21   case, and the burden and expense of the proposed discovery clearly outweighs the
  22   likely benefit. For example, RFP No. 10 purports to require Defendants to produce
  23   “all documents” “relating to” “any statistics, data or other numerical figures.” Such
  24   an expansive request is not only disproportionate and burdensome but also
  25   overbroad in that it seeks documents irrelevant to any claim or defense in this case.
  26         Defendants object to the term “other numerical figures” as vague and
  27   undefined. Defendants construe this request as seeking statistics and data, as those
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                                                                                     APPENDIX A
                                                  34
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19       PageID.5758     Page
                                       97 of 300

   1   terms are commonly used. Defendants will search for statistics and data related to
   2   aliens who arrived at a port of entry.
   3            Defendants objects to the term “actual values,” particularly as opposed to
   4   “estimates,” as vague and ambiguous. Defendants construe this request as seeking
   5   statistics and data, as those terms are commonly used.
   6            Defendants objects to the term “presented themselves” as vague and
   7   ambiguous, particularly for purposes of maintaining statistics. Defendants construe
   8   this request, in line with the objections herein, as seeking statistics and data related
   9   to aliens who arrived at the San Ysidro, Otay Mesa, Hidalgo, and Laredo ports of
  10   entry and sought asylum or expressed a fear of return as those terms are commonly
  11   understood under 8 U.S.C. §§ 1158 and 1225(b).
  12            Defendants objects to the term “delayed” as vague and ambiguous,
  13   particularly for purposes of maintaining statistics. Defendants construe this request
  14   as seeking statistics and data related to metering and ticketing, as those terms are
  15   commonly used by Defendants in the course of business. Defendants also object to
  16   RFP 10 in accordance with Objections Which Apply to All RFPs Nos. 1, 3-7, and
  17   10; Objections to Definitions Nos. 2, 5-6, 8, and 10; and, Objections to Instructions
  18   No. 1, 2, and 4.
  19            Consistent with these objections, Defendants construe this request as limited
  20   to documents concerning the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of
  21   entry.
  22      Response to Request for Production No. 10:
  23            In accordance with Defendants’ objections, and in light of the discovery
  24   request being disproportional to the needs of the case considering that the burden
  25   and expense of the requested discovery outweighs its likely benefit, Defendants will
  26   limit their searches to a limited number of custodial and non-custodial sources.
  27   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
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                                                                                     APPENDIX A
                                                   35
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5759     Page
                                     98 of 300

   1   and non-custodial sources and document identification protocols, but in the event
   2   the parties cannot agree, Defendants will limit their searches to the sources identified
   3   in Defendants’ portion of the supplement to the parties’ joint 26(f) report from which
   4   Defendants will produce all non-privileged documents responsive to this request,
   5   dating from January 1, 2016, until the date of collection that can be located after a
   6   reasonable search. See ECF No. 243 at 16-19. Defendants will produce the
   7   documents on a rolling basis.
   8   REQUEST FOR PRODUCTION NO. 11:
   9         All documents relating to any statistics, data or other numerical figures,
  10   whether estimates or actual values, representing the number of noncitizens who have
  11   presented themselves to CBP personnel at or near a port of entry on the U.S.-Mexico
  12   border and expressed a desire to seek asylum or a fear of returning to their countries
  13   of origin, and who were then put into removal proceedings pursuant to 8 U.S.C.
  14   §1229a or referred for credible fear interviews pursuant to 8 U.S.C. §[1225](b).
  15      Objections to Request for Production No. 11:
  16         Defendants object to RFP 11 in that it is disproportionate to the needs of the
  17   case, and the burden and expense of the proposed discovery clearly outweighs the
  18   likely benefit. For example, RFP No. 11 purports to require Defendants to produce
  19   “all documents” “relating to” “any statistics, data or other numerical figures.” Such
  20   an expansive request is not only disproportionate and burdensome but also
  21   overbroad in that it seeks documents irrelevant to any claim or defense in this case.
  22         Defendants object to the term “other numerical figures” as vague and
  23   undefined. Defendants construe this request as seeking statistics and data, as those
  24   terms are commonly used.
  25         Defendants object to the term “actual values,” particularly as opposed to
  26   “estimates,” as vague and ambiguous. Defendants construe this request as seeking
  27   statistics and data, as those terms are commonly used.
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                                                                                     APPENDIX A
                                                  36
Case 3:17-cv-02366-BAS-KSC          Document 263 Filed 05/24/19      PageID.5760     Page
                                         99 of 300

   1            Defendants object to the term “presented themselves” as vague and
   2   ambiguous, particularly for purposes of maintaining statistics. Defendants construe
   3   this request, in line with the objections herein, as seeking statistics and data related
   4   to aliens who arrived at the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of
   5   entry and sought asylum or expressed a fear of return as those terms are commonly
   6   understood under 8 U.S.C. §§ 1158 and 1225(b).
   7            To the extent that Plaintiffs are seeking information relevant to the claims and
   8   defenses in this case, regarding the number of aliens processed for expedited
   9   removal at ports of entry on the southwest border of the United States and who
  10   express a fear of return, this information is publicly available. See Defs’ Mot. to
  11   Dismiss, ECF No. 18 at 10-11; See also CBP, “Claims of Fear: Southwest Border
  12   and Claims of Credible Fear Total Apprehensions/Inadmissibles (FY2017-2018)”
  13   available at https://www.cbp.govinewsroom/stats/sw-border-migration/claims-fear
  14   (last visited May 8, 2019); CBP, “Southwest Border Inadmissibles by Field Office
  15   FY2018,”         available      at    https://www.cbp.govinewsroom/stats/sw-border-
  16   migration/claims-fear (last visited April 8, 2019). Accordingly, at least some of this
  17   discovery “can be obtained from some other source that is more convenient, less
  18   burdensome, or less expensive[.]” Fed. R. Civ. P. 26(b)(2)(C)(i).
  19            Defendants also object to RFP 11 in accordance with Objections Which Apply
  20   to All RFPs Nos. 1, 3-7, and 10; Objections to Definitions Nos. 2, 5-6, 8, and 10;
  21   and, Objections to Instructions No. 1, 2, and 4.
  22            Consistent with these objections, Defendants construe this request as limited
  23   to documents concerning the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of
  24   entry.
  25      Response to Request for Production No. 11:
  26            In accordance with Defendants’ objections, and in light of the discovery
  27   request being disproportional to the needs of the case considering that the burden
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                                                                                      APPENDIX A
                                                    37
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5761     Page
                                    100 of 300

   1   and expense of the requested discovery outweighs its likely benefit, Defendants will
   2   limit their searches to a limited number of custodial and non-custodial sources.
   3   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
   4   and non-custodial sources and document identification protocols, but in the event
   5   the parties cannot agree, Defendants will limit their searches to the sources identified
   6   in Defendants’ portion of the supplement to the parties’ joint 26(f) report from which
   7   Defendants will produce all non-privileged documents responsive to this request,
   8   dating from January 1, 2016, until the date of collection that can be located after a
   9   reasonable search. See ECF No. 243 at 16-19. Defendants will produce the
  10   documents on a rolling basis. Defendants do not intend to withhold any documents
  11   from this production on the grounds that they may also be publicly available.
  12   REQUEST FOR PRODUCTION NO. 12:
  13         All documents relating to any statistics, data or other numerical figures,
  14   whether estimates or actual values, representing the number of noncitizens who cross
  15   the U.S.-Mexico border unauthorized but then cross back into Mexico.
  16      Objections to Request for Production No. 12:
  17         Defendants object to RFP 12 in that it is disproportionate to the needs of the
  18   case, and the burden and expense of the proposed discovery clearly outweighs the
  19   likely benefit. For example, RFP No. 12 purports to require Defendants to produce
  20   “all documents” “relating to” “any statistics, data or other numerical figures.” Such
  21   an expansive request is not only disproportionate and burdensome but also
  22   overbroad in that it seeks documents irrelevant to any claim or defense in this case.
  23         Defendants object to the term “other numerical figures” as vague and
  24   undefined. Defendants construe this request as seeking statistics and data, as those
  25   terms are commonly used.
  26         Defendants object to the term “actual values,” particularly as opposed to
  27   “estimates,” as vague and ambiguous. Defendants construe this request as seeking
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                                                                                     APPENDIX A
                                                  38
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19       PageID.5762     Page
                                     101 of 300

   1   statistics and data, as those terms are commonly used.
   2          Defendants object to the request on the basis that this request is vague and
   3   overbroad. Specifically, it is unclear what is meant by “cross the U.S.-Mexico border
   4   unauthorized but then cross back into Mexico.” Thus, this request lacks sufficient
   5   specificity for Defendants to determine its scope.
   6          Defendants additionally object to the request to the extent that it seeks the
   7   number of aliens who cross the border illegally, and are not apprehended by the
   8          United States Border Patrol. Such a request is overbroad and seeks the
   9   discovery of information that is beyond the scope of this lawsuit, is not relevant to
  10   any party’s claim or defense, and is not proportional to the needs to this case.
  11          To the extent that Plaintiffs are seeking information relevant to the claims and
  12   defenses in this case, regarding the number of aliens who illegally crossed the
  13   southwest border of the United States, this information is publicly available. See
  14   CBP,      “Southwest      Border      Migration      FY     2019”      available     at
  15   https://www.cbp.gov/newsroom/stats/sw-border-migration (last visited May 8,
  16   2019). Accordingly, at least some of this discovery “can be obtained from some
  17   other source that is more convenient, less burdensome, or less expensive[.]” Fed. R.
  18   Civ. P. 26(b)(2)(C)(i).
  19          Defendants also object to RFP 12 in accordance with Objections Which Apply
  20   to All RFPs Nos. 1, 3-7, and 10; Objections to Definitions Nos. 5-6, 8, and 10; and,
  21   Objections to Instructions No. 1, 2, and 4.
  22      Response to Request for Production No. 12:
  23          In accordance with Defendants’ objections, and in light of the discovery
  24   request being disproportional to the needs of the case considering that the burden
  25   and expense of the requested discovery outweighs its likely benefit, Defendants will
  26   limit their searches to a limited number of custodial and non-custodial sources.
  27   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
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                                                                                    APPENDIX A
                                                  39
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5763     Page
                                    102 of 300

   1   and non-custodial sources and document identification protocols, but in the event
   2   the parties cannot agree, Defendants will limit their searches to the sources identified
   3   in Defendants’ portion of the supplement to the parties’ joint 26(f) report from which
   4   Defendants will produce all non-privileged documents responsive to this request,
   5   dating from January 1, 2016, until the date of collection that can be located after a
   6   reasonable search. See ECF No. 243 at 16-19.
   7         Defendants will produce the documents on a rolling basis. Defendants do not
   8   intend to withhold any documents from this production on the grounds that they may
   9   also be publicly available.
  10   REQUEST FOR PRODUCTION NO. 13:
  11         All organizational charts, graphs, lists or other documents that contain
  12   information relating to the organizational or operational structure and hierarchies of
  13   CBP, including the staffing of individual ports of entry along the U.S.-Mexico
  14   border.
  15      Objections to Request for Production No. 13:
  16         Defendants object to this request as irrelevant to claims at issue in this action,
  17   overbroad, disproportional to the needs of the case and outside the scope of the
  18   allegations in the complaint. Specifically, the organizational structure of CBP as a
  19   whole is unrelated to the claims at issue in this action. Moreover, the organizational
  20   structure of any particular port of entry is not relevant to the claims at issue, which
  21   is of a border-wide policy, practice, or procedure. To the extent Plaintiffs wish to
  22   seek discovery to establish the existence of such a border-wide policy, practice, or
  23   procedure from ports of entry beyond the Laredo, Otay Mesa, San Ysidro, and
  24   Hidalgo ports of entry, such request is not proportional to the needs of this case;
  25   Defendants should not have to “search for a needle” at 24 ports of entry on the
  26   southwest border of the United States to find evidence of what is allegedly a
  27   pervasive turnback or deterrence policy that Plaintiffs’ claim so well known that it
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                                                                                     APPENDIX A
                                                  40
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19          PageID.5764        Page
                                     103 of 300

   1   is implemented by hundreds of CBP officers separated by hundreds of miles.
   2         Defendants also object to this request as not proportional to the needs of this
   3   case, given that it seeks the organizational structure of the whole agency, which
   4   includes more than 60,000 personnel and a host of operations unrelated to Plaintiffs’
   5   claims. The time and resources necessary to gather such information are not
   6   proportional to Plaintiff’s claims, which are related to four ports of entry on the U.S.-
   7   Mexico border.
   8         Defendants also object to RFP 13 in accordance with Objections Which Apply
   9   to All RFPs Nos. 5-8; Objections to Definitions Nos. 1, and 6-10; and, Objections to
  10   Instructions No. 1, 2, and 4.
  11         In line with the objections above, Defendants construe the request as seeking
  12   only organizational charts or lists relevant to operations at the San Ysidro, Otay
  13   Mesa, Laredo, and Hidalgo ports of entry insofar as those operations relate to aliens
  14   arriving or attempting to arrive at these ports of entry.
  15      Response to Request for Production No. 13:
  16         In accordance with its objections, Defendants conducted a reasonable search
  17   for organizational charts for the relevant offices in DHS; CBP; CBP Office of Field
  18   Operations Headquarters; the Laredo, Otay Mesa, San Ysidro, and Hidalgo ports of
  19   entry, and the field offices in which those ports of entry are located, and to the extent
  20   that responsive material was identified, it was provided on March 29, 2019. See
  21   CBPALOTR000000150-                  CBPALOTR000000183;                     see           also
  22   DHSALOTR000000054-              DHSALOTR000000092.           Defendants      subsequently
  23   produced     additional     organizational        charts    related   to         CBP.    See
  24   CBPALOTR000000184-CBPALOTR000000275.
  25   REQUEST FOR PRODUCTION NO. 14:
  26         All organizational charts, graphs, lists or other documents that contain
  27   information relating to the organizational or operational structure and hierarchies of
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                                                                                          APPENDIX A
                                                    41
Case 3:17-cv-02366-BAS-KSC         Document 263 Filed 05/24/19        PageID.5765      Page
                                       104 of 300

   1   DHS to the extent the documents relate to the relationship or association of DHS
   2   with CBP.
   3      Objections to Request for Production No. 14:
   4            Defendants object to this request as irrelevant to claims at issue in this action,
   5   overbroad, disproportional to the needs of the case and outside the scope of the
   6   allegations in the complaint. Specifically, the organizational structure of DHS
   7   regarding the relationship between DHS and CBP as a whole is unrelated to the
   8   claims and defenses in this case. Defendants also object to this request as not
   9   proportional to the needs of this case, given that it seeks the relationship between
  10   CBP and DHS as a whole. In responding to this request, Defendants construe the
  11   request as seeking only documents regarding the relationships between DHS and/or
  12   its subagencies with CBP in relation to the latter’s processing of arriving aliens at
  13   the San Ysidro, Otay Mesa, Laredo, or Hidalgo ports of entry.
  14            Defendants object to the production of any other charts, graphs, or lists that
  15   would pertain to sections of DHS and CBP as burdensome and disproportional
  16   because they are not relevant to the claims and defenses in this case. Seeking the
  17   organizational structure of DHS as whole is not proportional to the needs of this case
  18   because it includes at least 240,000 employees and a host of operations unrelated to
  19   the claims and defenses in this case.
  20            Defendants also object to RFP 14 in accordance with Objections Which Apply
  21   to All RFPs No. 1 and 7-10; Objections to Definitions Nos. 2-3, 5-6, 8, and 10; and,
  22   Objections to Instructions No. 1, 2, and 4.
  23            Consistent with these objections, Defendants construe this request as limited
  24   to documents concerning the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of
  25   entry.
  26      Response to Request for Production No. 14:
  27            In accordance with their objections, Defendants conducted a reasonable
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                                                                                        APPENDIX A
                                                     42
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19             PageID.5766   Page
                                      105 of 300

   1   search for organizational charts for the relevant offices in DHS and CBP, as set forth
   2   in its response to RFP No. 13; to the extent that responsive material was identified,
   3   it   was    provided    on    March      29,    2019.       See    CBPALOTR000000150-
   4   CBPALOTR000000183;                 see               also          DHSALOTR000000054-
   5   DHSALOTR000000092.            Defendants            subsequently     produced    additional
   6   organizational    charts     related     to     CBP.        See    CBPALOTR000000184-
   7   CBPALOTR000000275.
   8   REQUEST FOR PRODUCTION NO. 15:
   9          All documents relating to Plaintiffs, including complete copies of their A-
  10   files; and Forms 1-275, Forms 1-867 or Forms 1-860 completed by or issued to any
  11   Plaintiff; or any surveillance or other video footage relating to any Plaintiff.
  12        Objections to Request for Production No. 15:
  13          Defendants object to producing A-files for the named Plaintiffs absent
  14   specific waivers from the Plaintiffs in line with the Objections Which Apply to All
  15   RFPs No. 9. Plaintiffs’ privacy is protected by numerous statutes and regulations
  16   governing disclosure of information about aliens, and imposes further restrictions on
  17   dissemination of information relating to aliens seeking asylum or other forms of
  18   relief and protection under the Immigration and Nationality Act.
  19          In light of the highly-sensitive law enforcement operations conducted at the
  20   nation’s ports of entry, Defendants object to providing copies to Plaintiffs of any
  21   surveillance or other video footage of the named Plaintiffs.
  22          Defendants also object to RFP 15 in accordance with Objections Which Apply
  23   to All RFPs No. 1 and 7-10; Objections to Definitions Nos. 5-6, and 8-10; and,
  24   Objections to Instructions No. 1, 2, and 4.
  25        Response to Request for Production No. 15:
  26          In accordance with its objections, Defendants will provide nonprivileged
  27   portions of the A-files for the named Plaintiffs once counsel for Plaintiffs provides
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                                                                                         APPENDIX A
                                                      43
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5767     Page
                                     106 of 300

   1   the required signed waivers.
   2         Defendants will arrange for viewing of surveillance and other video footage
   3   of Plaintiffs’ processing in its possession upon request from Plaintiffs’ counsel.
   4   REQUEST FOR PRODUCTION NO. 16:
   5         All documents relating to any and all mechanisms or procedures used by DHS
   6   or CBP to track CBP personnel’s compliance with any policies, procedures,
   7   recommendations or guidelines on the processing of noncitizens arriving at or near
   8   a port of entry on the U.S.-Mexico border who express a desire to seek asylum or
   9   express a fear of returning to their countries of origin.
  10      Objections to Request for Production No. 16:
  11         Defendants object to RFP 16 in that it is overly broad, disproportionate to the
  12   needs of the case, and the burden and expense of the proposed discovery clearly
  13   outweighs the likely benefit. For example, RFP No. 16 purports to require
  14   Defendants to produce “all documents” “relating to” “any and all” “mechanisms and
  15   procedures.” Taken together, this request is not only disproportionate and
  16   burdensome but also overbroad in that it seeks documents irrelevant to any claim or
  17   defense in this case.
  18         Defendants object to the terms “mechanisms,” “procedures,” and “track” as
  19   vague and ambiguous. Defendants construe these terms to mean statistics, policies
  20   or procedures which relate to monitoring CBP officers’ compliance with agency
  21   policy.
  22         Defendants object to the term “recommendations,” as it relates to the
  23   processing of individuals, as vague and ambiguous, since such a term connotes an
  24   optional action rather than a requirement.
  25         In addition, Defendants object to this request on the ground that it seeks
  26   discovery of information that is beyond the scope of this lawsuit and not proportional
  27   to the needs of this case. See e.g., Fed. R. Civ. P. 26(b)(1). For example, “processing”
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                                                                                     APPENDIX A
                                                    44
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19       PageID.5768     Page
                                      107 of 300

   1   may encompass actions such as a secondary inspection for agricultural or customs
   2   purposes. See U.S. DHS PRIVACY IMPACT ASSESSMENT FOR THE TECS
   3   SYSTEM: CBP PRIMARY AND SECONDARY PROCESSING at 5 (December
   4   22,     2010),   https://www.dhs.govisites/default/files/publications/privacy-pia-cbp-
   5   tecs-december2010_0.pdf. Compliance with such activities is outside the scope of
   6   this lawsuit.
   7            Defendants also object to RFP 16 in accordance with Objections Which Apply
   8   to All RFPs Nos. 1, 3-10; Objections to Definitions Nos. 2-3, 5-6, 8, and 10; and,
   9   Objections to Instructions Nos. 1, 2, and 4.
  10            Consistent with these objections, Defendants construe this request as limited
  11   to documents concerning the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of
  12   entry.
  13         Response to Request for Production No. 16:
  14            In accordance with Defendants’ objections, and in light of the discovery
  15   request being disproportional to the needs of the case considering that the burden
  16   and expense of the requested discovery outweighs its likely benefit, Defendants will
  17   limit their searches to a limited number of custodial and non-custodial sources.
  18   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
  19   and non-custodial sources and document identification protocols, but in the event
  20   the parties cannot agree, Defendants will limit their searches to the sources identified
  21   in Defendants’ portion of the supplement to the parties’ joint 26(f) report from which
  22   Defendants will produce all non-privileged documents responsive to this request,
  23   dating from January 1, 2016, until the date of collection that can be located after a
  24   reasonable search. See ECF No. 243 at 16-19. Defendants will produce the
  25   documents on a rolling basis.
  26            To the extent that Plaintiffs seek information from DHS OIG, this part of DHS
  27   is an independent and objective unit operating within DHS whose duty it is to detect
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                                                                                     APPENDIX A
                                                   45
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19      PageID.5769     Page
                                      108 of 300

   1   and combat waste, fraud, and abuse in DHS programs and operations. DHS OIG has
   2   agreed to search for material potentially responsive to this request. Defendants will
   3   continue to confer with Plaintiffs in identifying reasonable custodial and non-
   4   custodial sources and document identification protocols relating to documents from
   5   DHS OIG. To the extent DHS OIG determines that potentially responsive materials
   6   may not be produced in whole or in part, it will provide authority for such
   7   determination in a response, privilege log, or on any documents produced.
   8   REQUEST FOR PRODUCTION NO. 17:
   9         All documents relating to any and all mechanisms or procedures used by DHS
  10   or CBP to receive, review, track or respond to complaints against or concerning CBP
  11   personnel relating to the processing of noncitizens arriving at or near a port of entry
  12   on the U.S. Mexico border who express a desire to seek asylum or express a fear of
  13   returning to their countries or origin.
  14      Objections to Request for Production No. 17:
  15         Defendants object to RFP 17 in that it is disproportionate to the needs of the
  16   case, and the burden and expense of the proposed discovery clearly outweighs the
  17   likely benefit. For example, RFP No. 17 purports to require Defendants to produce
  18   “all documents” “relating to” “any and all” “mechanisms and procedures.” Taking
  19   these vague and expansive terms together, this request is not only disproportionate
  20   and burdensome but also overbroad in that it seeks documents irrelevant to any claim
  21   or defense in this case.
  22         Defendants object to the terms “mechanisms,” “procedures,” and “track” as
  23   vague and ambiguous. Defendants will construe these terms to mean statistics,
  24   policies or procedures which relate to monitoring complaints against CBP
  25   employees.
  26         In addition, Defendants object to this request on the ground that it seeks
  27   discovery of information that is beyond the scope of this lawsuit and not proportional
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                                                  46
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19       PageID.5770     Page
                                      109 of 300

   1   to the needs of this case. See e.g., Fed. R. Civ. P. 26(b)(1). For example, “processing”
   2   may encompass actions such as a secondary inspection for agricultural or customs
   3   purposes. See U.S. DHS PRIVACY IMPACT ASSESSMENT FOR THE TECS
   4   SYSTEM: CBP PRIMARY AND SECONDARY PROCESSING at 5 (December
   5   22,     2010),   https://www.dhs.govisites/default/files/publications/privacy-pia-cbp-
   6   tecs-december2010_0.pdf. Such activities are outside the scope of this lawsuit.
   7            Defendants also object to RFP 17 in accordance with Objections Which Apply
   8   to All RFPs Nos. 1 and 3-10; Objections to Definitions Nos. 2-3, 5-6, 8, and 10; and,
   9   Objections to Instructions Nos. 1, 2, and 4.
  10            Consistent with these objections, Defendants construe this request as limited
  11   to documents concerning the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of
  12   entry.
  13         Response to Request for Production No. 17:
  14            In accordance with Defendants’ objections, and in light of the discovery
  15   request being disproportional to the needs of the case considering that the burden
  16   and expense of the requested discovery outweighs its likely benefit, Defendants will
  17   limit their searches to a limited number of custodial and non-custodial sources.
  18   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
  19   and non-custodial sources and document identification protocols, but in the event
  20   the parties cannot agree, Defendants will limit their searches to the sources identified
  21   in Defendants’ portion of the supplement to the parties’ joint 26(f) report from which
  22   Defendants will produce all non-privileged documents responsive to this request,
  23   dating from January 1, 2016, until the date of collection that can be located after a
  24   reasonable search. See ECF No. 243 at 16-19. Defendants will produce the
  25   documents on a rolling basis.
  26            To the extent that Plaintiffs seek information from DHS OIG, this part of DHS
  27   is an independent and objective unit operating within DHS whose duty it is to detect
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                                                                                     APPENDIX A
                                                   47
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5771     Page
                                    110 of 300

   1   and combat waste, fraud, and abuse in DHS programs and operations. DHS OIG has
   2   agreed to search for material potentially responsive to this request. Defendants will
   3   continue to confer with Plaintiffs in identifying reasonable custodial and non-
   4   custodial sources and document identification protocols relating to documents from
   5   DHS OIG. To the extent DHS OIG determines that potentially responsive materials
   6   may not be produced in whole or in part, it will provide authority for such
   7   determination in a response, privilege log, or on any documents produced.
   8   REQUEST FOR PRODUCTION NO. 18:
   9         All documents relating to any and all complaints against or concerning CBP
  10   personnel received by DHS or CBP, including, but not limited to, the Office of
  11   Inspector General and the Office for Civil Rights and Civil Liberties, relating to the
  12   processing of noncitizens arriving at or near a port of entry on the U.S.-Mexico
  13   border who express a desire to seek asylum or express a fear of returning to their
  14   countries of origin.
  15      Objections to Request for Production No. 18:
  16         Defendants object to RFP 18 in that it is disproportionate to the needs of the
  17   case, and the burden and expense of the proposed discovery clearly outweighs the
  18   likely benefit. For example, RFP No. 18 purports to require Defendants to produce
  19   “all documents” “relating to” “any and all” complaints” “against or concerning”
  20   CBP personnel. Taking these vague and expansive terms together, this request is not
  21   only disproportionate and burdensome but also overbroad in that it seeks documents
  22   irrelevant to any claim or defense in this case.
  23         In addition, Defendants object to this request on the ground that it seeks
  24   discovery of information that is beyond the scope of this lawsuit and not proportional
  25   to the needs of this case. See e.g., Fed. R. Civ. P. 26(b)(1). For example, “processing”
  26   may encompass actions such as a secondary inspection for agricultural or customs
  27   purposes. See U.S. DHS PRIVACY IMPACT ASSESSMENT FOR THE TECS
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                                                                                     APPENDIX A
                                                  48
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19       PageID.5772     Page
                                      111 of 300

   1   SYSTEM: CBP PRIMARY AND SECONDARY PROCESSING at 5 (December
   2   22,     2010),   https://www.dhs.govisites/default/files/publications/privacy-pia-cbp-
   3   tecs-december2010_0.pdf. Such activities are outside the scope of this lawsuit.
   4            Defendants also object to RFP 18 in accordance with Objections Which Apply
   5   to All RFPs Nos. 1 and 3-10; Objections to Definitions Nos. 2-3, 5-6, and 810; and,
   6   Objections to Instructions Nos. 1, 2, and 4.
   7            Consistent with these objections, Defendants construe this request as limited
   8   to documents concerning the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of
   9   entry.
  10         Response to Request for Production No. 18:
  11            In accordance with Defendants’ objections, and in light of the discovery
  12   request being disproportional to the needs of the case considering that the burden
  13   and expense of the requested discovery outweighs its likely benefit, Defendants will
  14   limit their searches to a limited number of custodial and non-custodial sources.
  15   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
  16   and non-custodial sources and document identification protocols, but in the event
  17   the parties cannot agree, Defendants will limit their searches to the sources identified
  18   in Defendants’ portion of the supplement to the parties’ joint 26(f) report from which
  19   Defendants will produce all non-privileged documents responsive to this request,
  20   dating from January 1, 2016, until the date of collection that can be located after a
  21   reasonable search. See ECF No. 243 at 16-19. Defendants will produce the
  22   documents on a rolling basis.
  23            To the extent that Plaintiffs seek information from DHS OIG, this part of DHS
  24   is an independent and objective unit operating within DHS whose duty it is to detect
  25   and combat waste, fraud, and abuse in DHS programs and operations. DHS OIG has
  26   agreed to search for material potentially responsive to this request. Defendants will
  27   continue to confer with Plaintiffs in identifying reasonable custodial and non-
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                                                                                     APPENDIX A
                                                   49
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19        PageID.5773     Page
                                      112 of 300

   1   custodial sources and document identification protocols relating to documents from
   2   DHS OIG. To the extent DHS OIG determines that potentially responsive materials
   3   may not be produced in whole or in part, it will provide authority for such
   4   determination in a response, privilege log, or on any documents produced.
   5   REQUEST FOR PRODUCTION NO. 19:
   6           All documents relating to any and all policies, procedures, criteria or standards
   7   used by CBP or DHS to discipline CBP personnel who fail to follow proper policy
   8   or procedure relating to the processing of noncitizens arriving at or near a port of
   9   entry on the U.S.-Mexico border who express a desire to seek asylum or express a
  10   fear of returning to their countries of origin.
  11         Objections to Request for Production No. 19:
  12           Defendants object to RFP 19 in that it is disproportionate to the needs of the
  13   case, and the burden and expense of the proposed discovery clearly outweighs the
  14   likely benefit. For example, RFP No. 19 purports to require Defendants to produce
  15   “all documents” “relating to” “any and all” “policies, procedures, criteria, or
  16   standards.” Taken together, the breadth of these terms and the corresponding search
  17   they demand is unreasonable. Such an expansive request is not only disproportionate
  18   and burdensome but also overbroad in that it seeks documents irrelevant to any claim
  19   or defense in this case.
  20           In addition, Defendants object to this request on the ground that it seeks
  21   discovery of information that is beyond the scope of this lawsuit and not proportional
  22   to the needs of this case. See e.g., Fed. R. Civ. P. 26(b)(1). For example, “processing”
  23   may encompass actions such as a secondary inspection for agricultural or customs
  24   purposes. See U.S. DHS PRIVACY IMPACT ASSESSMENT FOR THE TECS
  25   SYSTEM: CBP PRIMARY AND SECONDARY PROCESSING at 5 (December
  26   22,     2010),   https://www.dhs.govisites/default/files/publications/privacy-pia-cbp-
  27   tecs-december2010_0.pdf. Such activities are outside the scope of this lawsuit.
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                                                                                      APPENDIX A
                                                   50
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19       PageID.5774     Page
                                      113 of 300

   1            Defendants also object to RFP 19 in accordance with Objections Which Apply
   2   to All RFPs Nos. 1, 3-10; Objections to Definitions Nos. 2-3, 5-6, 8, and 10; and,
   3   Objections to Instructions Nos. 1, 2, and 4.
   4            Consistent with these objections, Defendants construe this request as limited
   5   to documents concerning the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of
   6   entry.
   7      Response to Request for Production No. 19:
   8            In accordance with Defendants’ objections, and in light of the discovery
   9   request being disproportional to the needs of the case considering that the burden
  10   and expense of the requested discovery outweighs its likely benefit, Defendants will
  11   limit their searches to a limited number of custodial and non-custodial sources.
  12   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
  13   and non-custodial sources and document identification protocols, but in the event
  14   the parties cannot agree, Defendants will limit their searches to the sources identified
  15   in Defendants’ portion of the supplement to the parties’ joint 26(f) report from which
  16   Defendants will produce all non-privileged documents responsive to this request,
  17   dating from January 1, 2016, until the date of collection that can be located after a
  18   reasonable search. See ECF No. 243 at 16-19. Defendants will produce the
  19   documents on a rolling basis.
  20            To the extent that Plaintiffs seek information from DHS OIG, this part of DHS
  21   is an independent and objective unit operating within DHS whose duty it is to detect
  22   and combat waste, fraud, and abuse in DHS programs and operations. DHS OIG has
  23   agreed to search for material potentially responsive to this request. Defendants will
  24   continue to confer with Plaintiffs in identifying reasonable custodial and non-
  25   custodial sources and document identification protocols relating to documents from
  26   DHS OIG. To the extent DHS OIG determines that potentially responsive materials
  27   may not be produced in whole or in part, it will provide authority for such
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                                                                                     APPENDIX A
                                                   51
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5775     Page
                                     114 of 300

   1   determination in a response, privilege log, or on any documents produced.
   2   REQUEST FOR PRODUCTION NO. 20:
   3           All documents relating to any and all disciplinary action taken by CBP or DHS
   4   against CBP personnel who fail to follow proper policy or procedure relating to the
   5   processing of noncitizens arriving at or near a port of entry on the U.S.-Mexico
   6   border who express a desire to seek asylum or express a fear or returning to their
   7   countries of origin. For the avoidance of doubt, at this time, Plaintiff’s do not,
   8   through this request, seek individual personnel information that is protected from
   9   disclosure by applicable state or federal law. Defendant may redact identifying
  10   information from responsive documents to ensure that employee rights of
  11   confidentiality are preserved.
  12         Objections to Request for Production No. 20:
  13           Defendants object to RFP 20 in that it is disproportionate to the needs of the
  14   case, and the burden and expense of the proposed discovery clearly outweighs the
  15   likely benefit. For example, RFP No. 20 purports to require Defendants to produce
  16   “all documents” “relating to” “any and all” “policies, procedures, criteria or
  17   standards” for disciplinary action. Such an expansive request is not only
  18   disproportionate and burdensome but also overbroad in that it seeks documents
  19   irrelevant to any claim or defense in this case.
  20           In addition, Defendants object to this request on the ground that it seeks
  21   discovery of information that is beyond the scope of this lawsuit and not proportional
  22   to the needs of this case. See e.g., Fed. R. Civ. P. 26(b)(1). For example, “processing”
  23   may encompass actions such as a secondary inspection for agricultural or customs
  24   purposes. See U.S. DHS PRIVACY IMPACT ASSESSMENT FOR THE TECS
  25   SYSTEM: CBP PRIMARY AND SECONDARY PROCESSING at 5 (December
  26   22,     2010),   https://www.dhs.govisites/default/files/publications/privacy-pia-cbp-
  27   tecs-december2010_0.pdf. Such activities are outside the scope of this lawsuit.
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                                                                                     APPENDIX A
                                                  52
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19       PageID.5776     Page
                                      115 of 300

   1            Defendants also object to RFP 20 in accordance with Objections Which Apply
   2   to All RFPs Nos. 1, 3-10; Objections to Definitions Nos. 2-3, 5-6, 8, and 10; and
   3   Objections to Instructions Nos. 1-4.
   4            Consistent with these objections, Defendants construe this request as limited
   5   to documents concerning the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of
   6   entry.
   7      Response to Request for Production No. 20:
   8            DHS responds that it does not normally possess disciplinary records for CBP
   9   employees. Such records would be in the possession and under the control of CBP.
  10            In accordance with Defendants’ objections, and in light of the discovery
  11   request being disproportional to the needs of the case considering that the burden
  12   and expense of the requested discovery outweighs its likely benefit, Defendants will
  13   limit their searches to a limited number of custodial and non-custodial sources.
  14   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
  15   and non-custodial sources and document identification protocols, but in the event
  16   the parties cannot agree, Defendants will limit their searches to the sources identified
  17   in Defendants’ portion of the supplement to the parties’ joint 26(f) report from which
  18   Defendants will produce all non-privileged documents responsive to this request,
  19   dating from January 1, 2016, until the date of collection that can be located after a
  20   reasonable search. See ECF No. 243 at 16-19. Defendants will produce the
  21   documents on a rolling basis.
  22   REQUEST FOR PRODUCTION NO. 21:
  23            All documents relating to, or issued by CBP or DHS pursuant to Executive
  24   Order     13767,    entitled   “Border   Security   and   Immigration      Enforcement
  25   Improvements,” signed by President Donald J. Trump on January 25, 2017 (the
  26   Executive Order”), including all documents relating to compliance by CBP or DHS
  27   with the Executive Order.
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                                                                                     APPENDIX A
                                                   53
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19       PageID.5777     Page
                                      116 of 300

   1      Objections to Request for Production No. 21:
   2            Defendants object to RFP 21 in that it is disproportionate to the needs of the
   3   case, and the burden and expense of the proposed discovery clearly outweighs the
   4   likely benefit. For example, RFP No. 21 purports to require Defendants to produce
   5   “all documents” “relating to” or “issued by” CBP or DHS related to Executive Order
   6   13767. Such an expansive request is not only disproportionate and burdensome but
   7   also overbroad in that it seeks documents irrelevant to any claim or defense in this
   8   case.
   9            Defendants object to this request on the basis that it seeks discovery of
  10   information not related to the claims at issue in this action. Specifically, the
  11   Executive Order addresses a wide variety of issues related to immigration
  12   enforcement, many of which are beyond the scope of this litigation, including the
  13   detention and parole of aliens, the treatment of unaccompanied alien children, and
  14   additional actions needed to strengthen immigration enforcement at the U.S.-Mexico
  15   border. These issues are unrelated to the claims at issue in this action. Therefore, for
  16   purposes of this response, Defendants construe this request to apply only to
  17   documents relating to the processing of “arriving aliens” seeking protection
  18   consistent with 8 U.S.C. § 1158 and 1225(b) at the San Ysidro, Otay Mesa, Laredo,
  19   and Hidalgo ports of entry.
  20            Defendants also object to RFP 21 in accordance with Objections Which Apply
  21   to All RFPs Nos. 1, 6-10; Objections to Definitions Nos. 2-3, 5-6, and 8-10; and,
  22   Objections to Instructions No. 1, 2, and 4.
  23            Consistent with these objections, Defendants construe this request as limited
  24   to documents concerning the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of
  25   entry.
  26      Response to Request for Production No. 21:
  27            In accordance with Defendants’ objections, and in light of the discovery
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                                                                                     APPENDIX A
                                                   54
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5778     Page
                                     117 of 300

   1   request being disproportional to the needs of the case considering that the burden
   2   and expense of the requested discovery outweighs its likely benefit, Defendants will
   3   limit their searches to a limited number of custodial and non-custodial sources.
   4   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
   5   and non-custodial sources and document identification protocols, but in the event
   6   the parties cannot agree, Defendants will limit their searches to the sources identified
   7   in Defendants’ portion of the supplement to the parties’ joint 26(f) report from which
   8   Defendants will produce all non-privileged documents responsive to this request,
   9   dating from January 1, 2016, until the date of collection that can be located after a
  10   reasonable search. See ECF No. 243 at 16-19. Defendants will produce the
  11   documents on a rolling basis.
  12   REQUEST FOR PRODUCTION NO. 22:
  13           All documents relating to, or issued by CBP or DHS pursuant to, the
  14   memorandum entitled “Implementing the President’s Border Security and
  15   Immigration Enforcement Improvement Policies,” issued by DHS on February 20,
  16   2017 (the “Memorandum”), including all documents relating to compliance by CBP
  17   or DHS with the Memorandum.
  18      Objections to Request for Production No. 22:
  19           Defendants object to RFP 22 in that it is disproportionate to the needs of the
  20   case, and the burden and expense of the proposed discovery clearly outweighs the
  21   likely benefit. For example, RFP No. 22 purports to require Defendants to produce
  22   “all documents” “relating to” or “issued by” CBP or DHS related to Executive Order
  23   13767. Such an expansive request is not only disproportionate and burdensome but
  24   also overbroad in that it seeks documents irrelevant to any claim or defense in this
  25   case.
  26           Defendants object to this request on the basis that it seeks discovery of
  27   information not related to the claims at issue in this action. Specifically, the
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                                                                                     APPENDIX A
                                                  55
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19        PageID.5779      Page
                                      118 of 300

   1   Memorandum addresses all of the issues identified in the Executive Order, many of
   2   which are beyond the scope of this litigation, including the detention and parole of
   3   aliens, the treatment of unaccompanied alien children, and additional actions needed
   4   to strengthen immigration enforcement at the U.S.-Mexico border. These issues are
   5   unrelated to the claims at issue in this action. Defendants further object to this request
   6   as disproportional to the needs of this case. The time and resources necessary to
   7   gather all documents related to CBP’s implementation of Executive Order 13767
   8   and the Memorandum is not proportional to the needs of this case, which is related
   9   solely to claims from arriving aliens seeking protection consistent with 8 U.S.C. §§
  10   1158 and 1225(b) at four ports of entry along the U.S./Mexico border.
  11            Therefore, for purposes of these responses, Defendants will respond to the
  12   request only so far as it seeks documents specifically relating to compliance by DHS
  13   or CBP with any directives regarding the processing of arriving aliens seeking
  14   protection consistent with 8 U.S.C. §§ 1158 and 1225(b) at four ports of entry along
  15   the U.S./Mexico border (San Ysidro, Otay Mesa, Laredo, and Hidalgo).
  16            Defendants also object to RFP 22 in accordance with Objections Which Apply
  17   to All RFPs Nos. 1 and 6-10; Objections to Definitions Nos. 2-3, 5-6, and 810; and,
  18   Objections to Instructions Nos. 1, 2, and 4.
  19            Consistent with these objections, Defendants construe this request as limited
  20   to documents concerning the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of
  21   entry.
  22      Response to Request for Production No. 22:
  23            In accordance with Defendants’ objections, and in light of the discovery
  24   request being disproportional to the needs of the case considering that the burden
  25   and expense of the requested discovery outweighs its likely benefit, Defendants will
  26   limit their searches to a limited number of custodial and non-custodial sources.
  27   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
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                                                                                       APPENDIX A
                                                   56
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5780     Page
                                    119 of 300

   1   and non-custodial sources and document identification protocols, but in the event
   2   the parties cannot agree, Defendants will limit their searches to the sources identified
   3   in Defendants’ portion of the supplement to the parties’ joint 26(f) report from which
   4   Defendants will produce all non-privileged documents responsive to this request,
   5   dating from January 1, 2016, until the date of collection that can be located after a
   6   reasonable search. See ECF No. 243 at 16-19. Defendants will produce the
   7   documents on a rolling basis.
   8   REQUEST FOR PRODUCTION NO. 23:
   9         All documents relating to, or issued by CBP or DHS pursuant to, the statement
  10   entitled “Statement from the Press Secretary on the Decline in Southwest Border
  11   Apprehensions,” released by the White House Office of the Press Secretary on April
  12   5, 2017.
  13      Objections to Request for Production No. 23:
  14         Defendants object to RFP 23 in that it is disproportionate to the needs of the
  15   case, and the burden and expense of the proposed discovery clearly outweighs the
  16   likely benefit. For example, RFP No. 23 purports to require Defendants to produce
  17   “all documents” “relating to” or “issued by” CBP or DHS related to the “Statement
  18   from the Press Secretary on the Decline in Southwest Border Apprehensions.” Such
  19   an expansive request is not only disproportionate and burdensome but also
  20   overbroad in that it seeks documents irrelevant to any claim or defense in this case.
  21         Defendants object to this request on the basis that it seeks discovery of
  22   information not related to the claims at issue in this action and is thus irrelevant.
  23   Specifically, the number of apprehensions on the US.-Mexico border is not relevant
  24   to the claims at issue in this action, which is related solely to claims from arriving
  25   aliens seeking protection consistent with 8 U.S.C. §§ 1158 and 1225(b) at four ports
  26   of entry along the Mexico/U.S. border.
  27         Therefore, for purposes of these responses, Defendants will respond to the
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                                                                                     APPENDIX A
                                                  57
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5781     Page
                                    120 of 300

   1   request only so far as it seeks documents specifically relating to compliance by DHS
   2   or CBP with any directives regarding the processing of arriving aliens seeking
   3   protection consistent with 8 U.S.C. §§ 1158 and 1225(b) at four ports of entry along
   4   the U.S./Mexico border (San Ysidro, Otay Mesa, Laredo, and Hidalgo).
   5         Defendants also object to RFP 23 in accordance with Objections Which Apply
   6   to All RFPs Nos. 1, 6-10; Objections to Definitions Nos. 2-3, 5-6, 8, and 10; and,
   7   Objections to Instructions Nos. 1, 2, and 4.
   8      Response to Request for Production No. 23:
   9         In accordance with Defendants’ objections, and in light of the discovery
  10   request being disproportional to the needs of the case considering that the burden
  11   and expense of the requested discovery outweighs its likely benefit, Defendants will
  12   limit their searches to a limited number of custodial and non-custodial sources.
  13   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
  14   and non-custodial sources and document identification protocols, but in the event
  15   the parties cannot agree, Defendants will limit their searches to the sources identified
  16   in Defendants’ portion of the supplement to the parties’ joint 26(f) report from which
  17   Defendants will produce all non-privileged documents responsive to this request,
  18   dating from January 1, 2016, until the date of collection that can be located after a
  19   reasonable search. See ECF No. 243 at 16-19. Defendants will produce the
  20   documents on a rolling basis.
  21   REQUEST FOR PRODUCTION NO. 24:
  22         All documents relating to any statements released by the White House relating
  23   to noncitizens arriving at or near a port of entry on the U.S.-Mexico border who
  24   express a desire to seek asylum or express a fear of returning to their countries or
  25   origin.
  26      Objections to Request for Production No. 24:
  27         Defendants object to RFP 24 in that it is disproportionate to the needs of the
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                                                                                     APPENDIX A
                                                  58
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19          PageID.5782      Page
                                     121 of 300

   1   case, and the burden and expense of the proposed discovery clearly outweighs the
   2   likely benefit. For example, RFP No. 24 purports to require Defendants to produce
   3   “any statements released by the White House relating to noncitizens” seeking
   4   asylum. Such an expansive request is not only disproportionate and burdensome but
   5   also overbroad in that it seeks documents irrelevant to any claim or defense in this
   6   case.
   7           Defendants object to this request on the basis that it seeks discovery of
   8   information not related to the claims at issue in this action, and is therefore irrelevant.
   9           Defendants object to the terms “any statements” and “by the White House” as
  10   vague and overly broad. Without a time frame or identification of a specific
  11   release/statement, it is unclear what sort of documents Plaintiffs seek and what
  12   documents could be interpreted as coming within the scope of this request. It would
  13   be unduly burdensome on Defendants to scour any and all sources (press releases,
  14   news articles, social media statements, etc.) for any and all statements of all members
  15   of the “White House” (the President, his staff, etc.) that might have touched on
  16   arriving aliens since January 1, 2016 and then to scour all agency records to identify
  17   whether there could be any link between them.
  18           Defendants also object to RFP 24 in accordance with Objections Which Apply
  19   to All RFPs No. 1, 3-10 and Objections to Definitions Nos. 5-6, 8, and 10.
  20      Response to Request for Production No. 24:
  21           In accordance with their objections, Defendants will not produce any
  22   discovery responsive to this request.
  23   REQUEST FOR PRODUCTION NO. 25:
  24           All surveillance video footage relating to any investigation conducted by
  25   DHS, CBP or the Office of the Inspector General relating to noncitizens arriving at
  26   or near a port of entry on the U.S.-Mexico border who express a desire to seek
  27   asylum or express a fear or returning to their countries of origin.
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                                                                                        APPENDIX A
                                                    59
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5783     Page
                                    122 of 300

   1      Objections to Request for Production No. 25:
   2         Defendants object to RFP 25 in that it is disproportionate to the needs of the
   3   case, and the burden and expense of the proposed discovery clearly outweighs the
   4   likely benefit. For example, RFP No. 25 purports to require Defendants to produce
   5   “all surveillance video footage relating to any investigation conducted by” the
   6   Defendants or “the Office of Inspector General relating to” those seeking asylum.
   7   Such an expansive request is not only disproportionate and burdensome but also
   8   overbroad in that it seeks documents irrelevant to any claim or defense in this case.
   9   To the extent that Plaintiffs seek information from DHS OIG, this part of DHS is an
  10   independent and objective unit operating within DHS whose duty it is to detect and
  11   combat waste, fraud, and abuse in DHS programs and operations. DHS OIG has
  12   agreed to search for material potentially responsive to this request. Defendants will
  13   continue to confer with Plaintiffs in identifying reasonable custodial and non-
  14   custodial sources and document identification protocols relating to documents from
  15   DHS OIG. To the extent DHS OIG determines that potentially responsive materials
  16   may not be produced in whole or in part, it will provide authority for such
  17   determination in a response, privilege log, or on any documents produced.
  18         Defendants further object to this request to the extent that it seeks information
  19   which would impinge upon the privacy rights or impinge the protection rights of
  20   individuals who are seeking protection under 8 U.S.C. §§ 1158, 1225(b), or any other
  21   applicable statute.
  22         Defendants further object to producing “[a]ll video surveillance footage
  23   RELATING TO any investigation conducted by DHS” because coordination with
  24   subordinate agencies whose work is not related to immigration, such as FEMA or
  25   the U.S. Coast Guard, is not relevant or proportional to the needs of the case.
  26         Defendants also object to this request to the extent it is irrelevant, overbroad,
  27   vague, and ambiguous. It is unclear what “investigation” entails and Plaintiffs have
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                                                                                    APPENDIX A
                                                 60
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19       PageID.5784     Page
                                      123 of 300

   1   not provided a definition. It is not clear whether Plaintiffs intended for
   2   “investigation” to include every encounter at the four ports of entry (consistent with
   3   Defendants’ limitation as stated in the general objection) where any employee of any
   4   subcomponent of DHS and/or CBP questioned an arriving alien, or whether it refers
   5   to formal or informal inquiries conducted by DHS and/or CBP or their
   6   subcomponents in response to allegations of misconduct regarding the processing of
   7   arriving aliens at these four ports of entry. The former interpretation of
   8   “investigation” would place an undue burden on Defendants in light of the incredibly
   9   large number of hours of video footage captured every day at every port of entry, the
  10   time consuming process of reviewing video footage to identify responsive
  11   encounters, the hours required to determine what protections and/or privileges might
  12   apply to production, the excessive time and cost required to produce such footage,
  13   technical limitations, and the failure of Plaintiffs to limit this request to manageable
  14   periods of time. Thus, for purposes of this response, Defendants construe
  15   “investigation” to refer only to a formal investigation into allegations of misconduct
  16   by CPB officers at the Laredo, Otay Mesa, San Ysidro, or Hidalgo ports of entry
  17   since January 1, 2016.
  18            Defendants also object to RFP 25 in accordance with Objections Which Apply
  19   to All RFPs Nos. 1 and 3-10; Objections to Definitions Nos. 2-3, 5-6, 8, and 10; and,
  20   Objections to Instructions Nos. 1, 2, and 4.
  21            Consistent with these objections, Defendants construe this request as limited
  22   to documents concerning the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of
  23   entry.
  24      Response to Request for Production No. 25:
  25            In accordance with Defendants’ objections, and in light of the discovery
  26   request being disproportional to the needs of the case considering that the burden
  27   and expense of the requested discovery outweighs its likely benefit, Defendants will
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                                                                                     APPENDIX A
                                                   61
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5785     Page
                                    124 of 300

   1   limit their searches to a limited number of custodial and non-custodial sources.
   2   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
   3   and non-custodial sources and document identification protocols, but in the event
   4   the parties cannot agree, Defendants will limit their searches to the sources identified
   5   in Defendants’ portion of the supplement to the parties’ joint 26(f) report from which
   6   Defendants will produce all non-privileged documents responsive to this request,
   7   dating from January 1, 2016, until the date of collection that can be located after a
   8   reasonable search. See ECF No. 243 at 16-19. Defendants will produce the
   9   documents on a rolling basis.
  10         To the extent that Plaintiffs seek information from DHS OIG, this part of DHS
  11   is an independent and objective unit operating within DHS whose duty it is to detect
  12   and combat waste, fraud, and abuse in DHS programs and operations. DHS OIG has
  13   agreed to search for material potentially responsive to this request. Defendants will
  14   continue to confer with Plaintiffs in identifying reasonable custodial and non-
  15   custodial sources and document identification protocols relating to documents from
  16   DHS OIG. To the extent DHS OIG determines that potentially responsive materials
  17   may not be produced in whole or in part, it will provide authority for such
  18   determination in a response, privilege log, or on any documents produced.
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                                                                                     APPENDIX A
                                                  62
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5786      Page
                                     125 of 300

   1                                        Appendix B
   2         As discussed in the parties’ accompanying Joint Motion for Determination of
   3   Discovery dispute, the following is the exact text of the disputed portions of
   4   Defendants’ First Amended and Supplemented Objections and Responses to
   5   Plaintiffs’ Second Set of Requests for Production to All Defendants.
   6                                       *      *      *
   7               Objections Which Apply To All Requests For Production
   8         1.     Defendants object to these Requests (and all discovery requests) as
   9   facially improper in this Administrative Procedure Act (“APA”) case. Defendants
  10   continue to maintain, as briefed in their pending Motion to Dismiss (ECF Nos. 192 &
  11   238) and in their portion of the 26(f) report (ECF No. 239), and supplement (ECF No.
  12   243), that Plaintiffs’ claims should be decided on the administrative record without
  13   discovery. “[I]t is black-letter administrative law that in an APA case, a reviewing
  14   court ‘should have before it neither more nor less information than did the agency
  15   when it made its decision.’” Hill Dermaceuticals, Inc. v. Food & Drug Admin., 709
  16   F.3d 44, 47 (D.C. Cir. 2013) (quoting Walter O. Boswell Mem’l Hosp. v. Heckler, 749
  17   F.2d 788, 792 (D.C. Cir. 1984)); First Nat. Bank & Trust v. Dep’t of Treasury, 63
  18   F.3d 894, 897 (9th Cir. 1995) (“Generally, judicial review of an agency decision is
  19   limited to the administrative record.” (citing Camp v. Pitts, 411 U.S. 138, 142 (1973)).
  20   These Requests are proper only to the extent they seek information that is absolutely
  21   necessary “to ascertain the contours of the precise policy at issue,” Venetian Casino
  22   Resort, L.L.C. v. E.E.O.C., 530 F.3d 925, 928 (D.C. Cir. 2008), and only to the extent
  23   they request the information the agency had before it when it made its decision, Hill
  24   Dermaceuticals, Inc., 709 F.3d at 47. Thus, Defendants continue to maintain that
  25   discovery of the type Plaintiffs seek is improper, and if this case is not dismissed in
  26   its entirety, it should be decided on the relevant administrative record. Defendants
  27   assert this objection to preserve it pending a ruling on their Motion to Dismiss. At this
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                                                                                      APPENDIX B
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Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19       PageID.5787      Page
                                      126 of 300

   1   time, this objection serves as a limiting principle on the parameters of Defendants’
   2   search for responsive documents, the contours of which are being contemporaneously
   3   negotiated with Plaintiffs; Defendants are not withholding any responsive documents
   4   collected as a result of that search from their production or privilege log on the basis
   5   of this objection alone.
   6         2.     Moreover, any Request that seeks information relating to any DHS or
   7   CBP employee’s subjective intentions or motivations, including the named
   8   Defendants’, is facially improper. The Supreme Court has long recognized that “judicial
   9   inquiries into legislative or executive motivation represent a substantial intrusion into
  10   the workings of other branches of government.” Village of Arlington Heights v.
  11   Metropolitan Hous. Dev. Corp., 429 U.S. 252, 268 n. 18 (1977). In part for that reason,
  12   the Court has “made it abundantly clear” that APA review must focus only on the
  13   contemporaneous explanation of the agency decision” that the agency chooses to rest
  14   upon. Vermont Yankee Nuclear Power Corp. v. Natural Res. Def. Council, Inc., 435
  15   U.S. 519, 549 (1978). “When a party challenges agency action as arbitrary and
  16   capricious the reasonableness of the agency’s action is judged in accordance with its
  17   stated reasons.” In re Subpoena Duces Tecum Served on the Office of the Comptroller
  18   of the Currency, 156 F.3d 1279, 1279 (D.C. Cir. 1998) (emphasis added) (citing
  19   Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S 402 (1971)). Unless intent
  20   is an element of a party’s claims or defenses—which, in this case, it is not—“the
  21   actual subjective motivation of agency decisionmakers is immaterial as a matter of
  22   law,” id. at 1280, and therefore not properly discoverable. Accordingly, as set forth
  23   in their specific objections and responses, Defendants will not search for, produce, or
  24   log any documents in response to Plaintiffs’ requests that concern solely what
  25   Plaintiffs allege to be the named Defendants’ or DHS or CBP employees’ subjective
  26   intentions or motivations that have no apparent connection to the existence or
  27   contours of a policy or practice claimed to be at issue. This objection also serves as a
  28   limiting principle on the parameters of Defendants’ search for responsive documents,
                                                                                      APPENDIX B
                                                  2
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5788      Page
                                     127 of 300

   1   the contours of which are being contemporaneously negotiated with Plaintiffs.
   2         3.     Defendants object to the use of the term “noncitizen,” as this term is
   3   overly broad, vague and ambiguous. Specifically, the term “noncitizen” is a term
   4   proposed by Plaintiffs and not used by Defendants, and Plaintiffs do not provide a
   5   definition of what this term means. “Noncitizen” is not specific to the United States.
   6   That is, it is not limited to those individuals who are not citizens of the United States
   7   and could encompass individuals who are not citizens of other nations. Therefore,
   8   for the purpose of responding to these Requests, Defendants understand and construe
   9   the term “noncitizen,” in the context of these discovery requests, to mean “alien,” as
  10   defined in 8 U.S.C. § 1101(a)(3), and such construction is reflected in all of
  11   Defendants’ responses and any corresponding production or privilege log.
  12         4.     Defendants object to the terms and phrases “seek asylum,” “have a
  13   fear,” “expressing a desire to seek asylum,” “expressing a fear of returning to their
  14   countries of origin,” and “present themselves,” as these terms and phrases are vague
  15   and ambiguous, are not defined by Plaintiffs, and potentially can be construed as
  16   referring to actions or statements other than those described in 8 U.S.C. §§ 1158 and
  17   1225(b). For purposes of responding to these RFPs, Defendants understand and
  18   construe these terms and phrases as referring to actions consistent with 8 U.S.C. §§
  19   1158 and 1225(b). Such construction is reflected in all of Defendants’ responses and
  20   any corresponding production or privilege log; Defendants are not, however,
  21   withholding documents on the basis of this objection.
  22         5.     Defendants object to the phrase “near ports of entry” on the basis that
  23   this phrase is overbroad and seeks discovery beyond the scope of this lawsuit. For
  24   example, this phrase could be construed as referring to actions occurring between
  25   ports of entry, which are not relevant to any party’s claims or defenses in this case.
  26   The claims in this action relate only to aliens who allegedly sought to enter the
  27   United States at one of four ports of entry (Laredo, Otay Mesa, San Ysidro, and
  28   Hidalgo) but were not immediately allowed to do so. Defendants therefore object to
                                                                                      APPENDIX B
                                                  3
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5789     Page
                                    128 of 300

   1   the extent that any Request seeks information beyond the claims raised by individual
   2   Plaintiffs in this action because such discovery would also be disproportional to the
   3   needs of the case. Relatedly, such discovery would be unduly burdensome and
   4   disproportional to the needs of the case. Therefore, for purposes of their responses,
   5   Defendants will only search for and produce relevant and non-privileged documents
   6   relating to aliens arriving at “ports of entry” and Defendants’ responses to each and
   7   every Request will be limited consistent with this objection.
   8         6.     Defendants object to each and every Request to the extent it requests or
   9   appears to request information related to all ports of entry along the U.S.-Mexico
  10   border as not proportional to the needs of the case, overly broad, and unduly
  11   burdensome. The Court’s Order directs the parties to “prioritize discovery necessary
  12   for a motion for class certification[.]” ECF No. 196 at 2. “The class action is ‘an
  13   exception to the usual rule that litigation is conducted by and on behalf of the
  14   individual named parties only.’ In order to justify a departure from that rule, ‘a class
  15   representative must be part of the class and possess the same interest and suffer the
  16   same injury as class members.’” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348-
  17   49 (2011) (quoting Califano v. Yamasaki, 442 U.S. 682, 700-01 (1979), and East
  18   Tex. Motor Freight System, Inc. v. Rodriguez, 431 U.S. 208, 216 (1974)). The
  19   putative class representatives allege that they applied for admission or attempted to
  20   apply for admission at only the San Ysidro, Otay Mesa, Hidalgo, and Laredo ports
  21   of entry. Thus, even assuming for argument’s sake that the Court certifies the
  22   broadest possible class the representative parties might be legally permitted to
  23   represent, the individual plaintiffs still cannot challenge actions taken at other ports
  24   of entry, because those plaintiffs are not part of a class of individuals who applied
  25   for admission or attempted to apply for admission at such ports and do not “possess
  26   the same interest and suffer the same injury as those individuals.” Wal-Mart Stores,
  27   Inc., 564 U.S. at 348-49. The challenges in this action are thus limited to policies
  28   issued and actions taken by the headquarters portions of the Office of Field
                                                                                     APPENDIX B
                                                  4
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19         PageID.5790      Page
                                     129 of 300

   1   Operations and actions that occurred at the San Ysidro, Otay Mesa, Laredo, and
   2   Hidalgo ports of entry, and any Requests that go beyond the scope of the specific
   3   claims and allegations at issue are legally improper and thus irrelevant.
   4         Further, the burden of searching for, collecting, reviewing, and producing
   5   documents related to all ports of entry along the U.S.-Mexico border would be unduly
   6   burdensome and disproportional to the needs of the case. Plaintiffs allege a border-
   7   wide practice, policy, and/or procedure; discovery from the four ports of entry where
   8   the named Plaintiffs allegedly encountered such a practice, policy, and/or procedure
   9   (or a subset thereof), in addition to discovery from select higher-level officials and
  10   centralized non-custodial sources, satisfies the needs of the case, as any evidence of
  11   such a border-wide practice, policy, and/or procedure, if it exists, would necessarily
  12   be found in such locations. Any discovery from other ports of entry along the U.S.-
  13   Mexico border would thus be either irrelevant or duplicative and unduly
  14   burdensome.
  15         In light of these issues, Defendants therefore understand and construe these
  16   Requests as seeking discovery limited to headquarters portions of the Office of Field
  17   Operations and the San Ysidro, Otay Mesa, Laredo, and Hidalgo ports of entry, and
  18   will search for and produce only relevant and non-privileged documents relating to
  19   aliens arriving or attempting to arrive at these four ports of entry, and documents from
  20   Office of Field Operations Headquarters. Defendants’ responses to each and every
  21   Request, and their corresponding production and privilege log, will be limited
  22   consistent with this general objection. This objection also serves as a limiting principle
  23   on the parameters of Defendants’ search for responsive documents, the contours of
  24   which are being contemporaneously negotiated with Plaintiffs.
  25         7.      Defendants object to the Requests to the extent that they seek: (a)
  26   attorney work product, trial preparation materials, or communications that are
  27   protected by the attorney-client privilege, (b) documents that are protected by the
  28   deliberative process privilege, the joint defense privilege, the common interest
                                                                                       APPENDIX B
                                                   5
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5791      Page
                                    130 of 300

   1   privilege, the law enforcement privilege (and/or as law enforcement sensitive), the
   2   official information privilege, the executive privilege, the investigatory files
   3   privilege, the self-critical analysis privilege, the Machin privilege; (c) documents
   4   that, if produced would violate the legitimate privacy interests and expectations of
   5   persons who are not party to this litigation; or (d) documents to which any other
   6   privilege applies.
   7         Defendants will assert privileges specific to each request in their privilege log,
   8   on the production itself, or in their response to the request and Defendants agree to
   9   meet and confer regarding privilege objections to which Plaintiffs assert objections.
  10   Documents generated after the filing of Plaintiffs’ initial Complaint in this action
  11   representing either communications with counsel or communications or documents
  12   relating to the actual conduct of litigation post-complaint—and thus clearly protected
  13   by either the attorney-client privilege or the work-product doctrine—will be treated
  14   as non-responsive and therefore will not appear on any privilege log.
  15         8.     Defendants object to producing confidential, sensitive, or personally-
  16   identifying information prior to the entry of an order protecting that information
  17   from disclosure.
  18         9.     Defendants object to each and every Request to the extent that it seeks
  19   information protected from disclosure by statutes, regulations, or directives regarding
  20   the protection of privacy, confidential information, or medical information, or under
  21   statutes and regulations prohibiting disclosure of information related to individual
  22   aliens—including, but not limited to, 8 U.S.C. § 1160(b)(5), (6); 8 U.S.C. §
  23   1186a(c)(4); 8 U.S.C. § 1202(f); 8 U.S.C. § 1254a(c)(6), 8 U.S.C. § 1255a(c)(4), (5);
  24   8 U.S.C. § 1304(b); 8 U.S.C. § 1367; 22 U.S.C. § 7105(c)(1)(C); 8 C.F.R. § 208.6; 8
  25   C.F.R. § 210.2(e); 8 C.F.R. § 214.11(p); 8 C.F.R. § 214.14(e); 8 C.F.R. §
  26   216.5(e)(3)(viii); 8 C.F.R. § 236.6; 8 C.F.R. § 244.16; 8 C.F.R. § 245a.2(t); 8 C.F.R.
  27   § 245a.3(n); 8 C.F.R. § 245a.21; 8 C.F.R. § 1003.46; or 8 C.F.R. § 1208.6—many of
  28   which would subject Defendants and their employees to civil or criminal penalties or
                                                                                     APPENDIX B
                                                  6
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19      PageID.5792     Page
                                     131 of 300

   1   other sanctions in the event of unauthorized disclosure. Thus, Defendants will not
   2   produce responsive information that falls within this category without an express
   3   written waiver from the alien authorizing such disclosure, or a court order, as may be
   4   permitted in certain circumstances.
   5         10.    Defendants object to these Requests (and the definitions and
   6   instructions that accompany them) to the extent that they purport to impose
   7   obligations greater than those imposed by the Federal Rules of Civil Procedure, the
   8   Local Civil Rules of the U.S. District Court for the Southern District of California,
   9   or an order of this Court. While Defendants are not currently aware of any documents
  10   they are withholding on the basis of this objection, Defendants nonetheless assert
  11   this objection to preserve it.
  12         11.    Defendants object to the Requests to the extent they impose obligations
  13   beyond those agreed upon in the Stipulated ESI Protocol. Defendants will search
  14   agreed upon custodian and non-custodial sources agreed to by the parties in
  15   accordance with the terms of that protocol. If the parties cannot agree on sources and
  16   search parameters, Defendants will limit their search parameters to the sources and
  17   search terms and methods identified by Defendants. Defendants also agree to meet
  18   and confer with Plaintiffs regarding the possibility of direct collection of documents
  19   without using a forensic document collection and the application of search terms if
  20   appropriate under the circumstances.
  21                           OBJECTIONS TO DEFINITIONS
  22         1.     Defendants object to the definitions of the terms “YOU” and “YOUR”
  23   on the grounds that they are overbroad, vague, unduly burdensome, invade the
  24   attorney/client privilege or the attorney work-product doctrine, and violate the
  25   Privacy Act, 5 U.S.C. § 552a et seq. Unless otherwise specified, Defendants interpret
  26   the definition of YOU or YOUR as referring to DHS, CBP, OFO, and individual
  27   DHS employees from whom DHS has the legal right to obtain upon demand
  28   information relevant to the claims and defenses in this case. Defendants do not
                                                                                    APPENDIX B
                                                 7
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5793     Page
                                    132 of 300

   1   interpret the definition of “YOU” or “YOUR” to include DHS component agencies
   2   or CBP subcomponents that are not parties to this case. Defendants’ responses to
   3   each applicable Request, and their corresponding production and privilege log, will
   4   be limited consistent with this objection and the objections to the definitions of DHS
   5   and CBP. This objection also serves as a limiting principle on the parameters of
   6   Defendants’ search for responsive documents, the contours of which are being
   7   contemporaneously negotiated with Plaintiffs.
   8         2.     Defendants object to the definition of “CBP” as overbroad, unduly
   9   burdensome, and disproportional to the needs of the case. Plaintiffs’ definition
  10   includes “any divisions, subdivisions, components or sections” of CBP and “CBP
  11   offices at ports of entry, including any divisions, subdivisions, components or
  12   sections therein[.]” Plaintiffs’ definition also includes “any other CBP
  13   organizational structures, including but not limited to U.S. Border Patrol, U.S. Office
  14   of Field Operations or private contractors hired by CBP.” First, Plaintiffs’ definition
  15   is overly broad and disproportional to the needs of the case in that it would
  16   potentially include CBP components that are not relevant to the claims and defenses
  17   in this case, such as Air and Marine Operations and U.S. Border Patrol. Second,
  18   Plaintiffs’ definition is also overly broad and disproportional to the needs of the case
  19   because this case challenges the alleged actions of CBP’s Office of Field Operations
  20   at the headquarters level and at the San Ysidro, Otay Mesa, Hidalgo, and Laredo
  21   ports of entry. Thus, requests for documents from other subcomponents of CBP that
  22   do not relate to those challenged actions reaches beyond what may be relevant to the
  23   claims and defenses in this case. Third, asking Defendants to search and produce
  24   documents from all components of CBP would be unduly burdensome and also
  25   disproportional as CBP employs more than 60,000 people and many of these
  26   employees are not relevant to the claims or defenses in this case. See “About CBP,”
  27   U.S. Customs and Border Protection (last modified April 18, 2019),
  28   https://www.cbp.gov/about.
                                                                                     APPENDIX B
                                                  8
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19       PageID.5794     Page
                                     133 of 300

   1            Defendants also object to Plaintiffs’ definition of “CBP” to the extent it
   2   includes all “private contractors hired by CBP” to the extent the work of those
   3   contractors is not relevant to this case and to the extent that Defendants do not have
   4   a legal right to obtain documents from them. As applicable, Defendants will construe
   5   Plaintiffs’ requests as limited to documents over which Defendants exercise
   6   possession or custody or have a legal right to obtain, and from contractors whose
   7   work relates to the Office of Field Operations and San Ysidro, Otay Mesa, Hidalgo,
   8   and Laredo ports of entry.
   9            Defendants do not interpret the definition of “CBP” to include all
  10   subcomponents of CBP or all employees of CBP. Defendants construe “CBP” to
  11   refer to the named Defendants in their official capacities, U.S. Customs and Border
  12   Protection and, where appropriate in the context, its headquarters and its Office of
  13   Field Operations, and the San Ysidro, Otay Mesa, Hidalgo, and Laredo ports of
  14   entry.
  15            Defendants’ responses to each applicable Request, and their corresponding
  16   production and privilege log, will be limited consistent with this objection. This
  17   objection also serves as a limiting principle on the parameters of Defendants’ search
  18   for responsive documents, the contours of which are being contemporaneously
  19   negotiated with Plaintiffs.
  20            3.    Defendants object to the definition of “DHS” as overbroad, vague,
  21   unduly burdensome, and disproportional to the needs of the case. Specifically,
  22   Plaintiffs’ definition includes “headquarters and offices” and “any divisions,
  23   subdivisions, components or sections” of DHS. The definition also includes “any
  24   other DHS organizational structures.” First, Plaintiffs’ definition is overly broad and
  25   disproportional to the needs of the case in that it would include DHS components
  26   that are not relevant to the claims and defenses in this case. Second, Plaintiffs’
  27   definition is also overly broad and disproportional to the needs of the case because
  28   this case challenges the alleged actions of CBP’s Office of Field Operations at the
                                                                                     APPENDIX B
                                                 9
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19       PageID.5795       Page
                                      134 of 300

   1   San Ysidro, Otay Mesa, Hidalgo, and Laredo ports of entry. Third, asking
   2   Defendants to search for and produce documents from all components of DHS would
   3   be unduly burdensome as DHS employs more than 240,000 people and many of
   4   these employees are not relevant to the claims or defenses in this case. See “About
   5   DHS,”      U.S.    Dep’t      of   Homeland       Security     (Sept.    27,      2017),
   6   https://www.dhs.gov/about-dhs. Accordingly, Defendants do not interpret the
   7   definition of “DHS” to include all component agencies of DHS or all employees of
   8   DHS and its component agencies. Defendants construe “DHS” to refer to DHS
   9   components, offices, and personnel at issue in this case, including, as applicable, the
  10   DHS Office of Inspector General (“OIG”).
  11         Defendants’ responses to each applicable Request, and their corresponding
  12   production and privilege log, will be limited consistent with this objection. This
  13   objection also serves as a limiting principle on the parameters of Defendants’ search
  14   for responsive documents, the contours of which are being contemporaneously
  15   negotiated with Plaintiffs.
  16         4.     Defendants object to the definition of “COMMUNICATION” on the
  17   grounds that it is vague, overly broad, and unduly burdensome because it is defined
  18   so broadly as to include oral and/or non-written communications, which are beyond
  19   the scope of Rule 34. See Fed. R. Civ. P. 34 (allowing requests to inspect or produce
  20   documents, electronically stored information, or tangible items). For the purposes of
  21   responding to these Requests, Defendants construe COMMUNICATION to refer to
  22   oral or non-written communications only to the degree that they have been
  23   memorialized in tangible and reasonably accessible form, and such construction is
  24   reflected in all of Defendants’ responses and in any corresponding production or
  25   privilege log.
  26         5.     Defendants object to the definition of “DOCUMENT(S)” on the
  27   grounds that it is overly broad, unduly burdensome, and disproportional to the needs
  28   of this case because it is defined so broadly as to include oral and/or non-written
                                                                                       APPENDIX B
                                                 10
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5796      Page
                                     135 of 300

   1   communications, which are beyond the scope of Rule 34. See Fed. R. Civ. P. 34
   2   (allowing requests to inspect or produce documents, electronically stored
   3   information, or tangible items). For purposes of this response, Defendants construe
   4   DOCUMENT(S) to include only oral or non-written communications that have been
   5   memorialized in tangible form, , and such construction is reflected in all of
   6   Defendants’ responses and any corresponding production or privilege log.
   7         Defendants also object to the definition of “DOCUMENT(S)” to the extent it
   8   seeks documents “to which you otherwise have access.” In the Ninth Circuit, the
   9   standard for possession, custody, or control is the legal right to obtain documents.
  10   See 7-UP Bottling Co. v. Archer Daniels Midland Co. (In re Citric Acid Litig.), 191
  11   F.3d 1090, 1107 (9th Cir. 1999). Defendants are only under the obligation to produce
  12   relevant, non-privileged information, to the extent that it exists, if individuals,
  13   operating in their official governmental capacity, have responsive, non-privileged
  14   information that is under the possession, custody or control of the named Defendants
  15   or that the named Defendants have the legal right to obtain on demand. Id. Therefore,
  16   the definition is overly broad and an incorrect statement of the standard. For
  17   purposes of these Responses, Defendants construe DOCUMENT(S) to include those
  18   documents within their possession, custody, and control, and such construction is
  19   reflected in all of Defendants’ responses and any corresponding production or
  20   privilege log.
  21         6.     Defendants object to the definition of “ALL DOCUMENTS” on the
  22   grounds that it is overly broad, unduly burdensome, and disproportional to the needs
  23   of this case because it is defined so broadly as to include documents in the possession,
  24   custody or control of “affiliates, partners, agents, consultants, [] advisors, attorneys,
  25   investigators and representatives.” In the Ninth Circuit, the standard for possession,
  26   custody, or control is the legal right to obtain documents. See 7-UP Bottling Co. v.
  27   Archer Daniels Midland Co. (In re Citric Acid Litig.), 191 F.3d 1090, 1107 (9th Cir.
  28   1999). Defendants are only under the obligation to produce relevant, non-privileged
                                                                                      APPENDIX B
                                                  11
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19         PageID.5797    Page
                                     136 of 300

   1   information, to the extent that it exists, if individuals, operating in their official
   2   governmental capacity, have responsive, non-privileged information that is under
   3   the possession, custody or control of the named Defendants or that the named
   4   Defendants have the legal right to obtain on demand. Id. Defendants do not have the
   5   right to obtain documents from all “affiliates, partners, agents, consultants, []
   6   advisors, attorneys, investigators and representatives.”
   7         Defendants also object to the definition of “ALL DOCUMENTS” on the
   8   grounds that it is overly broad and unduly burdensome because it is defined so
   9   broadly as to include documents not in Defendants’ possession, custody or control
  10   but “to which [Defendant] otherwise ha[s] access.” In the Ninth Circuit, the standard
  11   for possession, custody, or control is the legal right to obtain documents. See 7-UP
  12   Bottling Co. v. Archer Daniels Midland Co. (In re Citric Acid Litig.), 191 F.3d 1090,
  13   1107 (9th Cir. 1999). Defendants are only under the obligation to produce relevant,
  14   non-privileged information, to the extent that it exists, if individuals, operating in
  15   their official governmental capacity, have responsive, non-privileged information
  16   that is under the possession, custody or control of the named Defendants or that the
  17   named Defendants have the legal right to obtain on demand. Id. Defendants do not
  18   have the legal right to obtain all documents to which it otherwise has “access.”
  19         For purposes of these responses, Defendants will construe the requests as
  20   seeking only documents over which Defendants exercise possession or custody, or
  21   have the legal right to obtain, and such construction is reflected in all of Defendants’
  22   responses and any corresponding production or privilege log.
  23         7.     Defendants      object   to   the   definition   of   “IDENTIFY”       and
  24   “IDENTIFIED” used with the respect to a document to the extent it creates an
  25   obligation that does not exist under Federal Rules of Civil Procedure 26 or 34, by
  26   requesting that Defendants reveal information that is privileged or otherwise
  27   protected from disclosure.
  28         8.     Defendants object to the definition of “RELATING TO” insofar as it
                                                                                     APPENDIX B
                                                  12
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5798      Page
                                     137 of 300

   1   purports to define “relate,” “reflect,” “respect,” “regard,” or “refer” to include “or in
   2   any manner logically, factually, indirectly or directly, or in any other way connecting
   3   to the matter addressed in the request,” as the use of any such terms are not
   4   proportional to the needs of the case, are overly broad, oppressive, and the burden
   5   of a request using any such term would outweigh its benefit. To ask Defendants to
   6   search for and produce documents with only the most tangential connection to
   7   responsive topics would be unduly burdensome because it would encompass
   8   discovery that is not relevant to the claims and defenses in this case.
   9         Defendants thus place a limiting construction on “relating to” such that they
  10   interpret the term to not seek only documents that are independently and directly
  11   responsive and relevant to the claims and defenses in this case, and such construction
  12   is reflected in all of Defendants’ responses and any corresponding production or
  13   privilege log. While it is difficult to identify in advance every type of document that
  14   Defendants may withhold on the basis of this objection, Defendants provide the
  15   following examples of the types of documents that they maintain are improperly
  16   encompassed by Plaintiffs’ overbroad definition.
  17         First, documents that “relate[s]” in some “indirect” manner to a responsive
  18   topic are not necessarily independently responsive. Accordingly, for example,
  19   Defendants reserve the right to withhold nonresponsive attachments that are members
  20   of an email family that also contains responsive attachments. Second, documents and
  21   forms that relate to a specific, individual alien’s asylum application may “reflect” in
  22   some indirect manner agency procedures responsive to RFP 1, without actually
  23   discussing those agency procedures would not provide meaningful information about
  24   the application of those agency procedures. Defendants reserve the right to withhold
  25   such documents even after the entry of a confidentiality protective order, particularly
  26   in light of the sensitive nature of such documents.
  27         9.     Defendants object to the definition of “including” and “including but
  28   not limited to,” as the use of those terms is overly broad, vague and confusing.
                                                                                      APPENDIX B
                                                  13
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5799     Page
                                    138 of 300

   1   Defendants’ concern with this definition is that it purports to require Defendants to
   2   produce categories of documents that are not expressly listed in the Requests, and
   3   which Defendants are not aware that Plaintiffs consider responsive. While
   4   Defendants are not currently aware of any documents they are withholding on the
   5   basis of this objection, Defendants nonetheless assert this objection to preserve it.
   6         10.    Defendants object to the definitions of “and” and “or” insofar as they
   7   purport to define the terms as to be inclusive of each other “where dual construction
   8   will serve to bring within the scope of these requests any DOCUMENT which would
   9   otherwise not be brought within its scope,” as overly broad, not proportional to the
  10   needs of the case, and burdensome. Defendants additionally object to the definitions
  11   of “any” and “all” insofar as they purport to define the terms to be inclusive of each
  12   other as overly broad, vague, and confusing.
  13         First, the definitions of “and” “or” “any” and “all” may bring into the scope
  14   of discovery information that may not be relevant to the claims or defenses in this
  15   case. Further, searching for documents that have the broader reading of these varying
  16   words would be unduly burdensome.
  17         Defendants thus place a limiting construction on these terms such that they do
  18   not seek documents other than those that are independently responsive and relevant to
  19   the claims and defenses in this case, and such construction is reflected in all of
  20   Defendants’ responses and any corresponding production or privilege log.
  21                         OBJECTIONS TO INSTRUCTIONS:
  22         1.     Defendants object to Instruction No. 1 relating to production or
  23   production format to the extent that it conflicts with provisions in the agreed-upon
  24   terms of the Stipulated ESI Protocol.
  25         2.     Defendants object to Instruction No. 2 to the extent that the requirements
  26   listed exceed the requirements of Federal Rule of Civil Procedure 26(b)(5)(A) and/or
  27   the agreed-upon terms of the Stipulated ESI Protocol.
  28         3.     Defendants object to Instruction Nos. 2 and 3 to the extent that they
                                                                                     APPENDIX B
                                                 14
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5800    Page
                                    139 of 300

   1   conflict in any way with the Ninth Circuit’s standard for possession, custody, or
   2   control which defines control as “the legal right to obtain upon demand.” In re Citric
   3   Acid Litig., 191 F.3d 1090, 1107 (9th Cir. 1999).
   4         Defendants object to Instruction No. 3 as unduly burdensome insofar as it
   5   purports to require a document-by-document recounting, including, as completely as
   6   possible each author, preparer, and recipient of the Document; a complete description
   7   of the type, title, and subject matter of the Document; and the date on which and
   8   manner in which the Document was created, lost, discarded, destroyed, or otherwise
   9   disposed of, for every responsive Document, without regard to the date on which it
  10   was created, the date on which it was lost, discarded, destroyed, or otherwise
  11   disposed of, or whether litigation involving the substance of the Document was
  12   reasonably foreseeable at that time it was lost, discarded, destroyed or otherwise
  13   disposed of. Defendants construe such instruction as seeking such information only
  14   with regards to documents “lost, discarded, destroyed, or otherwise disposed of”
  15   only after July 12, 2017, the date that this lawsuit was filed.
  16   Request for Production No. 26
  17   All documents that you referenced in, or relied upon when drafting, your answers
  18   and objections to Plaintiffs’ interrogatories.
  19         Objections: Defendants object to Request for Production No. 26 as premature
  20   to the extent it seeks information about answers to interrogatories that have not yet
  21   been served or answered. Defendants further object to the Request to the extent it
  22   seeks information protected from disclosure by any legal privileges or protections,
  23   including, but not limited to, the attorney-client privilege, the attorney work-product
  24   doctrine, the deliberative process privilege, and the law enforcement privilege and/or
  25   as law enforcement sensitive. Defendants incorporate any objections to Plaintiffs’
  26   interrogatories into these objections to Request for Production No. 26.
  27         Defendants also object to RFP 26 in accordance with Objections Which Apply
  28   to All RFPs Nos. 1 and 7-10; Objections to Definitions Nos. 1, 5-6, and 10; and,
                                                                                     APPENDIX B
                                                  15
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5801     Page
                                    140 of 300

   1   Objections to Instructions Nos. 1, 2, and 4.
   2         Response: Subject to, and without waiving, their objections Defendants
   3   respond as follows: Defendants will produce responsive, non-privileged documents
   4   relied upon to answer Plaintiffs’ First Set of Interrogatories, which Defendants
   5   answered on April 29, 2019, if any such documents exist and have not already been
   6   produced. Documents created on or after July 12, 2017, the date of Plaintiffs’
   7   original complaint (ECF No. 1), representing either communications with counsel
   8   or communications or documents relating to the actual conduct of litigation post-
   9   complaint—and thus clearly protected by either the attorney-client privilege or the
  10   work-product doctrine—will be treated as non-responsive and therefore will not
  11   appear on any privilege log. Defendants will supplement these objections and
  12   responses if and as appropriate under Federal Rule of Civil Procedure 26(e).
  13   Request for Production No. 27
  14   All documents that you referenced in, or relied upon when drafting, your answer to
  15   Plaintiffs’ second amended complaint.
  16         Objections: Defendants object to Request for Production No. 27 as premature
  17   because it seeks information about an answer that has not yet been drafted.
  18   Defendants further object to the Request to the extent it seeks information protected
  19   from disclosure by any legal privileges or protections, including, but not limited to,
  20   the attorney-client privilege, the attorney work-product doctrine, the deliberative
  21   process privilege, and the law enforcement privilege and/or as law enforcement
  22   sensitive.
  23         Defendants also object to RFP 27 in accordance with Objections Which Apply
  24   to All RFPs Nos. 1 and 7-10; Objections to Definitions Nos. 1, 5-6, and 10; and
  25   Objections to Instructions Nos. 1, 2, and 4.
  26         Response: In accordance with Defendants’ objections, Defendants respond as
  27   follows: Defendants have not answered the Second Amended Complaint as of the
  28   date of these responses. Accordingly, Defendants cannot presently identify
                                                                                    APPENDIX B
                                                16
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5802     Page
                                    141 of 300

   1   documents that are responsive to Request for Production No. 27. Defendants will
   2   supplement these objections and responses if and as appropriate under Federal Rule
   3   of Civil Procedure 26(e).
   4   Request for Production No. 28
   5   All documents that you have received pursuant to any subpoena, letter of request,
   6   letter rogatory, mutual legal assistance treaty, or information request related to the
   7   claims and defenses in this litigation.
   8         Objections: Defendants object to Request for Production No. 28 because it
   9   seeks information protected from disclosure by executive privilege, including
  10   information that would implicate the foreign affairs of the United States. Defendants
  11   also object to the extent Request No. 28 seeks information protected from disclosure
  12   by any legal privileges or protections, including, but not limited to, the attorney-
  13   client privilege, the attorney work-product doctrine, the deliberative process
  14   privilege, and the law enforcement privilege and/or as law enforcement sensitive.
  15   Defendants preserve any and all objections to Request No. 28.
  16         Defendants also object to RFP 28 in accordance with Objections Which Apply
  17   to All RFPs Nos. 1 and 7-10; Objections to Definitions Nos. 1, 5-6, 8, and 10;
  18   Objections to Instructions Nos. 1, 2, and 4.
  19         Response: In accordance with their objections, Defendants respond as
  20   follows: Defendants have not issued any subpoena under Federal Rule of Civil
  21   Procedure 45 as of the date of these responses. Accordingly, to the extent Request
  22   No. 28 requests documents received pursuant to a Rule 45 subpoena, no responsive
  23   documents exist. Defendants will supplement these objections and responses if and
  24   as appropriate under Federal Rule of Civil Procedure 26(e).
  25         To the extent Request No. 28 requests documents received pursuant to any
  26   non-Rule 45 subpoena, letter of request, letter rogatory, mutual legal assistance
  27   treaty, or information request related to the claims and defenses in this litigation,
  28   such a request seeks privileged information. Accordingly, Defendants neither
                                                                                    APPENDIX B
                                                 17
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5803    Page
                                    142 of 300

   1   confirm nor deny whether any such documents exist, nor will they search for or
   2   produce any such documents, to the extent they exist.
   3   Request for Production No. 29
   4   All documents that you have relied upon when drafting your responses and
   5   objections to plaintiffs’ requests for admission or referenced in your responses and
   6   objections to plaintiffs’ requests for admission.
   7         Objections: Defendants object to Request for Production No. 29 as premature
   8   because it seeks information about responses to requests for admission that have not
   9   yet been served, and to the extent it calls for documents protected from disclosure
  10   by any legal privileges or protections, including, but not limited to, the attorney-
  11   client privilege, the attorney work-product doctrine, the deliberative process
  12   privilege, and the law enforcement privilege and/or as law enforcement sensitive.
  13         Defendants also object to RFP 29 in accordance with Objections Which Apply
  14   to All RFPs Nos. 1 and 7-10; Objections to Definitions Nos. 1, 5-6, and 10; and
  15   Objections to Instructions Nos. 1, 2, and 4.
  16         Response: In accordance with their objections, Defendants respond as
  17   follows: Defendants have not been served with requests for admission as of the date
  18   of these responses. Accordingly, Defendants cannot presently identify any
  19   documents that are responsive to Request for Production No. 29. Defendants will
  20   supplement these objections and responses if and as appropriate under Federal Rule
  21   of Civil Procedure 26(e).
  22   Request for Production No. 30
  23   All documents that you have referenced in, or relied upon when drafting, your
  24   Federal Rule of Civil Procedure 26(a) initial disclosures.
  25         Objections: Defendants object to Request for Production No. 30 to the extent
  26   it calls for documents protected by any legal privileges, including, but not limited
  27   to, the attorney-client privilege, the attorney work-product doctrine, the deliberative
  28   process privilege, and the law enforcement privilege and/or as law enforcement
                                                                                     APPENDIX B
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19           PageID.5804   Page
                                    143 of 300

   1   sensitive. Defendants also object to RFP 30 in accordance with Objections Which
   2   Apply to All RFPs Nos. 1 and 7-10; Objections to Definitions Nos. 1, 5-6, and 10;
   3   and, Objections to Instructions Nos. 1, 2, and 4.
   4         Response: Subject to, and without waiving, their objections, Defendants will
   5   produce or log non-privileged responsive documents responsive to Request for
   6   Production No. 30. Documents created on or after July 12, 2017, the date of
   7   Plaintiffs’ original complaint (ECF No. 1), representing either communications with
   8   counsel or communications or documents relating to the actual conduct of litigation
   9   post-complaint—and thus clearly protected by either the attorney-client privilege or
  10   the work-product doctrine—will be treated as non-responsive and therefore will not
  11   appear on any privilege log.
  12   Request for Production No. 31
  13   Any document referenced in, or relied upon, when drafting any declaration or
  14   affidavit that you have submitted to the Court in this litigation.
  15         Objections: Defendants object to Request for Production No. 31 as to the
  16   extent it calls for documents protected by any legal privileges, including, but not
  17   limited to, the attorney-client privilege, the attorney work-product doctrine, the
  18   deliberative process privilege, and the law enforcement privilege and/or as law
  19   enforcement sensitive. Defendants also object to RFP 31 in accordance with
  20   Objections Which Apply to All RFPs Nos. 1, 7-10; Objections to Definitions Nos.
  21   1, 5-6, and 10; Objections to Instructions Nos. 1, 2, and 4.
  22         Response: Subject to, and without waiving, their objections, Defendants will
  23   produce or log non-privileged responsive documents, if any, responsive to Request
  24   for Production No. 31. Documents created on or after July 12, 2017, the date of
  25   Plaintiffs’ original complaint (ECF No. 1), representing either communications with
  26   counsel or communications or documents relating to the actual conduct of litigation
  27   post-complaint—and thus clearly protected by either the attorney-client privilege or
  28   the work-product doctrine—will be treated as nonresponsive and therefore will not
                                                                                     APPENDIX B
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Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19      PageID.5805     Page
                                      144 of 300

   1   appear on any privilege log.
   2   Request for Production No. 32
   3   All documents that you intend to use for purposes of impeachment at any deposition,
   4   evidentiary hearing, or at trial in this litigation.
   5          Objections: Defendants object to Request for Production No. 32 as
   6   premature, speculative, and outside the proper scope of discovery. This request does
   7   not purport to seek documents based on their relevance to claims and defenses to
   8   this case, but instead improperly seeks pure impeachment material with no other
   9   connection to the case, which is not required to be disclosed under Federal Rule of
  10   Civil Procedure 26(a)(3). Defendants also object to this Request as calling for the
  11   disclosure of work product, and to the extent it calls for documents protected from
  12   disclosure by any legal privileges or protections, including, but not limited to, the
  13   attorney-client privilege, the attorney work-product doctrine, the deliberative
  14   process privilege, and the law enforcement privilege and/or as law enforcement
  15   sensitive. Defendants further object to this Request as improper to the extent it seeks
  16   to limit the future use of impeachment material; Defendants cannot know or predict
  17   what the precise testimony of any deponent or trial witness will be.
  18          Defendants also object to RFP 32 in accordance with Objections Which Apply
  19   to All RFPs Nos. 1 and 7-10 and Objections to Definitions Nos. 1, 5-6, and 10.
  20          Response: In accordance with their objections, Defendants respond as
  21   follows: Defendants will not produce documents in response to this Request.
  22   Request for Production No. 33
  23   All documents cited in or relied upon in any expert reports disclosed by you in this
  24   litigation.
  25          Objections: Defendants object to Request for Production No. 33 as premature
  26   and to the extent it calls for documents protected by any legal privileges or
  27   protections from disclosure, including, but not limited to, the attorney-client
  28   privilege, the attorney work-product doctrine, the deliberative process privilege, and
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5806     Page
                                    145 of 300

   1   the law enforcement privilege and/or as law enforcement sensitive. Defendants also
   2   object to RFP 33 in accordance with Objections Which Apply to All RFPs Nos. 1,
   3   7-10 and Objections to Definitions Nos. 1, 5-6, and 10; Objections to Instructions
   4   Nos. 1, 2, and 4.
   5         Response: In accordance with their objections, Defendants respond as
   6   follows: Defendants have not disclosed any expert reports as of the date of these
   7   responses. Accordingly, no documents responsive to Request for Production No. 33
   8   presently exist. Defendants will supplement their responses if and as appropriate
   9   under Federal Rule of Civil Procedure 26(e).
  10   Request for Production No. 34
  11   Documents sufficient to show policies adopted by you, DHS, or CBP for the
  12   retention of documents and/or electronically stored information.
  13         Objections: Defendants object to Request for Production No. 34 as vague and
  14   ambiguous, as it does not define the term “sufficient.” Defendants object to Request
  15   for Production No. 34 to the extent it calls for documents protected by any legal
  16   privileges or protections from disclosure, including, but not limited to, the attorney-
  17   client privilege, the attorney work-product doctrine, the deliberative process
  18   privilege, and the law enforcement privilege and/or as law enforcement sensitive.
  19   Defendants also object to RFP 34 in accordance with Objections Which Apply to
  20   All RFPs Nos. 1, 7-10; Objections to Definitions Nos. 1-3, 5-6, and 10; Objections
  21   to Instructions Nos. 1, 2, and 4.
  22         Response: In accordance with their objections, Defendants will produce or
  23   log documents responsive to Request for Production No. 34. Documents created on
  24   or after July 12, 2017, the date of Plaintiffs’ original complaint (ECF No. 1),
  25   representing either communications with counsel or communications or documents
  26   relating to the actual conduct of litigation post-complaint—and thus clearly
  27   protected by either the attorney-client privilege or the work-product doctrine—will
  28   be treated as non-responsive and therefore will not appear on any privilege log.
                                                                                     APPENDIX B
                                                 21
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5807     Page
                                     146 of 300

   1   Request for Production No. 35
   2   All non-privileged documents and communications containing reactions by you or
   3   officials at DHS or CBP to this lawsuit.
   4            Objection: Defendants object to Request for Production No. 35 as seeking
   5   information that is outside the scope of Rule 34, not relevant to any party’s claim or
   6   defense, not proportional to the needs of the case, overly broad and unduly
   7   burdensome, and vague and ambiguous. First, Defendants object to Request for
   8   Production No. 35 to the extent it seeks oral or non-written communications. See
   9   Pls.’ Second RFPs, Definition E (defining “communication(s)” to include “the
  10   exchange of information by or through any mode or medium including, but not
  11   limited to, spoken word, written correspondence, any form of technology, face-to-
  12   face meetings or conveying of information through third person(s) to some other
  13   intended recipient”). Federal Rule of Civil Procedure 34 allows a party to serve
  14   requests to inspect or produce “documents,” “electronically stored information,” or
  15   “designated tangible things.” Fed. R. Civ. P. 34(a)(1). It does not allow a party to
  16   obtain     non-tangible   things.   Defendants    accordingly    construe    the    term
  17   “communication(s)” to include only those items permitted by Rule 34 as stated in
  18   Objections to Definitions No. 4.
  19            Second, the named Defendants, DHS’s, and CBP’s “reactions . . . to this
  20   lawsuit” are not relevant to any party’s claims or defenses because they do not bear
  21   on the issues in this case: whether the named Plaintiffs were, at the time of their
  22   alleged injury, arriving aliens applying for admission to the United States; whether
  23   Defendants have implemented a formal policy or taken final agency action to
  24   “restrict access to the asylum process at ports of entry along the U.S.-Mexico
  25   border”; and whether such a policy or final agency action, if it exists, and in the form
  26   it exists, is unlawful. A “reaction” to this lawsuit would not have “any tendency” to
  27   make any of the issues in this case “more or less probable than [they] would be
  28   without” the “reaction,” nor is the fact of a “reaction” “of consequence in
                                                                                     APPENDIX B
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5808     Page
                                    147 of 300

   1   determining” the issues. Fed. R. Evid. 401.
   2           Third, a request to produce the “reactions” of the named Defendants, DHS,
   3   and CBP “to this lawsuit” is not proportional to the needs of the case and is overly
   4   broad and unduly burdensome. Based on Plaintiffs’ definitions, a complete response
   5   would require Defendants to collect and search the documents of each of the named
   6   Defendants; each of the named Defendants’ “agents, representatives, employees,
   7   attorneys and investigators”; all of U.S. Customs and Border Protection, including
   8   “its headquarters and offices, including any divisions, subdivisions, components or
   9   sections therein; CBP offices at ports of entry, including any divisions, subdivisions
  10   or sections therein; or any other CBP organizational structures, including but not
  11   limited to U.S. Border Patrol, U.S. Office of Field Operations or private contractors
  12   hired by CBP”; and all of the U.S. Department of Homeland Security, including “its
  13   headquarters and offices, including any divisions, subdivisions, components or
  14   sections therein, or any other DHS organizational structures.” See Pls.’ Second
  15   RFPs, Definitions A—C. Such a search, especially given the vagueness of the term
  16   “reaction,” would be unduly burdensome and disproportionate to the needs of the
  17   case.
  18           Although Plaintiffs limit the definitions of “your,” “CBP,” and “DHS” based
  19   on what is “appropriate in the context” of each request, there is nothing in Request
  20   for Production No. 35 that indicates what the “appropriate context” of a search for
  21   “reactions” to this lawsuit might be. See id. DHS employs more than 240,000 people,
  22   and CBP employs more than 60,000 people. See “About DHS,” U.S. Dep’t of
  23   Homeland Security (Sept. 27, 2017), https://www.dhs.gov/about-dhs; “About CBP,”
  24   U.S. Customs and Border Protection (last modified April 18, 2019),
  25   https://www.cbp.gov/about. Collecting and searching through the documents of all
  26   of these individuals, as Plaintiffs request, is plainly not proportional to the needs of
  27   this case and is overly broad and unduly burdensome, especially considering that
  28   any “reactions” are of no consequence to the issues. See Fed. R. Evid. 401; cf. Alfaro
                                                                                     APPENDIX B
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5809     Page
                                    148 of 300

   1   v. City of San Diego, No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal. Sept.
   2   21, 2018) (Crawford, M.J.) (noting that an interrogatory that obligates a party to
   3   “canvas every employee who might have had a conversation with [the plaintiff]”
   4   would be “onerous and over burdensome”).
   5         Finally, the term “reactions” is vague and ambiguous because it does not
   6   specify the information Plaintiffs seek and is susceptible to multiple definitions and
   7   understandings. See, e.g., “Reaction,” Oxford English Dictionary (3d Ed. Dec.
   8   2008). Thus, even if Request No. 35 were appropriately limited in scope, Defendants
   9   would not know what documents and communications to search for.
  10         Defendants also object to RFP 35 in accordance with Objections Which Apply
  11   to All RFPs Nos. 1-6 and 10; Objections to Definitions Nos. 1-6, and 10.
  12         Response: In light of the foregoing objections, Defendants will not search for,
  13   produce, or log documents responsive to Request for Production No. 35.
  14   Request for Production No. 36
  15   All documents and communications containing reactions by you or employees,
  16   representatives, or officials of DHS or CBP to tweets or comments by the President
  17   of the United States and/or the White House concerning (a) noncitizens seeking
  18   asylum in the United States, (b) migrant “caravans,” (c) the United States’ capacity
  19   to detain and/or process noncitizens seeking to enter the United States via the U.S.-
  20   Mexico border, (d) noncitizens seeking to enter the United States via the U.S.-
  21   Mexico border, and/or (e) “illegal immigration,” including, but not limited, to the
  22   following tweets and/or statements:
  23         • June 16, 2015: “When Mexico sends its people, they’re not sending their
  24            best. They’re not sending you. They’re not sending you. They’re sending
  25            people that have lots of problems, and they’re bringing those problems
  26            with [them]. They’re bringing drugs. They’re bringing crime. They’re
  27            rapists. And some, I assume, are good people.”
  28         • October 8, 2017: “END ASYLUM ABUSE: Tighten standards (including
                                                                                    APPENDIX B
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Case 3:17-cv-02366-BAS-KSC    Document 263 Filed 05/24/19           PageID.5810   Page
                                  149 of 300

   1           `credible fear’ standard), impose penalties for fraud, and ensure applicants
   2           are not released while their claims are verified.”
   3        • October 8, 2018: “Chronic asylum fraud and loopholes allow illegal
   4           immigrants to gain quick and easy entry.”
   5        • June 18, 2018: “We don’t want what is happening with immigration in
   6           Europe to happen with us!”
   7        • June 19, 2018: “Current law sets an easily-met credible fear standard,
   8           which allows aliens who make meritless asylum claims to remain in the
   9           United States for years while they litigate their cases.”
  10        • June 24, 2018: “When somebody comes in, we must immediately, with no
  11           Judges or Court Cases, bring them back from where they came.”
  12        • June 30, 2018: “When people come into our Country illegally, we must
  13           IMMEDIATELY escort them back out without going through years of
  14           legal maneuvering.”
  15        • July 5, 2018: “When people, with or without children, enter our Country,
  16           they must be told to leave without our Country being forced to endure a
  17           long and costly trial. Tell the people, ‘OUT,’ and they must leave, just as
  18           they would if they were standing on your front lawn.”
  19        • October 21, 2018: “The Caravans are a disgrace to the Democrat Party.
  20           Change the immigration laws NOW!”
  21        • October 21, 2018: “Full efforts are being made to stop the onslaught of
  22           illegal aliens from crossing our [s]outhern [b]order. People have to apply
  23           for asylum in Mexico first, and if they fail to do that, the U.S. will turn
  24           them away. The courts are asking the U.S. to do things that are not doable!”
  25        • November 1, 2018: “Flaws in our asylum system allow illegal aliens with
  26           meritless claims to cross our borders and remain here for years.”
  27        • November 1, 2018: “The standards that apply to the credible fear process
  28           is a major driver of our Nation’s immigration crisis.”
                                                                                   APPENDIX B
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5811     Page
                                    150 of 300

   1         • November 16, 2018: “Isn’t it ironic that large [c]aravans of people are
   2            marching to our border wanting U.S.A. asylum because they are fearful or
   3            being in their country — yet they are proudly waiving . . . their country’s
   4            flag. Can this be possible? Yes, because it is all a BIG CON, and the
   5            American taxpayer is paying for it!”
   6         • November 18, 2018: “Catch and [r]elease is an obsolete term. It is not
   7            [c]atch and [d]etain. Illegal [i]mmigrants trying to come into the U.S.A.,
   8            often proudly flying the flag of their nation as they ask for U.S. [a]sylum,
   9            will be detained or turned away. Dems must approve [b]order [s]ecurity &
  10            [w]all NOW!”
  11         • December 28, 2018: “We will be forced to close the [s]outhern [b]order
  12            entirely if the [o]bstrunctionist Democrats do not give us the money to
  13            finish the [w]all & also change the ridiculous immigration laws that our
  14            [c]ountry is saddled with. Hard to believe there was a Congress &
  15            President who would approve!”
  16         • January 30, 2019: “Asylum loopholes are exhausting resources and
  17            diverting our law enforcement personnel from their mission—forcing
  18            agencies tasked with preventing illegal border crossing to ‘act more like a
  19            makeshift Red Cross.’
  20         Objections: Defendants object to Request for Production No. 36 as seeking
  21   information that is outside the scope of Rule 34, not relevant to any party’s claim or
  22   defense, not proportional to the needs of the case, overly broad and unduly
  23   burdensome, and vague and ambiguous. First, Defendants object to Request for
  24   Production No. 36 to the extent it seeks oral or non-written communications. See
  25   Pls.’ Second RFPs, Definition E (defining “communication(s)” to include “the
  26   exchange of information by or through any mode or medium including, but not
  27   limited to, spoken word, written correspondence, any form of technology, face-to-
  28   face meetings or conveying of information through third person(s) to some other
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Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5812     Page
                                     151 of 300

   1   intended recipient”). Federal Rule of Civil Procedure 34 allows a party to serve
   2   requests to inspect or produce “documents,” “electronically stored information,” or
   3   “designated tangible things.” Fed. R. Civ. P. 34(a)(1). It does not allow a party to
   4   obtain     non-tangible   things.   Defendants    accordingly    construe    the    term
   5   “communication(s)” to include only those items permitted by Rule 34 as stated in
   6   Objections to Definitions No. 4.
   7            Second, the named Defendants, DHS’s, and CBP’s “reactions” to “tweets or
   8   comments by the President of the United States and/or the White House” concerning
   9   the delineated topics are not relevant to any party’s claims or defenses because they
  10   do not bear on the issues in this case: whether the named Plaintiffs were, at the time
  11   of their alleged injury, arriving aliens applying for admission to the United States;
  12   whether Defendants have implemented a formal policy or taken final agency action
  13   to “restrict access to the asylum process at ports of entry along the U.S.-Mexico
  14   border”; and whether such a policy or final agency action, if it exists, and in the form
  15   it exists, is unlawful. A “reaction” to the President’s or White House’s tweets or
  16   statements does not have “any tendency” to make any of the issues in this case “more
  17   or less probable than [they] would be without” the “reaction,” nor is the fact that a
  18   DHS or CBP employee may have “react[ed]” to such tweets or statements “of
  19   consequence in determining” the issues. Fed. R. Evid. 401.
  20            Third, a request to produce the “reactions” of the named Defendants, DHS,
  21   and CBP to “tweets or comments by the President of the United States and/or the
  22   White House” concerning the delineated topics is not proportional to the needs of
  23   the case and is overly broad and unduly burdensome. Based on Plaintiffs’
  24   definitions, a complete response would require Defendants to collect and search the
  25   documents of each of the named Defendants; each of the named Defendants’
  26   “agents, representatives, employees, attorneys and investigators”; all of U.S.
  27   Customs and Border Protection, including “its headquarters and offices, including
  28   any divisions, subdivisions, components or sections therein; CBP offices at ports of
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5813     Page
                                    152 of 300

   1   entry, including any divisions, subdivisions or sections therein; or any other CBP
   2   organizational structures, including but not limited to U.S. Border Patrol, U.S. Office
   3   of Field Operations or private contractors hired by CBP”; and all of the U.S.
   4   Department of Homeland Security, including “its headquarters and offices,
   5   including any divisions, subdivisions, components or sections therein, or any other
   6   DHS organizational structures.” See Pls.’ Second RFPs, Definitions A—C.
   7   Although Plaintiffs limit the definitions of “your,” “CBP,” and “DHS” based on
   8   what is “appropriate in the context” of each request, there is nothing in Request for
   9   Production No. 35 that indicates what the “appropriate context” of a search for
  10   “reactions” to “tweets or comments by the President of the United States and/or the
  11   White House” might be. See id. DHS employs more than 240,000 people, and CBP
  12   employs more than 60,000 people. See “About DHS,” U.S. Dep’t of Homeland
  13   Security (Sept. 27, 2017), https://www.dhs.gov/about-dhs; “About CBP,” U.S.
  14   Customs     and    Border     Protection    (last   modified     April     18,     2019),
  15   https://www.cbp.gov/about. Collecting and searching through the documents of all
  16   of these individuals, as Plaintiffs request, is plainly not proportional to the needs of
  17   this case and is overly broad and unduly burdensome, especially considering that
  18   any “reactions” are of no consequence to the issues. See Fed. R. Evid. 401; cf. Alfaro
  19   v. City of San Diego, No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal. Sept.
  20   21, 2018) (Crawford, M.J.) (noting that an interrogatory that obligates a party to
  21   “canvas every employee who might have had a conversation with [the plaintiff.’”
  22   would be “onerous and over burdensome”).
  23         Finally, the term “reactions” is vague and ambiguous because it does not
  24   specify the information Plaintiffs seek and is susceptible to multiple definitions and
  25   understandings. Thus, even if Request No. 36 were appropriately limited in scope,
  26   Defendants would not know what documents and communications to search for.
  27   Request No. 36 also improperly seeks information outside the time frame of this
  28   lawsuit.
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                                                  28
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19       PageID.5814     Page
                                      153 of 300

   1            Defendants also object to RFP 36 in accordance with Objections Which Apply
   2   to All RFPs Nos. 1-4, 6-10 and Objections to Definitions Nos. 1-6, and 9-10.
   3            Response: In light of the foregoing objections, Defendants will not search for,
   4   produce, or log documents responsive to Request for Production No. 36.
   5   Request for Production No. 37
   6   All documents and communications containing your reactions to, comments on, or
   7   criticism of any news media accounts or reports of non-governmental organizations
   8   related to any formal or informal policy, practice, or effort to meter or limit the
   9   number of noncitizens who can apply for asylum at a port of entry on the U.S.-
  10   Mexico border, including but not limited to reports published by Amnesty
  11   International, Human Rights Watch, the Washington Post, the New York Times, the
  12   U.S. Commission on International Religious Freedom, Human Rights First,
  13   Refugees International, and/or the Washington Office on Latin America.
  14            Objections: Defendants object to Request for Production No. 37 as seeking
  15   information that is outside the scope of Rule 34, not relevant to any party’s claim or
  16   defense, not proportional to the needs of the case, overly broad and unduly
  17   burdensome, and vague and ambiguous. First, Defendants object to Request for
  18   Production No. 37 to the extent it seeks oral or non-written communications. See
  19   Pls.’ Second RFPs, Definition E (defining “communication(s)” to include “the
  20   exchange of information by or through any mode or medium including, but not
  21   limited to, spoken word, written correspondence, any form of technology, face-to-
  22   face meetings or conveying of information through third person(s) to some other
  23   intended recipient”). Federal Rule of Civil Procedure 34 allows a party to serve
  24   requests to inspect or produce “documents,” “electronically stored information,” or
  25   “designated tangible things.” Fed. R. Civ. P. 34(a)(1). It does not allow a party to
  26   obtain     non-tangible    things.   Defendants    accordingly    construe   the    term
  27   “communication(s)” to include only those items permitted by Rule 34 as stated in
  28   Objections to Definitions No. 4.
                                                                                      APPENDIX B
                                                   29
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5815      Page
                                     154 of 300

   1         Second, the named Defendants, DHS’s, and CBP’s “reactions to, comments
   2   on, or criticism of any news media accounts or reports of non-governmental
   3   organizations” related to the delineated topics are not relevant to any party’s claims
   4   or defenses because they do not bear on the issues in this case: whether the named
   5   Plaintiffs were, at the time of their alleged injury, arriving aliens applying for
   6   admission to the United States; whether Defendants have implemented a formal
   7   policy or taken final agency action to “restrict access to the asylum process at ports
   8   of entry along the U.S.-Mexico border”; and whether such a policy or final agency
   9   action, if it exists, and in the form it exists, is unlawful. A “reaction[] to, comment[]
  10   on, or criticism of a news media account or non-governmental organization report
  11   does not have “any tendency” to make any of the issues in this case “more or less
  12   probable than [they] would be without” the reaction, comment or criticism, nor is
  13   the fact that a DHS or CBP employee may have reacted to, commented on, or
  14   criticized such reports “of consequence in determining” the issues. Fed. R. Evid. 401
  15   Third, a request to produce the named Defendants’, DHS’s, and CBP’s reactions to,
  16   comments on, or criticisms of “any news media accounts or reports of non-
  17   governmental organizations . . . including but not limited to reports published by
  18   Amnesty International, Human Rights Watch, the Washington Post, the New York
  19   Times, the U.S. Commission on International Religious Freedom, Human Rights
  20   First, Refugees International, and/or the Washington Office on Latin America,” is
  21   not proportional to the needs of the case and is overly broad and unduly burdensome.
  22   Based on Plaintiffs’ definitions, a complete response would require Defendants to
  23   collect and search the documents of each of the named Defendants; each of the
  24   named     Defendants’     “agents,   representatives,    employees,     attorneys    and
  25   investigators”; all of U.S. Customs and Border Protection, including “its
  26   headquarters and offices, including any divisions, subdivisions, components or
  27   sections therein; CBP offices at ports of entry, including any divisions, subdivisions
  28   or sections therein; or any other CBP organizational structures, including but not
                                                                                      APPENDIX B
                                                  30
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5816     Page
                                    155 of 300

   1   limited to U.S. Border Patrol, U.S. Office of Field Operations or private contractors
   2   hired by CBP”; and all of the U.S. Department of Homeland Security, including “its
   3   headquarters and offices, including any divisions, subdivisions, components or
   4   sections therein, or any other DHS organizational structures.” See Pls.’ Second
   5   RFPs, Definitions A-C.
   6          Although Plaintiffs limit the definitions of “your,” “CBP,” and “DHS” based
   7   on what is “appropriate in the context” of each request, there is nothing in Request
   8   for Production No. 35 that indicates what the “appropriate context” of a search for
   9   “reactions” to this lawsuit might be. See id. DHS employs more than 240,000 people,
  10   and CBP employs more than 60,000 people. See “About DHS,” U.S. Dep’t of
  11   Homeland Security (Sept. 27, 2017), https://www.dhs.gov/about-dhs; “About CBP,”
  12   U.S. Customs and Border Protection (Last modified April 18, 2019),
  13   https://www.cbp.gov/about. Collecting and searching through the documents of all
  14   of these individuals, as Plaintiffs request, is plainly not proportional to the needs of
  15   this case and is overly broad and unduly burdensome, especially considering that
  16   any reactions, comments, or criticisms are of no consequence to the issues. See Fed.
  17   R. Evid. 401; cf. Alfaro v. City of San Diego, No. 17-cv-46, 2018 WL 4562240, at
  18   *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford, M.J.) (noting that an interrogatory that
  19   obligates a party to “canvas every employee who might have had a conversation with
  20   [the plaintiff]” would be “onerous and over burdensome”).
  21          Finally, Request No. 37 is also vague and ambiguous. Plaintiffs do not define
  22   the following terms and phrases: “reactions,” “news media account,” “reports of
  23   non-governmental organizations,” and “formal or informal policy, practice, or
  24   effort.”
  25          Defendants also object to RFP 37 in accordance with Objections Which Apply
  26   to All RFPs Nos. 1-3, and 6-10 and Objections to Definitions Nos. 1, 4-6, and 8-10.
  27          Response: In light of the foregoing objections, Defendants will not search for,
  28   produce, or log documents responsive to Request for Production No. 37.
                                                                                     APPENDIX B
                                                 31
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19       PageID.5817    Page
                                     156 of 300

   1   Request for Production No. 38
   2   All documents that you have produced to any committee or subcommittee of the
   3   U.S. Congress related to any formal or informal policy, practice, or effort to meter
   4   or limit the number of noncitizens who can apply for asylum at a port of entry on the
   5   U.S.-Mexico border.
   6           Objections: Defendants object to Request for Production No. 38 to the extent
   7   it seeks documents that can be obtained “from some other source that is more
   8   convenient, less burdensome, [and] less expensive” for the parties. Fed. R. Civ. P.
   9   26(b)(2)(C)(i). Publicly available information responsive to Request No. 38 can be
  10   found      at:   https://www.cbp.gov/about/congressional-resources/114th-congress-
  11   toolkit.
  12           Defendants further object to Request No. 38 to the extent it seeks information
  13   protected from disclosure by any executive privilege, as it specifically requests
  14   communications between Defendants and members of Congress, and to the extent it
  15   seeks information protected by any other legal privileges or protections, including,
  16   but not limited to, the attorney-client privilege, the attorney work-product doctrine,
  17   the deliberative process privilege, and the law enforcement privilege and/or as law
  18   enforcement sensitive.
  19           Defendants also object to RFP 38 in accordance with Objections Which Apply
  20   to All RFPs Nos. 1, 3,and 6-10; Objections to Definitions Nos. 1, 5-6, 8, and 10;
  21   and, Objections to Instructions Nos. 1, 2, and 4.
  22           Response: In accordance with their objections, CBP will search for and
  23   produce non-privileged documents responsive to Request for Production No. 38 that
  24   are not already publicly available. Further, Defendants will produce non-privileged
  25   documents responsive to this request, if any, that may be located as a result of their
  26   search of a limited number of custodial and non-custodial sources (as described in
  27   Response to Request No. 40). Documents created on or after July 12, 2017, the date
  28   of Plaintiffs’ original complaint (ECF No. 1), representing either communications
                                                                                    APPENDIX B
                                                 32
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19     PageID.5818     Page
                                    157 of 300

   1   with counsel or communications or documents relating to the actual conduct of
   2   litigation post-complaint—and thus clearly protected by either the attorney-client
   3   privilege or the work-product doctrine—will be treated as non-responsive and
   4   therefore will not appear on any privilege log.
   5   Request for Production No. 39
   6   All transcripts of testimony and written statements provided to any committee or
   7   subcommittee of the U.S. Congress related to any formal or informal policy,
   8   practice, or effort to meter or limit the number of noncitizens that can apply for
   9   asylum at a port of entry on the U.S.-Mexico border.
  10         Objections: Defendants object to Request for Production No. 39 to the extent
  11   it seeks documents that can be obtained “from some other source that is more
  12   convenient, less burdensome, [and] less expensive” for the parties. Fed. R. Civ. P.
  13   26(b)(2)(C)(i). Transcripts of congressional hearings can be obtained at
  14   https://www.govinfo.gov/app/collection/CHRG. Written congressional testimony
  15   given by DHS officials can be obtained at https://www.dhs.gov/news-
  16   releases/testimony. Written congressional testimony given by CBP officials can be
  17   obtained at https://www.cbp.gov/about/congressional-resources/testimony, and
  18   https://www.cbp.gov/ about/congressional-resources/testimony-archive.
  19         Defendants also object to RFP 39 in accordance with Objections Which Apply
  20   to All RFPs Nos. 1, 3, and 10 and Objections to Definitions Nos. 5-6, 8, and 10;
  21   Objections to Instructions Nos. 1 and 4.
  22         Response: In light of Defendants’ objections, and because the documents
  23   sought by Request No. 39 can be found at the foregoing URLs, Defendants will not
  24   be conducting a separate search for responsive documents. Defendants will produce
  25   non-privileged documents responsive to this request, if any, that may be located as
  26   a result of their search of a limited number of custodial and non-custodial sources
  27   (as described in Response to Request No. 40).
  28

                                                                                 APPENDIX B
                                                  33
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5819    Page
                                    158 of 300

   1   Request for Production No. 40
   2   All final drafts of policies, memoranda, statements in the Federal Register, or
   3   executive orders related to any formal or informal policy, practice, or effort to meter
   4   or limit the number of noncitizens that can apply for asylum at a port of entry on the
   5   U.S.-Mexico border.
   6         Objections: Defendants object to Request for Production No. 40 to the extent
   7   it seeks documents that can be obtained “from some other source that is more
   8   convenient, less burdensome, [and] less expensive” for the parties. Fed. R. Civ. P.
   9   26(b)(2)(C)(i). Final drafts of DHS implementation memoranda can be found at:
  10   https://www.dhs.gov/ending-legal-loopholes-and-securing-our-border;                 and
  11   https://www.dhs.gov/executive-orders-protecting-homeland. Final drafts of CBP
  12   guidance documents can be found at https://www.cbp.gov, including at
  13   https://www.cbp.gov/ document/guidance. Final drafts of statements published in
  14   the   Federal    Register   can     be   found    in   the   Federal    Register,   at:
  15   https://www.federalregister.gov/. Final drafts of executive orders can be located in
  16   the    Federal     Register,      at:    https://www.federalregister.gov/presidential-
  17   documents/executive-orders. CBP-specific publications in the Federal Register can
  18   be located at: https://www.federalregister.gov/agencies/u-s-customs-and-border-
  19   protection.
  20         Defendants also object to RFP 40 in accordance with Objections Which Apply
  21   to All RFPs Nos. 1, 3, 6, and 10; Objections to Definitions Nos. 5-6, 8, and 10; and,
  22   Objections to Instructions Nos. 1 and 4.
  23         Response: In light of Defendants’ objections, Defendants will limit their
  24   search to a limited number of custodial and non-custodial sources. Defendants will
  25   continue to confer with Plaintiffs in identifying reasonable custodial and non-
  26   custodial sources and document identification protocols. However, in the event the
  27   parties cannot agree, Defendants will limit their search to the sources identified in
  28   Defendants’ portion of the Supplement to the Parties’ Joint 26(f) Report (ECF No.
                                                                                     APPENDIX B
                                                  34
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5820     Page
                                    159 of 300

   1   243), from which Defendants will produce all non-privileged documents responsive
   2   to this Request, dating from January 1, 2016, to the present that can be located after
   3   a reasonable search. Defendants will not search for any documents that can be found
   4   at the foregoing URLs. Documents created on or after July 12, 2017, the date of
   5   Plaintiffs’ original complaint (ECF No. 1), representing either communications with
   6   counsel or communications or documents relating to the actual conduct of litigation
   7   post-complaint—and thus clearly protected by either the attorney-client privilege or
   8   the work-product doctrine—will be treated as non-responsive and therefore will not
   9   appear on any privilege log.
  10   Request for Production No. 41
  11   All documents or communications related to your knowledge, assent, direction,
  12   acquiescence, authorization, or consent to any formal or informal policy, practice,
  13   or effort to meter or limit the number of noncitizens that can apply for asylum at a
  14   port of entry on the U.S.-Mexico border.
  15         Objections: Defendants object to Request for Production No. 41 to the extent
  16   it seeks information that is outside the scope of Rule 34, as not proportional to the
  17   needs of the case, as overly broad and unduly burdensome, and as seeking
  18   information protected from disclosure by the attorney-client privilege, the
  19   deliberative process privilege, and the law enforcement privilege and/or as law
  20   enforcement sensitive. First, Defendants object to Request No. 41 to the extent it
  21   seeks oral or non-written communications. See Pls.’ Second RFPs, Definition E
  22   (defining “communications” to include “the exchange of information by or through
  23   any mode or medium including, but not limited to, spoken word, written
  24   correspondence, any form of technology, face-to-face meetings or conveying of
  25   information through third person(s) to some other intended recipient”). Federal Rule
  26   of Civil Procedure 34 allows a party to serve requests to inspect or produce
  27   “documents,” “electronically stored information,” or “designated tangible things.”
  28   Fed. R. Civ. P. 34(a)(1). It does not allow a party to obtain non-tangible things.
                                                                                    APPENDIX B
                                                  35
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5821    Page
                                    160 of 300

   1   Defendants accordingly construe the term “communications” to include only those
   2   items permitted by Rule 34 as stated in Objections to Definitions No. 4.
   3          Second, a request to produce “all documents” relating to the named
   4   Defendants’ “knowledge, assent, direction, acquiescence, authorization, or consent
   5   to any formal or informal policy, practice, or effort to meter or limit the number of
   6   noncitizens that can apply for asylum at a port of entry on the U.S.-Mexico border”
   7   is not proportional to the needs of the case and is overly broad and unduly
   8   burdensome. Based on Plaintiffs’ definition, a complete response would require
   9   Defendants to collect and search the documents of each of the named Defendants
  10   and each of the named Defendants’ “agents, representatives, employees, attorneys
  11   and investigators.” See Pls.’ Second RFPs, Definition A. Acting Secretary
  12   McAleenan oversees more than 240,000 employees. See “About DHS,” U.S. Dep’t
  13   of   Homeland     Security   (Sept.   27,    2017),    https://www.dhs.gov/about-dhs.
  14   Commissioner McAleenan oversees more than 60,000 employees. “About CBP,”
  15   U.S. Customs and Border Protection (Last modified April 18, 2019),
  16   https://www.cbp.gov/about. Executive Assistant Commissioner Owen oversees
  17   more     than     29,000     employees.          https://www.cbp.gov/about/leadership-
  18   organization/executive-assistant-commissioners-offices/field-operations (Oct. 19,
  19   2016); Second Am. Compl. ¶ 38. Collecting and searching through the documents
  20   of all of these individuals, as Plaintiffs request, is plainly not proportional to the
  21   needs of this case and is overly broad and unduly burdensome Cf. Alfaro v. City of
  22   San Diego, No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal. Sept. 21, 2018)
  23   (Crawford, M.J.) (noting that an interrogatory that obligates a party to “canvas every
  24   employee who might have had a conversation with [the plaintiff.’” would be
  25   “onerous and over burdensome”).
  26          Third, Defendants object to Request for Production No. 41 to the extent it
  27   seeks information protected from disclosure by the attorney work-product doctrine.
  28   To the extent a request for “all documents” relating to the named Defendants’
                                                                                    APPENDIX B
                                                   36
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5822     Page
                                    161 of 300

   1   “knowledge, assent, direction, acquiescence, authorization, or consent to any formal
   2   or informal policy, practice, or effort to meter or limit the number of noncitizens that
   3   can apply for asylum at a port of entry on the U.S.-Mexico border” implicates, for
   4   example, “documents and tangible things prepared by a party or his representative
   5   in anticipation of litigation,” Admiral Ins. Co. v. U.S. Dist. Ct., 881 F.2d 1486, 1494
   6   (9th Cir. 1989) (citing Fed. R. Civ. P. 26(b)(3)); see Hickman v. Taylor, 329 U.S.
   7   495 (1947), including “documents or the compilation of materials prepared by agents
   8   of the attorney in preparation for litigation,” United States v. Richey, 632 F.3d 559,
   9   567 (9th Cir. 2011) (citing United States v. Nobles, 422 U.S. 225, 238 (1975)), such
  10   as, for example, notes and emails of Defendants’ attorneys and staff, and draft and
  11   final internal documents, such documents are protected from disclosure by the
  12   attorney work-product doctrine.
  13         Fourth, Defendants object to Request for Production No. 41 to the extent it
  14   seeks information protected by the attorney-client privilege. To the extent a request
  15   for “all documents” relating to the named Defendants’ “knowledge, assent,
  16   direction, acquiescence, authorization, or consent to any formal or informal policy,
  17   practice, or effort to meter or limit the number of noncitizens that can apply for
  18   asylum at a port of entry on the U.S.-Mexico border” implicates, for example,
  19   confidential communications between attorneys and clients which are made for the
  20   purpose of giving legal advice, Upjohn Co. v. United States, 449 U.S. 383, 389
  21   (1981), such documents are privileged and protected from disclosure.
  22         Fifth, Defendants object to Request No. 41 to the extent it seeks information
  23   protected from disclosure by the deliberative process privilege. To the extent a
  24   request for “all documents” relating to the named Defendants’ “knowledge, assent,
  25   direction, acquiescence, authorization, or consent to any formal or informal policy,
  26   practice, or effort to meter or limit the number of noncitizens that can apply for
  27   asylum at a port of entry on the U.S.-Mexico border” implicates, for example,
  28   documents that are predecisional and deliberative, thereby containing opinions,
                                                                                     APPENDIX B
                                                 37
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5823     Page
                                    162 of 300

   1   recommendations, or advice, NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 149
   2   (1975), including, but not limited to, “recommendations, draft documents, proposals,
   3   suggestions, and other subjective documents which reflect the personal opinions of
   4   the writer rather than the policy of the agency,” Ctr. for Medicare Advocacy, Inc. v.
   5   HHS, 577 F. Supp. 2d 221, 235 (D.D.C. 2008) (internal quotations and citation
   6   omitted), such documents are privileged and protected from disclosure.
   7         Sixth, Defendants object to Request No. 41 to the extent it seeks information
   8   protected from disclosure by the law enforcement privilege and/or as law
   9   enforcement sensitive. To the extent a request for “all documents” relating to the
  10   named Defendants’ “knowledge, assent, direction, acquiescence, authorization, or
  11   consent to any formal or informal policy, practice, or effort to meter or limit the
  12   number of noncitizens that can apply for asylum at a port of entry on the U.S.-
  13   Mexico border” implicates, for example, “law enforcement techniques and
  14   procedures,” the “confidentiality of sources,” the “protect[ion of] witnesses and law
  15   enforcement personnel,” “safeguard[ing] the privacy of individuals involved in an
  16   investigation,” and/or the “prevent[ion of] interference with an investigation,” such
  17   information is subject to the law enforcement privilege and protected from
  18   disclosure. Deocampo v. City of Vallejo, No. 06-cv-1283, 2007 WL 1589541, at *5
  19   (E.D. Cal. June 1, 2007).
  20         Finally, Defendants object to Request No. 41 as vague and confusing, and to
  21   the extent it reflects an incorrect statement of the law. Defendants will construe this
  22   request as requesting documents related to any alleged policy of queue management
  23   or “metering” as these terms are commonly used by Defendants in the course of
  24   business.
  25         Defendants also object to RFP 41 in accordance with Objections Which Apply
  26   to All RFPs Nos. 1, 3, and 6-10; Objections to Definitions Nos. 1, 4-6, 8, and 10;
  27   Objections to Instructions Nos. 1, 2, and 4.
  28         Response: In accordance with Defendants’ objections, and in light of Request
                                                                                     APPENDIX B
                                                 38
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5824     Page
                                    163 of 300

   1   No. 41 being disproportional to the needs of the case considering that the burden and
   2   expense of the requested discovery outweighs its likely benefit, Defendants will limit
   3   their search to a limited number of custodial and non-custodial sources. Defendants
   4   will continue to confer with Plaintiffs in identifying reasonable custodial and non-
   5   custodial sources and document identification protocols. However, in the event the
   6   parties cannot agree, Defendants will limit their search to the sources identified in
   7   Defendants’ portion of the Supplement to the Parties’ Joint 26(f) Report (ECF No.
   8   243), from which Defendants will produce all non-privileged documents responsive
   9   to this Request, dating from January 1, 2016, to the present that can be located after
  10   a reasonable search. Documents created on or after July 12, 2017, the date of
  11   Plaintiffs’ original complaint (ECF No. 1), representing either communications with
  12   counsel or communications or documents relating to the actual conduct of litigation
  13   post-complaint—and thus clearly protected by either the attorney-client privilege or
  14   the work-product doctrine—will be treated as nonresponsive and therefore will not
  15   appear on any privilege log.
  16   Request for Production No. 42
  17   All documents or communications related to your knowledge, assent, direction,
  18   acquiescence, authorization, or consent to the use of misrepresentations, threats,
  19   intimidation, coercion, verbal or physical abuse, denying access to the asylum
  20   process, and/or physically obstructing access to a port of entry (including checking
  21   the travel or identification documents of pedestrians approaching ports of entry
  22   before they cross the U.S.-Mexico border and screening out pedestrians assumed to
  23   be seeking asylum), with respect to noncitizens seeking asylum in the United States
  24   at any port of entry on the U.S.-Mexico border.
  25         Objections: Defendants object to Request No. 42, to the extent that it
  26   characterizes Defendants as knowing, assenting, directing, acquiescing, authorizing
  27   or consenting to misrepresentations, threats, intimidation, coercion, verbal or
  28   physical abuse, denying access to the asylum process, and/or physically obstructing
                                                                                    APPENDIX B
                                                39
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5825     Page
                                    164 of 300

   1   access to ports of entry to asylum seekers at ports of entry along the U.S.-Mexico
   2   border, as: not proportional to the needs of the case; overly broad and unduly
   3   burdensome; vague and ambiguous; and seeking information protected from
   4   disclosure by the deliberative process privilege and the law enforcement privilege
   5   and/or as law enforcement sensitive.
   6         Defendants object to Request for Production No. 42 to the extent it seeks oral
   7   or non-written communications. See Pls.’ Second RFPs, Definition E (defining
   8   “communications” to include “the exchange of information by or through any mode
   9   or medium including, but not limited to, spoken word, written correspondence, any
  10   form of technology, face-to-face meetings or conveying of information through third
  11   person(s) to some other intended recipient”). Federal Rule of Civil Procedure 34
  12   allows a party to serve requests to inspect or produce “documents,” “electronically
  13   stored information,” or “designated tangible things.” Fed. R. Civ. P. 34(a)(1). It does
  14   not allow a party to obtain non-tangible things. Defendants accordingly construe the
  15   term “communications” to include only those items permitted by Rule 34 as stated
  16   in Objections to Definitions No. 4.
  17         A request to produce all documents related to the named Defendants’
  18   “knowledge, assent, direction, acquiescence, authorization, or consent” to the
  19   delineated topics is not proportional to the needs of the case and is overly broad and
  20   unduly burdensome. Based on Plaintiffs’ definitions, a complete response would
  21   require Defendants to collect and search the documents of each of the named
  22   Defendants; each of the named Defendants’ “agents, representatives, employees,
  23   attorneys and investigators”; all of U.S. Customs and Border Protection, including
  24   “its headquarters and offices, including any divisions, subdivisions, components or
  25   sections therein; CBP offices at ports of entry, including any divisions, subdivisions
  26   or sections therein; or any other CBP organizational structures, including but not
  27   limited to U.S. Border Patrol, U.S. Office of Field Operations or private contractors
  28   hired by CBP”; and all of the U.S. Department of Homeland Security, including “its
                                                                                     APPENDIX B
                                                 40
Case 3:17-cv-02366-BAS-KSC         Document 263 Filed 05/24/19      PageID.5826     Page
                                       165 of 300

   1   headquarters and offices, including any divisions, subdivisions, components or
   2   sections therein, or any other DHS organizational structures.” See Pls.’ Second
   3   RFPs, Definitions A—C. DHS employs more than 240,000 people, and CBP
   4   employs more than 60,000 people. See “About DHS,” U.S. Dep’t of Homeland
   5   Security (Sept. 27, 2017), https://www.dhs.gov/about-dhs; “About CBP,” U.S.
   6   Customs        and   Border    Protection    (Last   modified    April     18,     2019),
   7   https://www.cbp.gov/about. Collecting and searching through the documents of all
   8   of these individuals, as Plaintiffs request, is plainly not proportional to the needs of
   9   this case and is overly broad and unduly burdensome. Cf. Alfaro v. City of San Diego,
  10   No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford,
  11   M.J.) (noting that an interrogatory that obligates a party to “canvas every employee
  12   who might have had a conversation with [the plaintiff]” would be “onerous and over
  13   burdensome”).
  14           Request No. 42 is vague and ambiguous. Plaintiffs do not define the following
  15   terms    and     phrases:   “knowledge,”    “assent,”   “direction,”    “acquiescence,”
  16   “authorization,”     “consent,”   “misrepresentations,”    “threats,”    “intimidation,”
  17   “coercion,” “verbal or physical abuse,” and “denying access to the asylum process.”
  18   Defendants also object to the terms “noncitizens” and “seeking asylum,” and
  19   construe those terms as outlined in Defendants’ Objections Which Apply to All
  20   RFPs Nos. 3 and 4.
  21           Defendants object to Request No. 42 as not proportional to the needs of the
  22   case and as overly broad and unduly burdensome to the extent it is not limited to the
  23   San Ysidro, Otay Mesa, Hidalgo, and Laredo ports of entry. The claims of the
  24   individual Plaintiffs in this action arise only out of the Laredo, Otay Mesa, San
  25   Ysidro, and Hidalgo ports of entry. As no class exists in this action, and as no
  26   Plaintiff alleges any injury at any port of entry besides San Ysidro, Otay Mesa,
  27   Hidalgo, and Laredo, Defendants therefore object to the extent that these requests
  28   seek information beyond the scope of the ports of entry at which individual plaintiffs
                                                                                        APPENDIX B
                                                   41
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5827     Page
                                    166 of 300

   1   have made specific allegations. Moreover, the burden of producing information
   2   regarding other ports of entry would be disproportional to the needs of the case. As
   3   explained during the parties’ meet and confer, Plaintiffs allege a border-wide
   4   practice, policy, and/or procedure; discovery from the four ports of entry where the
   5   named Plaintiffs allegedly encountered such practice, policy, and/or procedure (or a
   6   subset thereof), in addition to discovery from select higher-level custodial and non-
   7   custodial sources, satisfies the needs of the case. Any discovery from other ports of
   8   entry along the Mexico-U.S. border would be duplicative and unduly burdensome.
   9   Defendants therefore construe this request as seeking discovery limited to the
  10   Laredo, Otay Mesa, San Ysidro, and Hidalgo ports of entry, and select records from
  11   Office of Field Operations Headquarters.
  12         Defendants object to Request for Production No. 42 to the extent it seeks
  13   information protected from disclosure by the attorney work-product doctrine. To the
  14   extent a request for “all documents” relating to the delineated topics implicates, for
  15   example, “documents and tangible things prepared by a party or his representative
  16   in anticipation of litigation,” Admiral Ins. Co. v. U.S. Dist. Ct., 881 F.2d 1486, 1494
  17   (9th Cir. 1989) (citing Fed. R. Civ. P. 26(b)(3)); see Hickman v. Taylor, 329 U.S.
  18   495 (1947), including “documents or the compilation of materials prepared by agents
  19   of the attorney in preparation for litigation,” United States v. Richey, 632 F.3d 559,
  20   567 (9th Cir. 2011) (citing United States v. Nobles, 422 U.S. 225, 238 (1975)), such
  21   as, for example, notes and emails of Defendants’ attorneys and staff, and draft and
  22   final internal documents, such documents are protected from disclosure by the
  23   attorney work-product doctrine.
  24         Defendants object to Request for Production No. 42 to the extent it seeks
  25   information protected by the attorney-client privilege. To the extent a request for “all
  26   documents” relating to the delineated topics implicates, for example, confidential
  27   communications between attorneys and clients which are made for the purpose of
  28   giving legal advice, Upjohn Co. v. United States, 449 U.S. 383, 389 (1981), such
                                                                                     APPENDIX B
                                                 42
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5828     Page
                                    167 of 300

   1   documents are privileged and protected from disclosure.
   2         Defendants object to Request No. 42 to the extent it seeks information
   3   protected from disclosure by the deliberative process privilege. To the extent a
   4   request for “all documents” relating to the delineated topics implicates, for example,
   5   documents that are predecisional and deliberative, thereby containing opinions,
   6   recommendations, or advice, NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 149
   7   (1975), including, but not limited to, “recommendations, draft documents, proposals,
   8   suggestions, and other subjective documents which reflect the personal opinions of
   9   the writer rather than the policy of the agency,” Ctr. for Medicare Advocacy, Inc. v.
  10   HHS, 577 F. Supp. 2d 221, 235 (D.D.C. 2008) (internal quotations and citation
  11   omitted), such documents are privileged and protected from disclosure.
  12         Defendants object to Request No. 42 to the extent it seeks information
  13   protected from disclosure by the law enforcement privilege and/or as law
  14   enforcement sensitive. To the extent a request for “all documents” relating to the
  15   delineated topics implicates, for example, “law enforcement techniques and
  16   procedures,” the “confidentiality of sources,” the “protect[ion of] witnesses and law
  17   enforcement personnel,” “safeguard[ing] the privacy of individuals involved in an
  18   investigation,” and/or the “prevent[ion of] interference with an investigation,” such
  19   information is subject to the law enforcement privilege and protected from
  20   disclosure. Deocampo v. City of Vallejo, No. 06-cv-1283, 2007 WL 1589541, at *5
  21   (E.D. Cal. June 1, 2007).
  22         Defendants object to Request No. 42 to the extent it seeks information
  23   implicated by the Privacy Act.
  24         Defendants also object to RFP 42 in accordance with Objections Which Apply
  25   to All RFPs Nos. 1, 3-4, 6-10; Objections to Definitions Nos. 1, 4-6, 8, and 10; and,
  26   Objections to Instructions Nos. 1, 2, and 4.
  27         Response: In accordance with Defendants’ objections, and in light of Request
  28   No. 42 being disproportional to the needs of the case considering that the burden and
                                                                                    APPENDIX B
                                                43
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5829     Page
                                    168 of 300

   1   expense of the requested discovery outweighs its likely benefit, Defendants will limit
   2   their search to a limited number of custodial and non-custodial sources. Defendants
   3   will continue to confer with Plaintiffs in identifying reasonable custodial and non-
   4   custodial sources and document identification protocols. However, in the event the
   5   parties cannot agree, Defendants will limit their search to the sources identified in
   6   Defendants’ portion of the Supplement to the Joint 26(f) Report (ECF No. 243), from
   7   which Defendants will produce all non-privileged documents responsive to this
   8   Request, dating from January 1, 2016, to the present that can be located after a
   9   reasonable search. Documents created on or after July 12, 2017, the date of
  10   Plaintiffs’ original complaint (ECF No. 1), representing either communications with
  11   counsel or communications or documents relating to the actual conduct of litigation
  12   post-complaint—and thus clearly protected by either the attorney-client privilege or
  13   the work-product doctrine—will be treated as non-responsive and therefore will not
  14   appear on any privilege log.
  15   Request for Production No. 43
  16   All documents or communications related to CBP or DHS officials using
  17   misrepresentations, threats, intimidation, coercion, verbal or physical abuse, denying
  18   access to the asylum process, and/or physically obstructing access to a port of entry
  19   (including checking the travel or identification documents of pedestrians
  20   approaching ports of entry before they cross the U.S.-Mexico border and screening
  21   out pedestrians assumed to be seeking asylum), with respect to noncitizens seeking
  22   asylum in the United States at any port of entry on the U.S.-Mexico border.
  23         Objections: Defendants object to Request No. 43 to the extent that it
  24   characterizes Defendants using threats, intimidation, coercion, verbal or physical
  25   abuse, denying access to the asylum process, and/or physically obstructing access to
  26   ports of entry to asylum seekers at ports of entry along the U.S.-Mexico border, as
  27   seeking information that is outside the scope of Rule 34, as not proportional to the
  28   needs of the case, as overly broad and unduly burdensome, as vague and ambiguous,
                                                                                    APPENDIX B
                                                44
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5830     Page
                                    169 of 300

   1   and as seeking information protected from disclosure by the deliberative process
   2   privilege and the law enforcement privilege and/or as law enforcement sensitive.
   3         First, Defendants object to Request for Production No. 43 to the extent it seeks
   4   oral or non-written communications. See Pls.’ Second RFPs, Definition E (defining
   5   “communications” to include “the exchange of information by or through any mode
   6   or medium including, but not limited to, spoken word, written correspondence, any
   7   form of technology, face-to-face meetings or conveying of information through third
   8   person(s) to some other intended recipient”). Federal Rule of Civil Procedure 34
   9   allows a party to serve requests to inspect or produce “documents,” “electronically
  10   stored information,” or “designated tangible things.” Fed. R. Civ. P. 34(a)(1). It does
  11   not allow a party to obtain non-tangible things. Defendants accordingly construe the
  12   term “communications” to include only those items permitted by Rule 34 as stated
  13   in Objections to Definitions No. 4.
  14         Second, a request to produce all documents or communications related to the
  15   delineated topics is not proportional to the needs of the case and is overly broad and
  16   unduly burdensome. Based on Plaintiffs’ definitions, a complete response would
  17   require Defendants to collect and search the documents of each of the named
  18   Defendants; each of the named Defendants’ “agents, representatives, employees,
  19   attorneys and investigators”; all of U.S. Customs and Border Protection, including
  20   “its headquarters and offices, including any divisions, subdivisions, components or
  21   sections therein; CBP offices at ports of entry, including any divisions, subdivisions
  22   or sections therein; or any other CBP organizational structures, including but not
  23   limited to U.S. Border Patrol, U.S. Office of Field Operations or private contractors
  24   hired by CBP”; and all of the U.S. Department of Homeland Security, including “its
  25   headquarters and offices, including any divisions, subdivisions, components or
  26   sections therein, or any other DHS organizational structures.” See Pls.’ Second
  27   RFPs, Definitions A—C. DHS employs more than 240,000 people, and CBP
  28   employs more than 60,000 people. See “About DHS,” U.S. Dep’t of Homeland
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                                                 45
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5831     Page
                                    170 of 300

   1   Security (Sept. 27, 2017), https://www.dhs.gov/about-dhs; “About CBP,” U.S.
   2   Customs     and    Border     Protection    (Last    modified    April     18,     2019),
   3   https://www.cbp.gov/about. Collecting and searching through the documents of all
   4   of these individuals, as Plaintiffs request, is plainly not proportional to the needs of
   5   this case and is overly broad and unduly burdensome. Cf. Alfaro v. City of San Diego,
   6   No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford,
   7   M.J.) (noting that an interrogatory that obligates a party to “canvas every employee
   8   who might have had a conversation with [the plaintiff]” would be “onerous and over
   9   burdensome”).
  10         Third, Request No. 43 is also vague and ambiguous. Plaintiffs do not define
  11   the following terms and phrases: “misrepresentations,” “threats,” “intimidation,”
  12   “coercion,” “verbal or physical abuse,” and “denying access to the asylum process.”
  13   Defendants also object to the terms noncitizens and seeking asylum and construe
  14   those terms as explained in Defendants’ Objections Which Apply to All RFPs Nos.
  15   3 and 4.
  16         Fourth, Defendants object to Request No. 43 to the extent it seeks information
  17   protected from disclosure by the deliberative process privilege. To the extent any
  18   documents “related to CBP or DHS officials using misrepresentations, threats,
  19   intimidation, coercion, verbal or physical abuse, denying access to the asylum
  20   process, and/or physically obstructing access to a port of entry (including checking
  21   the travel or identification documents of pedestrians approaching ports of entry
  22   before they cross the U.S.-Mexico border and screening out pedestrians assumed to
  23   be seeking asylum), with respect to noncitizens seeking asylum in the United States
  24   at any port of entry on the U.S.-Mexico border” are predecisional and deliberative,
  25   thereby containing opinions, recommendations, or advice, NLRB v. Sears, Roebuck
  26   & Co., 421 U.S. 132, 149 (1975), including, but not limited to, “recommendations,
  27   draft documents, proposals, suggestions, and other subjective documents which
  28   reflect the personal opinions of the writer rather than the policy of the agency,” Ctr.
                                                                                        APPENDIX B
                                                  46
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5832     Page
                                    171 of 300

   1   for Medicare Advocacy, Inc. v. HHS, 577 F. Supp. 2d 221, 235 (D.D.C. 2008)
   2   (internal quotations and citation omitted), such documents are privileged and
   3   protected from disclosure.
   4         Fifth, Defendants object to Request No. 43 to the extent it seeks information
   5   protected from disclosure by the law enforcement privilege and/or as law
   6   enforcement sensitive. To the extent any documents “related to CBP or DHS
   7   officials using misrepresentations, threats, intimidation, coercion, verbal or physical
   8   abuse, denying access to the asylum process, and/or physically obstructing access to
   9   a port of entry (including checking the travel or identification documents of
  10   pedestrians approaching ports of entry before they cross the U.S.-Mexico border and
  11   screening out pedestrians assumed to be seeking asylum), with respect to noncitizens
  12   seeking asylum in the United States at any port of entry on the U.S.-Mexico border”
  13   implicate “law enforcement techniques and procedures,” the “confidentiality of
  14   sources,” the “protect[ion of] witnesses and law enforcement personnel,”
  15   “safeguard[ing] the privacy of individuals involved in an investigation,” and/or the
  16   “prevent[ion of] interference with an investigation,” such information is subject to
  17   the law enforcement privilege and protected from disclosure. Deocampo v. City of
  18   Vallejo, No. 06-cv-1283, 2007 WL 1589541, at *5 (E.D. Cal. June 1, 2007).
  19         Finally, Defendants object to Request No. 43 to the extent it seeks information
  20   protected by the Privacy Act.
  21         Defendants also object to RFP 43 in accordance with Objections Which Apply
  22   to All RFPs Nos. 1, 3-4, and 6-10; and Objections to Definitions Nos. 2-3, 4-6, 8,
  23   and 10; and, Objections to Instructions Nos. 1, 2, and 4.
  24         Response: In accordance with Defendants’ objections, and in light of Request
  25   No. 43 being disproportional to the needs of the case considering that the burden and
  26   expense of the requested discovery outweighs its likely benefit, Defendants will limit
  27   their search to a limited number of custodial and non-custodial sources. Defendants
  28   will continue to confer with Plaintiffs in identifying reasonable custodial and non-
                                                                                     APPENDIX B
                                                 47
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5833     Page
                                    172 of 300

   1   custodial sources and document identification protocols. However, in the event the
   2   parties cannot agree, Defendants will limit their search to the sources identified in
   3   Defendants’ portion of the Supplement to the Joint 26(f) Report (ECF No. 243), from
   4   which Defendants will produce all non-privileged documents responsive to this
   5   Request, dating from January 1, 2016, to the present that can be located after a
   6   reasonable search. Documents created on or after July 12, 2017, the date of
   7   Plaintiffs’ original complaint (ECF No. 1), representing either communications with
   8   counsel or communications or documents relating to the actual conduct of litigation
   9   post-complaint—and thus clearly protected by either the attorney-client privilege or
  10   the work-product doctrine—will be treated as nonresponsive and therefore will not
  11   appear on any privilege log.
  12   Request for Production No. 44
  13   To the extent not produced in response to another request, all documents and
  14   communications related to any formal or informal policy, practice, or effort to meter
  15   or limit the number of noncitizens who can apply for asylum at a port of entry on the
  16   U.S.-Mexico border.
  17         Objections: Defendants object to Request for Production No. 44 as seeking
  18   information that is outside the scope of Rule 34, as overly broad and unduly
  19   burdensome, as not proportional to the needs of the case, and as seeking information
  20   protected from disclosure by the attorney-client privilege, the attorney work-product
  21   doctrine, the deliberative process privilege, and the law enforcement privilege and/or
  22   as law enforcement sensitive. First, Defendants object to Request for Production No.
  23   44 to the extent it seeks oral or non-written communications. See Pls.’ Second RFPs,
  24   Definition E (defining “communications” to include “the exchange of information
  25   by or through any mode or medium including, but not limited to, spoken word,
  26   written correspondence, any form of technology, face-to-face meetings or conveying
  27   of information through third person(s) to some other intended recipient”). Federal
  28   Rule of Civil Procedure 34 allows a party to serve requests to inspect or produce
                                                                                    APPENDIX B
                                                48
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5834     Page
                                    173 of 300

   1   “documents,” “electronically stored information,” or “designated tangible things.”
   2   Fed. R. Civ. P. 34(a)(1). It does not allow a party to obtain non-tangible things.
   3   Defendants accordingly construe the term “communications” to include only those
   4   items permitted by Rule 34 as stated in Objections to Definitions No. 4.
   5         Second, a request to produce all documents or communications related to the
   6   delineated topics is not proportional to the needs of the case and is overly broad and
   7   unduly burdensome. Based on Plaintiffs’ definitions, a complete response would
   8   require Defendants to collect and search the documents of each of the named
   9   Defendants; each of the named Defendants’ “agents, representatives, employees,
  10   attorneys and investigators”; all of U.S. Customs and Border Protection, including
  11   “its headquarters and offices, including any divisions, subdivisions, components or
  12   sections therein; CBP offices at ports of entry, including any divisions, subdivisions
  13   or sections therein; or any other CBP organizational structures, including but not
  14   limited to U.S. Border Patrol, U.S. Office of Field Operations or private contractors
  15   hired by CBP”; and all of the U.S. Department of Homeland Security, including “its
  16   headquarters and offices, including any divisions, subdivisions, components or
  17   sections therein, or any other DHS organizational structures.” See Pls.’ Second
  18   RFPs, Definitions A—C. DHS employs more than 240,000 people, and CBP
  19   employs more than 60,000 people. See “About DHS,” U.S. Dep’t of Homeland
  20   Security (Sept. 27, 2017), https://www.dhs.gov/about-dhs; “About CBP,” U.S.
  21   Customs     and    Border     Protection    (Last    modified    April     18,     2019),
  22   https://www.cbp.gov/about. Collecting and searching through the documents of all
  23   of these individuals, as Plaintiffs request, is plainly not proportional to the needs of
  24   this case and is overly broad and unduly burdensome. Cf. Alfaro v. City of San Diego,
  25   No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford,
  26   M.J.) (noting that an interrogatory that obligates a party to “canvas every employee
  27   who might have had a conversation with [the plaintiff]” would be “onerous and over
  28   burdensome”).
                                                                                        APPENDIX B
                                                  49
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5835     Page
                                    174 of 300

   1         Third, Defendants object to Request for Production No. 44 to the extent it
   2   seeks information protected from disclosure by the attorney work-product doctrine.
   3   To the extent a request for “all documents” relating to “any formal or informal
   4   policy, practice, or effort to meter or limit the number of noncitizens who can apply
   5   for asylum at a port of entry on the U.S.-Mexico border” implicates, for example,
   6   “documents and tangible things prepared by a party or his representative in
   7   anticipation of litigation,” Admiral Ins. Co. v. U.S. Dist. Ct., 881 F.2d 1486, 1494
   8   (9th Cir. 1989) (citing Fed. R. Civ. P. 26(b)(3)); see Hickman v. Taylor, 329 U.S.
   9   495 (1947), including “documents or the compilation of materials prepared by agents
  10   of the attorney in preparation for litigation,” United States v. Richey, 632 F.3d 559,
  11   567 (9th Cir. 2011) (citing United States v. Nobles, 422 U.S. 225, 238 (1975)), such
  12   as, for example, notes and emails of Defendants’ attorneys and staff, and draft and
  13   final internal documents, such documents are protected from disclosure by the
  14   attorney work-product doctrine.
  15         Fourth, Defendants object to Request for Production No. 44 to the extent it
  16   seeks information protected by the attorney-client privilege. To the extent a request
  17   for “all documents” relating to “any formal or informal policy, practice, or effort to
  18   meter or limit the number of noncitizens who can apply for asylum at a port of entry
  19   on the U.S.-Mexico border” implicates, for example, confidential communications
  20   between attorneys and clients which are made for the purpose of giving legal advice,
  21   Upjohn Co. v. United States, 449 U.S. 383, 389 (1981), such documents are
  22   privileged and protected from disclosure.
  23         Fifth, Defendants object to Request No. 44 to the extent it seeks information
  24   protected from disclosure by the deliberative process privilege. To the extent a
  25   request for “all documents” relating to “any formal or informal policy, practice, or
  26   effort to meter or limit the number of noncitizens who can apply for asylum at a port
  27   of entry on the U.S.-Mexico border” implicates, for example, documents that are
  28   predecisional and deliberative, thereby containing opinions, recommendations, or
                                                                                    APPENDIX B
                                                50
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5836    Page
                                    175 of 300

   1   advice, NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 149 (1975), including, but not
   2   limited to, “recommendations, draft documents, proposals, suggestions, and other
   3   subjective documents which reflect the personal opinions of the writer rather than
   4   the policy of the agency,” Ctr. for Medicare Advocacy, Inc. v. HHS, 577 F. Supp. 2d
   5   221, 235 (D.D.C. 2008) (internal quotations and citation omitted), such documents
   6   are privileged and protected from disclosure.
   7         Finally, Defendants object to Request No. 44 to the extent it seeks information
   8   protected from disclosure by the law enforcement privilege and/or as law
   9   enforcement sensitive. To the extent a request for “all documents” relating to “any
  10   formal or informal policy, practice, or effort to meter or limit the number of
  11   noncitizens who can apply for asylum at a port of entry on the U.S.-Mexico border”
  12   implicates, for example, “law enforcement techniques and procedures,” the
  13   “confidentiality of sources,” the “protect[ion of] witnesses and law enforcement
  14   personnel,” “safeguard[ing] the privacy of individuals involved in an investigation,”
  15   and/or the “prevent[ion of] interference with an investigation,” such information is
  16   subject to the law enforcement privilege and protected from disclosure. Deocampo
  17   v. City of Vallejo, No. 06-cv-1283, 2007 WL 1589541, at *5 (E.D. Cal. June 1, 2007).
  18         Defendants also object to RFP 44 in accordance with Objections Which Apply
  19   to All RFPs Nos. 1, 3, and 6-10; Objections to Definitions Nos. 4-6, 8, and 10; and,
  20   Objections to Instructions Nos. 1, 2, and 4.
  21         Accordingly, Defendants understand and construe Request for Production No.
  22   44 as seeking non-privileged documents relating to metering at the San Ysidro, Otay
  23   Mesa, Hidalgo, and Laredo ports of entry.
  24         Response: In accordance with their objections, Defendants will limit their
  25   search to a limited number of custodial and non-custodial sources. Defendants will
  26   continue to confer with Plaintiffs in identifying reasonable custodial and non-
  27   custodial sources and document identification protocols, and will produce or log
  28   documents responsive to this understanding and construction of Request for
                                                                                   APPENDIX B
                                                51
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5837     Page
                                    176 of 300

   1   Production No. 44 after the parties agree on such sources and protocols. However,
   2   in the event the parties cannot agree, Defendants will limit their search to the sources
   3   identified in Defendants’ portion of the Supplement to the Parties’ Joint 26(f) Report
   4   (ECF No. 243), from which Defendants will produce or log documents responsive
   5   to this Request, dating from January 1, 2016, to the present, that can be located after
   6   a reasonable search. Documents created on or after July 12, 2017, the date of
   7   Plaintiffs’ original complaint (ECF No. 1), representing either communications with
   8   counsel or communications or documents relating to the actual conduct of litigation
   9   post-complaint—and thus clearly protected by either the attorney-client privilege or
  10   the work-product doctrine—will be treated as non-responsive and therefore will not
  11   appear on any privilege log.
  12   Request for Production No. 45
  13   To the extent that you claim that the actions of any CBP official or DHS official that
  14   are relevant to Plaintiffs’ claims were ultra vires, all documents that support your
  15   contention that those actions were ultra vires.
  16         Objections: Defendants object to Request for Production No. 45 as vague and
  17   confusing. Defendants understand and construe Request No. 45 as seeking
  18   documents governing Office of Field Operations employees’ inspection and
  19   processing of aliens without travel documents. Defendants also object to RFP 45 in
  20   accordance with Objections Which Apply to All RFPs Nos. 1 and 6-10; Objections
  21   to Definitions Nos. 1-3, 5-6, and 10; and, Objections to Instructions Nos. 1, 2, and
  22   4.
  23         Response: In accordance with their objections, Defendants will provide
  24   documents responsive to their understanding and construction of Request for
  25   Production No. 45. Defendants will limit their search to a limited number of
  26   custodial and non-custodial sources. Defendants will continue to confer with
  27   Plaintiffs in identifying reasonable custodial and non-custodial sources and
  28   document identification protocols, and will produce or log documents responsive to
                                                                                     APPENDIX B
                                                 52
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5838     Page
                                    177 of 300

   1   this understanding and construction of Request for Production No. 45 after the
   2   parties agree on such sources and protocols. However, in the event the parties cannot
   3   agree, Defendants will limit their search to the sources identified in Defendants’
   4   portion of the Supplement to the Parties’ Joint 26(f) Report (ECF No. 243), from
   5   which Defendants will produce or log documents responsive to this Request, dating
   6   from January 1, 2016, to the present, that can be located after a reasonable search.
   7   Documents created on or after July 12, 2017, the date of Plaintiffs’ original
   8   complaint (ECF No. 1), representing either communications with counsel or
   9   communications or documents relating to the actual conduct of litigation post-
  10   complaint—and thus clearly protected by either the attorney-client privilege or the
  11   work-product doctrine—will be treated as non-responsive and therefore will not
  12   appear on any privilege log.
  13   Request for Production No. 46
  14   Documents sufficient to show how you, CBP, and/or DHS define the term “capacity”
  15   when use with respect to (a) conducting credible fear interviews, (b) housing persons
  16   awaiting credible fear interviews, (c) processing asylum seekers, and/or (d)
  17   inspecting asylum seekers, including but not limited to documents showing how you,
  18   CBP, and/or DHS calculate such a capacity in terms of personnel, space, time, and
  19   funding.
  20         Objections: Defendants object to Request for Production No. 46 to the extent
  21   it seeks information that is protected from disclosure by the attorney work-product
  22   doctrine, the attorney-client privilege, the deliberative process privilege, and the law
  23   enforcement privilege and/or as law enforcement sensitive. First, consistent with
  24   Defendants’ General Objection No. 6, Defendants construe and understand this
  25   Request as seeking information relating to the capacity of the San Ysidro, Otay
  26   Mesa, Hidalgo, and Laredo ports of entry to safely inspect and process the traveling
  27   public. Defendants also understand and construe the term “capacity” as it is used in
  28   the regular course of business.
                                                                                     APPENDIX B
                                                 53
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5839    Page
                                    178 of 300

   1         Second, Defendants object to Request for Production No. 46 to the extent it
   2   seeks information protected from disclosure by the attorney work-product doctrine.
   3   To the extent a request for documents relating to the capacity of the San Ysidro,
   4   Otay Mesa, Hidalgo, and Laredo ports of entry implicates, for example, “documents
   5   and tangible things prepared by a party or his representative in anticipation of
   6   litigation,” Admiral Ins. Co. v. U.S. Dist. Ct., 881 F.2d 1486, 1494 (9th Cir. 1989)
   7   (citing Fed. R. Civ. P. 26(b)(3)); see Hickman v. Taylor, 329 U.S. 495 (1947),
   8   including “documents or the compilation of materials prepared by agents of the
   9   attorney in preparation for litigation,” United States v. Richey, 632 F.3d 559, 567
  10   (9th Cir. 2011) (citing United States v. Nobles, 422 U.S. 225, 238 (1975)), such as,
  11   for example, notes and emails of Defendants’ attorneys and staff, and draft and final
  12   internal documents, such documents are protected from disclosure by the attorney
  13   work-product doctrine.
  14         Third, Defendants object to Request for Production No. 46 to the extent it
  15   seeks information protected by the attorney-client privilege. To the extent a request
  16   for documents relating to the capacity of the San Ysidro, Otay Mesa, Hidalgo, and
  17   Laredo ports of entry implicates, for example, confidential communications between
  18   attorneys and clients which are made for the purpose of giving legal advice, Upjohn
  19   Co. v. United States, 449 U.S. 383, 389 (1981), such documents are privileged and
  20   protected from disclosure.
  21         Fourth, Defendants object to Request No. 46 to the extent it seeks information
  22   protected from disclosure by the deliberative process privilege. To the extent a
  23   request for documents relating to the capacity of the San Ysidro, Otay Mesa,
  24   Hidalgo, and Laredo ports of entry implicates, for example, documents that are
  25   predecisional and deliberative, thereby containing opinions, recommendations, or
  26   advice, NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 149 (1975), including, but not
  27   limited to, “recommendations, draft documents, proposals, suggestions, and other
  28   subjective documents which reflect the personal opinions of the writer rather than
                                                                                   APPENDIX B
                                                54
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19       PageID.5840    Page
                                     179 of 300

   1   the policy of the agency,” Ctr. for Medicare Advocacy, Inc. v. HHS, 577 F. Supp. 2d
   2   221, 235 (D.D.C. 2008) (internal quotations and citation omitted), such documents
   3   are privileged and protected from disclosure.
   4         Fifth, Defendants object to Request No. 46 to the extent it seeks information
   5   protected from disclosure by the law enforcement privilege and/or as law
   6   enforcement sensitive. To the extent a request for documents relating to the capacity
   7   of the San Ysidro, Otay Mesa, Hidalgo, and Laredo ports of entry implicates, for
   8   example, “law enforcement techniques and procedures,” the “confidentiality of
   9   sources,” the “protect[ion of] witnesses and law enforcement personnel,”
  10   “safeguard[ing] the privacy of individuals involved in an investigation,” and/or the
  11   “prevent[ion of] interference with an investigation,” such information is subject to
  12   the law enforcement privilege and protected from disclosure. Deocampo v. City of
  13   Vallejo, No. 06-cv-1283, 2007 WL 1589541, at *5 (E.D. Cal. June 1, 2007).
  14         Sixth, Defendants object to Request No. 46 as vague and confusing, and to
  15   the extent it reflects an incorrect statement of the law.
  16         Defendants also object to RFP 46 in accordance with Objections Which Apply
  17   to All RFPs Nos. 1, 4, 6-10; Objections to Definitions Nos. 1-3, 5, 9, and 10.
  18         Accordingly, Defendants understand and construe Request for Production No.
  19   46 as seeking non-privileged documents relating to the capacity of the San Ysidro,
  20   Otay Mesa, Laredo, and Hidalgo ports of entry to safely inspect and process the
  21   traveling public. Defendants will produce documents responsive to this
  22   understanding and construction of this Request.
  23         Response: Subject to and without waiving their objections, Defendants will
  24   limit their search to a limited number of custodial and non-custodial sources.
  25   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
  26   and non-custodial sources and document identification protocols, and will produce
  27   or log documents responsive to this understanding and construction of Request for
  28   Production No. 46 after the parties agree on such sources and protocols. However,
                                                                                    APPENDIX B
                                                  55
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5841     Page
                                    180 of 300

   1   in the event the parties cannot agree, Defendants will limit their search to the sources
   2   identified in Defendants’ portion of the Supplement to the Parties’ Joint 26(f) Report
   3   (ECF No. 243), from which Defendants will produce or log documents responsive
   4   to this Request, dating from January 1, 2016, to the present, that can be located after
   5   a reasonable search. Documents created on or after July 12, 2017, the date of
   6   Plaintiffs’ original complaint (ECF No. 1), representing either communications with
   7   counsel or communications or documents relating to the actual conduct of litigation
   8   post-complaint—and thus clearly protected by either the attorney-client privilege or
   9   the work-product doctrine—will be treated as non-responsive and therefore will not
  10   appear on any privilege log.
  11   Request for Production No. 47
  12   Documents sufficient to show any contracts, bids, or agreements that you have
  13   entered into with any third party, including any government contractor, related to
  14   establishing, expanding or decreasing the capacity of any port of entry on the U.S.-
  15   Mexico border with respect to (a) conducting credible fear interviews, (b) housing
  16   persons awaiting credible fear interviews, (c) processing asylum seekers, and/or (d)
  17   inspecting asylum seekers.
  18         Objections: Defendants object to Request for Production No. 47 as not
  19   proportional to the needs of the case, as overly broad and unduly burdensome, and
  20   as seeking documents protected from disclosure by the deliberative process privilege
  21   and the law enforcement privilege and/or as law enforcement sensitive. First, a
  22   request to produce “contracts, bids, or agreements” relating to “the capacity of any
  23   port of entry on the U.S.-Mexico border” is not proportional to the needs of the case
  24   and is overly broad and unduly burdensome, as it is not limited to the four ports of
  25   entry at issue. Consistent with Defendants’ General Objection No. 6, Defendants
  26   construe this Request as seeking documents relating to the capacity of the San
  27   Ysidro, Otay Mesa, Hidalgo, and Laredo ports of entry to safely inspect and process
  28   the traveling public.
                                                                                     APPENDIX B
                                                 56
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5842    Page
                                    181 of 300

   1         Second, Defendants object to Request No. 47 to the extent it seeks internal
   2   documents that are protected from disclosure by the deliberative process privilege.
   3   To the extent any documents relating to contracts, bids, or agreements regarding to
   4   the capacity of the San Ysidro, Otay Mesa, Hidalgo, and Laredo ports of entry are
   5   predecisional and deliberative, thereby containing opinions, recommendations, or
   6   advice, NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 149 (1975), including, but not
   7   limited to, “recommendations, draft documents, proposals, suggestions, and other
   8   subjective documents which reflect the personal opinions of the writer rather than
   9   the policy of the agency,” Ctr. for Medicare Advocacy, Inc. v. HHS, 577 F. Supp. 2d
  10   221, 235 (D.D.C. 2008) (internal quotations and citation omitted), such documents
  11   are privileged and protected from disclosure. See, e.g., L.H. v. Schwarzenegger, No.
  12   06-cv-2042, 2007 WL 1531420, at *4-5 (E.D. Cal. May 25, 2007) (report &
  13   recommendation) (“budget change proposals” protected by deliberative process
  14   privilege), affirmed in relevant part, 2007 WL 2009807, at *3-4 (E.D. Cal. July 6,
  15   2007).
  16         Third, Defendants object to Request No. 47 to the extent it seeks information
  17   protected from disclosure by the law enforcement privilege and/or as law
  18   enforcement sensitive. To the extent any documents relating to contracts, bids, or
  19   agreements regarding the capacity of the San Ysidro, Otay Mesa, Hidalgo, and
  20   Laredo ports of entry implicate “law enforcement techniques and procedures,” the
  21   “confidentiality of sources,” the “protect[ion of] witnesses and law enforcement
  22   personnel,” “safeguard[ing] the privacy of individuals involved in an investigation,”
  23   and/or the “prevent[ion of] interference with an investigation,” such information is
  24   subject to the law enforcement privilege and protected from disclosure. Deocampo
  25   v. City of Vallejo, No. 06-cv-1283, 2007 WL 1589541, at *5 (E.D. Cal. June 1, 2007).
  26         Fourth, Defendants object to Request No. 47 as vague and confusing, and to
  27   the extent it reflects an incorrect statement of the law. Defendants construe this
  28   Request as seeking documents relating to the capacity of the San Ysidro, Otay Mesa,
                                                                                   APPENDIX B
                                                57
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5843     Page
                                    182 of 300

   1   Hidalgo, and Laredo ports of entry to safely inspect and process the traveling public.
   2         Defendants also object to RFP 47 in accordance with Objections Which Apply
   3   to All RFPs Nos. 1, 4, 6, and 10; Objections to Definitions Nos. 1, 5, 8, and 9-10;
   4   and, Objections to Instructions Nos. 1, 2, and 4.
   5         Response: In accordance with their objections, Defendants will produce non-
   6   privileged documents relating to contracts, bids, or agreements regarding the San
   7   Ysidro, Otay Mesa, Hidalgo, and Laredo ports’ capacities to safely inspect and
   8   process the traveling public. Defendants will limit their search to a limited number
   9   of custodial and non-custodial sources. Defendants will continue to confer with
  10   Plaintiffs in identifying reasonable custodial and non-custodial sources and
  11   document identification protocols. However, in the event the parties cannot agree,
  12   Defendants will limit their search to the sources identified in Defendants’ portion of
  13   the Supplement to the Parties’ Joint 26(f) Report (ECF No. 243), from which
  14   Defendants will produce or log documents responsive to this Request, dating from
  15   January 1, 2016, to the present that can be located after a reasonable search.
  16   Documents created on or after July 12, 2017, the date of Plaintiffs’ original
  17   complaint (ECF No. 1), representing either communications with counsel or
  18   communications or documents relating to the actual conduct of litigation post-
  19   complaint—and thus clearly protected by either the attorney-client privilege or the
  20   work-product doctrine—will be treated as non-responsive and therefore will not
  21   appear on any privilege log.
  22   Request for Production No. 53
  23   All documents related to appropriations or funding requests made by you, CBP, or
  24   DHS regarding increasing the capacity of any port of entry on the U.S.-Mexico
  25   border with respect to (a) conducting credible fear interviews, (b) housing persons
  26   awaiting credible fear interviews, (c) processing asylum seekers, and/or (d)
  27   inspecting asylum seekers.
  28         Objections: Defendants object to Request for Production No. 53 as seeking
                                                                                    APPENDIX B
                                                58
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19         PageID.5844     Page
                                     183 of 300

   1   information not relevant to any party’s claims or defenses, not proportional to the
   2   needs of the case, overly broad and unduly burdensome, seeking documents
   3   protected from disclosure by the deliberative process privilege, and seeking
   4   documents that can be obtained from some other source that is more convenient, less
   5   burdensome, and less expensive for the parties. First, not “all documents” related to
   6   the delineated “appropriations or funding requests” bear on the issues in this case:
   7   whether the named Plaintiffs were, at the time of their alleged injury, arriving aliens
   8   applying for admission to the United States; whether Defendants have implemented
   9   a formal policy or taken final agency action to “restrict access to the asylum process
  10   at ports of entry along the U.S.-Mexico border”; and whether such a policy or final
  11   agency action, if it exists, and in the form it exists, is unlawful.
  12         Second, a request to produce “all documents related to appropriations or
  13   funding requests” is not proportional to the needs of the case and is overly broad and
  14   unduly burdensome. Based on Plaintiffs’ definitions, a complete response would
  15   require Defendants to collect and search the documents of each of the named
  16   Defendants; each of the named Defendants’ “agents, representatives, employees,
  17   attorneys and investigators”; all of U.S. Customs and Border Protection, including
  18   “its headquarters and offices, including any divisions, subdivisions, components or
  19   sections therein; CBP offices at ports of entry, including any divisions, subdivisions
  20   or sections therein; or any other CBP organizational structures, including but not
  21   limited to U.S. Border Patrol, U.S. Office of Field Operations or private contractors
  22   hired by CBP”; and all of the U.S. Department of Homeland Security, including “its
  23   headquarters and offices, including any divisions, subdivisions, components or
  24   sections therein, or any other DHS organizational structures.” See Pls.’ Second
  25   RFPs, Definitions A—C. DHS employs more than 240,000 people, and CBP
  26   employs more than 60,000 people. See “About DHS,” U.S. Dep’t of Homeland
  27   Security (Sept. 27, 2017), https://www.dhs.gov/about-dhs; “About CBP,” U.S.
  28   Customs     and     Border    Protection     (Last    modified     April    18,     2019),
                                                                                         APPENDIX B
                                                   59
Case 3:17-cv-02366-BAS-KSC         Document 263 Filed 05/24/19      PageID.5845     Page
                                       184 of 300

   1   https://www.cbp.gov/about. Collecting and searching through the documents of all
   2   of these individuals, as Plaintiffs request, is plainly not proportional to the needs of
   3   this case and is overly broad and unduly burdensome. See Fed. R. Evid. 401; cf.
   4   Alfaro v. City of San Diego, No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal.
   5   Sept. 21, 2018) (Crawford, M.J.) (noting that an interrogatory that obligates a party
   6   to “canvas every employee who might have had a conversation with [the plaintiff.’”
   7   would be “onerous and over burdensome”).
   8         Third, Defendants object to Request No. 53 to the extent it seeks internal
   9   budget proposals and related information protected from disclosure by the
  10   deliberative process privilege. The deliberative process privilege protects internal
  11   government deliberations in order to promote the “frank and candid discussion
  12   necessary for effective government.” NLRB v. Sears, Roebuck & Co., 421 U.S. 132,
  13   150-51 (1975). The privilege is designed “to allow agencies freely to explore
  14   possibilities, engage in internal debates, or play devil’s advocate without fear of
  15   public scrutiny.” Assembly of California v. United States Dep’t of Commerce, 968
  16   F.2d 916, 920 (9th Cir. 1992). Information is protected from disclosure by this
  17   privilege when it is (1) predecisional and (2) deliberative, thereby containing
  18   opinions, recommendations, or advice. Id. at 149. “Examples of documents that
  19   qualify as predecisional include recommendations, draft documents, proposals,
  20   suggestions, and other subjective documents which reflect the personal opinions of
  21   the writer rather than the policy of the agency.” Ctr. for Medicare Advocacy, Inc. v.
  22   HHS, 577 F. Supp. 2d 221, 235 (D.D.C. 2008) (internal quotations and citation
  23   omitted). Any documents reflecting the agency’s budget- or appropriations-related
  24   deliberations fall into this category of protected information. See, e.g., L.H. v.
  25   Schwarzenegger, No. 06-cv-2042, 2007 WL 1531420, at *4-5 (E.D. Cal. May 25,
  26   2007) (report & recommendation) (“budget change proposals” protected by
  27   deliberative process privilege), affirmed in relevant part, 2007 WL 2009807, at *34
  28   (E.D. Cal. July 6, 2007).
                                                                                     APPENDIX B
                                                 60
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5846     Page
                                     185 of 300

   1         Finally, Defendants object to Request No. 53 as vague and confusing, and to
   2   the extent it reflects an incorrect statement of the law.
   3         Defendants also object to RFP 53 in accordance with Objections Which Apply
   4   to All RFPs Nos. 1, 4, 5-6-10; Objections to Definitions Nos. 1-3, 5-6, 8, and 10;
   5   and, Objections to Instructions Nos. 1, 2, and 4.
   6         Accordingly, Defendants understand and construe Request for Production No.
   7   53 as seeking final appropriations- or funding-related documents created by DHS
   8   regarding the capacity of the San Ysidro, Otay Mesa, Hidalgo, or Laredo ports of
   9   entry to safely inspect and process the traveling public. Such documents can be
  10   obtained “from some other source that is more convenient, less burdensome, [and]
  11   less expensive” for the parties. Fed. R. Civ. P. 26(b)(2)(C)(i). The Department of
  12   Homeland Security’s final appropriations- or funding-related documents for fiscal
  13   years 2003 through 2020, including budgets-in-brief, can be located at:
  14   https://www.dhs.gov/dhs-budget.
  15         Response: In accordance with their objections, Defendants state that final
  16   appropriations- or funding-related documents created by DHS can be obtained “from
  17   some other source that is more convenient, less burdensome, [and] less expensive”
  18   for the parties. Fed. R. Civ. P. 26(b)(2)(C)(i). The Department of Homeland
  19   Security’s final appropriations- or funding-related documents for fiscal years 2003
  20   through     2020,     including      budgets-in-brief,      can   be     located     at:
  21   https://www.dhs.gov/dhs-budget. Because these documents are publicly available,
  22   Defendants will not conduct a separate search for documents in response to Request
  23   No. 53. However, Defendants will produce or log additional responsive documents
  24   if such responsive documents are collected as part of the parties’ agreed-upon search.
  25   Request for Production No. 54
  26   All of your public statements and speeches concerning the capacity of any port of
  27   entry, or the capacity of ports of entry or of the United States generally, with respect
  28   to (a) conducting credible fear interviews, (b) housing persons awaiting credible fear
                                                                                     APPENDIX B
                                                  61
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5847     Page
                                    186 of 300

   1   interviews, (c) processing asylum seekers, and/or (d) inspecting asylum seekers.
   2         Objections: Defendants object to Request for Production No. 54 as overly
   3   broad and unduly burdensome and as seeking information that can be obtained “from
   4   some other source that is more convenient, less burdensome, [and] less expensive”
   5   for the parties. Fed. R. Civ. P. 26(b)(2)(C)(i). DHS’s press releases can be obtained
   6   at: https://www.dhs.govinews-releases/press-releases. Public statements or speeches
   7   of DHS officials can be obtained at: https://www.dhs.gov/news-releases/speeches.
   8   CBP’s media releases can be obtained at: https://www.cbp.govinewsroom/media-
   9   releases/all. Public statements or speeches of CBP officials can be obtained at:
  10   https://www.cbp.gov/newsroom/speeches.
  11         Defendants object to Request No. 54 as vague and confusing, and to the extent
  12   it reflects an incorrect statement of the law. Defendants construe this Request as
  13   seeking documents relating to the capacity of the San Ysidro, Otay Mesa, Hidalgo,
  14   and Laredo ports of entry to safely inspect and process the traveling public.
  15         Defendants also object to RFP 54 in accordance with Objections Which Apply
  16   to All RFPs Nos. 1, 4, 6, and 10; Objections to Definitions Nos. 1, 5-6, and 10; and,
  17   Objections to Instructions Nos. 1 and 4.
  18         Response: Because the documents sought by Request No. 54 can be found at
  19   the foregoing URLs, Defendants will not be conducting a separate search for
  20   responsive documents. However, should Defendants locate any responsive
  21   documents during their search for documents related to the four ports of entry at
  22   issue, Defendants will produce or log such documents.
  23   Request for Production No. 55
  24   All communications between you and any White House staff member, including but
  25   not limited to members of the White House Domestic Policy Council, related to
  26   limiting, capping, or metering the number of noncitizens who are allowed to present
  27   themselves at a port of entry on the U.S.-Mexico border to seek asylum.
  28         Objections: Defendants object to Request for Production No. 55 as seeking
                                                                                   APPENDIX B
                                                  62
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5848    Page
                                    187 of 300

   1   information that is outside the scope of Rule 34, as not proportional to the needs of
   2   the case, as overly broad and unduly burdensome, and as seeking information
   3   protected from disclosure by the deliberative process privilege. First, Defendants
   4   object to Request for Production No. 55 to the extent it seeks oral or non-written
   5   communications. See Pls.’ Second RFPs, Definition E (defining “communications”
   6   to include “the exchange of information by or through any mode or medium
   7   including, but not limited to, spoken word, written correspondence, any form of
   8   technology, face-to-face meetings or conveying of information through third
   9   person(s) to some other intended recipient”). Federal Rule of Civil Procedure 34
  10   allows a party to serve requests to inspect or produce “documents,” “electronically
  11   stored information,” or “designated tangible things.” Fed. R. Civ. P. 34(a)(1). It does
  12   not allow a party to obtain non-tangible things. Defendants accordingly construe the
  13   term “communications” to include only those items permitted by Rule 34 as stated
  14   in Objections to Definitions No. 4.
  15         Second, a request to produce all communications between the named
  16   Defendants’ and any White House staff members, if they exist, is not proportional
  17   to the needs of the case and is overly broad and unduly burdensome. Based on
  18   Plaintiffs’ definition, a complete response would require Defendants to collect and
  19   search the documents of each of the named Defendants and each of the named
  20   Defendants’ “agents, representatives, employees, attorneys and investigators.” See
  21   Pls.’ Second RFPs, Definition A. Acting Secretary McAleenan oversees more than
  22   240,000 employees. See “About DHS,” U.S. Dep’t of Homeland Security (Sept. 27,
  23   2017), https://www.dhs.gov/about-dhs. Commissioner McAleenan oversees more
  24   than 60,000 employees. “About CBP,” U.S. Customs and Border Protection (Last
  25   modified April 18, 2019), https://www.cbp.gov/about. Executive Assistant
  26   Commissioner       Owen       oversees      more      than     29,000      employees.
  27   https://www.cbp.gov/about/leadership-organization/executive-assistant-
  28   commissioners-offices/field-operations (Oct. 19, 2016); Second Am. Compl. ¶ 38.
                                                                                     APPENDIX B
                                                 63
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5849     Page
                                    188 of 300

   1   Collecting and searching through the documents of all of these individuals, as
   2   Plaintiffs request, is plainly not proportional to the needs of this case and is overly
   3   broad and unduly burdensome, especially considering that any potentially relevant
   4   communications between the named Defendants and White House staff members
   5   relating to an agency policy are protected by the deliberative process privilege, and
   6   any other communications are not relevant to the issues in this case. See Fed. R.
   7   Evid. 401; cf. Alfaro v. City of San Diego, No. 17-cv-46, 2018 WL 4562240, at *3
   8   n.3 (S.D. Cal. Sept. 21, 2018) (Crawford, M.J.) (noting that an interrogatory that
   9   obligates a party to “canvas every employee who might have had a conversation with
  10   [the plaintiff]” would be “onerous and over burdensome”).
  11         Third, any potentially relevant communications between the named
  12   Defendants and any White House staff members, including members of the
  13   Domestic Policy Council, are protected by the deliberative process privilege. The
  14   deliberative process privilege protects internal government deliberations in order to
  15   promote the “frank and candid discussion necessary for effective government.”
  16   NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 150-51 (1975). The privilege is
  17   designed “to allow agencies freely to explore possibilities, engage in internal
  18   debates, or play devil’s advocate without fear of public scrutiny.” Assembly of
  19   California v. United States Dep’t of Commerce, 968 F.2d 916, 920 (9th Cir. 1992).
  20   Information is protected from disclosure by this privilege when it is (1) predecisional
  21   and (2) deliberative, thereby containing opinions, recommendations, or advice. Id.
  22   at 149. “Examples of documents that qualify as predecisional include
  23   recommendations, draft documents, proposals, suggestions, and other subjective
  24   documents which reflect the personal opinions of the writer rather than the policy of
  25   the agency.” Ctr. for Medicare Advocacy, Inc. v. HHS, 577 F. Supp. 2d 221, 235
  26   (D.D.C. 2008) (internal quotations and citation omitted). A request for documents
  27   relating to “limiting, capping, or metering the number of noncitizens who are
  28   allowed to present themselves at a port of entry on the U.S.-Mexico border to seek
                                                                                     APPENDIX B
                                                 64
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5850     Page
                                    189 of 300

   1   asylum,” to the extent such communications precede a final agency decision, are
   2   protected from disclosure under this privilege. To the extent such communications
   3   are unrelated to any final agency decision, they are not relevant to the issues in this
   4   case; discovery may be permissible in an APA case in the rare circumstances where
   5   it is necessary “to ascertain the contours of the precise policy at issue,” but not to
   6   ascertain the irrelevant communications of government actors. Venetian Casino
   7   Resort, L.L.C. v. E.E.O.C., 530 F.3d 925, 928 (D.C. Cir. 2008) (emphasis added);
   8   see also Minute Order (paperless) of Feb. 21, 2019, Hispanic Affairs Project, et al.
   9   v. Perez, et al., No. 15-cv-1562 (D.D.C. Feb. 21, 2019) (on remand from Hispanic
  10   Affairs Project v. Acosta, 901 F.3d 378 (D.C. Cir. 2018), permitting “limited
  11   discovery” to allow the plaintiffs “to discover facts needed to prove the existence
  12   and the parameters of any policy” (emphasis added)).
  13         Defendants object to Request No. 55 to the extent it requests any
  14   communications protected from disclosure by executive privilege.
  15         Defendants also object to RFP 55 in accordance with Objections Which Apply
  16   to All RFPs Nos. 1, 3, 4, and 6-10; and Objections to Definitions Nos. 1, 4, and 810;
  17   and, Objections to Instructions Nos. 1, 2, and 4.
  18         Response: In accordance with Defendants’ objections, and in light of Request
  19   No. 55 being disproportional to the needs of the case considering that the burden and
  20   expense of the requested discovery outweighs its likely benefit, Defendants will limit
  21   their search to a limited number of custodial and non-custodial sources. Defendants
  22   will continue to confer with Plaintiffs in identifying reasonable custodial and non-
  23   custodial sources and document identification protocols. However, in the event the
  24   parties cannot agree, Defendants will limit their search to the sources identified in
  25   Defendants’ portion of the Supplement to the Parties’ Joint 26(f) Report (ECF No.
  26   243), from which Defendants will produce or log documents responsive to this
  27   Request, dating from January 1, 2016, to the present that can be located after a
  28   reasonable search. Documents created on or after July 12, 2017, the date of
                                                                                     APPENDIX B
                                                 65
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5851     Page
                                    190 of 300

   1   Plaintiffs’ original complaint (ECF No. 1), representing either communications with
   2   counsel or communications or documents relating to the actual conduct of litigation
   3   post-complaint—and thus clearly protected by either the attorney-client privilege or
   4   the work-product doctrine—will be treated as nonresponsive and therefore will not
   5   appear on any privilege log.
   6   Request for Production No. 56
   7   All communications between CBP and any White House staff member related to
   8   limiting, capping, or metering the number of noncitizens who are allowed to present
   9   themselves at a port of entry on the U.S.-Mexico border to seek asylum.
  10         Objections: Defendants object to Request for Production No. 56 as seeking
  11   information that is outside the scope of Rule 34, as not proportional to the needs of
  12   the case, as overly broad and unduly burdensome, and as seeking information
  13   protected from disclosure by the deliberative process privilege. First, Defendants
  14   object to Request for Production No. 56 to the extent it seeks oral or non-written
  15   communications. See Pls.’ Second RFPs, Definition E (defining “communications”
  16   to include “the exchange of information by or through any mode or medium
  17   including, but not limited to, spoken word, written correspondence, any form of
  18   technology, face-to-face meetings or conveying of information through third
  19   person(s) to some other intended recipient”). Federal Rule of Civil Procedure 34
  20   allows a party to serve requests to inspect or produce “documents,” “electronically
  21   stored information,” or “designated tangible things.” Fed. R. Civ. P. 34(a)(1). It does
  22   not allow a party to obtain non-tangible things. Defendants accordingly construe the
  23   term “communications” to include only those items permitted by Rule 34 as stated
  24   in Objections to Definitions No. 4.
  25         Second, a request to produce all communications between CBP and any White
  26   House staff members, if they exist, is not proportional to the needs of the case and
  27   is overly broad and unduly burdensome. Based on Plaintiffs’ definition, a complete
  28   response would require Defendants to collect and search the documents of all of U.S.
                                                                                     APPENDIX B
                                                 66
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5852     Page
                                    191 of 300

   1   Customs and Border Protection, including “its headquarters and offices, including
   2   any divisions, subdivisions, components or sections therein; CBP offices at ports of
   3   entry, including any divisions, subdivisions or sections therein; or any other CBP
   4   organizational structures, including but not limited to U.S. Border Patrol, U.S. Office
   5   of Field Operations or private contractors hired by CBP.” See Pls.’ Second RFPs,
   6   Definition B. Commissioner McAleenan oversees more than 60,000 employees.
   7   “About CBP,” U.S. Customs and Border Protection (Last modified April 18, 2019),
   8   https://www.cbp.gov/about. Executive Assistant Commissioner Owen oversees
   9   more     than     29,000      employees.        https://www.cbp.gov/about/leadership-
  10   organization/executive-assistant-commissioners-offices/field-operations (Oct. 19,
  11   2016); Second Am. Compl. ¶ 38. Collecting and searching through the documents
  12   of all of these individuals, as Plaintiffs request, is plainly not proportional to the
  13   needs of this case and is overly broad and unduly burdensome, especially
  14   considering that any potentially relevant communications between CBP and White
  15   House staff members relating to an agency policy are protected by the deliberative
  16   process privilege, and any other communications are not relevant to the issues in this
  17   case. See Fed. R. Evid. 401; cf. Alfaro v. City of San Diego, No. 17-cv-46, 2018 WL
  18   4562240, at *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford, M.J.) (noting that an
  19   interrogatory that obligates a party to “canvas every employee who might have had
  20   a conversation with [the plaintiff]” would be “onerous and over burdensome”).
  21          Third, any potentially relevant communications between CBP and any White
  22   House staff members are protected by the deliberative process privilege. The
  23   deliberative process privilege protects internal government deliberations in order to
  24   promote the “frank and candid discussion necessary for effective government.”
  25   NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 150-51 (1975). The privilege is
  26   designed “to allow agencies freely to explore possibilities, engage in internal
  27   debates, or play devil’s advocate without fear of public scrutiny.” Assembly of
  28   California v. United States Dep’t of Commerce, 968 F.2d 916, 920 (9th Cir. 1992).
                                                                                     APPENDIX B
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Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5853     Page
                                    192 of 300

   1   Information is protected from disclosure by this privilege when it is (1) predecisional
   2   and (2) deliberative, thereby containing opinions, recommendations, or advice. Id.
   3   at 149. “Examples of documents that qualify as predecisional include
   4   recommendations, draft documents, proposals, suggestions, and other subjective
   5   documents which reflect the personal opinions of the writer rather than the policy of
   6   the agency.” Ctr. for Medicare Advocacy, Inc. v. HHS, 577 F. Supp. 2d 221, 235
   7   (D.D.C. 2008) (internal quotations and citation omitted). A request for documents
   8   relating to “limiting, capping, or metering the number of noncitizens who are
   9   allowed to present themselves at a port of entry on the U.S.-Mexico border to seek
  10   asylum,” to the extent such communications precede a final agency decision, are
  11   protected from disclosure under this privilege. To the extent such communications
  12   are unrelated to any final agency decision, they are not relevant to the issues in this
  13   case; discovery may be permissible in an APA case in the rare circumstances where
  14   it is necessary “to ascertain the contours of the precise policy at issue,” but not to
  15   ascertain the irrelevant communications of government actors. Venetian Casino
  16   Resort, L.L.C. v. E.E.O.C., 530 F.3d 925, 928 (D.C. Cir. 2008) (emphasis added);
  17   see also Minute Order (paperless) of Feb. 21, 2019, Hispanic Affairs Project, et al.
  18   v. Perez, et al., No. 15-cv-1562 (D.D.C. Feb. 21, 2019) (on remand from Hispanic
  19   Affairs Project v. Acosta, 901 F.3d 378 (D.C. Cir. 2018), permitting “limited
  20   discovery” to allow the plaintiffs “to discover facts needed to prove the existence
  21   and the parameters of any policy” (emphasis added)).
  22         Defendants object to Request No. 56 to the extent it requests any
  23   communications protected from disclosure by executive privilege.
  24         Defendants also object to RFP 56 in accordance with Objections Which Apply
  25   to All RFPs Nos. 1, 3-4, 6-10; Objections to Definitions Nos. 2, 4, and 8, and10.
  26         Response: In accordance with Defendants’ objections, and in light of Request
  27   No. 56 being disproportional to the needs of the case considering that the burden and
  28   expense of the requested discovery outweighs its likely benefit, Defendants will limit
                                                                                     APPENDIX B
                                                 68
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5854    Page
                                    193 of 300

   1   their search to a limited number of custodial and non-custodial sources. Defendants
   2   will continue to confer with Plaintiffs in identifying reasonable custodial and non-
   3   custodial sources and document identification protocols. However, in the event the
   4   parties cannot agree, Defendants will limit their search to the sources identified in
   5   Defendants’ portion of the Supplement to the Parties’ Joint 26(f) Report (ECF No.
   6   243), from which Defendants will produce or log documents responsive to this
   7   Request, dating from January 1, 2016, to the present that can be located after a
   8   reasonable search. Documents created on or after July 12, 2017, the date of
   9   Plaintiffs’ original complaint (ECF No. 1), representing either communications with
  10   counsel or communications or documents relating to the actual conduct of litigation
  11   post-complaint—and thus clearly protected by either the attorney-client privilege or
  12   the work-product doctrine—will be treated as non-responsive and therefore will not
  13   appear on any privilege log.
  14   Request for Production No. 57
  15   All communications between DHS and any White House staff member related to
  16   limiting, capping, or metering the number of individuals that are allowed to present
  17   themselves at a port of entry on the U.S.-Mexico border to seek asylum.
  18         Objections: Defendants object to Request for Production No. 57 as seeking
  19   information that is outside the scope of Rule 34, as not proportional to the needs of
  20   the case, as overly broad and unduly burdensome, and as seeking information
  21   protected from disclosure by the deliberative process privilege. First, Defendants
  22   object to Request for Production No. 57 to the extent it seeks oral or non-written
  23   communications. See Pls.’ Second RFPs, Definition E (defining “communications”
  24   to include “the exchange of information by or through any mode or medium
  25   including, but not limited to, spoken word, written correspondence, any form of
  26   technology, face-to-face meetings or conveying of information through third
  27   person(s) to some other intended recipient”). Federal Rule of Civil Procedure 34
  28   allows a party to serve requests to inspect or produce “documents,” “electronically
                                                                                   APPENDIX B
                                                69
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5855     Page
                                    194 of 300

   1   stored information,” or “designated tangible things.” Fed. R. Civ. P. 34(a)(1). It does
   2   not allow a party to obtain non-tangible things. Defendants accordingly construe the
   3   term “communications” to include only those items permitted by Rule 34 as stated
   4   in Objections to Definitions No. 4.
   5         Second, a request to produce all communications between DHS and any
   6   White House staff members, if they exist, is not proportional to the needs of the case
   7   and is overly broad and unduly burdensome. Based on Plaintiffs’ definition, a
   8   complete response would require Defendants to collect and search the documents of
   9   the entire U.S. Department of Homeland Security, including “its headquarters and
  10   offices, including any divisions, subdivisions, components or sections therein, or any
  11   other DHS organizational structures.” See Pls.’ Second RFPs, Definition C. Acting
  12   Secretary McAleenan oversees more than 240,000 employees. See “About DHS,”
  13   U.S. Dep’t of Homeland Security (Sept. 27, 2017), https://www.dhs.gov/about-dhs.
  14   Collecting and searching through the documents of all of these individuals, as
  15   Plaintiffs request, is plainly not proportional to the needs of this case and is overly
  16   broad and unduly burdensome, especially considering that any potentially relevant
  17   communications between DHS and White House staff members relating to an
  18   agency policy are protected by the deliberative process privilege, and any other
  19   communications are not relevant to the issues in this case. See Fed. R. Evid. 401; cf.
  20   Alfaro v. City of San Diego, No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal.
  21   Sept. 21, 2018) (Crawford, M.J.) (noting that an interrogatory that obligates a party
  22   to “canvas every employee who might have had a conversation with [the plaintiff.’”
  23   would be “onerous and over burdensome”).
  24         Third, any potentially relevant communications between DHS and any White
  25   House staff members are protected by the deliberative process privilege. The
  26   deliberative process privilege protects internal government deliberations in order to
  27   promote the “frank and candid discussion necessary for effective government.”
  28   NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 150-51 (1975). The privilege is
                                                                                     APPENDIX B
                                                 70
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5856     Page
                                    195 of 300

   1   designed “to allow agencies freely to explore possibilities, engage in internal
   2   debates, or play devil’s advocate without fear of public scrutiny.” Assembly of
   3   California v. United States Dep’t of Commerce, 968 F.2d 916, 920 (9th Cir. 1992).
   4   Information is protected from disclosure by this privilege when it is (1) predecisional
   5   and (2) deliberative, thereby containing opinions, recommendations, or advice. Id.
   6   at 149. “Examples of documents that qualify as predecisional include
   7   recommendations, draft documents, proposals, suggestions, and other subjective
   8   documents which reflect the personal opinions of the writer rather than the policy of
   9   the agency.” Ctr. for Medicare Advocacy, Inc. v. HHS, 577 F. Supp. 2d 221, 235
  10   (D.D.C. 2008) (internal quotations and citation omitted). A request for documents
  11   relating to “limiting, capping, or metering the number of noncitizens who are
  12   allowed to present themselves at a port of entry on the U.S.-Mexico border to seek
  13   asylum,” to the extent such communications precede a final agency decision, are
  14   protected from disclosure under this privilege. To the extent such communications
  15   are unrelated to any final agency decision, they are not relevant to the issues in this
  16   case; discovery may be permissible in an APA case in the rare circumstances where
  17   it is necessary “to ascertain the contours of the precise policy at issue,” but not to
  18   ascertain the irrelevant communications of government actors. Venetian Casino
  19   Resort, L.L.C. v. E.E.O.C., 530 F.3d 925, 928 (D.C. Cir. 2008) (emphasis added);
  20   see also Minute Order (paperless) of Feb. 21, 2019, Hispanic Affairs Project, et al.
  21   v. Perez, et al., No. 15-cv-1562 (D.D.C. Feb. 21, 2019) (on remand from Hispanic
  22   Affairs Project v. Acosta, 901 F.3d 378 (D.C. Cir. 2018), permitting “limited
  23   discovery” to allow the plaintiffs “to discover facts needed to prove the existence
  24   and the parameters of any policy” (emphasis added)).
  25         Defendants object to Request No. 57 to the extent it requests any
  26   communications protected from disclosure by executive privilege.
  27         Defendants also object to RFP 57 in accordance with Objections Which Apply
  28   to All RFPs Nos. 1, 4, 6-7, and 9-10; Objections to Definitions Nos. 3-4, 8, and 10;
                                                                                     APPENDIX B
                                                 71
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5857     Page
                                    196 of 300

   1   and, Objections to Instructions Nos. 1, 2, and 4.
   2         Response: In accordance with Defendants’ objections, and in light of Request
   3   No. 56 being disproportional to the needs of the case considering that the burden and
   4   expense of the requested discovery outweighs its likely benefit, Defendants will limit
   5   their search to a limited number of custodial and non-custodial sources. Defendants
   6   will continue to confer with Plaintiffs in identifying reasonable custodial and non-
   7   custodial sources and document identification protocols. However, in the event the
   8   parties cannot agree, Defendants will limit their search to the sources identified in
   9   Defendants’ portion of the Supplement to the Parties’ Joint 26(f) Report (ECF No.
  10   243), from which Defendants will produce or log documents responsive to this
  11   Request, dating from January 1, 2016, to the present that can be located after a
  12   reasonable search. Documents created on or after July 12, 2017, the date of
  13   Plaintiffs’ original complaint (ECF No. 1), representing either communications with
  14   counsel or communications or documents relating to the actual conduct of litigation
  15   post-complaint—and thus clearly protected by either the attorney-client privilege or
  16   the work-product doctrine—will be treated as nonresponsive and therefore will not
  17   appear on any privilege log.
  18   Request for Production No. 58
  19   All communications between you and any labor union representing CBP or DHS
  20   employees, including but not limited to the National Border Patrol Council, related
  21   to limiting, capping, or metering the number of noncitizens who are allowed to
  22   present themselves at a port of entry on the U.S.-Mexico border to seek asylum.
  23         Objections: Defendants object to Request for Production No. 58 as seeking
  24   information not relevant to any parties’ claims and defenses, not proportional to the
  25   needs of the case, and as overly broad and unduly burdensome. First, any
  26   communications between the named Defendants and “any labor union representing
  27   CBP or DHS employees” is not relevant to any party’s claims or defenses because
  28   they do not bear on the issues in this case: whether the named Plaintiffs were, at the
                                                                                    APPENDIX B
                                                72
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19       PageID.5858    Page
                                      197 of 300

   1   time of their alleged injury, arriving aliens applying for admission to the United
   2   States; whether Defendants have implemented a formal policy or taken final agency
   3   action to “restrict access to the asylum process at ports of entry along the U.S.-
   4   Mexico border”; and whether such a policy or final agency action, if it exists, and in
   5   the form it exists, is unlawful. A communication with a labor union does not have
   6   “any tendency” to make any of the issues in this case “more or less probable than
   7   [they] would be without” that communication, nor is the fact that a DHS or CBP
   8   employee may communicate with a labor union “of consequence in determining”
   9   the issues, because labor unions do not set agency policy. Fed. R. Evid. 401.
  10         Request for Production No. 58 is further not relevant to the parties’ claims or
  11   defenses to the extent it seeks communications with labor unions that do not
  12   represent employees of the Office of Field Operations, the entity responsible for
  13   overseeing ports of entry. Any communications between the named Defendants and
  14   labor unions representing employees of any other DHS or CBP entities—such as the
  15   U.S. Border Patrol, U.S. Immigration and Customs Enforcement, U.S. Citizenship
  16   and Immigration Services, the Transportation Security Administration, the Coast
  17   Guard, and the Federal Emergency Management Agency—are therefore not related
  18   to “limiting, capping, or metering the number of noncitizens who are allowed to
  19   present themselves at a port of entry on the U.S.-Mexico border to seek asylum.”
  20         Second, a request to produce any of the named Defendants’ communications
  21   with any labor union representing DHS or CBP employees, if they exist, is not
  22   proportional to the needs of the case and is overly broad and unduly burdensome.
  23   Based on Plaintiffs’ definition, a complete response would require Defendants to
  24   collect and search the documents of each of the named Defendants and each of the
  25   named      Defendants’     “agents,    representatives,   employees,   attorneys   and
  26   investigators.” See Pls.’ Second RFPs, Definition A. Acting Secretary McAleenan
  27   oversees more than 240,000 employees. See “About DHS,” U.S. Dep’t of Homeland
  28   Security    (Sept.   27,   2017),     https://www.dhs.gov/about-dhs.   Commissioner
                                                                                    APPENDIX B
                                                   73
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5859     Page
                                    198 of 300

   1   McAleenan oversees more than 60,000 employees. “About CBP,” U.S. Customs and
   2   Border Protection (Last modified April 18, 2019), https://www.cbp.gov/about.
   3   Executive Assistant Commissioner Owen oversees more than 29,000 employees.
   4   haps://www.cbp.gov/about/leadership-organization/executive-assistant-
   5   commissioners-offices/field-operations (Oct. 19, 2016); Second Am. Compl. ¶ 38.
   6   Collecting and searching through the documents of all of these individuals, as
   7   Plaintiffs request, is plainly not proportional to the needs of this case and is overly
   8   broad and unduly burdensome, especially considering that any communications
   9   between the named Defendants and a labor union are of no consequence to the issues.
  10   See Fed. R. Evid. 401; cf. Alfaro v. City of San Diego, No. 17-cv-46, 2018 WL
  11   4562240, at *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford, M.J.) (noting that an
  12   interrogatory that obligates a party to “canvas every employee who might have had
  13   a conversation with [the plaintiff]” would be “onerous and over burdensome”).
  14         Defendants also object to RFP 58 in accordance with Objections Which Apply
  15   to All RFPs Nos. 1, 3-4, and 6-10; and Objections to Definitions Nos. 1-4, and 8-10.
  16         Response: In light of the foregoing objections, Defendants will not search for
  17   or produce documents responsive to Request for Production No. 58.
  18   Request for Production No. 59
  19   All communications between DHS and any labor union representing CBP or DHS
  20   employees, including but not limited to the National Border Patrol Council, related
  21   to limiting, capping, or metering the number of noncitizens who are allowed to
  22   present themselves at a port of entry on the U.S.-Mexico border to seek asylum.
  23         Objections: Defendants object to Request for Production No. 59 as seeking
  24   information not relevant to any parties’ claims and defenses, not proportional to the
  25   needs of the case, and as overly broad and unduly burdensome. First, any
  26   communications between DHS and “any labor union representing CBP or DHS
  27   employees” is not relevant to any party’s claims or defenses because those
  28   communications do not bear on the issues in this case: whether the named Plaintiffs
                                                                                     APPENDIX B
                                                 74
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19       PageID.5860       Page
                                      199 of 300

   1   were, at the time of their alleged injury, arriving aliens applying for admission to the
   2   United States; whether Defendants have implemented a formal policy or taken final
   3   agency action to “restrict access to the asylum process at ports of entry along the
   4   U.S.-Mexico border”; and whether such a policy or final agency action, if it exists,
   5   and in the form it exists, is unlawful. A communication with a labor union does not
   6   have “any tendency” to make any of the issues in this case “more or less probable
   7   than [they] would be without” that communication, nor is the fact that DHS may
   8   communicate with a labor union “of consequence in determining” the issues,
   9   because labor unions do not set agency policy. Fed. R. Evid. 401.
  10         Request for Production No. 59 is further not relevant to the parties’ claims or
  11   defenses to the extent it seeks communications with labor unions that do not
  12   represent employees of the Office of Field Operations, the entity responsible for
  13   overseeing ports of entry. Communications with labor unions representing
  14   employees of any other DHS or CBP entities—such as the U.S. Border Patrol, U.S.
  15   Immigration and Customs Enforcement, the Transportation Security Administration,
  16   the Coast Guard, and the Federal Emergency Management Agency—are therefore
  17   not related to “limiting, capping, or metering the number of noncitizens who are
  18   allowed to present themselves at a port of entry on the U.S.-Mexico border to seek
  19   asylum.”
  20         Second, a request to produce any communications between DHS and any
  21   labor union representing DHS or CBP employees is not proportional to the needs of
  22   the case and is overly broad and unduly burdensome. Based on Plaintiffs’ definition,
  23   a complete response would require Defendants to collect and search the documents
  24   of the entire U.S. Department of Homeland Security, “its headquarters and offices,
  25   including any divisions, subdivisions, components or sections therein, or any other
  26   DHS organizational structures.” See Pls.’ Second RFPs, Definition C. DHS employs
  27   more than 240,000 people, and CBP employs more than 60,000 people. See “About
  28   DHS,”      U.S.    Dep’t      of   Homeland       Security     (Sept.    27,      2017),
                                                                                       APPENDIX B
                                                 75
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5861     Page
                                    200 of 300

   1   https://www.dhs.gov/about-dhs; “About CBP,” U.S. Customs and Border Protection
   2   (Last modified April 18, 2019), https://www.cbp.gov/about. Collecting and
   3   searching through the documents of all of these individuals, as Plaintiffs request, is
   4   plainly not proportional to the needs of this case and is overly broad and unduly
   5   burdensome, especially considering that any communications between DHS and a
   6   labor union are of no consequence to the issues. See Fed. R. Evid. 401; cf. Alfaro v.
   7   City of San Diego, No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal. Sept. 21,
   8   2018) (Crawford, M.J.) (noting that an interrogatory that obligates a party to “canvas
   9   every employee who might have had a conversation with [the plaintiff.’” would be
  10   “onerous and over burdensome”).
  11         Defendants also object to RFP 59 in accordance with Objections Which Apply
  12   to All RFPs Nos. 1, 3-4, and 6-9; and Objections to Definitions Nos. 2-4, and 8-10.
  13         Response: In light of the foregoing objections, Defendants will not search for
  14   or produce documents responsive to Request for Production No. 59.
  15   Request for Production No. 60
  16   All communications between CBP and any labor union representing CBP or DHS
  17   employees, including but not limited to the National Border Patrol Council, related
  18   to limiting, capping, or metering the number of individuals that are allowed to
  19   present themselves at a port of entry on the U.S.-Mexico border to seek asylum.
  20         Objections: Defendants object to Request for Production No. 60 as seeking
  21   information not relevant to any parties’ claims and defenses, not proportional to the
  22   needs of the case, and as overly broad and unduly burdensome. First, any
  23   communications between CBP and “any labor union representing CBP or DHS
  24   employees” is not relevant to any party’s claims or defenses because those
  25   communications do not bear on the issues in this case: whether the named Plaintiffs
  26   were, at the time of their alleged injury, arriving aliens applying for admission to the
  27   United States; whether Defendants have implemented a formal policy or taken final
  28   agency action to “restrict access to the asylum process at ports of entry along the
                                                                                     APPENDIX B
                                                 76
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5862    Page
                                    201 of 300

   1   U.S.-Mexico border”; and whether such a policy or final agency action, if it exists,
   2   and in the form it exists, is unlawful. A communication with a labor union does not
   3   have “any tendency” to make any of the issues in this case “more or less probable
   4   than [they] would be without” that communication, nor is the fact that DHS may
   5   communicate with a labor union “of consequence in determining” the issues,
   6   because labor unions do not set agency policy. Fed. R. Evid. 401.
   7         Request for Production No. 60 is further not relevant to the parties’ claims or
   8   defenses to the extent it seeks communications with labor unions that do not
   9   represent employees of the Office of Field Operations, the entity responsible for
  10   overseeing ports of entry. Communications with labor unions representing
  11   employees of any other DHS or CBP entities—such as the U.S. Border Patrol, U.S.
  12   Immigration and Customs Enforcement, U.S. Citizenship and Immigration Services,
  13   the Transportation Security Administration, the Coast Guard, and the Federal
  14   Emergency Management Agency—are therefore not related to “limiting, capping,
  15   or metering the number of noncitizens who are allowed to present themselves at a
  16   port of entry on the U.S.-Mexico border to seek asylum.”
  17         Second, a request to produce any communications between CBP and any labor
  18   union representing DHS or CBP employees is not proportional to the needs of the
  19   case and is overly broad and unduly burdensome. Based on Plaintiffs’ definition, a
  20   complete response would require Defendants to collect and search the documents of
  21   the entirety of U.S. Customs and Border Protection, “its headquarters and offices,
  22   including any divisions, subdivisions, components or sections therein; CBP offices
  23   at ports of entry, including any divisions, subdivisions or sections therein; or any
  24   other CBP organizational structures, including but not limited to U.S. Border Patrol,
  25   U.S. Office of Field Operations or private contractors hired by CBP.” Pls.’ Second
  26   RFPs, Definition B. CBP employs more than 60,000 employees. See “About CBP,”
  27   U.S. Customs and Border Protection (last modified April 18, 2019),
  28   https://www.cbp.gov/about. Collecting and searching through the documents of all
                                                                                   APPENDIX B
                                                77
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5863     Page
                                    202 of 300

   1   of these individuals, as Plaintiffs request, is plainly not proportional to the needs of
   2   this case and is overly broad and unduly burdensome, especially considering that
   3   any communications between CBP and a labor union are of no consequence to the
   4   issues. See Fed. R. Evid. 401; cf. Alfaro v. City of San Diego, No. 17-cv-46, 2018
   5   WL 4562240, at *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford, M.J.) (noting that an
   6   interrogatory that obligates a party to “canvas every employee who might have had
   7   a conversation with [the plaintiff]” would be “onerous and over burdensome”).
   8         Defendants also object to RFP 60 in accordance with Objections Which Apply
   9   to All RFPs Nos. 1, 4, and 6-10 and Objections to Definitions Nos. 2-4, and 8-10.
  10         Response: In light of the foregoing objections, Defendants will not search for
  11   or produce documents responsive to Request for Production No. 60.
  12   Request for Production No. 61
  13   All communications between you and the Federation for American Immigration
  14   Reform related to limiting, capping, or metering the number of noncitizens who are
  15   allowed to present themselves at a port of entry on the U.S.-Mexico border to seek
  16   asylum.
  17         Objections: Defendants object to Request for Production No. 61 as seeking
  18   information not relevant to any parties’ claims and defenses, not proportional to the
  19   needs of the case, and as overly broad and unduly burdensome. First, any
  20   communications between the named Defendants and the Federation for American
  21   Immigration Reform is not relevant to any party’s claims or defenses because they
  22   do not bear on the issues in this case: whether the named Plaintiffs were, at the time
  23   of their alleged injury, arriving aliens applying for admission to the United States;
  24   whether Defendants have implemented a formal policy or taken final agency action
  25   to “restrict access to the asylum process at ports of entry along the U.S.-Mexico
  26   border”; and whether such a policy or final agency action, if it exists, and in the form
  27   it exists, is unlawful. A communication with an advocacy group not involved in this
  28   action does not have “any tendency” to make any of the issues in this case “more or
                                                                                     APPENDIX B
                                                 78
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5864    Page
                                    203 of 300

   1   less probable than [they] would be without” that communication, nor is the fact that
   2   a DHS or CBP employee may communicate with such an advocacy group “of
   3   consequence in determining” the issues, because advocacy groups do not set agency
   4   policy. Fed. R. Evid. 401.
   5         Second, a request to produce any communications between the named
   6   Defendants and the Federation for American Immigration Reform is not proportional
   7   to the needs of the case and is overly broad and unduly burdensome. Based on
   8   Plaintiffs’ definition, a complete response would require Defendants to collect and
   9   search the documents of each of the named Defendants and each of the named
  10   Defendants’ “agents, representatives, employees, attorneys and investigators.” See
  11   Pls.’ Second RFPs, Definition A. Acting Secretary McAleenan oversees more than
  12   240,000 employees. See “About DHS,” U.S. Dep’t of Homeland Security (Sept. 27,
  13   2017), https://www.dhs.gov/about-dhs. Commissioner McAleenan oversees more
  14   than 60,000 employees. “About CBP,” U.S. Customs and Border Protection (Last
  15   modified April 18, 2019), https://www.cbp.gov/about. Executive Assistant
  16   Commissioner       Owen       oversees      more      than     29,000      employees.
  17   https://www.cbp.gov/about/leadership-organization/executive-assistant-
  18   commissioners-offices/field-operations (Oct. 19, 2016); Second Am. Compl. ¶ 38.
  19   Collecting and searching through the documents of all of these individuals, as
  20   Plaintiffs request, is plainly not proportional to the needs of this case and is overly
  21   broad and unduly burdensome, especially considering that communications between
  22   the named Defendants and a non-party advocacy group are of no consequence to the
  23   issues. See Fed. R. Evid. 401; cf. Alfaro v. City of San Diego, No. 17-cv-46, 2018
  24   WL 4562240, at *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford, M.J.) (noting that an
  25   interrogatory that obligates a party to “canvas every employee who might have had
  26   a conversation with [the plaintiff]” would be “onerous and over burdensome”).
  27         Defendants also object to RFP 61 in accordance with Objections Which Apply
  28   to All RFPs Nos. 1, 3-4, and 6-10 and Objections to Definitions Nos. 1, 4, and 8, and
                                                                                     APPENDIX B
                                                 79
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5865     Page
                                    204 of 300

   1   10.
   2         Response: In light of the foregoing objections, Defendants will not conduct a
   3   separate search for documents responsive to Request for Production No. 61.
   4   Request for Production No. 62
   5   All communications between DHS and the Federation for American Immigration
   6   Reform related to limiting, capping, or metering the number of noncitizens who are
   7   allowed to present themselves at a port of entry on the U.S.-Mexico border to seek
   8   asylum.
   9         Response: Defendants object to Request for Production No. 62 as seeking
  10   information not relevant to any parties’ claims and defenses, not proportional to the
  11   needs of the case, and as overly broad and unduly burdensome. First, any
  12   communications between DHS and the Federation for American Immigration
  13   Reform is not relevant to any party’s claims or defenses because they do not bear on
  14   the issues in this case: whether the named Plaintiffs were, at the time of their alleged
  15   injury, arriving aliens applying for admission to the United States; whether
  16   Defendants have implemented a formal policy or taken final agency action to
  17   “restrict access to the asylum process at ports of entry along the U.S.-Mexico
  18   border”; and whether such a policy or final agency action, if it exists, and in the form
  19   it exists, is unlawful. A communication with an advocacy group not involved in this
  20   action does not have “any tendency” to make any of the issues in this case “more or
  21   less probable than [they] would be without” that communication, nor is the fact that
  22   a DHS or CBP employee may communicate with such an advocacy group “of
  23   consequence in determining” the issues, because advocacy groups do not set agency
  24   policy. Fed. R. Evid. 401.
  25         Second, a request to produce any communications between DHS and the
  26   Federation for American Immigration Reform is not proportional to the needs of the
  27   case and is overly broad and unduly burdensome. Based on Plaintiffs’ definition, a
  28   complete response would require Defendants to collect and search the documents of
                                                                                     APPENDIX B
                                                 80
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19      PageID.5866       Page
                                      205 of 300

   1   the entire U.S. Department of Homeland Security, “its headquarters and offices,
   2   including any divisions, subdivisions, components or sections therein, or any other
   3   DHS organizational structures.” See Pls.’ Second RFPs, Definition C. DHS employs
   4   more than 240,000 people, and CBP employs more than 60,000 people. See “About
   5   DHS,”     U.S.     Dep’t      of   Homeland      Security     (Sept.    27,      2017),
   6   https://www.dhs.gov/about-dhs; “About CBP,” U.S. Customs and Border Protection
   7   (Last modified April 18, 2019), https://www.cbp.gov/about. Collecting and
   8   searching through the documents of all of these individuals, as Plaintiffs request, is
   9   plainly not proportional to the needs of this case and is overly broad and unduly
  10   burdensome, especially considering that communications between DHS and a non-
  11   party advocacy group are of no consequence to the issues. See Fed. R. Evid. 401; cf.
  12   Alfaro v. City of San Diego, No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal.
  13   Sept. 21, 2018) (Crawford, M.J.) (noting that an interrogatory that obligates a party
  14   to “canvas every employee who might have had a conversation with [the plaintiff.’”
  15   would be “onerous and over burdensome”).
  16         Defendants also object to RFP 62 in accordance with Objections Which Apply
  17   to All RFPs Nos. 1, 3-4, and 6-10 and Objections to Definitions Nos. 3-4, 8, and 10.
  18         Response: In light of the foregoing objections, Defendants will not conduct a
  19   separate search for documents responsive to Request for Production No. 62.
  20   Request for Production No. 63
  21   All communications between CBP and the Federation for American Immigration
  22   Reform related to limiting, capping, or metering the number of noncitizens who are
  23   allowed to present themselves at a port of entry on the U.S.-Mexico border to seek
  24   asylum.
  25         Objections: Defendants object to Request for Production No. 63 as seeking
  26   information not relevant to any parties’ claims and defenses, not proportional to the
  27   needs of the case, and as overly broad and unduly burdensome. First, any
  28   communications between CBP and the Federation for American Immigration
                                                                                      APPENDIX B
                                                81
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5867     Page
                                    206 of 300

   1   Reform is not relevant to any party’s claims or defenses because they do not bear on
   2   the issues in this case: whether the named Plaintiffs were, at the time of their alleged
   3   injury, arriving aliens applying for admission to the United States; whether
   4   Defendants have implemented a formal policy or taken final agency action to
   5   “restrict access to the asylum process at ports of entry along the U.S.-Mexico
   6   border”; and whether such a policy or final agency action, if it exists, and in the form
   7   it exists, is unlawful. A communication with an advocacy group not involved in this
   8   action does not have “any tendency” to make any of the issues in this case “more or
   9   less probable than [they] would be without” that communication, nor is the fact that
  10   a DHS or CBP employee may communicate with such an advocacy group “of
  11   consequence in determining” the issues, because advocacy groups do not set agency
  12   policy. Fed. R. Evid. 401.
  13         Second, a request to produce any communications between CBP and the
  14   Federation for American Immigration Reform is not proportional to the needs of the
  15   case and is overly broad and unduly burdensome. Based on Plaintiffs’ definition, a
  16   complete response would require Defendants to collect and search the documents of
  17   the entirety of U.S. Customs and Border Protection, “its headquarters and offices,
  18   including any divisions, subdivisions, components or sections therein; CBP offices
  19   at ports of entry, including any divisions, subdivisions or sections therein; or any
  20   other CBP organizational structures, including but not limited to U.S. Border Patrol,
  21   U.S. Office of Field Operations or private contractors hired by CBP.” See Pls.’
  22   Second RFPs, Definition B. CBP employs more than 60,000 people. See “About
  23   CBP,” U.S. Customs and Border Protection (Last modified April 18, 2019),
  24   https://www.cbp.gov/about. Collecting and searching through the documents of all
  25   of these individuals, as Plaintiffs request, is plainly not proportional to the needs of
  26   this case and is overly broad and unduly burdensome, especially considering that
  27   communications between DHS and a non-party advocacy group are of no
  28   consequence to the issues. See Fed. R. Evid. 401; cf. Alfaro v. City of San Diego,
                                                                                     APPENDIX B
                                                 82
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19      PageID.5868    Page
                                      207 of 300

   1   No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford,
   2   M.J.) (noting that an interrogatory that obligates a party to “canvas every employee
   3   who might have had a conversation with [the plaintiff]” would be “onerous and over
   4   burdensome”).
   5            Defendants also object to RFP 63 in accordance with Objections Which Apply
   6   to All RFPs Nos. 1, 3-4, and 6-10 and Objections to Definitions Nos. 2, 4, 8, and 10.
   7            Response: In light of the foregoing objections, Defendants will not conduct a
   8   separate search for documents responsive to Request for Production No. 63.
   9   Request for Production No. 64
  10   All documents and communications by you, CBP, or DHS referring to individuals
  11   seeking asylum as “illegal” or suggesting that such noncitizens are seeking to enter
  12   the United States improperly.
  13            Objections: Defendants object to Request for Production No. 64 as seeking
  14   information that is outside the scope of Rule 34, not relevant to any party’s claims
  15   or defenses, not proportional to the needs of the case, as overly broad and unduly
  16   burdensome, and vague and ambiguous. First, Defendants object to Request for
  17   Production No. 64 to the extent it seeks oral or non-written communications. See
  18   Pls.’ Second RFPs, Definition E (defining “communication(s)” to include “the
  19   exchange of information by or through any mode or medium including, but not
  20   limited to, spoken word, written correspondence, any form of technology, face-to-
  21   face meetings or conveying of information through third person(s) to some other
  22   intended recipient”). Federal Rule of Civil Procedure 34 allows a party to serve
  23   requests to inspect or produce “documents,” “electronically stored information,” or
  24   “designated tangible things.” Fed. R. Civ. P. 34(a)(1). It does not allow a party to
  25   obtain     non-tangible   things.   Defendants    accordingly   construe   the    term
  26   “communication(s)” to include only those items permitted by Rule 34 as stated in
  27   Objections to Definitions No. 4.
  28            Second, any documents and communications by the named Defendants, CBP,
                                                                                    APPENDIX B
                                                  83
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5869     Page
                                    208 of 300

   1   or DHS “referring to individuals seeking asylum as ‘illegal’ or suggesting that such
   2   noncitizens are seeking to enter the United States improperly” is not relevant to any
   3   party’s claims or defenses because they do not bear on the issues in this case: whether
   4   the named Plaintiffs were, at the time of their alleged injury, arriving aliens applying
   5   for admission to the United States; whether Defendants have implemented a formal
   6   policy or taken final agency action to “restrict access to the asylum process at ports
   7   of entry along the U.S.-Mexico border”; and whether such a policy or final agency
   8   action, if it exists, and in the form it exists, is unlawful. A reference to an alien
   9   seeking asylum in the United States as “illegal,” or a suggestion that such an alien is
  10   seeking to enter the United States improperly, does not have “any tendency” to make
  11   any of the issues in this case “more or less probable than [they] would be without”
  12   such a reference or suggestion, nor are such references or suggestions “of
  13   consequence in determining” the issues, because individual DHS or CBP
  14   employees’ opinions on such matters do not represent agency policy. Fed. R. Evid.
  15   401.
  16          Third, a request to produce all documents and communications by the named
  17   Defendants, CBP, or DHS “referring to individuals seeking asylum as ‘illegal’ or
  18   suggesting that such noncitizens are seeking to enter the United States improperly”
  19   is not proportional to the needs of the case and is overly broad and unduly
  20   burdensome. Based on Plaintiffs’ definitions, a complete response would require
  21   Defendants to collect and search the documents of each of the named Defendants;
  22   each of the named Defendants’ “agents, representatives, employees, attorneys and
  23   investigators”; all of U.S. Customs and Border Protection, including “its
  24   headquarters and offices, including any divisions, subdivisions, components or
  25   sections therein; CBP offices at ports of entry, including any divisions, subdivisions
  26   or sections therein; or any other CBP organizational structures, including but not
  27   limited to U.S. Border Patrol, U.S. Office of Field Operations or private contractors
  28   hired by CBP”; and all of the U.S. Department of Homeland Security, including “its
                                                                                     APPENDIX B
                                                 84
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5870     Page
                                    209 of 300

   1   headquarters and offices, including any divisions, subdivisions, components or
   2   sections therein, or any other DHS organizational structures.” See Pls.’ Second
   3   RFPs, Definitions A—C. DHS employs more than 240,000 people, and CBP
   4   employs more than 60,000 people. See “About DHS,” U.S. Dep’t of Homeland
   5   Security (Sept. 27, 2017), https://www.dhs.gov/about-dhs; “About CBP,” U.S.
   6   Customs     and    Border     Protection    (Last    modified    April     18,     2019),
   7   https://www.cbp.gov/about. Collecting and searching through the documents of all
   8   of these individuals, as Plaintiffs request, is plainly not proportional to the needs of
   9   this case and is overly broad and unduly burdensome, especially considering that
  10   any of the statements Plaintiffs refer to, if they exist, are of no consequence to the
  11   issues. See Fed. R. Evid. 401; cf. Alfaro v. City of San Diego, No. 17-cv-46, 2018
  12   WL 4562240, at *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford, M.J.) (noting that an
  13   interrogatory that obligates a party to “canvas every employee who might have had
  14   a conversation with [the plaintiff]” would be “onerous and over burdensome”).
  15         Finally, the phrase “suggesting that such noncitizens are seeking to enter the
  16   United States improperly” is vague and ambiguous. The term “suggestion” is vague
  17   because it is not defined and is susceptible to multiple interpretations and meanings.
  18   The terms “seeking” and “improperly” are vague and ambiguous in that they do not
  19   describe with reasonable particularity the actions Plaintiffs are referring to.
  20         Defendants also object to RFP 64 in accordance with Objections Which Apply
  21   to All RFPs Nos. 1, 3-4, and 6-10 and Objections to Definitions Nos. 1-6, and 10.
  22         Response: In light of the foregoing objections, Defendants will not conduct a
  23   separate search for documents responsive to Request for Production No. 64.
  24   Request for Production No. 65
  25   All documents or communications by you, CBP, or DHS referring to noncitizens
  26   seeking asylum in the United States as exploiting a legal “loophole.”
  27         Objections: Defendants object to Request for Production No. 65 as seeking
  28   information not relevant to any party’s claims or defenses, not proportional to the
                                                                                        APPENDIX B
                                                  85
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5871     Page
                                    210 of 300

   1   needs of the case, and as overly broad and unduly burdensome. First, any documents
   2   and communications by the named Defendants, CBP, or DHS “referring to
   3   noncitizens seeking asylum in the United States as exploiting a legal “loophole’ is
   4   not relevant to any party’s claims or defenses because they do not bear on the issues
   5   in this case: whether the named Plaintiffs were, at the time of their alleged injury,
   6   arriving aliens applying for admission to the United States; whether Defendants have
   7   implemented a formal policy or taken final agency action to “restrict access to the
   8   asylum process at ports of entry along the U.S.-Mexico border”; and whether such a
   9   policy or final agency action, if it exists, and in the form it exists, is unlawful. A
  10   reference to an alien seeking asylum in the United States as “exploiting a legal
  11   `loophole’ does not have “any tendency” to make any of the issues in this case “more
  12   or less probable than [they] would be without” such a reference or suggestion, nor
  13   are such references or suggestions “of consequence in determining” the issues,
  14   because individual DHS or CBP employees’ opinions on such matters do not
  15   represent agency policy. Fed. R. Evid. 401.
  16         Second, a request to produce all documents and communications by the
  17   named Defendants, CBP, or DHS “referring to noncitizens seeking asylum in the
  18   United States as exploiting a legal “loophole’ is not proportional to the needs of the
  19   case and is overly broad and unduly burdensome. Based on Plaintiffs’ definitions, a
  20   complete response would require Defendants to collect and search the documents of
  21   each of the named Defendants; each of the named Defendants’ “agents,
  22   representatives, employees, attorneys and investigators”; all of U.S. Customs and
  23   Border Protection, including “its headquarters and offices, including any divisions,
  24   subdivisions, components or sections therein; CBP offices at ports of entry,
  25   including any divisions, subdivisions or sections therein; or any other CBP
  26   organizational structures, including but not limited to U.S. Border Patrol, U.S. Office
  27   of Field Operations or private contractors hired by CBP”; and all of the U.S.
  28   Department of Homeland Security, including “its headquarters and offices,
                                                                                     APPENDIX B
                                                 86
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19      PageID.5872     Page
                                     211 of 300

   1   including any divisions, subdivisions, components or sections therein, or any other
   2   DHS organizational structures.” See Pls.’ Second RFPs, Definitions A—C. DHS
   3   employs more than 240,000 people, and CBP employs more than 60,000 people. See
   4   “About    DHS,”    U.S.    Dep’t   of   Homeland     Security   (Sept.   27,     2017),
   5   https://www.dhs.gov/about-dhs; “About CBP,” U.S. Customs and Border Protection
   6   (Last modified April 18, 2019), https://www.cbp.gov/about. Collecting and
   7   searching through the documents of all of these individuals, as Plaintiffs request, is
   8   plainly not proportional to the needs of this case and is overly broad and unduly
   9   burdensome, especially considering that any reactions, comments, or criticisms are
  10   of no consequence to the issues. See Fed. R. Evid. 401; cf. Alfaro v. City of San
  11   Diego, No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal. Sept. 21, 2018)
  12   (Crawford, M.J.) (noting that an interrogatory that obligates a party to “canvas every
  13   employee who might have had a conversation with [the plaintiff]” would be
  14   “onerous and over burdensome”).
  15         Defendants also object to RFP 65 in accordance with Objections Which Apply
  16   to All RFPs Nos. 1, 3-4, 6-10; Objections to Definitions Nos. 1-6, and 10; and,
  17   Objections to Instructions Nos. 1, 2, and 4..
  18         Response: In light of the foregoing objections, Defendants will not conduct a
  19   separate search for documents responsive to Request for Production No. 65.
  20   Request for Production No. 67
  21   Documents sufficient to show the crime rates amongst (a) noncitizens who are
  22   seeking asylum in the United States at ports of entry along the U.S.-Mexico border,
  23   (b) noncitizens who are paroled into the United States after seeking asylum in the
  24   United States at ports of entry along the U.S.-Mexico border, and/or (c) noncitizens
  25   who are granted asylum in the United States after presenting themselves at ports of
  26   entry along the U.S.-Mexico border.
  27         Objections: Defendants object to Request for Production No. 67 as vague and
  28   ambiguous and as seeking information not relevant to any party’s claims or defenses.
                                                                                      APPENDIX B
                                                 87
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5873     Page
                                    212 of 300

   1   First, the term “crime rates” is vague and ambiguous and is not defined by Plaintiffs.
   2         Second, any documents related to “crime rates” amongst the three delineated
   3   categories of aliens is not relevant to any party’s claims or defenses because they do
   4   not bear on the issues in this case: whether the named Plaintiffs were, at the time of
   5   their alleged injury, arriving aliens applying for admission to the United States;
   6   whether Defendants have implemented a formal policy or taken final agency action
   7   to “restrict access to the asylum process at ports of entry along the U.S.-Mexico
   8   border”; and whether such a policy or final agency action, if it exists, and in the form
   9   it exists, is unlawful. The crime rates amongst aliens seeking asylum at ports of entry
  10   along the U.S.-Mexico border, aliens who are paroled after seeking asylum at ports
  11   of entry along the U.S.-Mexico border, and aliens who are granted asylum after
  12   applying at a port of entry along the U.S.-Mexico border are facially not relevant to
  13   any of the issues in this case. See Fed. R. Evid. 401.
  14         Defendants also object to RFP 67 in accordance with Objections Which Apply
  15   to All RFPs Nos. 1, 3-4, and 6-10; Objections to Definitions Nos. 5 and 10.
  16         Response: In light of the foregoing objection, Defendants will not search for,
  17   produce, or log documents responsive to Request for Production No. 67.
  18   Request for Production No. 68
  19   All documents or communications related to the September 27, 2018 report by DHS’
  20   Office of Inspector General, including but not limited to the factual basis for the
  21   report’s statement that CBP was “regulating the flow of asylum-seekers at ports of
  22   entry.”
  23         Objections: Defendants object to Request for Production No. 68 as seeking
  24   information not relevant to any party’s claims or defenses, protected from disclosure
  25   by the attorney-client privilege, and protected from disclosure by the deliberative
  26   process privilege. First, Request No. 68 seeks all documents or communications
  27   related to the September 27, 2018 OIG report, not just those related to the factual
  28   basis for the report’s statement that CBP was “regulating the flow of asylum-seekers
                                                                                     APPENDIX B
                                                 88
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5874     Page
                                    213 of 300

   1   at ports of entry.” The remainder of the report is related to OIG’s initial observations
   2   regarding family separation issues and the zero tolerance policy, as its title suggests.
   3   Such observations do not have “any tendency” to make any of the issues in this
   4   action “more or less probable than [they] would be without” the observations, nor
   5   are they “of consequence in determining” the issues in this action. Fed. R. Evid. 401.
   6         Second, Defendants object to Request No. 68 to the extent it seeks documents
   7   protected from disclosure by the attorney-client privilege, which protects
   8   confidential communications between attorneys and clients made for the purpose of
   9   giving legal advice. Upjohn Co. v. United States, 449 U.S. 383, 389 (1981). “The
  10   attorney-client privilege may extend to communications with third parties who have
  11   been engaged to assist the attorney in providing legal advice.” United States v.
  12   Richey, 632 F.3d 559, 566 (9th Cir. 2011) (citing Smith v. McCormick, 914 F.2d
  13   1153, 1159-60 (9th Cir. 1990)). Any and all communications conducted in the course
  14   of the attorney-client relationship that relate to the September 27, 2018 OIG report
  15   and not disclosed (or otherwise maintained in a manner consistent with the purpose
  16   of the privilege), to the extent they exist, are thus protected by the attorney-client
  17   privilege.
  18         Third, Defendants object to Request No. 68 to the extent it seeks information
  19   protected from disclosure by the deliberative process privilege. The deliberative
  20   process privilege protects internal government deliberations in order to promote the
  21   “frank and candid discussion necessary for effective government.” NLRB v. Sears,
  22   Roebuck & Co., 421 U.S. 132, 150-51 (1975). Information is protected from
  23   disclosure by this privilege when it is (1) predecisional and (2) deliberative, thereby
  24   containing opinions, recommendations, or advice. Id. at 149. “Examples of
  25   documents that qualify as predecisional include recommendations, draft documents,
  26   proposals, suggestions, and other subjective documents which reflect the personal
  27   opinions of the writer rather than the policy of the agency.” Ctr. for Medicare
  28   Advocacy, Inc. v. HHS, 577 F. Supp. 2d 221, 235 (D.D.C. 2008) (internal quotations
                                                                                     APPENDIX B
                                                 89
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5875     Page
                                    214 of 300

   1   and citation omitted). A request for all documents and communications relating to
   2   the OIG report would include predecisional, deliberative documents, such as
   3   recommendations, drafts, proposals, and suggestions. In light of these objections,
   4   Defendants accordingly understand and construe Request for Production No. 68 as
   5   seeking only non-privileged documents and communications related to the report’s
   6   statements that CBP “was limiting the flow of asylum-seekers at ports of entry.”
   7         Defendants also object to RFP 68 in accordance with Objections Which Apply
   8   to All RFPs Nos. 1, 4, and 6-10 and Objections to Definitions Nos. 2-, 4-6, and 810.
   9         Response: Subject to and without waiving the foregoing objections,
  10   accordance with Defendants’ objections, and in light of the Request being
  11   disproportional to the needs of the case, Defendants will limit their search to a
  12   limited number of custodial and non-custodial sources in accordance with their
  13   reasonable construction of Request No. 68. Defendants will continue to confer with
  14   Plaintiffs in identifying reasonable custodial and non-custodial sources and
  15   document identification protocols. However, in the event the parties cannot agree,
  16   Defendants will limit their search to the sources identified in Defendants’ portion of
  17   the Supplement to the Parties’ Joint 26(f) Report (ECF No. 243), from which
  18   Defendants will produce all non-privileged documents responsive to this Request,
  19   dating from January 1, 2016, to the present that can be located after a reasonable
  20   search. Documents created on or after July 12, 2017, the date of Plaintiffs’ original
  21   complaint (ECF No. 1), representing either communications with counsel or
  22   communications or documents relating to the actual conduct of litigation post-
  23   complaint—and thus clearly protected by either the attorney-client privilege or the
  24   work-product doctrine—will be treated as non-responsive and therefore will not
  25   appear on any privilege log
  26   Request for Production No. 69
  27   All documents and communications by you, CBP, or DHS using derogatory
  28   language or ethnic slurs to refer to individuals seeking to present themselves at any
                                                                                    APPENDIX B
                                                90
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5876     Page
                                    215 of 300

   1   port of entry on the U.S.-Mexico border or to the countries those individuals are
   2   from, including but not limited to references to such individuals as “criminals,”
   3   “animals,” or seeking to “infest” or “invade” the United States.
   4         Objections: Defendants object to Request for Production No. 69 as vague and
   5   ambiguous, as seeking information that is outside the scope of Rule 34, as not
   6   relevant to any party’s claims or defenses, as not proportional to the needs of the
   7   case, and as overly broad and unduly burdensome. First, the phrase “individuals
   8   seeking to present themselves” is vague and ambiguous and is not defined by
   9   Plaintiffs, as stated in the Objections Applying to all Requests No. 4.
  10         Second, Defendants object to Request for Production No. 69 to the extent it
  11   seeks oral or non-written communications. See Pls.’ Second RFPs, Definition E
  12   (defining “communication(s)” to include “the exchange of information by or through
  13   any mode or medium including, but not limited to, spoken word, written
  14   correspondence, any form of technology, face-to-face meetings or conveying of
  15   information through third person(s) to some other intended recipient”). Federal Rule
  16   of Civil Procedure 34 allows a party to serve requests to inspect or produce
  17   “documents,” “electronically stored information,” or “designated tangible things.”
  18   Fed. R. Civ. P. 34(a)(1). It does not allow a party to obtain non-tangible things.
  19   Defendants accordingly construe the term “communication(s)” to include only those
  20   items permitted by Rule 34 as stated in Objections to Definitions No. 4.
  21         Third, the named Defendants’, DHS’s, and CBP’s use of derogatory language
  22   or ethnic slurs in reference to the delineated persons, to the extent such statements
  23   exist, are not relevant because they do not bear on the issues in this case: whether
  24   the named Plaintiffs were, at the time of their alleged injury, arriving aliens applying
  25   for admission to the United States; whether Defendants have implemented a formal
  26   policy or taken final agency action to “restrict access to the asylum process at ports
  27   of entry along the U.S.-Mexico border”; and whether such a policy or final agency
  28   action, if it exists, and in the form it exists, is unlawful. The use of derogatory
                                                                                     APPENDIX B
                                                 91
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5877      Page
                                     216 of 300

   1   language by individual employees, if such statements exist, would not have “any
   2   tendency” to make any of the issues in this case “more or less probable than [they]
   3   would be without” the “reaction,” nor would such statements be “of consequence in
   4   determining” the issues. Fed. R. Evid. 401. “[T]he actual subjective motivation of
   5   agency decisionmakers is immaterial as a matter of law . . . .” In re Subpoena Duces
   6   Tecum Served on the Office of the Comptroller of the Currency, 156 F.3d 1279, 1279
   7   (D.C. Cir. 1998) (emphasis added) (emphasis added). When a party challenges
   8   agency action as arbitrary and capricious,” as Plaintiffs have here, “the
   9   reasonableness of the agency’s action is judged in accordance with its stated
  10   reasons.” Id. at 1280 (emphasis added) (citing Citizens to Preserve Overton Park,
  11   Inc. v. Volpe, 401 U.S. 402 (1971)). “[I]t is clear that the ordinary APA cause of
  12   action does not directly call into question the agency’s subjective intent.” Id. at 1280;
  13   McCray v. United States, 195 U.S. 27, 56 (1905) (“The decisions of this court from
  14   the beginning lend no support whatever to the assumption that the judiciary may
  15   restrain the exercise of lawful power on the assumption that a wrongful purpose or
  16   motive has caused the power to be exerted.”); id. at 53-55. Whether individual CBP
  17   officers have ever used derogatory language is accordingly not relevant to this case.
  18         Fourth, Request No. 69 is vague and ambiguous because Plaintiffs do not
  19   define the terms “ plan,” “policy,” or “practice,” and it is unclear how those terms
  20   are distinct or differ from one another.
  21         Finally, a request to search for and produce the delineated statements of the
  22   named Defendants, DHS, and CBP is not proportional to the needs of the case and
  23   is overly broad and unduly burdensome. Based on Plaintiffs’ definitions, a complete
  24   response would require Defendants to collect and search the documents of each of
  25   the named Defendants; each of the named Defendants’ “agents, representatives,
  26   employees, attorneys and investigators”; all of U.S. Customs and Border Protection,
  27   including “its headquarters and offices, including any divisions, subdivisions,
  28   components or sections therein; CBP offices at ports of entry, including any
                                                                                      APPENDIX B
                                                  92
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5878     Page
                                    217 of 300

   1   divisions, subdivisions or sections therein; or any other CBP organizational
   2   structures, including but not limited to U.S. Border Patrol, U.S. Office of Field
   3   Operations or private contractors hired by CBP”; and all of the U.S. Department of
   4   Homeland Security, including “its headquarters and offices, including any divisions,
   5   subdivisions, components or sections therein, or any other DHS organizational
   6   structures.” See Pls.’ Second RFPs, Definitions A—C.
   7         Although Plaintiffs limit the definitions of “your,” “CBP,” and “DHS” based
   8   on what is “appropriate in the context” of each request, there is nothing in Request
   9   for Production No. 69 that indicates what the “appropriate context” of a search for
  10   such statements might be. See id. DHS employs more than 240,000 people, and CBP
  11   employs more than 60,000 people. See “About DHS,” U.S. Dep’t of Homeland
  12   Security (Sept. 27, 2017), https://www.dhs.gov/about-dhs; “About CBP,” U.S.
  13   Customs     and    Border     Protection    (Last    modified    April     18,     2019),
  14   https://www.cbp.gov/about. Collecting and searching through the documents of all
  15   of these individuals, as Plaintiffs request, is plainly not proportional to the needs of
  16   this case and is overly broad and unduly burdensome, especially considering that the
  17   statements sought are of no consequence to the issues. See Fed. R. Evid. 401; cf.
  18   Alfaro v. City of San Diego, No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal.
  19   Sept. 21, 2018) (Crawford, M.J.) (noting that an interrogatory that obligates a party
  20   to “canvas every employee who might have had a conversation with [the plaintiff.’”
  21   would be “onerous and over burdensome”).
  22         Defendants also object to RFP 69 in accordance with Objections Which Apply
  23   to All RFPs Nos. 1-2, 4, and 6-10 and Objections to Definitions Nos. 1-6, 9, and 10.
  24         Response: In light of the foregoing objections, Defendants will not conduct
  25   search for, produce, or log documents responsive to Request for Production No. 69.
  26   Request for Production No. 70
  27   All documents and communications related to the origination, planning, and/or
  28   adoption of any formal or informal plan, policy, or practice with respect to limiting,
                                                                                        APPENDIX B
                                                  93
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5879     Page
                                    218 of 300

   1   metering, or capping the number of noncitizens who are allowed to present
   2   themselves at a port of entry on the U.S.-Mexico border to seek asylum.
   3         Objections: Defendants object to Request for Production No. 70 as seeking
   4   information that is outside the scope of Rule 34, not proportional to the needs of the
   5   case, overly broad and unduly burdensome, and protected from disclosure under the
   6   attorney-client privilege, the deliberative process privilege, the attorney work-
   7   product doctrine, and the law enforcement privilege and/or as law enforcement
   8   sensitive. First, Defendants object to Request for Production No. 70 to the extent it
   9   seeks oral or non-written communications. See Pls.’ Second RFPs, Definition E
  10   (defining “communication(s)” to include “the exchange of information by or through
  11   any mode or medium including, but not limited to, spoken word, written
  12   correspondence, any form of technology, face-to-face meetings or conveying of
  13   information through third person(s) to some other intended recipient”). Federal Rule
  14   of Civil Procedure 34 allows a party to serve requests to inspect or produce
  15   “documents,” “electronically stored information,” or “designated tangible things.”
  16   Fed. R. Civ. P. 34(a)(1). It does not allow a party to obtain non-tangible things.
  17   Defendants accordingly construe the term “communication(s)” to include only those
  18   items permitted by Rule 34 as stated in Objections to Definitions No. 4.
  19         Second, a request to search for and produce “all documents” related to the
  20   origination, planning, and/or adoption of any formal or informal plan, policy, or
  21   practice with respect to limiting, metering, or capping the number of noncitizens
  22   who are allowed to present themselves at a port of entry on the U.S.-Mexico border
  23   to seek asylum” is not proportional to the needs of the case and is overly broad and
  24   unduly burdensome. Request No. 70 is not directed to any person and is thus facially
  25   overbroad. Even assuming Request No. 70 is directed to the named Defendants,
  26   DHS, and CBP (as many of Plaintiffs other Requests are), a complete response,
  27   based on Plaintiffs’ definitions, would require Defendants to collect and search the
  28   documents of each of the named Defendants; each of the named Defendants’
                                                                                    APPENDIX B
                                                94
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19      PageID.5880     Page
                                      219 of 300

   1   “agents, representatives, employees, attorneys and investigators”; all of U.S.
   2   Customs and Border Protection, including “its headquarters and offices, including
   3   any divisions, subdivisions, components or sections therein; CBP offices at ports of
   4   entry, including any divisions, subdivisions or sections therein; or any other CBP
   5   organizational structures, including but not limited to U.S. Border Patrol, U.S. Office
   6   of Field Operations or private contractors hired by CBP”; and all of the U.S.
   7   Department of Homeland Security, including “its headquarters and offices,
   8   including any divisions, subdivisions, components or sections therein, or any other
   9   DHS organizational structures.” See Pls.’ Second RFPs, Definitions A—C. DHS
  10   employs more than 240,000 people, and CBP employs more than 60,000 people. See
  11   “About    DHS,”     U.S.    Dep’t   of   Homeland     Security   (Sept.   27,     2017),
  12   https://www.dhs.gov/about-dhs; “About CBP,” U.S. Customs and Border Protection
  13   (Last modified April 18, 2019), https://www.cbp.gov/about. Collecting and
  14   searching through the documents of all of these individuals, as Plaintiffs request, is
  15   plainly not proportional to the needs of this case and is overly broad and unduly
  16   burdensome. Cf. Alfaro v. City of San Diego, No. 17-cv-46, 2018 WL 4562240, at
  17   *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford, M.J.) (noting that an interrogatory that
  18   obligates a party to “canvas every employee who might have had a conversation with
  19   [the plaintiff.’” would be “onerous and over burdensome”).
  20         Third, Defendants object to Request No. 70 to the extent it seeks information
  21   protected from disclosure by the attorney-client privilege. To the extent a request for
  22   “all documents” related to the origination, planning, and/or adoption of any formal
  23   or informal plan, policy, or practice with respect to limiting, metering, or capping
  24   the number of noncitizens who are allowed to present themselves at a port of entry
  25   on the U.S.-Mexico border to seek asylum” implicates, for example, confidential
  26   communications between attorneys and clients which are made for the purpose of
  27   giving legal advice, Upjohn Co. v. United States, 449 U.S. 383, 389 (1981), such
  28   documents are privileged and protected from disclosure.
                                                                                       APPENDIX B
                                                 95
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5881     Page
                                    220 of 300

   1         Fourth, any potentially relevant information related to “the origination,
   2   planning, and/or adoption of any” agency action of the type Plaintiffs refer to is
   3   protected, on its face, by the deliberative process privilege. To the extent a request
   4   for “all documents” “related to the origination, planning, and/or adoption of any
   5   formal or informal plan, policy, or practice with respect to limiting, metering, or
   6   capping the number of noncitizens who are allowed to present themselves at a port
   7   of entry on the U.S.-Mexico border to seek asylum” implicates, for example,
   8   documents that are predecisional and deliberative, thereby containing opinions,
   9   recommendations, or advice, NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 149
  10   (1975), including, but not limited to, “recommendations, draft documents, proposals,
  11   suggestions, and other subjective documents which reflect the personal opinions of
  12   the writer rather than the policy of the agency,” Ctr. for Medicare Advocacy, Inc. v.
  13   HHS, 577 F. Supp. 2d 221, 235 (D.D.C. 2008) (internal quotations and citation
  14   omitted), such documents are privileged and protected from disclosure.
  15         Finally, Defendants object to Request No. 70 to the extent it seeks information
  16   protected from disclosure by the law enforcement privilege and/or as law
  17   enforcement sensitive. To the extent a request for “all documents” “related to the
  18   origination, planning, and/or adoption of any formal or informal plan, policy, or
  19   practice with respect to limiting, metering, or capping the number of noncitizens
  20   who are allowed to present themselves at a port of entry on the U.S.-Mexico border
  21   to seek asylum” implicates, for example, “law enforcement techniques and
  22   procedures,” the “confidentiality of sources,” the “protect[ion of] witnesses and law
  23   enforcement personnel,” “safeguard[ing] the privacy of individuals involved in an
  24   investigation,” and/or the “prevent[ion of] interference with an investigation,” such
  25   information is subject to the law enforcement privilege and protected from
  26   disclosure. Deocampo v. City of Vallejo, No. 06-cv-1283, 2007 WL 1589541, at *5
  27   (E.D. Cal. June 1, 2007).
  28         Defendants also object to RFP 70 in accordance with Objections Which Apply
                                                                                    APPENDIX B
                                                96
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5882     Page
                                    221 of 300

   1   to All RFPs Nos. 1, 3-4, and 6-10; Objections to Definitions Nos. 4-6, 8, and 10; and
   2   Objections to Instructions Nos. 1, 2, and 4.
   3         Response: In accordance with Defendants’ objections, and in light of Request
   4   No. 70 being disproportional to the needs of the case considering that the burden and
   5   expense of the requested discovery outweighs its likely benefit, Defendants will limit
   6   their search to a limited number of custodial and non-custodial sources. Defendants
   7   will continue to confer with Plaintiffs in identifying reasonable custodial and non-
   8   custodial sources and document identification protocols. However, in the event the
   9   parties cannot agree, Defendants will limit their search to the sources identified in
  10   Defendants’ portion of the Supplement to the Parties’ Joint 26(f) Report (ECF No.
  11   243), from which Defendants will produce or log documents responsive to this
  12   Request, dating from January 1, 2016, to the present that can be located after a
  13   reasonable search.
  14   Request for Production No. 71
  15   All documents and communications related to the motivations or intentions of you,
  16   CBP, or DHS with respect to limiting, metering, or capping the number of
  17   noncitizens who are allowed to present themselves at a port of entry on the U.S.-
  18   Mexico border to seek asylum.
  19         Objections: Defendants object to Request for Production No. 71 as seeking
  20   information outside the scope of Rule 34, not relevant to any party’s claims or
  21   defenses, not proportional to the needs of the case, overly broad and unduly
  22   burdensome, vague and ambiguous, and protected from disclosure by the attorney-
  23   client privilege, the deliberative process privilege, and the attorney work-product
  24   doctrine. First, Defendants object to Request for Production No. 71 to the extent it
  25   seeks oral or non-written communications. See Pls.’ Second RFPs, Definition E
  26   (defining “communication(s)” to include “the exchange of information by or through
  27   any mode or medium including, but not limited to, spoken word, written
  28   correspondence, any form of technology, face-to-face meetings or conveying of
                                                                                    APPENDIX B
                                                97
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5883     Page
                                    222 of 300

   1   information through third person(s) to some other intended recipient”). Federal Rule
   2   of Civil Procedure 34 allows a party to serve requests to inspect or produce
   3   “documents,” “electronically stored information,” or “designated tangible things.”
   4   Fed. R. Civ. P. 34(a)(1). It does not allow a party to obtain non-tangible things.
   5   Defendants accordingly construe the term “communication(s)” to include only those
   6   items permitted by Rule 34 as stated in Objections to Definitions No. 4.
   7         Second, the “motivations or intentions” of any individual DHS or CBP
   8   employee, including the named Defendants, are facially irrelevant because they do
   9   not bear on the issues in this case: whether the named Plaintiffs were, at the time of
  10   their alleged injury, arriving aliens applying for admission to the United States;
  11   whether Defendants have implemented a formal policy or taken final agency action
  12   to “restrict access to the asylum process at ports of entry along the U.S.-Mexico
  13   border”; and whether such a policy or final agency action, if it exists, and in the form
  14   it exists, is unlawful. “[I]t is clear that the ordinary APA cause of action does not
  15   directly call into question the agency’s subjective intent.” In re Subpoena Duces
  16   Tecum Served on the Office of the Comptroller of the Currency, 156 F.3d 1279, 1280
  17   (D.C. Cir. 1998). “When a party challenges agency action as arbitrary and
  18   capricious,” as Plaintiffs have here, “the reasonableness of the agency’s action is
  19   judged in accordance with its stated reasons.” Id. (emphasis added) (citing Citizens
  20   to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402 (1971)). Consequently, “the
  21   actual subjective motivation of agency decisionmakers is immaterial as a matter of
  22   law . . . .” Id. at 1279 (emphasis added); McCray v. United States, 195 U.S. 27, 56
  23   (1905) (“The decisions of this court from the beginning lend no support whatever to
  24   the assumption that the judiciary may restrain the exercise of lawful power on the
  25   assumption that a wrongful purpose or motive has caused the power to be exerted.”);
  26   id. at 53-55. The subjective “motivations or intentions” of any individual DHS or
  27   CBP employee are accordingly not relevant to this case.
  28         Third, a request to search for and produce “all documents” related to the
                                                                                     APPENDIX B
                                                 98
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5884      Page
                                    223 of 300

   1   subjective “motivations or intentions” of the named Defendants, DHS, and CBP is
   2   not proportional to the needs of the case and is overly broad and unduly burdensome.
   3   Based on Plaintiffs’ definitions, a complete response would require Defendants to
   4   collect and search the documents of each of the named Defendants; each of the
   5   named     Defendants’    “agents,    representatives,   employees,       attorneys   and
   6   investigators”; all of U.S. Customs and Border Protection, including “its
   7   headquarters and offices, including any divisions, subdivisions, components or
   8   sections therein; CBP offices at ports of entry, including any divisions, subdivisions
   9   or sections therein; or any other CBP organizational structures, including but not
  10   limited to U.S. Border Patrol, U.S. Office of Field Operations or private contractors
  11   hired by CBP”; and all of the U.S. Department of Homeland Security, including “its
  12   headquarters and offices, including any divisions, subdivisions, components or
  13   sections therein, or any other DHS organizational structures.” See Pls.’ Second
  14   RFPs, Definitions A—C. DHS employs more than 240,000 people, and CBP
  15   employs more than 60,000 people. See “About DHS,” U.S. Dep’t of Homeland
  16   Security (Sept. 27, 2017), https://www.dhs.gov/about-dhs; “About CBP,” U.S.
  17   Customs     and    Border     Protection    (Last    modified    April     18,     2019),
  18   https://www.cbp.gov/about. Collecting and searching through the documents of all
  19   of these individuals, as Plaintiffs request, is plainly not proportional to the needs of
  20   this case and is overly broad and unduly burdensome, especially considering that the
  21   documents sought are “immaterial as a matter of law” to the issues in this case. In re
  22   Subpoena Duces Tecum Served on the Office of the Comptroller of the Currency,
  23   156 F.3d 1279, 1279 (D.C. Cir. 1998); Fed. R. Evid. 401; cf. Alfaro v. City of San
  24   Diego, No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal. Sept. 21, 2018)
  25   (Crawford, M.J.) (noting that an interrogatory that obligates a party to “canvas every
  26   employee who might have had a conversation with [the plaintiff]” would be
  27   “onerous and over burdensome”).
  28         Fourth, the terms “motivations” and “intentions” are vague and ambiguous,
                                                                                        APPENDIX B
                                                  99
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5885     Page
                                    224 of 300

   1   as they are susceptible to multiple understandings and do not specifically describe
   2   the information Plaintiffs seek.
   3         Fifth, Defendants object to Request No. 71 to the extent it seeks information
   4   protected from disclosure by the attorney-client privilege. The attorney-client
   5   privilege protects confidential communications between attorneys and clients made
   6   for the purpose of giving legal advice. Upjohn Co. v. United States, 449 U.S. 383,
   7   389 (1981). “The attorney-client privilege may extend to communications with third
   8   parties who have been engaged to assist the attorney in providing legal advice.”
   9   United States v. Richey, 632 F.3d 559, 566 (9th Cir. 2011) (citing Smith v.
  10   McCormick, 914 F.2d 1153, 1159-60 (9th Cir. 1990)). Thus, any and all
  11   communications conducted in the course of the attorney-client relationship related
  12   to the subjective motivations or intentions of individual agency employees that have
  13   not been disclosed (or have otherwise been maintained in a manner consistent with
  14   the purpose of the privilege), to the extent they exist, are protected by the attorney-
  15   client privilege.
  16         Sixth, Defendants object to Request No. 71 to the extent it seeks information
  17   protected from disclosure by the deliberative process privilege. The deliberative
  18   process privilege protects internal government deliberations in order to promote the
  19   “frank and candid discussion necessary for effective government.” NLRB v. Sears,
  20   Roebuck & Co., 421 U.S. 132, 150-51 (1975). The privilege is designed “to allow
  21   agencies freely to explore possibilities, engage in internal debates, or play devil’s
  22   advocate without fear of public scrutiny.” Assembly of California v. United States
  23   Dep ‘t of Commerce, 968 F.2d 916, 920 (9th Cir. 1992). Information is protected
  24   from disclosure by this privilege when it is (1) predecisional and (2) deliberative,
  25   thereby containing opinions, recommendations, or advice. Id. at 149. “Examples of
  26   documents that qualify as predecisional include recommendations, draft documents,
  27   proposals, suggestions, and other subjective documents which reflect the personal
  28   opinions of the writer rather than the policy of the agency.” Ctr. for Medicare
                                                                                     APPENDIX B
                                                100
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5886      Page
                                     225 of 300

   1   Advocacy, Inc. v. HHS, 577 F. Supp. 2d 221, 235 (D.D.C. 2008) (internal quotations
   2   and citation omitted). A request for all documents relating to the subjective
   3   motivations or intentions of agency employees would include predecisional,
   4   deliberative documents, such as recommendations, drafts, proposals, and
   5   suggestions and are thus protected from disclosure by the deliberative process
   6   privilege.
   7         Finally, Defendants object to Request No. 71 to the extent it seeks documents
   8   protected from disclosure by the attorney work-product doctrine. The work-product
   9   doctrine protects “from discovery documents and tangible things prepared by a party
  10   or his representative in anticipation of litigation.” Admiral Ins. Co. v. U.S. Dist. Ct.,
  11   881 F.2d 1486, 1494 (9th Cir. 1989) (citing Fed. R. Civ. P. 26(b)(3)); see Hickman
  12   v. Taylor, 329 U.S. 495 (1947). “The work-product doctrine covers documents or
  13   the compilation of materials prepared by agents of the attorney in preparation for
  14   litigation.” United States v. Richey, 632 F.3d 559, 567 (9th Cir. 2011) (citing United
  15   States v. Nobles, 422 U.S. 225, 238 (1975)). Defendants will assert privileges
  16   specific to each request in their privilege log, on the production itself, or in their
  17   response to a specific RFP. Documents generated after the filing of Plaintiffs’
  18   original complaint (ECF No. 1) in this action representing either communications
  19   with counsel or communications or documents relating to the actual conduct of
  20   litigation post-complaint—and thus clearly protected by either the attorney-client
  21   privilege or the work-product doctrine—will be treated as non-responsive and
  22   therefore will not appear on any privilege log.
  23         Defendants also object to RFP 71 in accordance with Objections Which Apply
  24   to All RFPs Nos. 1-4 and 6-10; Objections to Definitions Nos. 1-6, 8, and 10; and,
  25   Objections to Instructions Nos. 1, 2, and 4.
  26         Accordingly, Defendants understand and construe Request for Production No.
  27   71 as seeking non-privileged documents related to the stated reasons of CBP’s Office
  28   of Field Operations for metering, including at the San Ysidro, Otay Mesa, Hidalgo,
                                                                                      APPENDIX B
                                                 101
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5887     Page
                                    226 of 300

   1   and Laredo ports of entry.
   2         Response: In accordance with Defendants’ objections, and in light of Request
   3   No. 71 being disproportional to the needs of the case, considering that the burden
   4   and expense of the requested discovery outweighs its likely benefit, Defendants will
   5   limit their search to a limited number of custodial and non-custodial sources.
   6   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
   7   and non-custodial sources and document identification protocols, and will produce
   8   or log documents responsive to this understanding and construction of Request for
   9   Production No. 71 after the parties agree on such sources and protocols. However,
  10   in the event the parties cannot agree, Defendants will limit their search to the sources
  11   identified in Defendants’ portion of the Supplement to the Parties’ Joint 26(f) Report
  12   (ECF No. 243), from which Defendants will produce or log documents responsive
  13   to this Request, dating from January 1, 2016, to the present that can be located after
  14   a reasonable search. Documents created on or after July 12, 2017, the date of
  15   Plaintiffs’ original complaint (ECF No. 1), representing either communications with
  16   counsel or communications or documents relating to the actual conduct of litigation
  17   post-complaint—and thus clearly protected by either the attorney-client privilege or
  18   the work-product doctrine—will be treated as nonresponsive and therefore will not
  19   appear on any privilege log.
  20   Request for Production No. 72
  21   All documents and communications related to any relationship, connection, or link
  22   between the inspection and/or processing of noncitizens seeking asylum at ports of
  23   entry along the U.S.-Mexico border and (a) a desire, plan, or effort to deter,
  24   disincentivize, dissuade, or prevent noncitizens from coming to the United States
  25   and/or (b) a desire, plan, or effort to encourage, incentivize, or force noncitizens to
  26   enter or attempt to enter the United States between ports of entry on the U.S.-Mexico
  27   border.
  28         Objections: Defendants object to Request for Production No. 72 as seeking
                                                                                     APPENDIX B
                                                 102
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5888     Page
                                    227 of 300

   1   information outside the scope of Rule 34, not relevant to any party’s claims or
   2   defenses, not proportional to the needs of the case, overly broad and unduly
   3   burdensome, and protected from disclosure by the deliberative process privilege.
   4   First, Defendants object to Request for Production No. 72 to the extent it seeks oral
   5   or non-written communications. See Pls.’ Second RFPs, Definition E (defining
   6   “communication(s)” to include “the exchange of information by or through any
   7   mode or medium including, but not limited to, spoken word, written correspondence,
   8   any form of technology, face-to-face meetings or conveying of information through
   9   third person(s) to some other intended recipient”). Federal Rule of Civil Procedure
  10   34 allows a party to serve requests to inspect or produce “documents,”
  11   “electronically stored information,” or “designated tangible things.” Fed. R. Civ. P.
  12   34(a)(1). It does not allow a party to obtain non-tangible things. Defendants
  13   accordingly construe the term “communication(s)” to include only those items
  14   permitted by Rule 34 as stated in Objections to Definitions No. 4.
  15         Second, Defendants object to Request No. 72 to the extent it seeks information
  16   beyond the agency’s stated reasons for any purported final agency action, as such
  17   information is immaterial and irrelevant to the issues in this case. “[I]t is clear that
  18   the ordinary APA cause of action does not directly call into question the agency’s
  19   subjective intent.” In re Subpoena Duces Tecum Served on the Office of the
  20   Comptroller of the Currency, 156 F.3d 1279, 1280 (D.C. Cir. 1998). “When a party
  21   challenges agency action as arbitrary and capricious,” as Plaintiffs have here, “the
  22   reasonableness of the agency’s action is judged in accordance with its stated
  23   reasons.” Id. (emphasis added) (citing Citizens to Preserve Overton Park, Inc. v.
  24   Volpe, 401 U.S. 402 (1971)). Consequently, “the actual subjective motivation of
  25   agency decisionmakers is immaterial as a matter of law . . . .” Id. at 1279 (emphasis
  26   added); McCray v. United States, 195 U.S. 27, 56 (1905) (“The decisions of this
  27   court from the beginning lend no support whatever to the assumption that the
  28   judiciary may restrain the exercise of lawful power on the assumption that a
                                                                                     APPENDIX B
                                                 103
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19         PageID.5889      Page
                                     228 of 300

   1   wrongful purpose or motive has caused the power to be exerted.”); id. at 53-55. Thus,
   2   to the extent any individual agency decisionmaker’s purported “desire, plan, or effort
   3   to deter, disincentivize, dissuade, or prevent noncitizens from coming to the United
   4   States,” or “desire, plan, or effort to encourage, incentivize, or force noncitizens to
   5   enter or attempt to enter the United States between ports of entry on the U.S.-Mexico
   6   border,” differ from the agency’s stated reasons for any final agency action, such
   7   “desire[s],” if they exist, are immaterial and irrelevant as a matter of law to the issues
   8   in this case.
   9          Third, a request to search for and produce “all documents” relating to a
  10   purported “desire, plan, or effort to deter, disincentivize, dissuade, or prevent
  11   noncitizens from coming to the United States,” or a purported “desire, plan, or effort
  12   to encourage, incentivize, or force noncitizens to enter or attempt to enter the United
  13   States between ports of entry on the U.S.-Mexico border,” is not proportional to the
  14   needs of the case and is overly broad and unduly burdensome. Request No. 72 is not
  15   directed to any person and is thus facially overbroad. Even assuming Request No.
  16   72 is directed to the named Defendants, DHS, and CBP (as many of Plaintiffs other
  17   Requests are), a complete response, based on Plaintiffs’ definitions, would require
  18   Defendants to collect and search the documents of each of the named Defendants;
  19   each of the named Defendants’ “agents, representatives, employees, attorneys and
  20   investigators”; all of U.S. Customs and Border Protection, including “its
  21   headquarters and offices, including any divisions, subdivisions, components or
  22   sections therein; CBP offices at ports of entry, including any divisions, subdivisions
  23   or sections therein; or any other CBP organizational structures, including but not
  24   limited to U.S. Border Patrol, U.S. Office of Field Operations or private contractors
  25   hired by CBP”; and all of the U.S. Department of Homeland Security, including “its
  26   headquarters and offices, including any divisions, subdivisions, components or
  27   sections therein, or any other DHS organizational structures.” See Pls.’ Second
  28   RFPs, Definitions A—C. DHS employs more than 240,000 people, and CBP
                                                                                       APPENDIX B
                                                  104
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5890     Page
                                    229 of 300

   1   employs more than 60,000 people. See “About DHS,” U.S. Dep’t of Homeland
   2   Security (Sept. 27, 2017), https://www.dhs.gov/about-dhs; “About CBP,” U.S.
   3   Customs     and    Border     Protection    (Last    modified    April     18,     2019),
   4   https://www.cbp.gov/about. Collecting and searching through the documents of all
   5   of these individuals, as Plaintiffs request, is plainly not proportional to the needs of
   6   this case and is overly broad and unduly burdensome, Fed. R. Evid. 401; cf. Alfaro
   7   v. City of San Diego, No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal. Sept.
   8   21, 2018) (Crawford, M.J.) (noting that an interrogatory that obligates a party to
   9   “canvas every employee who might have had a conversation with [the plaintiff.’”
  10   would be “onerous and over burdensome”), especially considering that “the
  11   reasonableness of the agency’s action is judged in accordance with its stated
  12   reasons.” In re Subpoena Duces Tecum, 156 F.3d at 1279 (emphasis added).
  13         Fourth, processing may encompass actions such as a secondary inspection for
  14   agricultural or customs purposes. See U.S. DHS PRIVACY IMPACT ASSESSMENT FOR
  15   THE TECS SYSTEM: CBP PRIMARY AND SECONDARY PROCESSING at 5 (December 22,

  16   2010),    https://www.dhs.gov/sites/default/files/publications/privacy-pia-cbp-tecs-
  17   december2010_0.pdf. Activities like these that may be included in the processing of
  18   an alien are outside the scope of this lawsuit.
  19         Finally, Defendants object to Request No. 72 to the extent it seeks information
  20   protected from disclosure by the deliberative process privilege. The deliberative
  21   process privilege protects internal government deliberations in order to promote the
  22   “frank and candid discussion necessary for effective government.” NLRB v. Sears,
  23   Roebuck & Co., 421 U.S. 132, 150-51 (1975). The privilege is designed “to allow
  24   agencies freely to explore possibilities, engage in internal debates, or play devil’s
  25   advocate without fear of public scrutiny.” Assembly of California v. United States
  26   Dep’t of Commerce, 968 F.2d 916, 920 (9th Cir. 1992). Information is protected
  27   from disclosure by this privilege when it is (1) predecisional and (2) deliberative,
  28   thereby containing opinions, recommendations, or advice. Id. at 149. “Examples of
                                                                                        APPENDIX B
                                                  105
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5891      Page
                                     230 of 300

   1   documents that qualify as predecisional include recommendations, draft documents,
   2   proposals, suggestions, and other subjective documents which reflect the personal
   3   opinions of the writer rather than the policy of the agency.” Ctr. for Medicare
   4   Advocacy, Inc. v. HHS, 577 F. Supp. 2d 221, 235 (D.D.C. 2008) (internal quotations
   5   and citation omitted). A request for “all documents” relating to a purported “desire,
   6   plan, or effort to deter, disincentivize, dissuade, or prevent noncitizens from coming
   7   to the United States,” or a purported “desire, plan, or effort to encourage, incentivize,
   8   or force noncitizens to enter or attempt to enter the United States between ports of
   9   entry on the U.S.-Mexico border,” to the extent such “desire[s]” constitute the
  10   agency’s stated reasons, would include predecisional, deliberative documents, such
  11   as recommendations, drafts, proposals, and suggestions, that are protected from
  12   disclosure by the deliberative process privilege. To the extent such “desire[s]” do
  13   not constitute the agency’s stated reasons for its actions, such documents are
  14   “immaterial as a matter of law.” In re Subpoena Duces Tecum, 156 F.3d at 1279;
  15   McCray, 195 U.S. at 56 (“The decisions of this court from the beginning lend no
  16   support whatever to the assumption that the judiciary may restrain the exercise of
  17   lawful power on the assumption that a wrongful purpose or motive has caused the
  18   power to be exerted.”); id. at 53-55.
  19         Defendants also object to RFP 72 in accordance with Objections Which Apply
  20   to All RFPs Nos. 1-4 and 6-10; Objections to Definitions Nos. 4-6, 8, and 10; and,
  21   Objections to Instructions Nos. 1, 2, and 4.
  22         Accordingly, Defendants understand and construe Request for Production No.
  23   72 as seeking non-privileged documents related to the stated reasons of CBP’s Office
  24   of Field Operations for metering, including at the San Ysidro, Otay Mesa, Hidalgo,
  25   and Laredo ports of entry.
  26         Response: In accordance with Defendants’ objections, and in light of Request
  27   No. 72 being disproportional to the needs of the case, considering that the burden
  28   and expense of the requested discovery outweighs its likely benefit, Defendants will
                                                                                      APPENDIX B
                                                 106
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5892     Page
                                    231 of 300

   1   limit their search to a limited number of custodial and non-custodial sources.
   2   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
   3   and non-custodial sources and document identification protocols, and will produce
   4   or log documents responsive to this understanding and construction of Request for
   5   Production No. 72 after the parties agree on such sources and protocols. However,
   6   in the event the parties cannot agree, Defendants will limit their search to the sources
   7   identified in Defendants’ portion of the Supplement to the Parties’ Joint 26(f) Report
   8   (ECF No. 243), from which Defendants will produce or log documents responsive
   9   to this Request, dating from January 1, 2016, to the present that can be located after
  10   a reasonable search. Documents created on or after July 12, 2017, the date of
  11   Plaintiffs’ original complaint (ECF No. 1), representing either communications with
  12   counsel or communications or documents relating to the actual conduct of litigation
  13   post-complaint—and thus clearly protected by either the attorney-client privilege or
  14   the work-product doctrine—will be treated as nonresponsive and therefore will not
  15   appear on any privilege log.
  16   Request for Production No. 73
  17   All documents and communications analyzing or assessing the impact of any formal
  18   or informal policy, practice, or effort to meter or limit the number of noncitizens
  19   who can apply for asylum at a port of entry on the U.S.-Mexico border on the health
  20   or wellbeing of asylum seekers.
  21         Objections: Defendants object to Request for Production No. 73 as seeking
  22   information outside the scope of Rule 34, not relevant to any party’s claims or
  23   defenses, and as vague and ambiguous. First, Defendants object to Request for
  24   Production No. 73 to the extent it seeks oral or non-written communications. See
  25   Pls.’ Second RFPs, Definition E (defining “communication(s)” to include “the
  26   exchange of information by or through any mode or medium including, but not
  27   limited to, spoken word, written correspondence, any form of technology, face-to-
  28   face meetings or conveying of information through third person(s) to some other
                                                                                     APPENDIX B
                                                 107
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19        PageID.5893     Page
                                      232 of 300

   1   intended recipient”). Federal Rule of Civil Procedure 34 allows a party to serve
   2   requests to inspect or produce “documents,” “electronically stored information,” or
   3   “designated tangible things.” Fed. R. Civ. P. 34(a)(1). It does not allow a party to
   4   obtain     non-tangible    things.   Defendants    accordingly    construe    the    term
   5   “communication(s)” to include only those items permitted by Rule 34 as stated in
   6   Objections to Definitions No. 4.
   7            Second, the effect of a “formal or informal policy, practice, or effort to meter
   8   or limit the number” of persons who may apply for asylum at ports of entry on the
   9   U.S.-Mexico border on those persons’ “health or wellbeing” is not relevant to any
  10   party’s claims or defenses because it does not bear on the issues in this case: whether
  11   the named Plaintiffs were, at the time of their alleged injury, arriving aliens applying
  12   for admission to the United States; whether Defendants have implemented a formal
  13   policy or taken final agency action to “restrict access to the asylum process at ports
  14   of entry along the U.S.-Mexico border”; and whether such a policy or final agency
  15   action, if it exists, and in the form it exists, is unlawful. An analysis or assessment
  16   of the effect of such alleged actions on a traveler’s “health or wellbeing” does not
  17   have “any tendency” to make any of the issues in this case “more or less probable
  18   than [they] would be without” the analysis or assessment, nor are such analyses or
  19   assessments, to the extent they exist, “of consequence in determining” the issues.
  20   Fed. R. Evid. 401.
  21            Finally, Defendants object to the term “wellbeing” as vague and ambiguous
  22   because it is not defined by Plaintiffs and is susceptible to multiple meanings.
  23   Defendants accordingly construe Request No. 73 as referring only to the “health” of
  24   the delineated persons.
  25            Defendants also object to RFP 73 in accordance with Objections Which Apply
  26   to All RFPs Nos. 1, 4, and 6-10 and Objections to Definitions Nos. 4-6, and 10.
  27            Response: In light of the foregoing objections, Defendants will not search for,
  28   produce, or log documents responsive to Request for Production No. 73.
                                                                                       APPENDIX B
                                                   108
Case 3:17-cv-02366-BAS-KSC         Document 263 Filed 05/24/19    PageID.5894     Page
                                       233 of 300

   1   Request for Production No. 74
   2   All documents and communications analyzing or assessing the number of
   3   individuals turned back to Mexico and/or that CBP refuses to inspect and process as
   4   a part of any formal or informal policy, practice, or effort to meter or limit the
   5   number of noncitizens who can apply for asylum at a port of entry on the U.S.-
   6   Mexico border, including but not limited to any documents setting goals or targets
   7   for the number of asylum seekers to be turned back from any port of entry or all
   8   ports of entry generally.
   9         Objections: Defendants object to Plaintiffs’ characterization that CBP
  10   “turn[s] back” individuals to Mexico and “refuses to inspect and/or process”
  11   individuals at ports of entry along the U.S.-Mexico border. To the extent Request
  12   No. 74 can be understood and construed as seeking statistics, data, or other numerical
  13   figures relating to the number of persons without travel documents in Mexico
  14   waiting to cross the border into the United States at a port of entry, Defendants
  15   expressly incorporate herein their objections to Request for Production No. 77.
  16         Defendants also object to RFP 74 in accordance with Objections Which Apply
  17   to All RFPs Nos. 1, 4, 6-7, and 10; Objections to Definitions Nos. 2, 4-6, and 9-10;
  18   and Objections to Instructions Nos. 1, 2, and 4.
  19         Response: Subject to and without waiving Defendants’ objections,
  20   Defendants respond as follows: Defendants do not “refuse[] to inspect and/or
  21   process” individuals at ports of entry along the U.S.-Mexico border. Therefore,
  22   Defendants will not conduct a separate search for such documents. However, should
  23   Defendants locate any responsive documents related to the four ports of entry at
  24   issue if collected as a result of their agreed-upon search , Defendants will produce
  25   or log such documents.
  26   Request for Production No. 75
  27   All documents relating to any statistics, data or other numerical figures, whether
  28   estimates or actual values, representing, analyzing or assessing CBP’s or DHS’s
                                                                                    APPENDIX B
                                                109
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5895     Page
                                    234 of 300

   1   capacity to (a) inspect and process asylum seekers at any port of entry or at ports of
   2   entry generally along the U.S.-Mexico border, (b) conduct credible fear interviews
   3   at any port of entry or at ports of entry generally along the U.S.-Mexico border, and
   4   (c) house or otherwise care for noncitizens awaiting credible or reasonable fear
   5   interviews, whether at a port of entry or elsewhere.
   6         Objections: Defendants object to Request for Production No. 75 as seeking
   7   documents that can be obtained “from some other source that is more convenient,
   8   less burdensome, [and] less expensive” for the parties. Fed. R. Civ. P. 26(b)(2)(C)(i),
   9   as not proportionate to the needs of the case, as overly broad and unduly
  10   burdensome, as seeking information protected from disclosure by the deliberative
  11   process privilege and the law enforcement privilege and/or as law enforcement
  12   sensitive, and an incorrect statement of law, to the extent it implies that CBP
  13   conducts credible fear interviews. First, Defendants object to Request No. 75 to the
  14   extent it requests publicly available statistics and numerical figures, which can be
  15   found at: https://www.cbp.govinewsroom/stats.
  16         Second, a request to search for and produce “all documents” related to the
  17   delineated topics is not proportional to the needs of the case and is overly broad and
  18   unduly burdensome. Request No. 75 is not directed to any person and is thus facially
  19   overbroad. Even assuming Request No. 75 is directed to the named Defendants,
  20   DHS, and CBP (as many of Plaintiffs other Requests are), a complete response,
  21   based on Plaintiffs’ definitions, would require Defendants to collect and search the
  22   documents of each of the named Defendants; each of the named Defendants’
  23   “agents, representatives, employees, attorneys and investigators”; all of U.S.
  24   Customs and Border Protection, including “its headquarters and offices, including
  25   any divisions, subdivisions, components or sections therein; CBP offices at ports of
  26   entry, including any divisions, subdivisions or sections therein; or any other CBP
  27   organizational structures, including but not limited to U.S. Border Patrol, U.S. Office
  28   of Field Operations or private contractors hired by CBP”; and all of the U.S.
                                                                                     APPENDIX B
                                                110
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19      PageID.5896       Page
                                     235 of 300

   1   Department of Homeland Security, including “its headquarters and offices,
   2   including any divisions, subdivisions, components or sections therein, or any other
   3   DHS organizational structures.” See Pls.’ Second RFPs, Definitions A—C. DHS
   4   employs more than 240,000 people, and CBP employs more than 60,000 people. See
   5   “About    DHS,”    U.S.    Dep’t   of   Homeland     Security   (Sept.   27,     2017),
   6   https://www.dhs.gov/about-dhs; “About CBP,” U.S. Customs and Border Protection
   7   (Last modified April 18, 2019), https://www.cbp.gov/about. Collecting and
   8   searching through the documents of all of these individuals, as Plaintiffs request, is
   9   plainly not proportional to the needs of this case and is overly broad and unduly
  10   burdensome. Cf. Alfaro v. City of San Diego, No. 17-cv-46, 2018 WL 4562240, at
  11   *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford, M.J.) (noting that an interrogatory that
  12   obligates a party to “canvas every employee who might have had a conversation with
  13   [the plaintiff.’” would be “onerous and over burdensome”). Further, Request No. 75
  14   is not proportionate to the needs of the case and is overly broad and unduly
  15   burdensome because it requests all documents relating to statistics, data, or
  16   numerical figures relating to all ports of entry on the U.S.-Mexico border. Consistent
  17   with the Objections Applying to All Request No. 6, Defendants construe this
  18   Request as seeking documents relating to the four ports of entry at issue.
  19         Third, Defendants object to Request No. 75 to the extent it seeks information
  20   protected from disclosure by the deliberative process privilege. To the extent any
  21   analyses or assessments of the four ports’ capacities are predecisional and
  22   deliberative, thereby containing opinions, recommendations, or advice, NLRB v.
  23   Sears, Roebuck & Co., 421 U.S. 132, 149 (1975), including, but not limited to,
  24   “recommendations, draft documents, proposals, suggestions, and other subjective
  25   documents which reflect the personal opinions of the writer rather than the policy of
  26   the agency,” Ctr. for Medicare Advocacy, Inc. v. HHS, 577 F. Supp. 2d 221, 235
  27   (D.D.C. 2008) (internal quotations and citation omitted), such documents are
  28   privileged and protected from disclosure.
                                                                                      APPENDIX B
                                                111
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19      PageID.5897    Page
                                     236 of 300

   1         Fourth, Defendants object to Request No. 75 to the extent it seeks information
   2   protected from disclosure by the law enforcement privilege and/or as law
   3   enforcement sensitive. To the extent a request for “all documents” relating to the
   4   named Defendants’ “knowledge, assent, direction, acquiescence, authorization, or
   5   consent to any formal or informal policy, practice, or effort to meter or limit the
   6   number of noncitizens that can apply for asylum at a port of entry on the U.S.-
   7   Mexico border” implicates, for example, “law enforcement techniques and
   8   procedures,” the “confidentiality of sources,” the “protect[ion of] witnesses and law
   9   enforcement personnel,” “safeguard[ing] the privacy of individuals involved in an
  10   investigation,” and/or the “prevent[ion of] interference with an investigation,” such
  11   information is subject to the law enforcement privilege and protected from
  12   disclosure. Deocampo v. City of Vallejo, No. 06-cv-1283, 2007 WL 1589541, at *5
  13   (E.D. Cal. June 1, 2007).
  14         Finally, Defendants object to Request No. 75 to the extent it implies that CBP
  15   conducts credible or reasonable fear interviews at ports of entry, as only asylum
  16   officers conduct such interviews, and such interviews are not done at POEs.
  17         Defendants also object to RFP 75 in accordance with Objections Which Apply
  18   to All RFPs Nos. 1, 3-4, 6-7, and 10; Objections to Definitions Nos. 2-3, 5-6, 8, and
  19   10; and, Objections to Instructions Nos. 1, 2, and 4.
  20         Accordingly, Defendants understand and construe Request for Production No.
  21   75 as seeking non-attorney-client privileged documents relating to statistics or data
  22   representing, analyzing, or assessing the Office of Field Operations’ capacity to
  23   inspect and process the traveling public at the San Ysidro, Otay Mesa, Laredo, and
  24   Hidalgo ports of entry.
  25         Response: In accordance with their objections, Defendants will limit their
  26   search to a limited number of custodial and non-custodial sources. Defendants will
  27   continue to confer with Plaintiffs in identifying reasonable custodial and non-
  28   custodial sources and document identification protocols, and will produce or log
                                                                                   APPENDIX B
                                                112
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5898      Page
                                     237 of 300

   1   documents responsive to this understanding and construction of Request for
   2   Production No. 75 after the parties agree on such sources and protocols. However,
   3   in the event the parties cannot agree, Defendants will limit their search to the sources
   4   identified in Defendants’ portion of the Supplement to the Parties’ Joint 26(f) Report
   5   (ECF No. 243), from which Defendants will produce or log documents responsive
   6   to this Request, dating from January 1, 2016, to the present, that can be located after
   7   a reasonable search. Documents created on or after July 12, 2017, the date of
   8   Plaintiffs’ original complaint (ECF No. 1), representing either communications with
   9   counsel or material generated at the direction of counsel—and thus clearly protected
  10   by either the attorney-client privilege or the work-product doctrine—will be treated
  11   as non-responsive and therefore will not appear on any privilege log.
  12   Request for Production No. 76
  13   All documents relating to any statistics, data or other numerical figures, whether
  14   estimates or actual values, representing CBP’s or DHS’s rate of processing of
  15   asylum seekers at ports of entry along the U.S.-Mexico border.
  16         Objections: Defendants object to Request for Production No. 76 as seeking
  17   documents that can be obtained “from some other source that is more convenient,
  18   less burdensome, [and] less expensive” for the parties, Fed. R. Civ. P. 26(b)(2)(C)(i);
  19   as not proportionate to the needs of the case; and as overly broad and unduly
  20   burdensome. First, Defendants object to Request No. 76 to the extent it requests
  21   publicly available statistics and numerical figures, which can be found at:
  22   https://www.cbp.gov/newsroom/stats. Second, Request No. 76 is not proportionate
  23   to the needs of the case and is overly broad and unduly burdensome because it
  24   requests all documents relating to statistics, data, or numerical figures relating to all
  25   ports of entry on the U.S.-Mexico border. Consistent with the Objections Which
  26   Apply to All RFPs No. 6, Defendants construe this Request as seeking documents
  27   relating to the four ports of entry at issue.
  28         Defendants object to Request No. 76 as vague and confusing, and to the extent
                                                                                      APPENDIX B
                                                  113
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19       PageID.5899     Page
                                     238 of 300

   1   it reflects an incorrect statement of the law.
   2         Defendants also object to RFP 76 in accordance with Objections Which Apply
   3   to All RFPs Nos. 1, 4, 6-7 and 10; Objections to Definitions Nos. 2-3, 5-6, and 10;
   4   and Objections to Instructions Nos. 1 and 4.
   5         Response: In accordance with their objections, Defendants will produce
   6   documents responsive to Request for Production No. 76 related to the San Ysidro,
   7   Otay Mesa, Hidalgo, and Laredo ports of entry. Defendants will continue to confer
   8   with Plaintiffs in identifying reasonable custodial and non-custodial sources and
   9   document identification protocols, and will produce or log documents responsive to
  10   this Request after the parties agree on such sources and protocols. However, in the
  11   event the parties cannot agree, Defendants will limit their search to the sources
  12   identified in Defendants’ portion of the Supplement to the Parties’ Joint 26(f) Report
  13   (ECF No. 243), from which Defendants will produce or log documents responsive
  14   to this Request, dating from January 1, 2016, to the present, that can be located after
  15   a reasonable search. Documents created on or after July 12, 2017, the date of
  16   Plaintiffs’ original complaint (ECF No. 1), representing either communications with
  17   counsel or communications or documents relating to the actual conduct of litigation
  18   post-complaint—and thus clearly protected by either the attorney-client privilege or
  19   the work-product doctrine—will be treated as non-responsive and therefore will not
  20   appear on any privilege log.
  21   Request for Production No. 77
  22   All documents relating to any statistics, data or other numerical figures, whether
  23   estimates or actual values, representing, assessing or analyzing the number of
  24   noncitizens waiting to present themselves to seek asylum at any port of entry along
  25   the U.S.-Mexico border.
  26         Objections: Defendants object to Request for Production No. 77 as seeking
  27   documents that can be obtained “from some other source that is more convenient,
  28   less burdensome, [and] less expensive” for the parties, Fed. R. Civ. P. 26(b)(2)(C)(i);
                                                                                     APPENDIX B
                                                 114
Case 3:17-cv-02366-BAS-KSC          Document 263 Filed 05/24/19     PageID.5900      Page
                                        239 of 300

   1   as seeking information that is not relevant to any party’s claims or defenses; as not
   2   proportionate to the needs of the case, overly broad and unduly burdensome, vague
   3   and ambiguous; and seeking information protected from disclosure by the
   4   deliberative process privilege and the law enforcement privilege and/or as law
   5   enforcement sensitive. First, Defendants object to Request No. 77 to the extent it
   6   requests publicly available statistics and numerical figures, which can be found at:
   7   https://www.cbp.gov/newsroom/stats.
   8         Second, the number of people without travel documents in Mexico waiting to
   9   cross the border into the United States at a port of entry is not relevant to any party’s
  10   claims or defenses.
  11         Third, a request to search for and produce “all documents” related to the
  12   delineated topics is not proportional to the needs of the case and is overly broad and
  13   unduly burdensome. Request No. 77 is not directed to any person and is thus facially
  14   overbroad. Even assuming Request No. 77 is directed to the named Defendants,
  15   DHS, and CBP (as many of Plaintiffs other Requests are), a complete response,
  16   based on Plaintiffs’ definitions, would require Defendants to collect and search the
  17   documents of each of the named Defendants; each of the named Defendants’
  18   “agents, representatives, employees, attorneys and investigators”; all of U.S.
  19   Customs and Border Protection, including “its headquarters and offices, including
  20   any divisions, subdivisions, components or sections therein; CBP offices at ports of
  21   entry, including any divisions, subdivisions or sections therein; or any other CBP
  22   organizational structures, including but not limited to U.S. Border Patrol, U.S. Office
  23   of Field Operations or private contractors hired by CBP”; and all of the U.S.
  24   Department of Homeland Security, including “its headquarters and offices,
  25   including any divisions, subdivisions, components or sections therein, or any other
  26   DHS organizational structures.” See Pls.’ Second RFPs, Definitions A—C. DHS
  27   employs more than 240,000 people, and CBP employs more than 60,000 people. See
  28   “About    DHS,”       U.S.    Dep’t   of   Homeland    Security    (Sept.   27,     2017),
                                                                                         APPENDIX B
                                                  115
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5901     Page
                                    240 of 300

   1   https://www.dhs.gov/about-dhs; “About CBP,” U.S. Customs and Border Protection
   2   (Last modified April 18, 2019), https://www.cbp.gov/about. Collecting and
   3   searching through the documents of all of these individuals, as Plaintiffs request, is
   4   plainly not proportional to the needs of this case and is overly broad and unduly
   5   burdensome. Cf. Alfaro v. City of San Diego, No. 17-cv-46, 2018 WL 4562240, at
   6   *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford, M.J.) (noting that an interrogatory that
   7   obligates a party to “canvas every employee who might have had a conversation with
   8   [the plaintiff.’” would be “onerous and over burdensome”). Further, Request No. 77
   9   is not proportionate to the needs of the case and is overly broad and unduly
  10   burdensome because it requests all documents relating to statistics, data, or
  11   numerical figures relating to all ports of entry on the U.S.-Mexico border. Consistent
  12   with Objections With Apply to All RFPs No. 6, Defendants construe this Request as
  13   seeking documents relating to the four ports of entry at issue.
  14         Fourth, Defendants object to Request No. 77 to the extent it seeks information
  15   protected from disclosure by the deliberative process privilege. To the extent any
  16   analyses or assessments of the number of persons without travel documents waiting
  17   in Mexico are predecisional and deliberative, thereby containing opinions,
  18   recommendations, or advice, NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 149
  19   (1975), including, but not limited to, “recommendations, draft documents, proposals,
  20   suggestions, and other subjective documents which reflect the personal opinions of
  21   the writer rather than the policy of the agency,” Ctr. for Medicare Advocacy, Inc. v.
  22   HHS, 577 F. Supp. 2d 221, 235 (D.D.C. 2008) (internal quotations and citation
  23   omitted), such documents are privileged and protected from disclosure.
  24         Finally, Defendants object to Request No. 77 to the extent it seeks information
  25   protected from disclosure by the law enforcement privilege and/or as law
  26   enforcement sensitive. To the extent a request for “all documents” relating to “any
  27   statistics, data or other numerical figures, whether estimates or actual values,
  28   representing, assessing or analyzing the number of noncitizens waiting to present
                                                                                    APPENDIX B
                                                116
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5902     Page
                                    241 of 300

   1   themselves to seek asylum at any port of entry along the U.S.-Mexico border”
   2   implicates, for example, “law enforcement techniques and procedures,” the
   3   “confidentiality of sources,” the “protect[ion of] witnesses and law enforcement
   4   personnel,” “safeguard[ing] the privacy of individuals involved in an investigation,”
   5   and/or the “prevent[ion of] interference with an investigation,” such information is
   6   subject to the law enforcement privilege and protected from disclosure. Deocampo
   7   v. City of Vallejo, No. 06-cv-1283, 2007 WL 1589541, at *5 (E.D. Cal. June 1, 2007).
   8         Defendants also object to RFP 77 in accordance with Objections Which Apply
   9   to All RFPs Nos. 1, 3-4, 6-7, and 10; Objections to Definitions Nos. 5-6, 8, and 10;
  10   and Objections to Instructions Nos. 1, 2, and 4.
  11         Response: In accordance with Defendants’ objections, and in light of Request
  12   No. 77 being disproportional to the needs of the case considering that the burden and
  13   expense of the requested discovery outweighs its likely benefit, Defendants
  14   understand and construe Request No. 77 as limited to the San Ysidro, Otay Mesa,
  15   Hidalgo, and Laredo ports of entry. Defendants will limit their search to a limited
  16   number of custodial and non-custodial sources. Defendants will continue to confer
  17   with Plaintiffs in identifying reasonable custodial and non-custodial sources and
  18   document identification protocols. However, in the event the parties cannot agree,
  19   Defendants will limit their search to the sources identified in Defendants’ portion of
  20   the Supplement to the Parties’ Joint 26(f) Report (ECF No. 243), from which
  21   Defendants will produce all non-privileged documents responsive to this Request,
  22   dating from January 1, 2016, to the present that can be located after a reasonable
  23   search. Documents created on or after July 12, 2017, the date of Plaintiffs’ original
  24   complaint (ECF No. 1), representing either communications with counsel or
  25   communications or documents relating to the actual conduct of litigation post-
  26   complaint—and thus clearly protected by either the attorney-client privilege or the
  27   work-product doctrine—will be treated as non-responsive and therefore will not
  28   appear on any privilege log.
                                                                                    APPENDIX B
                                                117
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5903     Page
                                    242 of 300

   1   Request for Production No. 78
   2   All documents relating to any statistics, data or other numerical figures, whether
   3   estimates or actual values, representing, assessing or analyzing the number of
   4   noncitizens whom CBP refuses to inspect and/or process at ports of entry along the
   5   U.S.-Mexico border.
   6         Objections: Defendants object to Plaintiffs’ characterization that CBP
   7   “refuses to inspect and/or process” individuals at ports of entry along the U.S.-
   8   Mexico border. CBP inspects such persons when the port has capacity to process
   9   them. To the extent Request No. 78 can be understood and construed as seeking
  10   statistics, data, or other numerical figures relating to the number of persons without
  11   travel documents in Mexico waiting to cross the border into the United States at a
  12   port of entry to apply for admission, Defendants object to this request as duplicative
  13   Request No. 77.
  14         Defendants also object to RFP 78 in accordance with Objections Which Apply
  15   to All RFPs Nos. 1, 3, and 6-7, and 10; Objections to Definitions Nos. 2, 5-6, 8, and
  16   10; and Objections to Instructions Nos. 1, 2, and 4.
  17         Response: In accordance with their objections, Defendants respond as
  18   follows: Defendants do not “refuse[] to inspect and/or process” individuals at ports
  19   of entry along the U.S.-Mexico border. Therefore, Defendants will not conduct a
  20   separate search for such documents.
  21   Request for Production No. 79
  22   All documents relating to any statistics, data or other numerical figures, whether
  23   estimates or actual values, representing, assessing or analyzing the number of
  24   individuals told or instructed by CBP to wait in Mexico before presenting themselves
  25   to seek asylum.
  26         Objections: Defendants object to Request for Production No. 79 as seeking
  27   information that is not relevant to any party’s claims or defenses, as not
  28   proportionate to the needs of the case, overly broad and unduly burdensome, and as
                                                                                    APPENDIX B
                                                118
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19      PageID.5904     Page
                                      243 of 300

   1   seeking information protected from disclosure by the deliberative process privilege
   2   and the law enforcement privilege and/or as law enforcement sensitive. .
   3         First, a request to search for and produce “all documents” related to the
   4   delineated topics is not proportional to the needs of the case and is overly broad and
   5   unduly burdensome. Request No. 79 is not directed to any person and is thus facially
   6   overbroad. Even assuming Request No. 79 is directed to the named Defendants,
   7   DHS, and CBP (as many of Plaintiffs other Requests are), a complete response,
   8   based on Plaintiffs’ definitions, would require Defendants to collect and search the
   9   documents of each of the named Defendants; each of the named Defendants’
  10   “agents, representatives, employees, attorneys and investigators”; all of U.S.
  11   Customs and Border Protection, including “its headquarters and offices, including
  12   any divisions, subdivisions, components or sections therein; CBP offices at ports of
  13   entry, including any divisions, subdivisions or sections therein; or any other CBP
  14   organizational structures, including but not limited to U.S. Border Patrol, U.S. Office
  15   of Field Operations or private contractors hired by CBP”; and all of the U.S.
  16   Department of Homeland Security, including “its headquarters and offices,
  17   including any divisions, subdivisions, components or sections therein, or any other
  18   DHS organizational structures.” See Pls.’ Second RFPs, Definitions A—C. DHS
  19   employs more than 240,000 people, and CBP employs more than 60,000 people. See
  20   “About    DHS,”     U.S.    Dep’t   of   Homeland     Security   (Sept.   27,     2017),
  21   https://www.dhs.gov/about-dhs; “About CBP,” U.S. Customs and Border Protection
  22   (Last modified April 18, 2019), https://www.cbp.gov/about. Collecting and
  23   searching through the documents of all of these individuals, as Plaintiffs request, is
  24   plainly not proportional to the needs of this case and is overly broad and unduly
  25   burdensome. Cf. Alfaro v. City of San Diego, No. 17-cv-46, 2018 WL 4562240, at
  26   *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford, M.J.) (noting that an interrogatory that
  27   obligates a party to “canvas every employee who might have had a conversation with
  28   [the plaintiff.’” would be “onerous and over burdensome”). Further, Request No. 79
                                                                                       APPENDIX B
                                                119
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5905       Page
                                    244 of 300

   1   is not proportionate to the needs of the case and is overly broad and unduly
   2   burdensome because it requests all documents relating to statistics, data, or
   3   numerical figures relating to all ports of entry on the U.S.-Mexico border. Consistent
   4   with Objections Which Apply to All RFPs Nos. 1 and 6, Defendants construe this
   5   Request as seeking documents relating to the four ports of entry at issue.
   6         Second, Defendants object to Request No. 79 to the extent it seeks information
   7   protected from disclosure by the deliberative process privilege. To the extent any
   8   analyses or assessments of the number of people without travel documents waiting
   9   in Mexico are predecisional and deliberative, thereby containing opinions,
  10   recommendations, or advice, NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 149
  11   (1975), including, but not limited to, “recommendations, draft documents, proposals,
  12   suggestions, and other subjective documents which reflect the personal opinions of
  13   the writer rather than the policy of the agency,” Ctr. for Medicare Advocacy, Inc. v.
  14   HHS, 577 F. Supp. 2d 221, 235 (D.D.C. 2008) (internal quotations and citation
  15   omitted), such documents are privileged and protected from disclosure.
  16         Third, Defendants object to Request No. 79 to the extent it seeks information
  17   protected from disclosure by the law enforcement privilege and/or as law
  18   enforcement sensitive. To the extent a request for “all documents” relating to
  19   analyses or assessments of the number of persons instructed to wait in Mexico
  20   implicates, for example, “law enforcement techniques and procedures,” the
  21   “confidentiality of sources,” the “protect[ion of] witnesses and law enforcement
  22   personnel,” “safeguard[ing] the privacy of individuals involved in an investigation,”
  23   and/or the “prevent[ion of] interference with an investigation,” such information is
  24   subject to the law enforcement privilege and protected from disclosure. Deocampo
  25   v. City of Vallejo, No. 06-cv-1283, 2007 WL 1589541, at *5 (E.D. Cal. June 1, 2007).
  26         Defendants also object to RFP 79 in accordance with Objections Which Apply
  27   to All RFPs Nos. 1, 4, 6-7, and 10; Objections to Definitions Nos. 2, 5-6, 8, and 10;
  28   and Objections to Instructions Nos. 1, 2, and 4.
                                                                                     APPENDIX B
                                                120
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5906      Page
                                     245 of 300

   1         Response: In accordance with their objections, Defendants respond as
   2   follows: Defendants continue to investigate, but they are not currently aware of any
   3   statistics, data, or other numerical figures maintained by Defendants, of the number
   4   of people without travel documents who are instructed or told to wait in Mexico at
   5   any given time. Therefore, Defendants will not conduct a separate search for such
   6   documents. However, should Defendants locate any responsive documents related
   7   to the four ports of entry at issue collected as a result of their agreed-upon search for
   8   documents, Defendants will produce or log such documents.
   9   Request for Production No. 80
  10   All documents relating to any statistics, data or other numerical figures, whether
  11   estimates or actual values, representing, assessing or analyzing the number of
  12   individuals apprehended or intercepted by Mexican authorities as they were
  13   approaching a port of entry to seek asylum.
  14         Objections: Defendants object to Request for Production No. 80 as seeking
  15   information that is not relevant to any party’s claims or defenses, as not
  16   proportionate to the needs of the case, as overly broad and unduly burdensome, as
  17   vague and ambiguous, and as seeking information protected from disclosure by the
  18   deliberative process privilege and the law enforcement privilege and/or as law
  19   enforcement sensitive. First, any documents relating to “the number of individuals
  20   apprehended or intercepted by Mexican authorities as they were approaching a port
  21   of entry to seek asylum” do not bear on the issues in this case: whether the named
  22   Plaintiffs were, at the time of their alleged injury, arriving aliens applying for
  23   admission to the United States; whether Defendants have implemented a formal
  24   policy or taken final agency action to “restrict access to the asylum process at ports
  25   of entry along the U.S.-Mexico border”; and whether such a policy or final agency
  26   action, if it exists, and in the form it exists, is unlawful. Whether Mexican
  27   immigration officials “apprehend or intercept” persons in Mexican territory, subject
  28   to Mexico’s laws, does not bear on those issues. See Fed. R. Evid. 401.
                                                                                      APPENDIX B
                                                 121
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19      PageID.5907     Page
                                      246 of 300

   1         Second, a request to search for and produce “all documents” related to the
   2   delineated topics is not proportional to the needs of the case and is overly broad and
   3   unduly burdensome. Request No. 80 is not directed to any person and is thus facially
   4   overbroad. Even assuming Request No. 80 is directed to the named Defendants,
   5   DHS, and CBP (as many of Plaintiffs other Requests are), a complete response,
   6   based on Plaintiffs’ definitions, would require Defendants to collect and search the
   7   documents of each of the named Defendants; each of the named Defendants’
   8   “agents, representatives, employees, attorneys and investigators”; all of U.S.
   9   Customs and Border Protection, including “its headquarters and offices, including
  10   any divisions, subdivisions, components or sections therein; CBP offices at ports of
  11   entry, including any divisions, subdivisions or sections therein; or any other CBP
  12   organizational structures, including but not limited to U.S. Border Patrol, U.S. Office
  13   of Field Operations or private contractors hired by CBP”; and all of the U.S.
  14   Department of Homeland Security, including “its headquarters and offices,
  15   including any divisions, subdivisions, components or sections therein, or any other
  16   DHS organizational structures.” See Pls.’ Second RFPs, Definitions A—C. DHS
  17   employs more than 240,000 people, and CBP employs more than 60,000 people. See
  18   “About    DHS,”     U.S.    Dep’t   of   Homeland     Security   (Sept.   27,     2017),
  19   https://www.dhs.gov/about-dhs; “About CBP,” U.S. Customs and Border Protection
  20   (Last modified April 18, 2019), https://www.cbp.gov/about. Collecting and
  21   searching through the documents of all of these individuals, as Plaintiffs request, is
  22   plainly not proportional to the needs of this case and is overly broad and unduly
  23   burdensome. Cf. Alfaro v. City of San Diego, No. 17-cv-46, 2018 WL 4562240, at
  24   *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford, M.J.) (noting that an interrogatory that
  25   obligates a party to “canvas every employee who might have had a conversation with
  26   [the plaintiff.’” would be “onerous and over burdensome”). Further, Request No. 80
  27   is not proportionate to the needs of the case and is overly broad and unduly
  28   burdensome because it requests all documents relating to statistics, data, or
                                                                                       APPENDIX B
                                                122
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5908       Page
                                    247 of 300

   1   numerical figures relating to all ports of entry on the U.S.-Mexico border. Consistent
   2   with Objections Which Apply to All RFPs Nos. 1 and 6, Defendants construe this
   3   Request as seeking documents relating to the four ports of entry at issue.
   4         Third, Defendants object to the phrases “as they were approaching a port of
   5   entry to seek asylum” as vague and ambiguous, as Defendants have no way of
   6   knowing whether a particular person approaching a port of entry intends to seek
   7   asylum or not until he or she crosses the border.
   8         Fourth, Defendants object to Request No. 80 to the extent it seeks information
   9   protected from disclosure by the deliberative process privilege. To the extent any
  10   analyses or assessments of the number of individuals apprehended or intercepted by
  11   Mexican authorities as they were approaching a port of entry to seek asylum are
  12   predecisional and deliberative, thereby containing opinions, recommendations, or
  13   advice, NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 149 (1975), including, but not
  14   limited to, “recommendations, draft documents, proposals, suggestions, and other
  15   subjective documents which reflect the personal opinions of the writer rather than
  16   the policy of the agency,” Ctr. for Medicare Advocacy, Inc. v. HHS, 577 F. Supp. 2d
  17   221, 235 (D.D.C. 2008) (internal quotations and citation omitted), such documents
  18   are privileged and protected from disclosure.
  19         Fifth, Defendants object to Request No. 80 to the extent it seeks information
  20   protected from disclosure by the law enforcement privilege and/or as law
  21   enforcement sensitive. To the extent a request for “all documents” relating to
  22   analyses or assessments of the number of individuals apprehended or intercepted by
  23   Mexican authorities as they were approaching a port of entry to seek asylum
  24   implicates, for example, “law enforcement techniques and procedures,” the
  25   “confidentiality of sources,” the “protect[ion of] witnesses and law enforcement
  26   personnel,” “safeguard[ing] the privacy of individuals involved in an investigation,”
  27   and/or the “prevent[ion of] interference with an investigation,” such information is
  28   subject to the law enforcement privilege and protected from disclosure. Deocampo
                                                                                     APPENDIX B
                                                123
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5909     Page
                                     248 of 300

   1   v. City of Vallejo, No. 06-cv-1283, 2007 WL 1589541, at *5 (E.D. Cal. June 1, 2007).
   2          Defendants also object to RFP 80 in accordance with Objections Which Apply
   3   to All RFPs Nos. 1, 4-7, and 10; Objections to Definitions Nos. 5-6, 8, and 10; and
   4   Objections to Instructions Nos. 1, 2, and 4.
   5          Response: In accordance with their objections, Defendants respond as
   6   follows: Defendants do not, as a matter of agency policy, keep track of the number
   7   of individuals apprehended or intercepted by Mexican authorities as they were
   8   approaching a port of entry. Therefore, Defendants will not conduct a separate search
   9   for such documents. However, should Defendants locate any responsive documents
  10   during their search for documents related to the four ports of entry at issue,
  11   Defendants will produce or log such documents.
  12   Request for Production No. 82
  13   All documents relating to any statistics, data or other numerical figures, whether
  14   estimates or actual values, regarding annual funding for physical facilities at ports
  15   of entry.
  16          Objections: Defendants object to Request for Production No. 82 as seeking
  17   information not relevant to any party’s claims or defenses, not proportional to the
  18   needs of the case, overly broad and unduly burdensome, as seeking documents
  19   protected from disclosure by the deliberative process privilege, and seeking
  20   documents that can be obtained from some other source that is more convenient, less
  21   burdensome, and less expensive for the parties. First, not “all documents” related to
  22   the delineated “annual funding for physical facilities at ports of entry” bear on the
  23   issues in this case: whether the named Plaintiffs were, at the time of their alleged
  24   injury, arriving aliens applying for admission to the United States; whether
  25   Defendants have implemented a formal policy or taken final agency action to
  26   “restrict access to the asylum process at ports of entry along the U.S.-Mexico
  27   border”; and whether such a policy or final agency action, if it exists, and in the form
  28   it exists, is unlawful.
                                                                                     APPENDIX B
                                                 124
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5910     Page
                                    249 of 300

   1         Second, a request to produce “all documents relating to any statistics, data or
   2   other numerical figures, whether estimates or actual values, regarding annual
   3   funding for physical facilities at ports of entry” is not proportional to the needs of
   4   the case and is overly broad and unduly burdensome. Request No. 82 is not directed
   5   to any person and is thus facially overbroad. Even assuming Request No. 82 is
   6   directed to the named Defendants, DHS, and CBP (as many of Plaintiffs other
   7   Requests are), a complete response, based on Plaintiffs’ definitions, would require
   8   Defendants to collect and search the documents of each of the named Defendants;
   9   each of the named Defendants’ “agents, representatives, employees, attorneys and
  10   investigators”; all of U.S. Customs and Border Protection, including “its
  11   headquarters and offices, including any divisions, subdivisions, components or
  12   sections therein; CBP offices at ports of entry, including any divisions, subdivisions
  13   or sections therein; or any other CBP organizational structures, including but not
  14   limited to U.S. Border Patrol, U.S. Office of Field Operations or private contractors
  15   hired by CBP”; and all of the U.S. Department of Homeland Security, including “its
  16   headquarters and offices, including any divisions, subdivisions, components or
  17   sections therein, or any other DHS organizational structures.” See Pls.’ Second
  18   RFPs, Definitions A—C. DHS employs more than 240,000 people, and CBP
  19   employs more than 60,000 people. See “About DHS,” U.S. Dep’t of Homeland
  20   Security (Sept. 27, 2017), https://www.dhs.gov/about-dhs; “About CBP,” U.S.
  21   Customs     and    Border     Protection    (Last    modified    April     18,     2019),
  22   https://www.cbp.gov/about. Collecting and searching through the documents of all
  23   of these individuals, as Plaintiffs request, is plainly not proportional to the needs of
  24   this case and is overly broad and unduly burdensome. Cf. Alfaro v. City of San Diego,
  25   No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford,
  26   M.J.) (noting that an interrogatory that obligates a party to “canvas every employee
  27   who might have had a conversation with [the plaintiff]” would be “onerous and over
  28   burdensome”). Further, Request No. 82 is not proportionate to the needs of the case
                                                                                        APPENDIX B
                                                  125
Case 3:17-cv-02366-BAS-KSC         Document 263 Filed 05/24/19      PageID.5911     Page
                                       250 of 300

   1   and is overly broad and unduly burdensome because it requests all documents
   2   relating to statistics, data, or numerical figures relating to all ports of entry on the
   3   U.S.-Mexico border. Consistent with Objections Which Apply to All RFPs No. 6,
   4   Defendants construe this Request as seeking documents relating to the four ports of
   5   entry at issue.
   6         Third, Defendants object to Request No. 82 to the extent it seeks internal
   7   documents protected from disclosure by the deliberative process privilege, as
   8   explained in Defendants’ General Objection No. Error! Reference source not
   9   found.. To the extent any “statistics, data or other numerical figures, whether
  10   estimates or actual values, regarding annual funding for physical facilities at ports
  11   of entry” are predecisional and deliberative, thereby containing opinions,
  12   recommendations, or advice, NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 149
  13   (1975), including, but not limited to, “recommendations, draft documents, proposals,
  14   suggestions, and other subjective documents which reflect the personal opinions of
  15   the writer rather than the policy of the agency,” Ctr. for Medicare Advocacy, Inc. v.
  16   HHS, 577 F. Supp. 2d 221, 235 (D.D.C. 2008) (internal quotations and citation
  17   omitted), such documents are privileged and protected from disclosure. See, e.g.,
  18   L.H. v. Schwarzenegger, No. 06-cv-2042, 2007 WL 1531420, at *4-5 (E.D. Cal. May
  19   25, 2007) (report & recommendation) (“budget change proposals” protected by
  20   deliberative process privilege), affirmed in relevant part, 2007 WL 2009807, at *34
  21   (E.D. Cal. July 6, 2007).
  22         Defendants also object to RFP 82 in accordance with Objections Which Apply
  23   to All RFPs Nos. 1, 6-7, and 10; Objections to Definitions Nos. 5-6, 8, and 10; and,
  24   Objections to Instructions Nos. 1, 2, and 4.
  25         Accordingly, Defendants understand and construe Request for Production No.
  26   82 as seeking “numerical figures regarding annual funding for physical facilities at
  27   the San Ysidro, Otay Mesa, Hidalgo, and Laredo ports of entry.”
  28         Response: In accordance with their objections, Defendants respond as
                                                                                     APPENDIX B
                                                 126
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5912     Page
                                    251 of 300

   1   follows: Documents responsive to Request No. 82 can be obtained “from some other
   2   source that is more convenient, less burdensome, [and] less expensive” for the
   3   parties. Fed. R. Civ. P. 26(b)(2)(C)(i). The Department of Homeland Security’s final
   4   appropriations- or funding-related documents for fiscal years 2003 through 2020,
   5   including budgets-in-brief, can be located at: https://www.dhs.gov/dhs-budget.
   6   Therefore, Defendants will not conduct a separate search for such documents.
   7   However, should Defendants locate any responsive documents during their search
   8   for documents related to the four ports of entry at issue, Defendants will produce or
   9   log such documents.
  10   Request for Production No. 83
  11   All documents relating to formal or informal communications with local, state or
  12   federal Mexican government officials or their agents, including but not limited to
  13   officials with the Institute Nacional de Migraci6n (“INM”), regarding (a) the arrival
  14   or processing of individuals expressing a desire to seek asylum or expressing a fear
  15   of returning to their countries of origin at or near ports of entry on the U.S.-Mexico
  16   border; (b) the apprehension or interdiction of, or interference with, individuals
  17   seeking asylum in the United States; and/or (c) the capacity of a port of entry along
  18   the U.S.-Mexico border, or the United States generally, to inspect, process, house,
  19   care for, or interview individuals seeking asylum in the United States.
  20         Objections: Defendants object to Request for Production No. 83 as not
  21   proportionate to the needs of the case, overly broad and unduly burdensome, and as
  22   seeking information protected from disclosure by the law enforcement privilege
  23   and/or as law enforcement sensitive. First, a request to search for and produce “all
  24   documents relating to formal or informal communications with local, state or federal
  25   Mexican government officials or their agents” is not proportional to the needs of the
  26   case and is overly broad and unduly burdensome. Request No. 83 is not directed to
  27   any person and is thus facially overbroad. Even assuming Request No. 83 is directed
  28   to the named Defendants, DHS, and CBP (as many of Plaintiffs other Requests are),
                                                                                    APPENDIX B
                                                127
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5913      Page
                                    252 of 300

   1   a complete response, based on Plaintiffs’ definitions, would require Defendants to
   2   collect and search the documents of each of the named Defendants; each of the
   3   named     Defendants’    “agents,    representatives,   employees,       attorneys   and
   4   investigators”; all of U.S. Customs and Border Protection, including “its
   5   headquarters and offices, including any divisions, subdivisions, components or
   6   sections therein; CBP offices at ports of entry, including any divisions, subdivisions
   7   or sections therein; or any other CBP organizational structures, including but not
   8   limited to U.S. Border Patrol, U.S. Office of Field Operations or private contractors
   9   hired by CBP”; and all of the U.S. Department of Homeland Security, including “its
  10   headquarters and offices, including any divisions, subdivisions, components or
  11   sections therein, or any other DHS organizational structures.” See Pls.’ Second
  12   RFPs, Definitions A—C. DHS employs more than 240,000 people, and CBP
  13   employs more than 60,000 people. See “About DHS,” U.S. Dep’t of Homeland
  14   Security (Sept. 27, 2017), https://www.dhs.gov/about-dhs; “About CBP,” U.S.
  15   Customs     and    Border     Protection    (Last    modified    April     18,     2019),
  16   https://www.cbp.gov/about. Collecting and searching through the documents of all
  17   of these individuals, as Plaintiffs request, is plainly not proportional to the needs of
  18   this case and is overly broad and unduly burdensome. Cf. Alfaro v. City of San Diego,
  19   No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford,
  20   M.J.) (noting that an interrogatory that obligates a party to “canvas every employee
  21   who might have had a conversation with [the plaintiff]” would be “onerous and over
  22   burdensome”). Consistent with Objections Which Apply to All RFPs No. 6,
  23   Defendants construe this Request as seeking documents relating to the four ports of
  24   entry at issue.
  25         Second, Defendants object to Request No. 83 to the extent it seeks information
  26   protected from disclosure by the law enforcement privilege and/or as law
  27   enforcement sensitive. To the extent a request for “all documents relating to formal
  28   or informal communications with local, state or federal Mexican government
                                                                                        APPENDIX B
                                                  128
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5914    Page
                                    253 of 300

   1   officials or their agents” pertaining to the three delineated topics implicates, for
   2   example, “law enforcement techniques and procedures,” the “confidentiality of
   3   sources,” the “protect[ion of] witnesses and law enforcement personnel,”
   4   “safeguard[ing] the privacy of individuals involved in an investigation,” and/or the
   5   “prevent[ion of] interference with an investigation,” such information is subject to
   6   the law enforcement privilege and protected from disclosure. Deocampo v. City of
   7   Vallejo, No. 06-cv-1283, 2007 WL 1589541, at *5 (E.D. Cal. June 1, 2007).
   8         Defendants also object to RFP 83 in accordance with Objections Which Apply
   9   to All RFPs Nos. 1, 4-6, and 7-10; Objections to Definitions Nos. 4-6, and 8-10; and
  10   Objections to Instructions Nos. 1, 2, and 4.
  11         Defendants understand and construe Request for Production No. 83 as seeking
  12   documents relating to communications (as construed by Defendants) between Office
  13   of Field Operations employees at the San Ysidro, Otay Mesa, Hidalgo, and Laredo
  14   ports of entry and Institute Nacional de Migraci6n (“INM”) employees regarding
  15   those four ports’ capacity to process aliens without travel documents for admission,
  16   as well as any communications (as construed by Defendants) between the San Diego
  17   and Laredo Field Offices and INM.
  18         Response: In accordance with their objections, Defendants understand and
  19   construe Request for Production No. 83 as seeking documents relating to
  20   communications between Office of Field Operations employees at the San Ysidro,
  21   Otay Mesa, Hidalgo, and Laredo ports of entry, and at the San Diego and Laredo
  22   Field Offices, and Institute Nacional de Migracion (“INM”) employees, regarding
  23   those four ports’ capacity to process aliens without travel documents for admission.
  24   Defendants will limit their search to a limited number of custodial and non-custodial
  25   sources. Defendants will continue to confer with Plaintiffs in identifying reasonable
  26   custodial and non-custodial sources and document identification protocols, and will
  27   produce or log documents responsive to this understanding and construction of
  28   Request for Production No. 83 after the parties agree on such sources and protocols.
                                                                                   APPENDIX B
                                                129
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5915      Page
                                     254 of 300

   1   However, in the event the parties cannot agree, Defendants will limit their search to
   2   the sources identified in Defendants’ portion of the Supplement to the Parties’ Joint
   3   26(f) Report (ECF No. 243), from which Defendants will produce or log documents
   4   responsive to this Request, dating from January 1, 2016, to the present, that can be
   5   located after a reasonable search. Documents created on or after July 12, 2017, the
   6   date of Plaintiffs’ original complaint (ECF No. 1), representing either
   7   communications with counsel or communications or documents relating to the actual
   8   conduct of litigation post-complaint—and thus clearly protected by either the
   9   attorney-client privilege or the work-product doctrine—will be treated as non-
  10   responsive and therefore will not appear on any privilege log.
  11   Request for Production No. 84
  12   All documents relating to plans drafted or adopted by you, CBP, or DHS with respect
  13   to inspecting, processing, interviewing, housing, or caring for noncitizens seeking
  14   asylum in the United States that were or are a part of a migrant “caravan.”
  15         Objections: Defendants object to Request for Production No. 84 as not
  16   proportionate to the needs of the case, as overly broad and unduly burdensome, as
  17   unnecessarily duplicative of other Requests for Production, and as seeking
  18   information protected from disclosure by the attorney work-product doctrine, the
  19   attorney-client privilege, the deliberative process privilege, and the law enforcement
  20   privilege and/or as law enforcement sensitive.
  21         First, a request for “all documents” relating to the named Defendants’, CBP’s,
  22   or DHS’s plans to inspect, process, interview, house, or care for aliens without travel
  23   documents who intend to apply for admission to the United States is not
  24   proportionate to the needs of the case, as it essentially requests all documents relating
  25   to all aspects of CBP’s responsibilities at land ports of entry on the border with
  26   respect to the processing of aliens without travel documents traveling in a large
  27   group. A complete response, based on Plaintiffs’ definitions, would require
  28   Defendants to collect and search the documents of each of the named Defendants;
                                                                                      APPENDIX B
                                                 130
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5916       Page
                                    255 of 300

   1   each of the named Defendants’ “agents, representatives, employees, attorneys and
   2   investigators”; all of U.S. Customs and Border Protection, including “its
   3   headquarters and offices, including any divisions, subdivisions, components or
   4   sections therein; CBP offices at ports of entry, including any divisions, subdivisions
   5   or sections therein; or any other CBP organizational structures, including but not
   6   limited to U.S. Border Patrol, U.S. Office of Field Operations or private contractors
   7   hired by CBP”; and all of the U.S. Department of Homeland Security, including “its
   8   headquarters and offices, including any divisions, subdivisions, components or
   9   sections therein, or any other DHS organizational structures.” See Pls.’ Second
  10   RFPs, Definitions A—C. DHS employs more than 240,000 people, and CBP
  11   employs more than 60,000 people. See “About DHS,” U.S. Dep’t of Homeland
  12   Security (Sept. 27, 2017), https://www.dhs.gov/about-dhs; “About CBP,” U.S.
  13   Customs     and    Border     Protection    (Last    modified    April     18,     2019),
  14   https://www.cbp.gov/about. Collecting and searching through the documents of all
  15   of these individuals, as Plaintiffs request, is plainly not proportional to the needs of
  16   this case and is overly broad and unduly burdensome. Cf. Alfaro v. City of San Diego,
  17   No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford,
  18   M.J.) (noting that an interrogatory that obligates a party to “canvas every employee
  19   who might have had a conversation with [the plaintiff]” would be “onerous and over
  20   burdensome”). Further, Request No. 84 is not proportionate to the needs of the case
  21   and is overly broad and unduly burdensome because it is not limited to the four ports
  22   of entry where the individual Plaintiffs allege they encountered CBP. Consistent
  23   with Objections Which Apply to All RFPs No. 6, Defendants construe this Request
  24   as seeking documents relating to the four ports of entry at issue.
  25         Second, this Request is overbroad in that “processing” encompasses actions
  26   such as a secondary inspection for agricultural or customs purposes. See U.S. DHS
  27   PRIVACY IMPACT ASSESSMENT FOR THE TECS SYSTEM: TECS PRIMARY AND
  28   SECONDARY         PROCESSING          at         5   (December           22,       2010),
                                                                                        APPENDIX B
                                                  131
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5917     Page
                                    256 of 300

   1   https://www.dhs.gov/sites/default/files/publications/privacy-pia-cbp-tecs-
   2   december2010_0.pdf. Activities like these that may be included in the processing of
   3   an alien are outside the scope of this lawsuit.
   4         Third, Defendants object to Request for Production No. 84 to the extent it
   5   seeks information protected from disclosure by the attorney work-product doctrine.
   6   To the extent a request for “all documents” relating to the “plans drafted or adopted”
   7   by the named Defendants, CBP, or DHS with respect to the delineated topics
   8   implicates, for example, “documents and tangible things prepared by a party or his
   9   representative in anticipation of litigation,” Admiral Ins. Co. v. U.S. Dist. Ct., 881
  10   F.2d 1486, 1494 (9th Cir. 1989) (citing Fed. R. Civ. P. 26(b)(3)); see Hickman v.
  11   Taylor, 329 U.S. 495 (1947), including “documents or the compilation of materials
  12   prepared by agents of the attorney in preparation for litigation,” United States v.
  13   Richey, 632 F.3d 559, 567 (9th Cir. 2011) (citing United States v. Nobles, 422 U.S.
  14   225, 238 (1975)), such as, for example, notes and emails of Defendants’ attorneys
  15   and staff, and draft and final internal documents, such documents are protected from
  16   disclosure by the attorney work-product doctrine.
  17         Fourth, Defendants object to Request for Production No. 84 to the extent it
  18   seeks information protected by the attorney-client privilege. To the extent a request
  19   for “all documents” relating to “plans drafted or adopted by [the named Defendants],
  20   CBP, or DHS with respect to inspecting, processing, interviewing, housing, or caring
  21   for noncitizens seeking asylum in the United States that were or are a part of a
  22   migrant ‘caravan’ implicates, for example, confidential communications between
  23   attorneys and clients which are made for the purpose of giving legal advice, Upjohn
  24   Co. v. United States, 449 U.S. 383, 389 (1981), such documents are privileged and
  25   protected from disclosure.
  26         Fifth, Defendants object to Request No. 84 to the extent it seeks information
  27   protected from disclosure by the deliberative process privilege. To the extent a
  28   request for “all documents” relating to “plans drafted or adopted by [the named
                                                                                    APPENDIX B
                                                 132
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5918     Page
                                    257 of 300

   1   Defendants], CBP, or DHS with respect to inspecting, processing, interviewing,
   2   housing, or caring for noncitizens seeking asylum in the United States that were or
   3   are a part of a migrant ‘caravan’ implicates, for example, documents that are
   4   predecisional and deliberative, thereby containing opinions, recommendations, or
   5   advice, NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 149 (1975), including, but not
   6   limited to, “recommendations, draft documents, proposals, suggestions, and other
   7   subjective documents which reflect the personal opinions of the writer rather than
   8   the policy of the agency,” Ctr. for Medicare Advocacy, Inc. v. HHS, 577 F. Supp. 2d
   9   221, 235 (D.D.C. 2008) (internal quotations and citation omitted), such documents
  10   are privileged and protected from disclosure.
  11         Finally, Defendants object to Request No. 84 to the extent it seeks information
  12   protected from disclosure by the law enforcement privilege and/or as law
  13   enforcement sensitive. To the extent a request for “all documents” relating to “plans
  14   drafted or adopted by [the named Defendants], CBP, or DHS with respect to
  15   inspecting, processing, interviewing, housing, or caring for noncitizens seeking
  16   asylum in the United States that were or are a part of a migrant ‘caravan’ implicates,
  17   for example, “law enforcement techniques and procedures,” the “confidentiality of
  18   sources,” the “protect[ion of] witnesses and law enforcement personnel,”
  19   “safeguard[ing] the privacy of individuals involved in an investigation,” and/or the
  20   “prevent[ion of] interference with an investigation,” such information is subject to
  21   the law enforcement privilege and protected from disclosure. Deocampo v. City of
  22   Vallejo, No. 06-cv-1283, 2007 WL 1589541, at *5 (E.D. Cal. June 1, 2007).
  23         Defendants also object to RFP 84 in accordance with Objections Which Apply
  24   to All RFPs Nos. 1, 3-4, and 6-10; Objections to Definitions Nos. 1-3, 5-6, 8, and
  25   10; and Objections to Instructions Nos. 1, 2, and 4.
  26         Accordingly, Defendants understand and construe Request for Production No.
  27   84 as seeking documents containing non-privileged instructions to Office of Field
  28   Operations employees at the San Ysidro, Otay Mesa, Hidalgo, and Laredo ports of
                                                                                    APPENDIX B
                                                133
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5919     Page
                                    258 of 300

   1   entry about the inspection and processing of aliens (as limited by Defendants’
   2   objections above) without travel documents who seek to apply for admission in the
   3   United States.
   4         Response: Subject to and in light of their objections, Defendants will limit
   5   their search to a limited number of custodial and non-custodial sources. Defendants
   6   will continue to confer with Plaintiffs in identifying reasonable custodial and non-
   7   custodial sources and document identification protocols, and will produce or log
   8   documents responsive to this understanding and construction of Request for
   9   Production No. 84 after the parties agree on such sources and protocols. However,
  10   in the event the parties cannot agree, Defendants will limit their search to the sources
  11   identified in Defendants’ portion of the Supplement to the Parties’ Joint 26(f) Report
  12   (ECF No. 243), from which Defendants will produce or log documents responsive
  13   to this Request, dating from January 1, 2016, to the present, that can be located after
  14   a reasonable search. Documents created on or after July 12, 2017, the date of
  15   Plaintiffs’ original complaint (ECF No. 1), representing either communications with
  16   counsel or communications or documents relating to the actual conduct of litigation
  17   post-complaint—and thus clearly protected by either the attorney-client privilege or
  18   the work-product doctrine—will be treated as non-responsive and therefore will not
  19   appear on any privilege log.
  20   Request for Production No. 86
  21   All documents relating to plans, instructions, or orders for CBP or DHS officials to
  22   communicate with, or otherwise work with, Mexican government officials,
  23   including the INM, to prevent noncitizens seeking asylum in the United States from
  24   approaching or accessing a port of entry.
  25         Objections: Defendants object to Request for Production No. 86 to the extent
  26   it requests documents relating to third parties’ intent, as not proportionate to the
  27   needs of the case, as overly broad and unduly burdensome, as unnecessarily
  28   duplicative of other Requests for Production, and as seeking information protected
                                                                                     APPENDIX B
                                                 134
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5920     Page
                                    259 of 300

   1   from disclosure by the attorney work-product doctrine, the attorney-client privilege,
   2   the deliberative process privilege, and the law enforcement privilege and/or as law
   3   enforcement sensitive. First, Defendants object to Request No. 86 to the extent it
   4   requests communications with Mexican government officials relating to
   5   “noncitizens seeking asylum in the United States.” Defendants cannot know whether
   6   an individual intends to seek asylum in the United States before they encounter that
   7   individual, and an individual is not “seeking asylum in the United States” until that
   8   person is, at minimum, within the territorial jurisdiction of the United States.
   9   Consistent with Defendants’ Objections Which Apply to All Requests Nos. 3 and
  10   4,Defendants construe this Request as seeking information relating to aliens without
  11   travel documents in Mexico.
  12         Second, a request for all documents relating to plans, instructions, or orders
  13   for CBP or DHS officials to communicate with, or otherwise work with, Mexican
  14   government officials, including the INM, to prevent aliens without travel documents
  15   in Mexico from approaching or accessing a port of entry is not proportionate to the
  16   needs of the case. A complete response, based on Plaintiffs’ definitions, would
  17   require Defendants to collect and search the documents of each of the named
  18   Defendants; each of the named Defendants’ “agents, representatives, employees,
  19   attorneys and investigators”; all of U.S. Customs and Border Protection, including
  20   “its headquarters and offices, including any divisions, subdivisions, components or
  21   sections therein; CBP offices at ports of entry, including any divisions, subdivisions
  22   or sections therein; or any other CBP organizational structures, including but not
  23   limited to U.S. Border Patrol, U.S. Office of Field Operations or private contractors
  24   hired by CBP”; and all of the U.S. Department of Homeland Security, including “its
  25   headquarters and offices, including any divisions, subdivisions, components or
  26   sections therein, or any other DHS organizational structures.” See Pls.’ Second
  27   RFPs, Definitions A—C. DHS employs more than 240,000 people, and CBP
  28   employs more than 60,000 people. See “About DHS,” U.S. Dep’t of Homeland
                                                                                    APPENDIX B
                                                135
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5921     Page
                                    260 of 300

   1   Security (Sept. 27, 2017), https://www.dhs.gov/about-dhs; “About CBP,” U.S.
   2   Customs     and    Border     Protection    (Last    modified    April     18,     2019),
   3   https://www.cbp.gov/about. Collecting and searching through the documents of all
   4   of these individuals, as Plaintiffs request, is plainly not proportional to the needs of
   5   this case and is overly broad and unduly burdensome. Cf. Alfaro v. City of San Diego,
   6   No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford,
   7   M.J.) (noting that an interrogatory that obligates a party to “canvas every employee
   8   who might have had a conversation with [the plaintiff]” would be “onerous and over
   9   burdensome”). Further, Request No. 86 is not proportionate to the needs of the case
  10   and is overly broad and unduly burdensome because it is not limited to the four ports
  11   of entry where the individual Plaintiffs allege they encountered CBP. Consistent
  12   with Objections Which Apply to All RFPs No. 6, Defendants construe this Request
  13   as seeking documents relating to the four ports of entry at issue.
  14         Third, Defendants object to Request for Production No. 86 to the extent it
  15   seeks information protected from disclosure by the attorney work-product doctrine.
  16   To the extent a request for all documents relating to plans, instructions, or orders for
  17   CBP or DHS officials to communicate with, or otherwise work with, Mexican
  18   government officials, including the INM, to prevent aliens without travel documents
  19   in Mexico from approaching or accessing a port of entry implicates, for example,
  20   “documents and tangible things prepared by a party or his representative in
  21   anticipation of litigation,” Admiral Ins. Co. v. U.S. Dist. Ct., 881 F.2d 1486, 1494
  22   (9th Cir. 1989) (citing Fed. R. Civ. P. 26(b)(3)); see Hickman v. Taylor, 329 U.S.
  23   495 (1947), including “documents or the compilation of materials prepared by agents
  24   of the attorney in preparation for litigation,” United States v. Richey, 632 F.3d 559,
  25   567 (9th Cir. 2011) (citing United States v. Nobles, 422 U.S. 225, 238 (1975)), such
  26   as, for example, notes and emails of Defendants’ attorneys and staff, and draft and
  27   final internal documents, such documents are protected from disclosure by the
  28   attorney work-product doctrine.
                                                                                        APPENDIX B
                                                  136
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5922     Page
                                    261 of 300

   1          Fourth, Defendants object to Request for Production No. 86 to the extent it
   2   seeks information protected by the attorney-client privilege. To the extent a request
   3   for all documents relating to plans, instructions, or orders for CBP or DHS officials
   4   to communicate with, or otherwise work with, Mexican government officials,
   5   including the INM, to prevent aliens without travel documents in Mexico from
   6   approaching or accessing a port of entry implicates, for example, confidential
   7   communications between attorneys and clients which are made for the purpose of
   8   giving legal advice, Upjohn Co. v. United States, 449 U.S. 383, 389 (1981), such
   9   documents are privileged and protected from disclosure.
  10          Fifth, Defendants object to Request No. 86 to the extent it seeks information
  11   protected from disclosure by the deliberative process privilege. To the extent a
  12   request for all documents relating to plans, instructions, or orders for CBP or DHS
  13   officials to communicate with, or otherwise work with, Mexican government
  14   officials, including the INM, to prevent aliens without travel documents in Mexico
  15   from approaching or accessing a port of entry implicates, for example, documents
  16   that   are   predecisional   and    deliberative,   thereby   containing    opinions,
  17   recommendations, or advice, NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 149
  18   (1975), including, but not limited to, “recommendations, draft documents, proposals,
  19   suggestions, and other subjective documents which reflect the personal opinions of
  20   the writer rather than the policy of the agency,” Ctr. for Medicare Advocacy, Inc. v.
  21   HHS, 577 F. Supp. 2d 221, 235 (D.D.C. 2008) (internal quotations and citation
  22   omitted), such documents are privileged and protected from disclosure.
  23          Finally, Defendants object to Request No. 86 to the extent it seeks information
  24   protected from disclosure by the law enforcement privilege and/or as law
  25   enforcement sensitive. To the extent a request for all documents relating to plans,
  26   instructions, or orders for CBP or DHS officials to communicate with, or otherwise
  27   work with, Mexican government officials, including the INM, to prevent aliens
  28   without travel documents in Mexico from approaching or accessing a port of entry
                                                                                    APPENDIX B
                                                137
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5923     Page
                                    262 of 300

   1   implicates, for example, “law enforcement techniques and procedures,” the
   2   “confidentiality of sources,” the “protect[ion of] witnesses and law enforcement
   3   personnel,” “safeguard[ing] the privacy of individuals involved in an investigation,”
   4   and/or the “prevent[ion of] interference with an investigation,” such information is
   5   subject to the law enforcement privilege and protected from disclosure. Deocampo
   6   v. City of Vallejo, No. 06-cv-1283, 2007 WL 1589541, at *5 (E.D. Cal. June 1, 2007).
   7         Defendants also object to RFP 86 in accordance with Objections Which Apply
   8   to All RFPs Nos. 1, 3-4, and 6-10; Objections to Definitions Nos. 2-3, 5-6, 8, and
   9   10; and, Objections to Instructions Nos. 1, 2, and 4.
  10         Response: In accordance with Defendants’ objections, and in light of Request
  11   No. 86 being disproportional to the needs of the case considering that the burden and
  12   expense of the requested discovery outweighs its likely benefit, Defendants will limit
  13   their search to a limited number of custodial and non-custodial sources. Defendants
  14   will continue to confer with Plaintiffs in identifying reasonable custodial and non-
  15   custodial sources and document identification protocols. However, in the event the
  16   parties cannot agree, Defendants will limit their search to the sources identified in
  17   Defendants’ portion of the Supplement to the Parties’ Joint 26(f) Report (ECF No.
  18   243), from which Defendants will produce all non-privileged documents responsive
  19   to this Request, dating from January 1, 2016, to the present that can be located after
  20   a reasonable search. Documents created on or after July 12, 2017, the date of
  21   Plaintiffs’ original complaint (ECF No. 1), representing either communications with
  22   counsel or communications or documents relating to the actual conduct of litigation
  23   post-complaint—and thus clearly protected by either the attorney-client privilege or
  24   the work-product doctrine—will be treated as nonresponsive and therefore will not
  25   appear on any privilege log.
  26   Request for Production No. 88
  27   All documents and communications related to John P. Wagner’s June 13, 2017
  28   testimony before the House Appropriation Committee related to noncitizens seeking
                                                                                    APPENDIX B
                                                138
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19         PageID.5924     Page
                                     263 of 300

   1   asylum in the United States at ports of entry along the U.S.-Mexico border, including
   2   the factual basis for Mr. Wagner’s assertion that turning away asylum seekers was
   3   justified by a lack of capacity at ports of entry.
   4            Objections: Defendants object to Request for Production No. 88 as seeking
   5   information outside the scope of Rule 34, as not proportionate to the needs of the
   6   case, as overly broad and unduly burdensome, and as seeking information protected
   7   from disclosure by the attorney work-product doctrine, the attorney-client privilege,
   8   the deliberative process privilege, the law enforcement privilege and/or as law
   9   enforcement sensitive, and as seeking documents that can be obtained “from some
  10   other source that is more convenient, less burdensome, [and] less expensive” for the
  11   parties. Fed. R. Civ. P. 26(b)(2)(C)(i). First, Defendants object to Request for
  12   Production No. 88 to the extent it seeks oral or non-written communications. See
  13   Pls.’ Second RFPs, Definition E (defining “communication(s)” to include “the
  14   exchange of information by or through any mode or medium including, but not
  15   limited to, spoken word, written correspondence, any form of technology, face-to-
  16   face meetings or conveying of information through third person(s) to some other
  17   intended recipient”). Federal Rule of Civil Procedure 34 allows a party to serve
  18   requests to inspect or produce “documents,” “electronically stored information,” or
  19   “designated tangible things.” Fed. R. Civ. P. 34(a)(1). It does not allow a party to
  20   obtain     non-tangible   things.   Defendants       accordingly   construe   the    term
  21   “communication(s)” to include only those items permitted by Rule 34 as stated in
  22   Objections to Definitions No. 4.
  23            Second, a request for “all documents” relating to Mr. Wagner’s June 13, 2017
  24   testimony on the delineated topic is not proportional to the needs of the case and is
  25   overly broad and unduly burdensome. Based on Plaintiffs’ definitions, a complete
  26   response would require Defendants to collect and search the documents of each of
  27   the named Defendants; each of the named Defendants’ “agents, representatives,
  28   employees, attorneys and investigators”; all of U.S. Customs and Border Protection,
                                                                                      APPENDIX B
                                                  139
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5925     Page
                                    264 of 300

   1   including “its headquarters and offices, including any divisions, subdivisions,
   2   components or sections therein; CBP offices at ports of entry, including any
   3   divisions, subdivisions or sections therein; or any other CBP organizational
   4   structures, including but not limited to U.S. Border Patrol, U.S. Office of Field
   5   Operations or private contractors hired by CBP”; and all of the U.S. Department of
   6   Homeland Security, including “its headquarters and offices, including any divisions,
   7   subdivisions, components or sections therein, or any other DHS organizational
   8   structures.” See Pls.’ Second RFPs, Definitions A—C. DHS employs more than
   9   240,000 people, and CBP employs more than 60,000 people. See “About DHS,” U.S.
  10   Dep’t of Homeland Security (Sept. 27, 2017), https://www.dhs.gov/about-dhs;
  11   “About CBP,” U.S. Customs and Border Protection (Last modified April 18, 2019),
  12   https://www.cbp.gov/about. Collecting and searching through the documents of all
  13   of these individuals, as Plaintiffs request, is plainly not proportional to the needs of
  14   this case and is overly broad and unduly burdensome. Cf. Alfaro v. City of San Diego,
  15   No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford,
  16   M.J.) (noting that an interrogatory that obligates a party to “canvas every employee
  17   who might have had a conversation with [the plaintiff.’” would be “onerous and over
  18   burdensome”).
  19         Third, Defendants object to Request for Production No. 88 to the extent it
  20   seeks information protected from disclosure by the attorney work-product doctrine.
  21   To the extent a request for “all documents” relating to Mr. Wagner’s June 13, 2017
  22   testimony on the delineated topic implicates, for example, “documents and tangible
  23   things prepared by a party or his representative in anticipation of litigation,” Admiral
  24   Ins. Co. v. U.S. Dist. Ct., 881 F.2d 1486, 1494 (9th Cir. 1989) (citing Fed. R. Civ. P.
  25   26(b)(3)); see Hickman v. Taylor, 329 U.S. 495 (1947), including “documents or the
  26   compilation of materials prepared by agents of the attorney in preparation for
  27   litigation,” United States v. Richey, 632 F.3d 559, 567 (9th Cir. 2011) (citing United
  28   States v. Nobles, 422 U.S. 225, 238 (1975)), such as, for example, notes and emails
                                                                                     APPENDIX B
                                                 140
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5926    Page
                                    265 of 300

   1   of Defendants’ attorneys and staff, and draft and final internal documents, such
   2   documents are protected from disclosure by the attorney work-product doctrine.
   3         Fourth, Defendants object to Request for Production No. 88 to the extent it
   4   seeks information protected by the attorney-client privilege. To the extent a request
   5   for “all documents” relating to Mr. Wagner’s June 13, 2017 testimony on the
   6   delineated topic implicates, for example, confidential communications between
   7   attorneys and clients which are made for the purpose of giving legal advice, Upjohn
   8   Co. v. United States, 449 U.S. 383, 389 (1981), such documents are privileged and
   9   protected from disclosure.
  10         Fifth, Defendants object to Request No. 88 to the extent it seeks information
  11   protected from disclosure by the deliberative process privilege. To the extent a
  12   request for “all documents” relating to Mr. Wagner’s June 13, 2017 testimony on
  13   the delineated topic implicates, for example, documents that are predecisional and
  14   deliberative, thereby containing opinions, recommendations, or advice, NLRB v.
  15   Sears, Roebuck & Co., 421 U.S. 132, 149 (1975), including, but not limited to,
  16   “recommendations, draft documents, proposals, suggestions, and other subjective
  17   documents which reflect the personal opinions of the writer rather than the policy of
  18   the agency,” Ctr. for Medicare Advocacy, Inc. v. HHS, 577 F. Supp. 2d 221, 235
  19   (D.D.C. 2008) (internal quotations and citation omitted), such documents are
  20   privileged and protected from disclosure.
  21         Sixth, Defendants object to Request No. 88 to the extent it seeks information
  22   protected from disclosure by the law enforcement privilege and/or as law
  23   enforcement sensitive. To the extent a request for “all documents” relating to Mr.
  24   Wagner’s June 13, 2017 testimony on the delineated topic implicates, for example,
  25   “law enforcement techniques and procedures,” the “confidentiality of sources,” the
  26   “protect[ion of] witnesses and law enforcement personnel,” “safeguard[ing] the
  27   privacy of individuals involved in an investigation,” and/or the “prevent[ion of]
  28   interference with an investigation,” such information is subject to the law
                                                                                   APPENDIX B
                                               141
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5927   Page
                                    266 of 300

   1   enforcement privilege and protected from disclosure. Deocampo v. City of Vallejo,
   2   No. 06-cv-1283, 2007 WL 1589541, at *5 (E.D. Cal. June 1, 2007).
   3         Finally, Defendants object to Request No. 88 to the extent it seeks documents
   4   that can be obtained “from some other source that is more convenient, less
   5   burdensome, [and] less expensive” for the parties. Fed. R. Civ. P. 26(b)(2)(C)(i).
   6   Transcripts     of     congressional      hearings     can      be    obtained     at
   7   https://www.govinfo.gov/app/collection/CHRG.
   8         Defendants also object to RFP 88 in accordance with Objections Which Apply
   9   to All RFPs Nos. 1, 3-4, 6-7, and 10; Objections to Definitions Nos. 4-6, and 8-10.
  10         Response: In accordance with their objections, Defendants will produce non-
  11   privileged documents related to Mr. Wagner’s June 13, 2017 testimony on the
  12   delineated topic that are not already publicly available.
  13   Request for Production No. 89
  14   All documents and communications related to your live or written testimony before
  15   any Committee or Subcommittee of the U.S. Congress related to noncitizens seeking
  16   asylum in the United States at ports of entry along the U.S.-Mexico border, including
  17   but not limited to testimony given on December 20, 2018; October 10, 2018; May
  18   15, 2018; May 8, 2018; and/or April 26, 2018.
  19         Objections: Defendants object to Request for Production No. 89 as seeking
  20   information outside the scope of Rule 34, as not proportionate to the needs of the
  21   case, as overly broad and unduly burdensome, and as seeking information protected
  22   from disclosure by the attorney work-product doctrine, the attorney-client privilege,
  23   the deliberative process privilege, the law enforcement privilege and/or as law
  24   enforcement sensitive, and as seeking documents that can be obtained “from some
  25   other source that is more convenient, less burdensome, [and] less expensive” for the
  26   parties. Fed. R. Civ. P. 26(b)(2)(C)(i). First, Defendants object to Request for
  27   Production No. 89 to the extent it seeks oral or non-written communications. See
  28   Pls.’ Second RFPs, Definition E (defining “communication(s)” to include “the
                                                                                   APPENDIX B
                                                142
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5928       Page
                                     267 of 300

   1   exchange of information by or through any mode or medium including, but not
   2   limited to, spoken word, written correspondence, any form of technology, face-to-
   3   face meetings or conveying of information through third person(s) to some other
   4   intended recipient”). Federal Rule of Civil Procedure 34 allows a party to serve
   5   requests to inspect or produce “documents,” “electronically stored information,” or
   6   “designated tangible things.” Fed. R. Civ. P. 34(a)(1). It does not allow a party to
   7   obtain     non-tangible   things.   Defendants      accordingly   construe     the    term
   8   “communication(s)” to include only those items permitted by Rule 34 as stated in
   9   Objections to Definitions No. 4.
  10            Second, a request for “all documents” relating to testimony given on the
  11   delineated topics is not proportional to the needs of the case and is overly broad and
  12   unduly burdensome. Based on Plaintiffs’ definitions, a complete response would
  13   require Defendants to collect and search the documents of each of the named
  14   Defendants; each of the named Defendants’ “agents, representatives, employees,
  15   attorneys and investigators”; all of U.S. Customs and Border Protection, including
  16   “its headquarters and offices, including any divisions, subdivisions, components or
  17   sections therein; CBP offices at ports of entry, including any divisions, subdivisions
  18   or sections therein; or any other CBP organizational structures, including but not
  19   limited to U.S. Border Patrol, U.S. Office of Field Operations or private contractors
  20   hired by CBP”; and all of the U.S. Department of Homeland Security, including “its
  21   headquarters and offices, including any divisions, subdivisions, components or
  22   sections therein, or any other DHS organizational structures.” See Pls.’ Second
  23   RFPs, Definitions A—C. DHS employs more than 240,000 people, and CBP
  24   employs more than 60,000 people. See “About DHS,” U.S. Dep’t of Homeland
  25   Security (Sept. 27, 2017), https://www.dhs.gov/about-dhs; “About CBP,” U.S.
  26   Customs       and   Border    Protection    (Last     modified    April      18,     2019),
  27   https://www.cbp.gov/about. Collecting and searching through the documents of all
  28   of these individuals, as Plaintiffs request, is plainly not proportional to the needs of
                                                                                          APPENDIX B
                                                  143
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5929     Page
                                    268 of 300

   1   this case and is overly broad and unduly burdensome. Cf. Alfaro v. City of San Diego,
   2   No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford,
   3   M.J.) (noting that an interrogatory that obligates a party to “canvas every employee
   4   who might have had a conversation with [the plaintiff]” would be “onerous and over
   5   burdensome”). Based on these objections, and its Objection to Definitions No. 9,
   6   Defendants understand and construe this Request as limited to testimony given on
   7   those five dates.
   8         Third, Defendants object to Request for Production No. 89 to the extent it
   9   seeks information protected from disclosure by the attorney work-product doctrine.
  10   To the extent a request for “all documents” relating to live or written testimony
  11   before a congressional committee or subcommittee on the delineated topics
  12   implicates, for example, “documents and tangible things prepared by a party or his
  13   representative in anticipation of litigation,” Admiral Ins. Co. v. U.S. Dist. Ct., 881
  14   F.2d 1486, 1494 (9th Cir. 1989) (citing Fed. R. Civ. P. 26(b)(3)); see Hickman v.
  15   Taylor, 329 U.S. 495 (1947), including “documents or the compilation of materials
  16   prepared by agents of the attorney in preparation for litigation,” United States v.
  17   Richey, 632 F.3d 559, 567 (9th Cir. 2011) (citing United States v. Nobles, 422 U.S.
  18   225, 238 (1975)), such as, for example, notes and emails of Defendants’ attorneys
  19   and staff, and draft and final internal documents, such documents are protected from
  20   disclosure by the attorney work-product doctrine.
  21         Fourth, Defendants object to Request for Production No. 89 to the extent it
  22   seeks information protected by the attorney-client privilege. To the extent a request
  23   for “all documents” relating to live or written testimony before a congressional
  24   committee or subcommittee on the delineated topics implicates, for example,
  25   confidential communications between attorneys and clients which are made for the
  26   purpose of giving legal advice, Upjohn Co. v. United States, 449 U.S. 383, 389
  27   (1981), such documents are privileged and protected from disclosure.
  28         Fifth, Defendants object to Request No. 89 to the extent it seeks information
                                                                                    APPENDIX B
                                                144
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5930   Page
                                    269 of 300

   1   protected from disclosure by the deliberative process privilege. To the extent a
   2   request for “all documents” relating to live or written testimony before a
   3   congressional committee or subcommittee on the delineated topics implicates, for
   4   example, documents that are predecisional and deliberative, thereby containing
   5   opinions, recommendations, or advice, NLRB v. Sears, Roebuck & Co., 421 U.S.
   6   132, 149 (1975), including, but not limited to, “recommendations, draft documents,
   7   proposals, suggestions, and other subjective documents which reflect the personal
   8   opinions of the writer rather than the policy of the agency,” Ctr. for Medicare
   9   Advocacy, Inc. v. HHS, 577 F. Supp. 2d 221, 235 (D.D.C. 2008) (internal quotations
  10   and citation omitted), such documents are privileged and protected from disclosure.
  11         Sixth, Defendants object to Request No. 89 to the extent it seeks information
  12   protected from disclosure by the law enforcement privilege and/or as law
  13   enforcement sensitive. To the extent a request for “all documents” relating to live or
  14   written testimony before a congressional committee or subcommittee on the
  15   delineated topics implicates, for example, “law enforcement techniques and
  16   procedures,” the “confidentiality of sources,” the “protect[ion of] witnesses and law
  17   enforcement personnel,” “safeguard[ing] the privacy of individuals involved in an
  18   investigation,” and/or the “prevent[ion of] interference with an investigation,” such
  19   information is subject to the law enforcement privilege and protected from
  20   disclosure. Deocampo v. City of Vallejo, No. 06-cv-1283, 2007 WL 1589541, at *5
  21   (E.D. Cal. June 1, 2007).
  22         Finally, Defendants object to Request No. 89 to the extent it seeks documents
  23   that can be obtained “from some other source that is more convenient, less
  24   burdensome, [and] less expensive” for the parties. Fed. R. Civ. P. 26(b)(2)(C)(i).
  25   Transcripts     of     congressional     hearings      can      be    obtained      at
  26   https://www.govinfo.gov/app/collection/CHRG.
  27         Defendants also object to RFP 89 in accordance with Objections Which Apply
  28   to All RFPs Nos. 1, 3-4, and 6-10; Objections to Definitions Nos. 1, 4-6, 9, and 810;
                                                                                    APPENDIX B
                                                145
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5931     Page
                                    270 of 300

   1   and, Objections to Instructions Nos. 1, 2, and 4.
   2         Response: In accordance with their objections, Defendants respond as
   3   follows: Based on subsequent representations of Plaintiffs’ counsel, Defendants now
   4   understand this request as seeking testimony by former Secretary Nielsen.
   5   Defendants will conduct a reasonable search and produce non-privileged documents,
   6   if any exist, related to testimony on the delineated topics on the specified dates.
   7   Request for Production No. 91
   8   All documents and communications related to Secretary Nielsen’s statements in her
   9   May 15, 2018 Fox News interview concerning noncitizens seeking asylum in the
  10   United States at ports of entry along the U.S.-Mexico border, including but not
  11   limited to the factual basis for her statement that “We are ‘metering,’ which means
  12   that if we don’t have the resources to let them in on a particular day, they are going
  13   to have to come back.”
  14         Objections: Defendants object to Request for Production No. 91 as seeking
  15   information that is outside the scope of Rule 34, as overly broad and unduly
  16   burdensome, as not proportional to the needs of the case, and as seeking information
  17   protected from disclosure by the attorney-client privilege, the attorney work-product
  18   doctrine, the deliberative process privilege, and the law enforcement privilege and/or
  19   as law enforcement sensitive. First, Defendants object to Request for Production No.
  20   91 to the extent it seeks oral or non-written communications. See Pls.’ Second RFPs,
  21   Definition E (defining “communications” to include “the exchange of information
  22   by or through any mode or medium including, but not limited to, spoken word,
  23   written correspondence, any form of technology, face-to-face meetings or conveying
  24   of information through third person(s) to some other intended recipient”). Federal
  25   Rule of Civil Procedure 34 allows a party to serve requests to inspect or produce
  26   “documents,” “electronically stored information,” or “designated tangible things.”
  27   Fed. R. Civ. P. 34(a)(1). It does not allow a party to obtain non-tangible things.
  28   Defendants accordingly construe the term “communications” to include only those
                                                                                     APPENDIX B
                                                 146
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5932      Page
                                    271 of 300

   1   items permitted by Rule 34 as stated in Objections to Definitions No. 4.
   2         Second, a request to produce “all documents” relating to all of former
   3   Secretary Nielsen’s statements in her May 15, 2018 Fox News interview is not
   4   proportional to the needs of the case and is overly broad and unduly burdensome.
   5   Based on Plaintiffs’ definitions, a complete response would require Defendants to
   6   collect and search the documents of each of the named Defendants; each of the
   7   named     Defendants’    “agents,    representatives,   employees,       attorneys   and
   8   investigators”; all of U.S. Customs and Border Protection, including “its
   9   headquarters and offices, including any divisions, subdivisions, components or
  10   sections therein; CBP offices at ports of entry, including any divisions, subdivisions
  11   or sections therein; or any other CBP organizational structures, including but not
  12   limited to U.S. Border Patrol, U.S. Office of Field Operations or private contractors
  13   hired by CBP”; and all of the U.S. Department of Homeland Security, including “its
  14   headquarters and offices, including any divisions, subdivisions, components or
  15   sections therein, or any other DHS organizational structures.” See Pls.’ Second
  16   RFPs, Definitions A—C. DHS employs more than 240,000 people, and CBP
  17   employs more than 60,000 people. See “About DHS,” U.S. Dep’t of Homeland
  18   Security (Sept. 27, 2017), https://www.dhs.gov/about-dhs; “About CBP,” U.S.
  19   Customs     and    Border     Protection    (Last    modified    April     18,     2019),
  20   https://www.cbp.gov/about. Collecting and searching through the documents of all
  21   of these individuals, as Plaintiffs request, is plainly not proportional to the needs of
  22   this case and is overly broad and unduly burdensome. Cf. Alfaro v. City of San Diego,
  23   No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford,
  24   M.J.) (noting that an interrogatory that obligates a party to “canvas every employee
  25   who might have had a conversation with [the plaintiff]” would be “onerous and over
  26   burdensome”).
  27         Third, Defendants object to Request for Production No. 91 to the extent it
  28   seeks information protected from disclosure by the attorney work-product doctrine.
                                                                                        APPENDIX B
                                                  147
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5933     Page
                                    272 of 300

   1   To the extent a request for “all documents” relating to all of former Secretary
   2   Nielsen’s statements in her May 15, 2018 Fox News interview implicates, for
   3   example, “documents and tangible things prepared by a party or his representative
   4   in anticipation of litigation,” Admiral Ins. Co. v. U.S. Dist. Ct., 881 F.2d 1486, 1494
   5   (9th Cir. 1989) (citing Fed. R. Civ. P. 26(b)(3)); see Hickman v. Taylor, 329 U.S.
   6   495 (1947), including “documents or the compilation of materials prepared by agents
   7   of the attorney in preparation for litigation,” United States v. Richey, 632 F.3d 559,
   8   567 (9th Cir. 2011) (citing United States v. Nobles, 422 U.S. 225, 238 (1975)), such
   9   as, for example, notes and emails of Defendants’ attorneys and staff, and draft and
  10   final internal documents, such documents are protected from disclosure by the
  11   attorney work-product doctrine.
  12         Fourth, Defendants object to Request for Production No. 91 to the extent it
  13   seeks information protected by the attorney-client privilege. To the extent a request
  14   for “all documents” relating to all of former Secretary Nielsen’s statements in her
  15   May 15, 2018 Fox News interview implicates, for example, confidential
  16   communications between attorneys and clients which are made for the purpose of
  17   giving legal advice, Upjohn Co. v. United States, 449 U.S. 383, 389 (1981), such
  18   documents are privileged and protected from disclosure.
  19         Fifth, Defendants object to Request No. 91 to the extent it seeks information
  20   protected from disclosure by the deliberative process privilege. To the extent a
  21   request for “all documents” relating to all of former Secretary Nielsen’s statements
  22   in her May 15, 2018 Fox News interview implicates, for example, documents that
  23   are predecisional and deliberative, thereby containing opinions, recommendations,
  24   or advice, NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 149 (1975), including, but
  25   not limited to, “recommendations, draft documents, proposals, suggestions, and
  26   other subjective documents which reflect the personal opinions of the writer rather
  27   than the policy of the agency,” Ctr. for Medicare Advocacy, Inc. v. HHS, 577 F.
  28   Supp. 2d 221, 235 (D.D.C. 2008) (internal quotations and citation omitted), such
                                                                                     APPENDIX B
                                                148
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5934     Page
                                    273 of 300

   1   documents are privileged and protected from disclosure.
   2         Finally, Defendants object to Request No. 91 to the extent it seeks information
   3   protected from disclosure by the law enforcement privilege and/or as law
   4   enforcement sensitive. To the extent a request for “all documents” relating to all of
   5   former Secretary Nielsen’s statements in her May 15, 2018 Fox News interview
   6   implicates, for example, “law enforcement techniques and procedures,” the
   7   “confidentiality of sources,” the “protect[ion of] witnesses and law enforcement
   8   personnel,” “safeguard[ing] the privacy of individuals involved in an investigation,”
   9   and/or the “prevent[ion of] interference with an investigation,” such information is
  10   subject to the law enforcement privilege and protected from disclosure. Deocampo
  11   v. City of Vallejo, No. 06-cv-1283, 2007 WL 1589541, at *5 (E.D. Cal. June 1, 2007).
  12         Defendants also object to RFP 91 in accordance with Objections Which Apply
  13   to All RFPs Nos. 1„ 3-4, and 6-10; Objections to Definitions Nos. 4-6, and 8-10; and
  14   Objections to Instructions Nos. 1, 2, and 4.
  15         Accordingly, Defendants understand and construe Request for Production No.
  16   91 as seeking documents relating to former Secretary Nielsen’s statement in her May
  17   15, 2018 Fox News interview that “We are ‘metering,’ which means that if we don’t
  18   have the resources to let them in on a particular day, they are going to have to come
  19   back,” as it applies to the San Ysidro, Otay Mesa, Hidalgo, and Laredo ports of entry.
  20         Response: In accordance with their objections, Defendants will limit their
  21   search to a limited number of custodial and non-custodial sources. Defendants will
  22   continue to confer with Plaintiffs in identifying reasonable custodial and non-
  23   custodial sources and document identification protocols, and will produce or log
  24   documents responsive to this understanding and construction of Request for
  25   Production No. 91 after the parties agree on such sources and protocols. However,
  26   in the event the parties cannot agree, Defendants will limit their search to the sources
  27   identified in Defendants’ portion of the Supplement to the Parties’ Joint 26(f) Report
  28   (ECF No. 243), from which Defendants will produce or log documents responsive
                                                                                     APPENDIX B
                                                 149
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5935     Page
                                    274 of 300

   1   to this Request, dating from January 1, 2016, to the present, that can be located after
   2   a reasonable search. Documents created on or after July 12, 2017, the date of
   3   Plaintiffs’ original complaint (ECF No. 1), representing either communications with
   4   counsel or communications or documents relating to the actual conduct of litigation
   5   post-complaint—and thus clearly protected by either the attorney-client privilege or
   6   the work-product doctrine—will be treated as non-responsive and therefore will not
   7   appear on any privilege log.
   8   Request for Production No. 92
   9   All documents and communications related to the formal or informal use of waitlists,
  10   including waitlists managed, operated or overseen by third parties, to regulate the
  11   entry of noncitizens seeking asylum at ports of entry on the U.S.-Mexico border.
  12         Objections: Defendants object to Request for Production 92 as seeking
  13   information outside the scope of Rule 34, as not proportionate to the needs of the
  14   case, as overly broad and unduly burdensome, and as seeking information protected
  15   from disclosure by the attorney work-product doctrine, the attorney-client privilege,
  16   the deliberative process privilege, and the law enforcement privilege and/or as law
  17   enforcement sensitive. First, Defendants object to Request for Production No. 92 to
  18   the extent it seeks oral or non-written communications. See Pls.’ Second RFPs,
  19   Definition E (defining “communications” to include “the exchange of information
  20   by or through any mode or medium including, but not limited to, spoken word,
  21   written correspondence, any form of technology, face-to-face meetings or conveying
  22   of information through third person(s) to some other intended recipient”). Federal
  23   Rule of Civil Procedure 34 allows a party to serve requests to inspect or produce
  24   “documents,” “electronically stored information,” or “designated tangible things.”
  25   Fed. R. Civ. P. 34(a)(1). It does not allow a party to obtain non-tangible things.
  26   Defendants accordingly construe the term “communications” to include only those
  27   items permitted by Rule 34 as stated in Objections to Definitions No. 4.
  28         Defendants also object to Request No. 92 as requesting information relating
                                                                                     APPENDIX B
                                                150
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5936     Page
                                    275 of 300

   1   to “waitlists managed, operated or overseen by third parties.” The standard for
   2   possession, custody, or control is the legal right to obtain documents. See 7-UP
   3   Bottling Co. v. Archer Daniels Midland Co. (In re Citric Acid Litig.), 191 F.3d 1090,
   4   1107 (9th Cir. 1999). “Actual control is required, not merely theoretical control
   5   based on an ‘inherent relationship.’” Solis v. Tomco Auto Products, Inc., No. 12-cv-
   6   618, 2012 WL 12878752, at *1 (C.D. Cal. Sept. 20, 2012) (quoting United States v.
   7   Int’l Union of Petroleum and Indus. Workers, AFL-CIO, 870 F.2d 1450, 1453-54
   8   (9th Cir. 1989)). Defendants are under the obligation to produce relevant, non-
   9   privileged information, to the extent that it exists, only if individuals, operating in
  10   their official governmental capacity, have responsive, non-privileged information
  11   that is under the possession, custody, or control of the named Defendants or that the
  12   named Defendants have the legal right to obtain on demand. Id.
  13         Third, Defendants object to the Request as irrelevant, overbroad, and not
  14   proportional to the needs of the case because because it seeks documents and
  15   information about actions taken in Mexico over which Defendants have no control.
  16         Fourth, a request to produce “all documents” relating to “the formal or
  17   informal use of waitlists, including waitlists managed, operated, or overseen by third
  18   parties, to regulate the entry of noncitizens seeking asylum at ports of entry on the
  19   U.S.-Mexico border” is not proportional to the needs of the case and is overly broad
  20   and unduly burdensome. Based on Plaintiffs’ definitions, a complete response would
  21   require Defendants to collect and search the documents of each of the named
  22   Defendants; each of the named Defendants’ “agents, representatives, employees,
  23   attorneys and investigators”; all of U.S. Customs and Border Protection, including
  24   “its headquarters and offices, including any divisions, subdivisions, components or
  25   sections therein; CBP offices at ports of entry, including any divisions, subdivisions
  26   or sections therein; or any other CBP organizational structures, including but not
  27   limited to U.S. Border Patrol, U.S. Office of Field Operations or private contractors
  28   hired by CBP”; and all of the U.S. Department of Homeland Security, including “its
                                                                                     APPENDIX B
                                                151
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5937      Page
                                     276 of 300

   1   headquarters and offices, including any divisions, subdivisions, components or
   2   sections therein, or any other DHS organizational structures.” See Pls.’ Second
   3   RFPs, Definitions A—C. DHS employs more than 240,000 people, and CBP
   4   employs more than 60,000 people. See “About DHS,” U.S. Dep’t of Homeland
   5   Security (Sept. 27, 2017), https://www.dhs.gov/about-dhs; “About CBP,” U.S.
   6   Customs     and    Border     Protection    (Last    modified     April    18,     2019),
   7   https://www.cbp.gov/about. Collecting and searching through the documents of all
   8   of these individuals, as Plaintiffs request, is plainly not proportional to the needs of
   9   this case and is overly broad and unduly burdensome. Cf. Alfaro v. City of San Diego,
  10   No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford,
  11   M.J.) (noting that an interrogatory that obligates a party to “canvas every employee
  12   who might have had a conversation with [the plaintiff]” would be “onerous and over
  13   burdensome”). Moreover, Request No. 92 is not proportionate to the needs of the
  14   case and is overly broad and unduly burdensome because it is not limited to the four
  15   ports of entry at issue. Consistent with Objections Which Apply to All RFPs Nos. 1
  16   and 6, Defendants construe this Request as seeking documents relating to the four
  17   ports of entry at issue. Consistent with Objections Which Apply to All RFPs Nos. 3
  18   and 4, Defendants understand and construe the phrase “noncitizens seeking asylum”
  19   as “aliens without travel documents.”
  20         Fifth, Defendants object to Request for Production No. 92 to the extent it seeks
  21   information protected from disclosure by the attorney work-product doctrine. To the
  22   extent a request for “all documents” relating to the formal or informal use of waitlists
  23   to regulate the entry of aliens without travel documents at the San Ysidro, Otay
  24   Mesa, Hidalgo, or Laredo ports of entry implicates, for example, “documents and
  25   tangible things prepared by a party or his representative in anticipation of litigation,”
  26   Admiral Ins. Co. v. U.S. Dist. Ct., 881 F.2d 1486, 1494 (9th Cir. 1989) (citing Fed.
  27   R. Civ. P. 26(b)(3)); see Hickman v. Taylor, 329 U.S. 495 (1947), including
  28   “documents or the compilation of materials prepared by agents of the attorney in
                                                                                        APPENDIX B
                                                  152
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5938     Page
                                    277 of 300

   1   preparation for litigation,” United States v. Richey, 632 F.3d 559, 567 (9th Cir. 2011)
   2   (citing United States v. Nobles, 422 U.S. 225, 238 (1975)), such as, for example,
   3   notes and emails of Defendants’ attorneys and staff, and draft and final internal
   4   documents, such documents are protected from disclosure by the attorney work-
   5   product doctrine.
   6         Sixth, Defendants object to Request for Production No. 92 to the extent it
   7   seeks information protected by the attorney-client privilege. To the extent a request
   8   for “all documents” relating to the formal or informal use of waitlists to regulate the
   9   entry of aliens without travel documents at the San Ysidro, Otay Mesa, Hidalgo, or
  10   Laredo ports of entry implicates, for example, confidential communications between
  11   attorneys and clients which are made for the purpose of giving legal advice, Upjohn
  12   Co. v. United States, 449 U.S. 383, 389 (1981), such documents are privileged and
  13   protected from disclosure.
  14         Seventh, Defendants object to Request No. 92 to the extent it seeks
  15   information protected from disclosure by the deliberative process privilege. To the
  16   extent a request for “all documents” relating to the formal or informal use of waitlists
  17   to regulate the entry of aliens without travel documents at the San Ysidro, Otay
  18   Mesa, Hidalgo, or Laredo ports of entry implicates, for example, documents that are
  19   predecisional and deliberative, thereby containing opinions, recommendations, or
  20   advice, NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 149 (1975), including, but not
  21   limited to, “recommendations, draft documents, proposals, suggestions, and other
  22   subjective documents which reflect the personal opinions of the writer rather than
  23   the policy of the agency,” Ctr. for Medicare Advocacy, Inc. v. HHS, 577 F. Supp. 2d
  24   221, 235 (D.D.C. 2008) (internal quotations and citation omitted), such documents
  25   are privileged and protected from disclosure.
  26         Finally, Defendants object to Request No. 92 to the extent it seeks information
  27   protected from disclosure by the law enforcement privilege and/or as law
  28   enforcement sensitive. To the extent a request for “all documents” relating to the
                                                                                     APPENDIX B
                                                 153
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5939     Page
                                    278 of 300

   1   formal or informal use of waitlists to regulate the entry of aliens without travel
   2   documents at the San Ysidro, Otay Mesa, Hidalgo, or Laredo ports of entry
   3   implicates, for example, “law enforcement techniques and procedures,” the
   4   “confidentiality of sources,” the “protect[ion of] witnesses and law enforcement
   5   personnel,” “safeguard[ing] the privacy of individuals involved in an investigation,”
   6   and/or the “prevent[ion of] interference with an investigation,” such information is
   7   subject to the law enforcement privilege and protected from disclosure. Deocampo
   8   v. City of Vallejo, No. 06-cv-1283, 2007 WL 1589541, at *5 (E.D. Cal. June 1, 2007).
   9         Defendants also object to RFP 92 in accordance with Objections Which Apply
  10   to All RFPs Nos. 1, 3-4, 6-10; and Objections to Definitions Nos. 4-6, and 8-10; and
  11   Objections to Instructions Nos. 1, 2, and 4.
  12         Response: In accordance with their objections, Defendants understand and
  13   construe Request for Production No. 92 as seeking documents relating to the formal
  14   or informal use of waitlists to regulate the entry of aliens without travel documents
  15   at the San Ysidro, Otay Mesa, Hidalgo, or Laredo ports of entry. Defendants will
  16   limit their search to a limited number of custodial and non-custodial sources.
  17   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
  18   and non-custodial sources and document identification protocols, and will produce
  19   or log documents responsive to this understanding and construction of Request for
  20   Production No. 92 after the parties agree on such sources and protocols. However,
  21   in the event the parties cannot agree, Defendants will limit their search to the sources
  22   identified in Defendants’ portion of the Supplement to the Parties’ Joint 26(f) Report
  23   (ECF No. 243), from which Defendants will produce or log documents responsive
  24   to this Request, dating from January 1, 2016, to the present, that can be located after
  25   a reasonable search. Documents created on or after July 12, 2017, the date of
  26   Plaintiffs’ original complaint (ECF No. 1), representing either communications with
  27   counsel or communications or documents relating to the actual conduct of litigation
  28   post-complaint—and thus clearly protected by either the attorney-client privilege or
                                                                                     APPENDIX B
                                                 154
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5940      Page
                                     279 of 300

   1   the work-product doctrine—will be treated as non-responsive and therefore will not
   2   appear on any privilege log.
   3   Request for Production No. 94
   4   All documents comparing or contrasting by port of entry or region the
   5   implementation of any formal or informal policy, practice, or effort to cap, limit, or
   6   meter the number of noncitizens seeking asylum in the United States that are
   7   processed at a particular port of entry along the U.S.-Mexico border, including but
   8   not limited to the practices or conduct used to implement such formal or informal
   9   policy, practice, or effort.
  10          Objections: Defendants object to Request for Production No. 94 as not
  11   proportionate to the needs of the case, as overly broad and unduly burdensome, and
  12   as seeking information protected from disclosure by the attorney work-product
  13   doctrine, the attorney-client privilege, the deliberative process privilege, and the law
  14   enforcement privilege and/or as law enforcement sensitive. First, Request No. 94 is
  15   not proportionate to the needs of the case and is overly broad and unduly burdensome
  16   because it is not limited to the four ports of entry at issue. Consistent with Objections
  17   Applying to all Requests Nos. 1 and 6, Defendants construe this Request as seeking
  18   documents relating to the four ports of entry at issue.
  19          Second, Defendants object to Request No. 94 to the extent it seeks information
  20   protected from disclosure by the attorney work-product doctrine, as explained in
  21   Defendants’ General Objection No. Error! Reference source not found.. To the
  22   extent a request for “all documents comparing or contrasting by port of entry or
  23   region the implementation of any formal or informal policy, practice, or effort to
  24   cap, limit, or meter” the number of aliens without travel documents who may apply
  25   for admission at a port of entry at a given time implicates, for example, “documents
  26   and tangible things prepared by a party or his representative in anticipation of
  27   litigation,” Admiral Ins. Co. v. U.S. Dist. Ct., 881 F.2d 1486, 1494 (9th Cir. 1989)
  28   (citing Fed. R. Civ. P. 26(b)(3)); see Hickman v. Taylor, 329 U.S. 495 (1947),
                                                                                      APPENDIX B
                                                 155
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5941     Page
                                    280 of 300

   1   including “documents or the compilation of materials prepared by agents of the
   2   attorney in preparation for litigation,” United States v. Richey, 632 F.3d 559, 567
   3   (9th Cir. 2011) (citing United States v. Nobles, 422 U.S. 225, 238 (1975)), such as,
   4   for example, notes and emails of Defendants’ attorneys and staff, and draft and final
   5   internal documents, such documents are protected from disclosure by the attorney
   6   work-product doctrine.
   7         Third, Defendants object to Request for Production No. 94 to the extent it
   8   seeks information protected by the attorney-client privilege. To the extent a request
   9   for “all documents comparing or contrasting by port of entry or region the
  10   implementation of any formal or informal policy, practice, or effort to cap, limit, or
  11   meter” the number of aliens without travel documents who may apply for admission
  12   at a port of entry at a given time implicates, for example, confidential
  13   communications between attorneys and clients which are made for the purpose of
  14   giving legal advice, Upjohn Co. v. United States, 449 U.S. 383, 389 (1981), such
  15   documents are privileged and protected from disclosure.
  16         Fourth, Defendants object to Request No. 94 to the extent it seeks information
  17   protected from disclosure by the deliberative process privilege. To the extent a
  18   request for “all documents comparing or contrasting by port of entry or region the
  19   implementation of any formal or informal policy, practice, or effort to cap, limit, or
  20   meter” the number of aliens without travel documents who may apply for admission
  21   at a port of entry at a given time implicates, for example, documents that are
  22   predecisional and deliberative, thereby containing opinions, recommendations, or
  23   advice, NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 149 (1975), including, but not
  24   limited to, “recommendations, draft documents, proposals, suggestions, and other
  25   subjective documents which reflect the personal opinions of the writer rather than
  26   the policy of the agency,” Ctr. for Medicare Advocacy, Inc. v. HHS, 577 F. Supp. 2d
  27   221, 235 (D.D.C. 2008) (internal quotations and citation omitted), such documents
  28   are privileged and protected from disclosure.
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                                                156
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5942     Page
                                    281 of 300

   1         Finally, Defendants object to Request No. 94 to the extent it seeks information
   2   protected from disclosure by the law enforcement privilege and/or as law
   3   enforcement sensitive. To the extent a request for “all documents comparing or
   4   contrasting by port of entry or region the implementation of any formal or informal
   5   policy, practice, or effort to cap, limit, or meter” the number of aliens without travel
   6   documents who may apply for admission at a port of entry at a given time implicates,
   7   for example, “law enforcement techniques and procedures,” the “confidentiality of
   8   sources,” the “protect[ion of] witnesses and law enforcement personnel,”
   9   “safeguard[ing] the privacy of individuals involved in an investigation,” and/or the
  10   “prevent[ion of] interference with an investigation,” such information is subject to
  11   the law enforcement privilege and protected from disclosure. Deocampo v. City of
  12   Vallejo, No. 06-cv-1283, 2007 WL 1589541, at *5 (E.D. Cal. June 1, 2007).
  13         Defendants also object to RFP 94 in accordance with Objections Which Apply
  14   to All RFPs Nos. 1, 3-4, and 6-10; Objections to Definitions Nos. 5-6, and 9-10; and
  15   Objections to Instructions Nos. 1, 2, and 4.
  16         Accordingly, Defendants understand and construe Request for Production No.
  17   94 as seeking non-privileged documents relating to “metering” at the San Ysidro,
  18   Otay Mesa, Hidalgo, and Laredo ports of entry.
  19         Response: Subject to and without waiving their objections, Defendants will
  20   limit their search to a limited number of custodial and non-custodial sources.
  21   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
  22   and non-custodial sources and document identification protocols. However, in the
  23   event the parties cannot agree, Defendants will limit their search to the sources
  24   identified in Defendants’ portion of the Supplement to the Parties’ Joint 26(f) Report
  25   (ECF No. 243), from which Defendants will produce or log documents responsive
  26   to this Request, dating from January 1, 2016, to the present, that can be located after
  27   a reasonable search. Documents created on or after July 12, 2017, the date of
  28   Plaintiffs’ original complaint (ECF No. 1), representing either communications with
                                                                                     APPENDIX B
                                                 157
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5943      Page
                                     282 of 300

   1   counsel or communications or documents relating to the actual conduct of litigation
   2   post-complaint—and thus clearly protected by either the attorney-client privilege or
   3   the work-product doctrine—will be treated as non-responsive and therefore will not
   4   appear on any privilege log.
   5   Request for Production No. 95
   6   Documents sufficient to show, by port of entry or region, the time periods during
   7   which any formal or informal policy, practice, or effort to cap, limit, or meter the
   8   number of noncitizens seeking asylum in the United States who are inspected and/or
   9   processed at a port of entry along the U.S.-Mexico border was in place.
  10         Objections: Defendants object to Request for Production No. 95 as not
  11   proportionate to the needs of the case, as overly broad and unduly burdensome, and
  12   as seeking information protected from disclosure by the attorney work-product
  13   doctrine, the attorney-client privilege, the deliberative process privilege, and the law
  14   enforcement privilege and/or as law enforcement sensitive. First, Request No. 95 is
  15   not proportionate to the needs of the case and is overly broad and unduly burdensome
  16   because it is not limited to the four ports of entry at issue. Consistent with Objections
  17   Which Apply to All RFPs Nos. 1 and 6, Defendants construe this Request as seeking
  18   documents relating to the four ports of entry at issue.
  19         Second, Defendants object to Request No. 95 to the extent it seeks information
  20   protected from disclosure by the attorney work-product doctrine. To the extent a
  21   request for “documents sufficient to show, by port of entry or region, the time
  22   periods during which any formal or informal policy, practice, or effort to cap, limit,
  23   or meter the number of noncitizens seeking asylum in the United States who are
  24   inspected and/or processed at a port of entry along the U.S.-Mexico border was in
  25   place” implicates, for example, “documents and tangible things prepared by a party
  26   or his representative in anticipation of litigation,” Admiral Ins. Co. v. U.S. Dist. Ct.,
  27   881 F.2d 1486, 1494 (9th Cir. 1989) (citing Fed. R. Civ. P. 26(b)(3)); see Hickman
  28   v. Taylor, 329 U.S. 495 (1947), including “documents or the compilation of
                                                                                      APPENDIX B
                                                 158
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5944     Page
                                    283 of 300

   1   materials prepared by agents of the attorney in preparation for litigation,” United
   2   States v. Richey, 632 F.3d 559, 567 (9th Cir. 2011) (citing United States v. Nobles,
   3   422 U.S. 225, 238 (1975)), such as, for example, notes and emails of Defendants’
   4   attorneys and staff, and draft and final internal documents, such documents are
   5   protected from disclosure by the attorney work-product doctrine.
   6         Third, Defendants object to Request for Production No. 94 to the extent it
   7   seeks information protected by the attorney-client privilege. To the extent a request
   8   for “documents sufficient to show, by port of entry or region, the time periods during
   9   which any formal or informal policy, practice, or effort to cap, limit, or meter the
  10   number of noncitizens seeking asylum in the United States who are inspected and/or
  11   processed at a port of entry along the U.S.-Mexico border was in place” implicates,
  12   for example, confidential communications between attorneys and clients which are
  13   made for the purpose of giving legal advice, Upjohn Co. v. United States, 449 U.S.
  14   383, 389 (1981), such documents are privileged and protected from disclosure.
  15         Fourth, Defendants object to Request No. 94 to the extent it seeks information
  16   protected from disclosure by the deliberative process privilege. To the extent a
  17   request for “documents sufficient to show, by port of entry or region, the time
  18   periods during which any formal or informal policy, practice, or effort to cap, limit,
  19   or meter the number of noncitizens seeking asylum in the United States who are
  20   inspected and/or processed at a port of entry along the U.S.-Mexico border was in
  21   place” implicates, for example, documents that are predecisional and deliberative,
  22   thereby containing opinions, recommendations, or advice, NLRB v. Sears, Roebuck
  23   & Co., 421 U.S. 132, 149 (1975), including, but not limited to, “recommendations,
  24   draft documents, proposals, suggestions, and other subjective documents which
  25   reflect the personal opinions of the writer rather than the policy of the agency,” Ctr.
  26   for Medicare Advocacy, Inc. v. HHS, 577 F. Supp. 2d 221, 235 (D.D.C. 2008)
  27   (internal quotations and citation omitted), such documents are privileged and
  28   protected from disclosure.
                                                                                     APPENDIX B
                                                159
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5945     Page
                                    284 of 300

   1         Finally, Defendants object to Request No. 94 to the extent it seeks information
   2   protected from disclosure by the law enforcement privilege and/or as law
   3   enforcement sensitive. To the extent a request for “documents sufficient to show, by
   4   port of entry or region, the time periods during which any formal or informal policy,
   5   practice, or effort to cap, limit, or meter the number of noncitizens seeking asylum
   6   in the United States who are inspected and/or processed at a port of entry along the
   7   U.S.-Mexico border was in place” implicates, for example, “law enforcement
   8   techniques and procedures,” the “confidentiality of sources,” the “protect[ion of]
   9   witnesses and law enforcement personnel,” “safeguard[ing] the privacy of
  10   individuals involved in an investigation,” and/or the “prevent[ion of] interference
  11   with an investigation,” such information is subject to the law enforcement privilege
  12   and protected from disclosure. Deocampo v. City of Vallejo, No. 06-cv-1283, 2007
  13   WL 1589541, at *5 (E.D. Cal. June 1, 2007).
  14         Defendants also object to RFP 95 in accordance with Objections Which Apply
  15   to All RFPs Nos. 1, 3-4, and 6-10; Objections to Definitions Nos. 5 and 10; and
  16   Objections to Instructions Nos. 1, 2, and 4.
  17         Accordingly, Defendants understand and construe Request for Production No.
  18   95 as seeking non-privileged documents relating to “metering” at the San Ysidro,
  19   Otay Mesa, Hidalgo, and Laredo ports of entry.
  20         Response: Subject to and without waiving their objections, Defendants will
  21   limit their search to a limited number of custodial and non-custodial sources.
  22   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
  23   and non-custodial sources and document identification protocols. However, in the
  24   event the parties cannot agree, Defendants will limit their search to the sources
  25   identified in Defendants’ portion of the Supplement to the Parties’ Joint 26(f) Report
  26   (ECF No. 243), from which Defendants will produce or log documents responsive
  27   to this Request, dating from January 1, 2016, to the present, that can be located after
  28   a reasonable search. Documents created on or after July 12, 2017, the date of
                                                                                     APPENDIX B
                                                160
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19      PageID.5946     Page
                                      285 of 300

   1   Plaintiffs’ original complaint (ECF No. 1), representing either communications with
   2   counsel or communications or documents relating to the actual conduct of litigation
   3   post-complaint—and thus clearly protected by either the attorney-client privilege or
   4   the work-product doctrine—will be treated as non-responsive and therefore will not
   5   appear on any privilege log.
   6   Request for Production No. 96
   7   To the extent that you claim that any formal or informal policy, practice, or effort to
   8   cap, limit, or meter the number of noncitizens seeking asylum in the United States
   9   who are processed at a port of entry along the U.S.-Mexico border was not
  10   implemented across the entire U.S.-Mexico border or was not implemented at every
  11   port of entry, all documents supporting the factual basis for that claim.
  12         Objections: Defendants object to Request for Production No. 96 as not
  13   proportionate to the needs of the case and as seeking information protected from
  14   disclosure by any legal privileges or protections, including, but not limited to, the
  15   attorney-client privilege, the attorney work-product doctrine, the deliberative
  16   process privilege, and the law enforcement privilege and/or as law enforcement
  17   sensitive. Defendants object to Request No. 96 because Plaintiffs do not define the
  18   terms “policy, practice, or effort,” and it is unclear how those terms are distinct or
  19   differ from one another.
  20         Defendants further object to this Request, in accordance with Objections
  21   Which Apply to All RFPs No. 6, as seeking information and documents about ports
  22   of entry that are not relevant to the claims and defenses in this case.
  23         Defendants object to this Request as premature to the extent Defendants have
  24   not yet made any formal “claim” or argument in this case that any formal or informal
  25   policy, practice, or effort to cap, limit, or meter the number of noncitizens seeking
  26   asylum in the United States who are processed at a port of entry along the U.S.-
  27   Mexico border was not implemented across the entire U.S.-Mexico border or was
  28   not implemented at every port of entry.
                                                                                     APPENDIX B
                                                 161
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5947     Page
                                    286 of 300

   1         Defendants also object to RFP 96 in accordance with Objections Which Apply
   2   to All RFPs Nos. 1, 3-4, and 6-10; Objections to Definitions Nos. 1, 5-6, and 10; and
   3   Objections to Instructions Nos. 1, 2, and 4.
   4         Response: Subject to and without waiving the foregoing objections,
   5   Defendants respond as follows: Defendants will limit their search to a limited
   6   number of custodial and non-custodial sources. Defendants will continue to confer
   7   with Plaintiffs in identifying reasonable custodial and non-custodial sources and
   8   document identification protocols. However, in the event the parties cannot agree,
   9   Defendants will limit their search to the sources identified in Defendants’ portion of
  10   the Supplement to the Parties’ Joint 26(f) Report (ECF No. 243), from which
  11   Defendants will produce or log documents responsive to this Request, dating from
  12   January 1, 2016, to the present, that can be located after a reasonable search.
  13   Documents created on or after July 12, 2017, the date of Plaintiffs’ original
  14   complaint (ECF No. 1), representing either communications with counsel or
  15   communications or documents relating to the actual conduct of litigation post-
  16   complaint—and thus clearly protected by either the attorney-client privilege or the
  17   work-product doctrine—will be treated as non-responsive and therefore will not
  18   appear on any privilege log.
  19   Request for Production No. 97
  20   To the extent that you claim that questions of fact are not common to the class
  21   alleged in Plaintiffs’ second amended complaint, all documents that support the
  22   factual basis for your contention.
  23         Objections: Defendants object to Request for Production No. 97 as
  24   premature, as seeking documents and communications protected by the work
  25   product doctrine, attorney-client privilege, the deliberative process privilege, and the
  26   law enforcement privilege, and as outside the proper scope of discovery.
  27         This request is outside the proper scope of discovery under Rule 26(b) because
  28   it does not purport to seek documents based on their factual nature or on their
                                                                                     APPENDIX B
                                                 162
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19       PageID.5948     Page
                                      287 of 300

   1   relevance to claims and defenses to this case. Instead, it improperly seeks to ascertain
   2   or limit Defendants’ arguments in opposition to class certification and to
   3   prematurely reveal work product through a Request for Production of Documents.
   4         Relatedly, Defendants object to the extent the Request seeks prior disclosure
   5   of documents, such as declarations, that do not already exist but would be created
   6   for purposes of opposition to class certification, which similarly impinges on work
   7   product protection.
   8         Defendants object to this Request to the extent it seeks documents that are
   9   already in Plaintiffs’ possession.
  10         To the extent this Request seeks information about policies, practices, and
  11   instructions, it is duplicative of numerous requests, including Requests Nos. 1, 2, 6,
  12   40-44, and 84. Defendants incorporate their objections and responses to those
  13   Requests hereto.
  14         Defendants further object to this Request in accordance with Objections
  15   Which Apply to All RFPs Nos. 1, and 6-10; Objections to Definitions Nos. 1, 5-6
  16   and 10; and Objections to Instructions Nos. 1, 2, and 4.
  17         Response: In accordance with their objections, Defendants will not be
  18   providing documents specifically in response to this Request.. .
  19   Request for Production No. 98
  20   To the extent that you claim that Plaintiffs’ proposed class alleged in the second
  21   amended complaint is not sufficiently numerous to be certified, all documents that
  22   support your contention.
  23         Objections: Defendants object to Request for Production No. 98 as
  24   premature, as seeking documents and communications protected by the work
  25   product doctrine, attorney-client privilege, the deliberative process privilege, and the
  26   law enforcement privilege, and as outside the proper scope of discovery.
  27         This Request is outside the proper scope of discovery under Rule 26(b)
  28   because it does not purport to seek documents based on their factual nature or on
                                                                                     APPENDIX B
                                                 163
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5949     Page
                                    288 of 300

   1   their relevance to claims and defenses to this case. Instead, it improperly seeks to
   2   ascertain or limit Defendants’ arguments in opposition to class certification and to
   3   prematurely reveal work product through a Request for Production of Documents.
   4         Relatedly, Defendants object to the extent this Request seeks prior disclosure
   5   of documents, such as declarations, that do not already exist but would be created
   6   for purposes of opposition to class certification, which similarly impinges on work
   7   product protection.
   8         Defendants object to this Request to the extent it seeks documents that are
   9   already in Plaintiffs’ possession.
  10         To the extent this Request seeks information about statistics and data, it is
  11   duplicative of numerous requests, including Requests Nos. 9-12 and 75-81.
  12   Defendants incorporate their objections and responses to those Requests hereto.
  13         Defendants further object to this Request in accordance with Objections
  14   Which Apply to All RFPs Nos. 1, and 6-10; Objections to Definitions Nos. 1, 5-6
  15   and 10; and Objections to Instructions Nos. 1, 2, and 4.
  16         Response: In accordance with their objections, Defendants will not be
  17   providing documents specifically in response to this Request..
  18   Request for Production No. 99
  19   To the extent that you claim that the named class representatives’ claims are atypical
  20   of the claims of the purported class alleged in the second amended complaint, all
  21   documents that support the factual basis for your contention.
  22         Objections: Defendants object to Request for Production No. 99 as
  23   premature, as seeking documents and communications protected by the work
  24   product doctrine, attorney-client privilege, the deliberative process privilege, and the
  25   law enforcement privilege, and as outside the proper scope of discovery.
  26         This request is outside the proper scope of discovery under Rule 26(b) because
  27   it does not purport to seek documents based on their factual nature or on their
  28   relevance to claims and defenses to this case. Instead, it improperly seeks to ascertain
                                                                                     APPENDIX B
                                                 164
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5950     Page
                                    289 of 300

   1   or limit Defendants’ arguments in opposition to class certification and to
   2   prematurely reveal work product through a Request for Production of Documents.
   3         Relatedly, Defendants object to the extent the Request seeks prior disclosure
   4   of documents, such as declarations, that do not already exist but would be created
   5   for purposes of opposition to class certification, which similarly impinges on work
   6   product protection.
   7         Defendants further object to this Request as unduly burdensome to the extent
   8   it seeks documents that are already in Plaintiffs’ possession.
   9         Defendants further object to this Request in accordance with Objections
  10   Which Apply to All RFPs Nos. 1, and 6-10; Objections to Definitions Nos. 1, 5-6
  11   and 10; and Objections to Instructions Nos. 1, 2, and 4.
  12         Response: In accordance with their objections, Defendants will not be
  13   providing documents specifically in response to this Request..
  14   Request for Production No. 100
  15   To the extent that you claim that the named class representatives are inadequate
  16   representatives of the class alleged in the second amended complaint, all documents
  17   that support the factual basis for your contention.
  18         Objections: Defendants object to Request for Production No. 99 as
  19   premature, as seeking documents and communications protected by the work
  20   product doctrine, attorney-client privilege, the deliberative process privilege, and the
  21   law enforcement privilege, and as outside the proper scope of discovery.
  22         This Request is outside the proper scope of discovery under Rule 26(b)
  23   because it does not purport to seek documents based on their factual nature or on
  24   their relevance to claims and defenses to this case. Instead, it improperly seeks to
  25   ascertain or limit Defendants’ arguments in opposition to class certification and to
  26   prematurely reveal work product through a Request for Production of Documents.
  27         Relatedly, Defendants object to extent the Request seeks prior disclosure of
  28   documents, such as declarations, that do not already exist but would be created for
                                                                                     APPENDIX B
                                                 165
Case 3:17-cv-02366-BAS-KSC         Document 263 Filed 05/24/19      PageID.5951    Page
                                       290 of 300

   1   purposes of opposition to class certification, which similarly impinges on work
   2   product protection.
   3         Defendants further object to this Request as unduly burdensome to the extent
   4   it seeks documents that are already in Plaintiffs’ possession.
   5         Defendants further object to this Request in accordance with Objections
   6   Which Apply to All RFPs Nos. 1 and 6-10; Objections to Definitions Nos. 1, 5-6
   7   and 10; and Objections to Instructions Nos. 1, 2, and 4.
   8         Response: In accordance with their objections, Defendants will not be
   9   providing documents specifically in response to this Request.
  10   Request for Production No. 102
  11   All documents and communications relating to investigations of, research of, or
  12   requests for information about Al Otro Lado, Al Otro Lado employees or volunteers,
  13   the named Plaintiffs or other asylum seekers on account of their association with Al
  14   Otro Lado, or asylum seekers who have materials from Al Otro Lado in their
  15   possession.
  16         Objections: Defendants object to Request for Production No. 102 as seeking
  17   information outside the scope of Rule 34, and as seeking information protected from
  18   disclosure by the attorney work-product doctrine, the attorney-client privilege, and
  19   the law enforcement privilege and/or as law enforcement sensitive. First, Defendants
  20   object to Request for Production No. 102 to the extent it seeks oral or non-written
  21   communications.       See     Pls.’   Second   RFPs,       Definition   E   (defining
  22   “communication(s)” to include “the exchange of information by or through any
  23   mode or medium including, but not limited to, spoken word, written correspondence,
  24   any form of technology, face-to-face meetings or conveying of information through
  25   third person(s) to some other intended recipient”). Federal Rule of Civil Procedure
  26   34 allows a party to serve requests to inspect or produce “documents,”
  27   “electronically stored information,” or “designated tangible things.” Fed. R. Civ. P.
  28   34(a)(1). It does not allow a party to obtain non-tangible things. Defendants
                                                                                    APPENDIX B
                                                166
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5952     Page
                                    291 of 300

   1   accordingly construe the term “communication(s)” to include only those items
   2   permitted by Rule 34 as stated in Objections to Definitions No. 4.
   3         Second, Defendants object to Request No. 102 to the extent it seeks
   4   information protected from disclosure by the attorney work-product doctrine. To the
   5   extent a request for “all documents and communications relating to investigations
   6   of, research of, or requests for information about Al Otro Lado, Al Otro Lado
   7   employees or volunteers, the named Plaintiffs or other asylum seekers on account of
   8   their association with Al Otro Lado, or asylum seekers who have materials from Al
   9   Otro Lado in their possession” implicates, for example, “documents and tangible
  10   things prepared by a party or his representative in anticipation of litigation,” Admiral
  11   Ins. Co. v. U.S. Dist. Ct., 881 F.2d 1486, 1494 (9th Cir. 1989) (citing Fed. R. Civ. P.
  12   26(b)(3)); see Hickman v. Taylor, 329 U.S. 495 (1947), including “documents or the
  13   compilation of materials prepared by agents of the attorney in preparation for
  14   litigation,” United States v. Richey, 632 F.3d 559, 567 (9th Cir. 2011) (citing United
  15   States v. Nobles, 422 U.S. 225, 238 (1975)), such as, for example, notes and emails
  16   of Defendants’ attorneys and staff, and draft and final internal documents, such
  17   documents are protected from disclosure by the attorney work-product doctrine.
  18         Third, Defendants object to Request for Production No. 102 to the extent it
  19   seeks information protected by the attorney-client privilege. To the extent a request
  20   for “all documents and communications relating to investigations of, research of, or
  21   requests for information about Al Otro Lado, Al Otro Lado employees or volunteers,
  22   the named Plaintiffs or other asylum seekers on account of their association with Al
  23   Otro Lado, or asylum seekers who have materials from Al Otro Lado in their
  24   possession” implicates, for example, confidential communications between
  25   attorneys and clients which are made for the purpose of giving legal advice, Upjohn
  26   Co. v. United States, 449 U.S. 383, 389 (1981), such documents are privileged and
  27   protected from disclosure.
  28         Fourth, Defendants object to Request No. 102 to the extent it seeks
                                                                                     APPENDIX B
                                                 167
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5953     Page
                                    292 of 300

   1   information protected from disclosure by the deliberative process privilege. To the
   2   extent a request for “all documents and communications relating to investigations
   3   of, research of, or requests for information about Al Otro Lado, Al Otro Lado
   4   employees or volunteers, the named Plaintiffs or other asylum seekers on account of
   5   their association with Al Otro Lado, or asylum seekers who have materials from Al
   6   Otro Lado in their possession” implicates, for example, documents that are
   7   predecisional and deliberative, thereby containing opinions, recommendations, or
   8   advice, NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 149 (1975), including, but not
   9   limited to, “recommendations, draft documents, proposals, suggestions, and other
  10   subjective documents which reflect the personal opinions of the writer rather than
  11   the policy of the agency,” Ctr. for Medicare Advocacy, Inc. v. HHS, 577 F. Supp. 2d
  12   221, 235 (D.D.C. 2008) (internal quotations and citation omitted), such documents
  13   are privileged and protected from disclosure.
  14         Finally, Defendants object to Request No. 102 to the extent it seeks
  15   information protected from disclosure by the law enforcement privilege and/or as
  16   law enforcement sensitive. To the extent a request for “all documents and
  17   communications relating to investigations of, research of, or requests for information
  18   about Al Otro Lado, Al Otro Lado employees or volunteers, the named Plaintiffs or
  19   other asylum seekers on account of their association with Al Otro Lado, or asylum
  20   seekers who have materials from Al Otro Lado in their possession” implicates, for
  21   example, “law enforcement techniques and procedures,” the “confidentiality of
  22   sources,” the “protect[ion of] witnesses and law enforcement personnel,”
  23   “safeguard[ing] the privacy of individuals involved in an investigation,” and/or the
  24   “prevent[ion of] interference with an investigation,” such information is subject to
  25   the law enforcement privilege and protected from disclosure. Deocampo v. City of
  26   Vallejo, No. 06-cv-1283, 2007 WL 1589541, at *5 (E.D. Cal. June 1, 2007).
  27         Defendants also object to RFP 102 in accordance with Objections Which
  28   Apply to All RFPs Nos. 1, 4, and 6-10 and Objections to Definitions Nos. 4-6, 8,
                                                                                    APPENDIX B
                                                168
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19        PageID.5954     Page
                                     293 of 300

   1   and 10.
   2         Response: Because of, and without waiving, Defendants’ objections,
   3   Defendants will not search for, produce, or log any documents responsive to Request
   4   for Production No. 102.
   5   Request for Production No. 103
   6   All communications with Guadalupe Correa-Cabrera or any other researcher funded
   7   by or retained by you, CBP, or DHS to investigate, research, or request information
   8   about Al Otro Lado or employees of Al Otro Lado.
   9         Objections: Defendants object to Request for Production No. 103 as seeking
  10   information outside the scope of Rule 34, as seeking information not relevant to any
  11   party’s claims or defenses, as not proportionate to the needs of the case, and as overly
  12   broad and unduly burdensome. First, Defendants object to Request for Production
  13   No. 103 to the extent it seeks oral or non-written communications. See Pls.’ Second
  14   RFPs, Definition E (defining “communication(s)” to include “the exchange of
  15   information by or through any mode or medium including, but not limited to, spoken
  16   word, written correspondence, any form of technology, face-to-face meetings or
  17   conveying of information through third person(s) to some other intended recipient”).
  18   Federal Rule of Civil Procedure 34 allows a party to serve requests to inspect or
  19   produce “documents,” “electronically stored information,” or “designated tangible
  20   things.” Fed. R. Civ. P. 34(a)(1). It does not allow a party to obtain non-tangible
  21   things. Defendants accordingly construe the term “communication(s)” to include
  22   only those items permitted by Rule 34 as stated in Objections to Definitions No. 4.
  23         Defendants object to Request No. 103 as not relevant to any party’s claims or
  24   defenses, as Defendants are not immediately aware of the individual mentioned in
  25   this Request. Moreover, it would be overly broad and unduly burdensome for
  26   Defendants to search the entirety of their records for this individual.
  27         Defendants also object to RFP 103 in accordance with Objections Which
  28   Apply to All RFPs Nos. 1, 7-10 and Objections to Definitions Nos. 1-4 and 10.
                                                                                     APPENDIX B
                                                 169
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19        PageID.5955    Page
                                    294 of 300

   1         Response: In accordance with their objections, Defendants will not search
   2   for, produce, or log any documents responsive to Request for Production No. 103.
   3   Request for Production No. 104
   4   All documents and communications relating to actions taken against Al Otro Lado,
   5   Al Otro Lado employees or volunteers, the named plaintiffs or other asylum seekers
   6   on account of their association with Al Otro Lado, or asylum seekers who have
   7   materials from Al Otro Lado in their possession, including but not limited to seizing
   8   or revoking SENTRI cards, denying SENTRI card applications, or placing any sort
   9   of alert, flag, or limitation on passports or other travel documents.
  10         Objections: Defendants object to Request for Production No. 104 as not
  11   relevant to any party’s claims or defenses. This case challenges Defendants’ alleged
  12   “engage[ment] in an unlawful, widespread pattern and practice of denying asylum
  13   seekers access to the asylum process at POEs on the U.S.-Mexico border through a
  14   variety of illegal tactics,” and Defendants’ alleged “adopt[ion of] a formal policy to
  15   restrict access to the asylum process at POEs by mandating that lower-level officials
  16   directly or constructively turn back asylum seekers at the border (the “Turnback
  17   Policy”) contrary to U.S. law.” ECF No. 189 ¶¶ 2-3. This case does not raise any
  18   challenge to the revocation of any Trusted Traveler Program membership.
  19         Defendants also object to Request No. 104 to the extent it seeks information
  20   protected from disclosure by the law enforcement privilege and/or as law
  21   enforcement sensitive. To the extent this request for documents relating to alleged
  22   actions taken by law enforcement implicates, for example, “law enforcement
  23   techniques and procedures,” the “confidentiality of sources,” the “protect[ion of]
  24   witnesses and law enforcement personnel,” “safeguard[ing] the privacy of
  25   individuals involved in an investigation,” and/or the “prevent[ion of] interference
  26   with an investigation,” such information is subject to the law enforcement privilege
  27   and protected from disclosure. Deocampo v. City of Vallejo, No. 06-cv-1283, 2007
  28   WL 1589541, at *5 (E.D. Cal. June 1, 2007).
                                                                                    APPENDIX B
                                                 170
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5956     Page
                                    295 of 300

   1           Defendants also object to RFP 104 in accordance with Objections Which
   2   Apply to All RFPs Nos. 1, 4, and 6-10 and Objections to Definitions Nos. 4-6 and
   3   8-10.
   4           Response: In accordance with their objections, Defendants will not search
   5   for, produce, or log documents responsive to Request for Production No. 104.
   6   Request for Production No. 105
   7   All documents and communications relating to CBP, DHS, or Mexican authorities
   8   detaining employees or representatives of Al Otro Lado at or near the U.S.-Mexico
   9   border.
  10           Objections: Defendants object to Request for Production No. 105 as not
  11   relevant to any party’s claims or defenses. This case challenges Defendants’ alleged
  12   “engage[ment] in an unlawful, widespread pattern and practice of denying asylum
  13   seekers access to the asylum process at POEs on the U.S.-Mexico border through a
  14   variety of illegal tactics,” and Defendants’ alleged “adopt[ion of] a formal policy to
  15   restrict access to the asylum process at POEs by mandating that lower-level officials
  16   directly or constructively turn back asylum seekers at the border (the “Turnback
  17   Policy”) contrary to U.S. law.” ECF No. 189 ¶¶ 2-3. This case does not raise any
  18   challenge to the detention of any employee or representative of Al Otro Lado at or
  19   near the U.S.-Mexico border.
  20           Defendants also object to Request No. 105 to the extent it seeks information
  21   protected from disclosure by the law enforcement privilege and/or as law
  22   enforcement sensitive. To the extent this request for documents relating to alleged
  23   actions taken by law enforcement implicates, for example, “law enforcement
  24   techniques and procedures,” the “confidentiality of sources,” the “protect[ion of]
  25   witnesses and law enforcement personnel,” “safeguard[ing] the privacy of
  26   individuals involved in an investigation,” and/or the “prevent[ion of] interference
  27   with an investigation,” such information is subject to the law enforcement privilege
  28   and protected from disclosure. Deocampo v. City of Vallejo, No. 06-cv-1283, 2007
                                                                                    APPENDIX B
                                                171
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5957     Page
                                    296 of 300

   1   WL 1589541, at *5 (E.D. Cal. June 1, 2007).
   2         Defendants also object to RFP 105 in accordance with Objections Which
   3   Apply to All RFPs Nos. 1 and 6-10 and Objections to Definitions Nos. 2--6, 8, and
   4   10.
   5         Response: In accordance with their objections, Defendants will not search
   6   for, produce, or log documents responsive to Request for Production No. 105.
   7   Request for Production No. 106
   8   All documents and communications relating to any statements, accusations, or
   9   claims made by CBP or DHS employees concerning Al Otro Lado.
  10         Objections: Defendants object to Request for Production No. 106 as vague
  11   and ambiguous, as not proportional to the needs of the case, and as overly broad and
  12   unduly burdensome. Request No. 106 is vague and ambiguous because it does not
  13   specify the types of statements, accusations, or claims Plaintiffs seek. To the extent
  14   Plaintiffs seek all such documents, Request No. 106 is not proportionate to the needs
  15   of the case and is plainly overly broad and unduly burdensome. Cf. Alfaro v. City of
  16   San Diego, No. 17-cv-46, 2018 WL 4562240, at *3 n.3 (S.D. Cal. Sept. 21, 2018)
  17   (Crawford, M.J.) (noting that an interrogatory that obligates a party to “canvas every
  18   employee who might have had a conversation with [the plaintiff]” would be
  19   “onerous and over burdensome”).
  20         Defendants object to Request No. 106 as irrelevant to the claims and defenses
  21   in this case, as statements concerning Al Otro Lado do not bear on the issues in this
  22   case: whether the named individual Plaintiffs were, at the time of their alleged injury,
  23   arriving aliens applying for admission to the United States; whether Defendants have
  24   implemented a formal policy or taken final agency action to “restrict access to the
  25   asylum process at ports of entry along the U.S.-Mexico border”; and whether such a
  26   policy or final agency action, if it exists, and in the form it exists, is unlawful. The
  27   “conditions” in Mexican border municipalities do not bear on those issues. See Fed.
  28   R. Evid. 401.
                                                                                     APPENDIX B
                                                 172
Case 3:17-cv-02366-BAS-KSC        Document 263 Filed 05/24/19      PageID.5958     Page
                                      297 of 300

   1             Defendants also object to Request No. 106 to the extent it seeks information
   2   protected from disclosure by the law enforcement privilege and/or as law
   3   enforcement sensitive. To the extent this request for documents relating to alleged
   4   actions taken by law enforcement implicates, for example, “law enforcement
   5   techniques and procedures,” the “confidentiality of sources,” the “protect[ion of]
   6   witnesses and law enforcement personnel,” “safeguard[ing] the privacy of
   7   individuals involved in an investigation,” and/or the “prevent[ion of] interference
   8   with an investigation,” such information is subject to the law enforcement privilege
   9   and protected from disclosure. Deocampo v. City of Vallejo, No. 06-cv-1283, 2007
  10   WL 1589541, at *5 (E.D. Cal. June 1, 2007).
  11             Defendants also object to RFP 106 in accordance with Objections Which
  12   Apply to All RFPs Nos. 1 and 7-10 and Objections to Definitions Nos. 2-3, 5-6, 8,
       and 10.
  13

  14             Response: In accordance with their objections, Defendants will not search
  15   for, produce, or log documents responsive to Request for Production No. 106.
  16   Request for Production No. 107
  17   All documents relating to the conditions faced by noncitizens waiting on the
  18   Mexican side of the U.S.-Mexico border to seek asylum in the United States,
  19   including but not limited to rampant crime, kidnappings, extortion, and violence by
  20   gangs and cartels.
  21             Objections: Defendants object to Request for Production No. 107 as seeking
  22   information that is not relevant to any party’s claims or defenses, as not
  23   proportionate to the needs of the case, as overly broad and unduly burdensome, as
  24   vague and ambiguous, and as seeking information protected from disclosure by the
  25   law enforcement privilege and/or as law enforcement sensitive. First, any documents
  26   relating to the “conditions faced” by the delineated persons while they wait in
  27   Mexico do not bear on the issues in this case: whether the named Plaintiffs were, at
  28   the time of their alleged injury, arriving aliens applying for admission to the United
                                                                                    APPENDIX B
                                                  173
Case 3:17-cv-02366-BAS-KSC       Document 263 Filed 05/24/19      PageID.5959     Page
                                     298 of 300

   1   States; whether Defendants have implemented a formal policy or taken final agency
   2   action to “restrict access to the asylum process at ports of entry along the U.S.-
   3   Mexico border”; and whether such a policy or final agency action, if it exists, and in
   4   the form it exists, is unlawful. The “conditions” in Mexican border municipalities
   5   do not bear on those issues. See Fed. R. Evid. 401.
   6         Second, a request to search for and produce “all documents” related to the
   7   delineated topics is not proportional to the needs of the case and is overly broad and
   8   unduly burdensome. Request No. 107 is not directed to any person and is thus
   9   facially overbroad. Even assuming Request No. 107 is directed to the named
  10   Defendants, DHS, and CBP (as many of Plaintiffs’ other Requests are), a complete
  11   response, based on Plaintiffs’ definitions, would require Defendants to collect and
  12   search the documents of each of the named Defendants; each of the named
  13   Defendants’ “agents, representatives, employees, attorneys and investigators”; all of
  14   U.S. Customs and Border Protection, including “its headquarters and offices,
  15   including any divisions, subdivisions, components or sections therein; CBP offices
  16   at ports of entry, including any divisions, subdivisions or sections therein; or any
  17   other CBP organizational structures, including but not limited to U.S. Border Patrol,
  18   U.S. Office of Field Operations or private contractors hired by CBP”; and all of the
  19   U.S. Department of Homeland Security, including “its headquarters and offices,
  20   including any divisions, subdivisions, components or sections therein, or any other
  21   DHS organizational structures.” See Pls.’ Second RFPs, Definitions A—C. DHS
  22   employs more than 240,000 people, and CBP employs more than 60,000 people. See
  23   “About    DHS,”    U.S.    Dep’t   of   Homeland      Security   (Sept.   27,     2017),
  24   https://www.dhs.gov/about-dhs; “About CBP,” U.S. Customs and Border Protection
  25   (Last modified April 18, 2019), https://www.cbp.gov/about. Collecting and
  26   searching through the documents of all of these individuals, as Plaintiffs request, is
  27   plainly not proportional to the needs of this case and is overly broad and unduly
  28   burdensome. Cf. Alfaro v. City of San Diego, No. 17-cv-46, 2018 WL 4562240, at
                                                                                       APPENDIX B
                                                174
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19         PageID.5960   Page
                                    299 of 300

   1   *3 n.3 (S.D. Cal. Sept. 21, 2018) (Crawford, M.J.) (noting that an interrogatory that
   2   obligates a party to “canvas every employee who might have had a conversation with
   3   [the plaintiff.’” would be “onerous and over burdensome”). Further, Request No. 107
   4   is not proportionate to the needs of the case and is overly broad and unduly
   5   burdensome because it requests all documents relating to the “conditions” of all
   6   Mexican border municipalities along the entire U.S.-Mexico border. Consistent with
   7   Objections Which Apply to All RFPs Nos. 1 and 6, Defendants construe this Request
   8   as seeking documents relating to Mexican border municipalities outside the San
   9   Ysidro, Otay Mesa, Hidalgo, and Laredo ports of entry.
  10         Second, Defendants object to Request No. 107 to the extent it seeks
  11   information protected from disclosure by the law enforcement privilege and/or as
  12   law enforcement sensitive. To the extent a request for “all documents” relating to
  13   “the conditions faced” by the delineated persons in Mexican border municipalities
  14   implicates, for example, “law enforcement techniques and procedures,” the
  15   “confidentiality of sources,” the “protect[ion of] witnesses and law enforcement
  16   personnel,” “safeguard[ing] the privacy of individuals involved in an investigation,”
  17   and/or the “prevent[ion of] interference with an investigation,” such information is
  18   subject to the law enforcement privilege and protected from disclosure. Deocampo
  19   v. City of Vallejo, No. 06-cv-1283, 2007 WL 1589541, at *5 (E.D. Cal. June 1, 2007).
  20         Defendants further object to this Request in accordance with Objections
  21   Which Apply to All RFPs Nos. 1, 3-4, 6-10; Objections to Definitions Nos. 1-3, 5-6
  22   and 8-10; and Objections to Instructions Nos. 1, 2, and 4.
  23         Response: In accordance with their objections, Defendants will produce
  24   documents responsive to Request for Production No. 107 to the extent any such
  25   documents exist and are in their possession, custody or control. In light of Request
  26   No. 107 being disproportional to the needs of the case considering that the burden
  27   and expense of the requested discovery outweighs its likely benefit, Defendants will
  28   limit their search to a limited number of custodial and non-custodial sources.
                                                                                   APPENDIX B
                                               175
Case 3:17-cv-02366-BAS-KSC      Document 263 Filed 05/24/19       PageID.5961     Page
                                    300 of 300

   1   Defendants will continue to confer with Plaintiffs in identifying reasonable custodial
   2   and non-custodial sources and document identification protocols. However, in the
   3   event the parties cannot agree, Defendants will limit their search to the sources
   4   identified in Defendants’ portion of the Supplement to the Parties’ Joint 26(f) Report
   5   (ECF No. 243), from which Defendants will produce all non-privileged documents
   6   responsive to this Request, dating from January 1, 2016, to the present that can be
   7   located after a reasonable search.
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                                                                                    APPENDIX B
                                                176
